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               Exhibit 1
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·1· · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
·2· · · · · · · · · · EASTERN DIVISION

·3· ·JOHNNIE LEE SAVORY,· · · · ·)
· · · · · · · · · · · · · · · · ·)
·4· · · · · · · · ·Plaintiff,· · )
· · · · · · · · · · · · · · · · ·)
·5· · · · · · vs.· · · · · · · · )· ·No. 17-cv-00204
· · · · · · · · · · · · · · · · ·)
·6· ·WILLIAM CANNON, as· · · · · )
· · ·Administrator for the· · · ·)
·7· ·Estate of CHARLES CANNON,· ·)
· · ·et al.,· · · · · · · · · · ·)
·8· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Defendants.· ·)
·9

10· · · · · · The video-recorded deposition of JOHNNIE

11· LEE SAVORY, taken pursuant to the Federal Rules of

12· Civil Procedure, before Nick D. Bowen, Certified

13· Shorthand Reporter No. 084-001661, at 141 West

14· Jackson Boulevard, Suite 1240A, Chicago, Illinois,

15· on Wednesday, June 15, 2022, commencing at 10:31 a.m.

16· pursuant to subpoena and notice.

17

18

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20

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JOHNNIE LEE SAVORY, 06/15/2022                                                                                  Page 2..5
                                                  Page 2                                                              Page 4
·1· · · ·APPEARANCES:                                        ·1· · · · THE VIDEOGRAPHER:· And good morning.· This
·2· · · · · · PEOPLE'S LAW OFFICE, by
· · · · · · · MR. G. FLINT TAYLOR, JR. and                   ·2· is the beginning of media unit 1, and we are on the
·3· · · · · · MR. BRAD THOMSON
· · · · · · · (1180 North Milwaukee Avenue                   ·3· video record at 10:31 a.m. Central Time.
·4· · · · · · ·Chicago, Illinois· 60622
· · · · · · · ·773.235.0070                                  ·4· · · · · · · · ·This is the video deposition of
·5· · · · · · ·flint.taylor10@gmail.com
· · · · · · · ·brad@peopleslawoffice.com)                    ·5· Johnnie Lee Savory, taking place at the Sotos Law
·6· · · · · · · · ·- and -
· · · · · · · LOEVY & LOEVY, by                              ·6· Firm at 141 West Jackson Boulevard, Suite 1240,
·7· · · · · · MR. LOCKE E. BOWMAN, III
· · · · · · · MR. STEVEN E. ART (via Zoom)                   ·7· Chicago, Illinois 60604, on June 15th, 2022.
·8· · · · · · MS. LINDSAY HAGY                               ·8· · · · · · · · ·This matter is being taken on behalf
· · · · · · · (311 North Aberdeen Street, Third Floor
·9· · · · · · ·Chicago, Illinois· 60607                      ·9· of the defendants in the matter of Johnnie Lee
· · · · · · · ·312.243.5900
10· · · · · · ·locke@loevy.com                               10· Savory versus William Cannon, et al., bearing case
· · · · · · · ·steve@loevy.com
11· · · · · · ·lindsay@loevy.com)                            11· number 17-cv-00204 filed in the United States
· · · · · · · · ·appeared on behalf of the plaintiff;
12                                                           12· District Court for the Northern District of
· · · · · · · THE SOTOS LAW FIRM, by
13· · · · · · MS. SARA J. SCHROEDER                          13· Illinois, Eastern Division.
· · · · · · · MR. KYLE CHRISTIE and
14· · · · · · MS. SAMANTHA J. PALLINI (via Zoom)             14· · · · · · · · ·My name is Robert Zellner, legal
· · · · · · · (141 West Jackson Boulevard, Suite 1240A       15· videographer, representing Urlaub Bowen &
15· · · · · · ·Chicago, Illinois· 60604
· · · · · · · ·312.494.1000                                  16· Associates with offices at 20 North Clark Street,
16· · · · · · ·sschroeder@jsotoslaw.com
· · · · · · · ·kchristie@jsotoslaw.com                       17· Suite 600, Chicago, Illinois.
17· · · · · · ·spallini@jsotoslaw.com)
· · · · · · · · ·appeared on behalf of the defendants.       18· · · · · · · · ·And the court reporter today is Nick
18
· · · · · ALSO PRESENT:                                      19· Bowen, also with Urlaub Bowen & Associates.
19
· · · · · · · Ms. Emani Miles (via Zoom)                     20· · · · · · · · ·And, Counsel, would you please
20· · · · · · Mr. Mark Smolens (via Zoom)
· · · · · · · Ms. Tayleece Paul (via Zoom)                   21· identify yourselves for the record and the parties
21· · · · · · Ms. Marcella Teplitz (via Zoom)
· · · · · · · Mr. Rob Zellner, Videographer
                                                             22· you represent.
22                                                           23· · · · MS. SCHROEDER:· Sara Schroeder, and I am
· · · · · · · · · · ·*· *· *· *· *· * *
23                                                           24· representing the defendants in this case.
24


                                                  Page 3                                                              Page 5
·1· · · · · · · · · · · ·I N D E X                           ·1· · · · MR. CHRISTIE:· Kyle Christie on behalf of the
·2
· · Witness:· · · · · · · · · · · · · · · · · ·Page
                                                             ·2· defendants as well.
·3                                                           ·3· · · · MR. TAYLOR:· Flint, F-l-i-n-t, Taylor on
· · · · ·JOHNNIE LEE SAVORY
                                                             ·4· behalf of Mr. Savory.
·4
· · · · · · · Examination by:                                ·5· · · · MR. BOWMAN:· And Locke Bowman, also on behalf
·5                                                           ·6· of Johnnie Lee Savory.
· · · · · · · Ms. Schroeder................· · · 6
·6                                                           ·7· · · · MS. HAGY:· Lindsay Hagy, Lindsay with an "a,"
·7                                                           ·8· H-a-g-y, also on behalf of Mr. Savory.
·8
                                                             ·9· · · · MR. THOMSON:· Brad Thomson also on behalf of
· · · · · · · · · · · E X H I B I T S
·9                                                           10· behalf of Mr. Savory.
10· No.· ·Description· · · · · · · · ·Marked/Referenced      11· · · · MR. ART:· And Steve Art on the phone, also on
11· · ·1· Plaintiff's Response to Defendant
· · · · · Marcella Brown Teplitz's First Set of              12· behalf of Mr. Savory.
12· · · · Interrogatories to Plaintiff...........· 15        13· · · · MS. PALLINI:· Good morning.· Samantha Pallini
· · · ·2· Prisoner Review Board Documents........· 44
13· · ·3· 11/22/1976 Report of Teresa
                                                             14· on behalf of defendants.
· · · · · Hulslander............................. 212        15· · · · MS. TEPLITZ:· Marcella Teplitz, defendant.
14· · ·4· Peoria Police Department
                                                             16· · · · MS. SCHROEDER:· Is that everybody on Zoom?
· · · · · Supplementary Report - Continuation
15· · · · Sheet.................................. 369        17· · · · MS. MILES:· Hi.· Emani Miles.· I'm an intern
16                                                           18· on behalf of Mr. Savory.
· · · · · · · ·(Exhibits attached/scanned.)
17
                                                             19· · · · MS. PAUL:· Tayleece Paul, T-a-y-l-e-e-c-e.
18· · · · · · · · · · · · · - - -                            20· I'm an intern on behalf of Mr. Savory.
19
                                                             21· · · · THE VIDEOGRAPHER:· Thank you.
20
21                                                           22· · · · · · · · ·And will the court reporter please
22                                                           23· swear in the witness?
23
24                                                           24· · · · · · · · · · · · · ·(Witness affirmed.)


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JOHNNIE LEE SAVORY, 06/15/2022                                                                                           Page 6..9
                                                          Page 6                                                             Page 8
·1· · · · MS. SCHROEDER:· Mr. Savory, I'm just going               ·1· word I'm using, please tell me.· Tell me what it
·2· to start.· I do need to read like a little formal              ·2· is you don't understand or ask me to repeat the
·3· introduction onto the record, and then we'll begin.            ·3· question, whatever it is.· And then I'll do my best
·4· · · · · · · · ·So let the record reflect that this             ·4· to rephrase it so that you do understand.
·5· is the deposition of Johnnie Lee Savory taken                  ·5· · · · · · · · ·But if you do answer my question,
·6· pursuant to subpoena in accordance with all local              ·6· then I will assume that you did understand what I
·7· court rules, Federal Rules of Evidence, and Federal            ·7· was asking you.· Okay?
·8· Rules of Civil Procedure.                                      ·8· · · · A.· · Yes, ma'am.
·9· · · · · · · · · ·JOHNNIE LEE SAVORY                            ·9· · · · Q.· · Okay.· You can take a break whenever
10· called as a witness herein, having been first duly             10· you want.· So whenever you need a break, you let
11· affirmed, was examined and testified as follows:               11· me know.· I also think we should probably plan for
12· · · · · · · · · · · EXAMINATION                                12· a lunch break today.· So maybe in a couple hours
13· BY MS. SCHROEDER:                                              13· we'll do that, because we have a lot to get through.
14· · · · Q.· · And for the record, can you state your             14· But that's okay.· So we'll plan for a lunch break.
15· name and spell it, please?                                     15· But even beyond that, you can take a break whenever
16· · · · A.· · My name is Johnnie, J-o-h-n-n-i-e, last            16· you need.· Okay?
17· name Savory, S-a-v-o-r-y.                                      17· · · · · · · · ·The only thing I ask is that if
18· · · · Q.· · Okay.· And I just introduced myself.               18· I have asked you a question, that you answer it
19· I'm Sara Schroeder.· So I'm here for the defendants.           19· before you go on your break.· Okay?
20· And I appreciate your patience.· I was a little                20· · · · · · · · ·Let me think.· I think that that
21· behind today, but I am ready, and hopefully everybody 21· might be -- I think that that's it.
22· else has probably been waiting on me.· So I do                 22· · · · A.· · If I may.· I just want to take 60
23· appreciate that.                                               23· seconds and just share something with you that's
24· · · · · · · · ·I'm going to go over the rules of               24· always -- I carry it with me.· It's pertaining to


                                                          Page 7                                                             Page 9
·1· the deposition with you so that you understand sort ·1· the case itself, but, you know, I just -- if I may.
·2· of what your ability is here during the deposition  ·2· · · · Q.· · Feel free.
·3· and what to expect from everybody else around the              ·3· · · · A.· · Okay.· As a young teenager, one of
·4· table.                                                         ·4· the things that always striked me was the former
·5· · · · · · · · ·So we do have the court reporter                ·5· prosecutor, Michael Mims, and now he's a sitting
·6· that's taking everything down.· We have a                      ·6· federal judge, and I remember him saying that there
·7· videographer that's also videotaping the deposition. ·7· was no evidence to tie Savory to the case or to the
·8· · · · · · · · ·And then I will be asking the         ·8· scene of the crime.· It's no longer a question will
·9· questions on behalf of defendants, and then one                ·9· he be released, the question is when.· And I always
10· of your attorneys will have the ability to object              10· thought, Well, how did I end up here?· But that's
11· to any questions that I ask that they find                     11· all I want to say.
12· objectionable.                                                 12· · · · · · · · · · · (Brief interruption.)
13· · · · · · · · ·But unless they actually inform you             13· · · · Q.· · Okay.· All right.· So I'm going to ask
14· to not answer, instruct you not to answer, then                14· you a couple questions, and then we'll kind of see --
15· you still must go ahead and answer the question.               15· 'cause I'm going to get these out of the way in the
16· Because what your attorneys are doing is they're               16· beginning because I think then that might free up
17· just making a record of the objection of the                   17· some stuff or cross out some things on my list here.
18· question I'm asking so that if later down the road             18· · · · A.· · Okay.
19· the judge needs to make a determination, he'll be              19· · · · Q.· · Okay?
20· able to do that.· It's a little different than                 20· · · · · · · · ·Who is calling you a child rapist?
21· court where you would have a decision made right               21· · · · A.· · Who?
22· there.                                                         22· · · · Q.· · Yeah.
23· · · · · · · · ·If you -- if I ask a question and               23· · · · MR. TAYLOR:· Objection to form.
24· you don't understand it or you don't understand a              24· · · · MS. SCHROEDER:· You can answer.


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JOHNNIE LEE SAVORY, 06/15/2022                                                                  Page 10..13
                                              Page 10                                                    Page 12
·1· · · · MR. TAYLOR:· You may answer.                    ·1· against the Illinois State Police to receive the
·2· · · · THE WITNESS:· Say what now?                     ·2· evidence -- to retrieve the evidence that was in
·3· · · · MR. TAYLOR:· Yeah, you can answer.              ·3· the case.
·4· · · · MR. BOWMAN:· If there's a question for you,     ·4· · · · Q.· · Okay.· And what was your response to
·5· Johnnie, your job in this deposition is to answer     ·5· that?
·6· each question that's propounded.                      ·6· · · · A.· · They got the wrong person.
·7· · · · THE WITNESS:· Okay, okay.                       ·7· · · · Q.· · Because you are not a child rapist?
·8· · · · MR. BOWMAN:· So the question that you've been   ·8· · · · A.· · No.· I couldn't understand why they was
·9· asked is, Who is calling you a child rapist?· You     ·9· calling me that.
10· answer that question and wait for the next            10· · · · Q.· · Okay.· Had anybody called you a child
11· question.· Do you understand?                         11· rapist prior to this Illinois State Police --
12· · · · THE WITNESS:· I'm not familiar with no one      12· · · · A.· · Not that I'm aware of.
13· calling me a child rapist.                            13· · · · Q.· · Okay.· Has anyone else besides the
14· BY MS. SCHROEDER:                                     14· Illinois State Police and the media called you a
15· · · · Q.· · Why would you put that in your            15· child rapist?
16· complaint, that you have been branded a child         16· · · · A.· · Not that I'm aware of.
17· rapist, if no one is calling you a child rapist?      17· · · · Q.· · Okay.· When was the last time you were
18· · · · MR. BOWMAN:· Foundation.                        18· called a child rapist?
19· · · · MR. TAYLOR:· Objection.                         19· · · · A.· · I don't remember the date and time.
20· · · · MR. BOWMAN:· Foundation.                        20· I can't recall the date of --
21· · · · MR. TAYLOR:· Form.                              21· · · · Q.· · Was it last week?
22· · · · THE WITNESS:· I heard it in the media.          22· · · · A.· · No.
23· That's about it.                                      23· · · · Q.· · Okay.· Was it last month?
24                                                        24· · · · A.· · No.· Every time you go on YouTube maybe.

                                              Page 11                                                    Page 13
·1· BY MS. SCHROEDER:                                     ·1· · · · Q.· · Where on YouTube are you -- is someone
·2· · · · Q.· · Who in the media called you this?         ·2· calling you a child rapist?
·3· · · · MR. TAYLOR:· Same objection.                    ·3· · · · A.· · You would have to put my name in to see
·4· · · · THE WITNESS:· I don't remember the reporter.    ·4· what news station it is because I do not remember
·5· BY MS. SCHROEDER:                                     ·5· which news station it was.
·6· · · · Q.· · Okay.· Did any police officer that        ·6· · · · Q.· · Is that how you found a news station
·7· you're suing today ever call you a child rapist?      ·7· calling you a child rapist?
·8· · · · A.· · Not to my knowledge.                      ·8· · · · A.· · And I've seen it on the news.
·9· · · · Q.· · Okay.· And aside from media -- and        ·9· · · · Q.· · You've seen it on the news.
10· explain to me what you mean when you say "the         10· · · · · · · · ·Do you remember when you saw it on
11· media" has called you a child rapist.                 11· the news?
12· · · · MR. TAYLOR:· Same objection; form.              12· · · · A.· · I do not.
13· · · · THE WITNESS:· I don't remember.· It was         13· · · · Q.· · Okay.· Did you tell your lawyers that
14· at some press conference.· And also, I'm just         14· people are calling you a child rapist?
15· recollecting, I forgot that it was Illinois State     15· · · · MR. TAYLOR:· Objection.· You don't have to
16· Police also, the crime lab.                           16· answer that.· That -- in fact, don't answer that.
17· BY MS. SCHROEDER:                                     17· That's lawyer-client privilege.
18· · · · Q.· · The Illinois State Police crime lab --    18· BY MS. SCHROEDER:
19· · · · A.· · Yes.                                      19· · · · Q.· · Why do you think, in your complaint
20· · · · Q.· · -- has called you a child rapist?         20· that you filed with the federal court, you have
21· · · · A.· · Yes.                                      21· stated that you are branded a child rapist because
22· · · · Q.· · When?                                     22· of the defendants' actions?
23· · · · A.· · 2000 when we filed for Freedom of         23· · · · A.· · I do not know.
24· Information Act for the lawsuit that was filed        24· · · · Q.· · Okay.· Do you believe that any -- so --


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JOHNNIE LEE SAVORY, 06/15/2022                                                                                  Page 14..17
                                                      Page 14                                                             Page 16
·1· strike that.                                                ·1· minute to take a look at the document.
·2· · · · · · · · ·Do you believe that you were                 ·2· · · · MR. TAYLOR:· Do you have another copy of it?
·3· convicted of rape?                                          ·3· · · · · · · · · · · (Brief pause.)
·4· · · · MR. TAYLOR:· Objection to form.                       ·4· BY MS. SCHROEDER:
·5· · · · THE WITNESS:· I'm not -- I'm not aware of --          ·5· · · · Q.· · Okay.· So this is Exhibit 1, and it is
·6· I'm not aware of what conviction, what they got.            ·6· plaintiff, who -- that is you.· It's your response
·7· I don't know where it came from or how except for           ·7· to defendant Marcella Brown Teplitz's first set of
·8· the Illinois State Police.· I don't know how they           ·8· interrogatories to you.· And what I would like you
·9· derived it.                                                 ·9· to do, sir, is if you flip to the last two pages --
10· BY MS. SCHROEDER:                                           10· maybe the page prior to the last, the second to
11· · · · Q.· · Do you -- were you convicted of rape?           11· last.· One more.
12· · · · A.· · No.                                             12· · · · · · · · ·Okay.· And do you see a signature
13· · · · Q.· · Were you charged with rape?                     13· there and a date?
14· · · · A.· · No.                                             14· · · · A.· · Yes.
15· · · · Q.· · Why is it on your website, on the               15· · · · Q.· · Do you see where it says Respectfully
16· Savory Innocence Tour that you were charged with            16· Submitted --
17· rape?                                                       17· · · · A.· · Yes.
18· · · · MR. TAYLOR:· Objection; form, foundation.             18· · · · Q.· · -- Johnnie Lee Savory?
19· · · · THE WITNESS:· It's a news report.                     19· · · · A.· · Yes.
20· BY MS. SCHROEDER:                                           20· · · · Q.· · And it says By Megan Pierce, One of
21· · · · Q.· · Why would you promote that someone is           21· Plaintiff's Attorneys?
22· accusing you of rape if it's not true?                      22· · · · A.· · Um-hmm.
23· · · · A.· · They --                                         23· · · · Q.· · Are you familiar with Megan Pierce?
24· · · · MR. TAYLOR:· Same objection.                          24· · · · A.· · Yes.

                                                Page 15                                                   Page 17
·1· · · · THE WITNESS:· They accused me of murder, and  ·1· · · · Q.· · Okay.· And did you see this document
·2· that's not true either.                                     ·2· prior to Megan affixing her signature to this?
·3· BY MS. SCHROEDER:                                           ·3· · · · MR. TAYLOR:· Objection.
·4· · · · Q.· · But you were convicted of murder,               ·4· · · · · · · · ·Johnnie, if you saw this document in
·5· correct?                                                    ·5· the presence of Megan, don't -- you don't -- that's
·6· · · · A.· · Yes.                                            ·6· lawyer-client.· You don't need to answer that.
·7· · · · Q.· · Okay.· Why would you continue to say            ·7· BY MS. SCHROEDER:
·8· that you were charged with the rape of Connie               ·8· · · · Q.· · So did you, Johnnie, approve this
·9· Cooper if you were not charged with that rape?              ·9· document to be submitted to defendants in response
10· · · · MR. TAYLOR:· Objection --                             10· to their interrogatories?
11· · · · THE WITNESS:· I did not say that.                     11· · · · A.· · Can I read the -- can I read this in
12· · · · MR. TAYLOR:· -- form and foundation.                  12· its entirety?
13· BY MS. SCHROEDER:                                           13· · · · Q.· · Sure.· So what I'm -- I'll show you
14· · · · Q.· · You did not say that?                           14· exactly what I'm looking for, is if you flip to the
15· · · · A.· · I did not say that, no.                         15· second page, and you'll see the interrogatory.
16· · · · Q.· · Okay.· So I'm going to -- this is               16· · · · · · · · ·Are you familiar with the
17· going to be Exhibit 1.· And it's going to be your           17· interrogatories the defendants have been issuing
18· answers to Marcella Brown Teplitz's first set of            18· to you?
19· interrogatories.· And I'm going to give you this.           19· · · · A.· · Yes.· It's just been a while.
20· And we'll be doing this throughout the deposition           20· · · · Q.· · Okay.
21· where I'm going to be showing documents, and then 21· · · · A.· · So ...
22· you'll be able to take a look at them, and then             22· · · · · · · · ·Just let me read it and familiarize
23· we'll look at them together.                                23· myself with it right quick.· (Reviewing document.)
24· · · · · · · · ·So first of all, I'll give you a             24· · · · Q.· · Do you want to read it together?


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JOHNNIE LEE SAVORY, 06/15/2022                                                                        Page 18..21
                                              Page 18                                                           Page 20
·1· · · · A.· · I'm fine.                               ·1· purposes of this lawsuit is a basis for your claim
·2· · · · Q.· · Then that way we can get the -- your    ·2· of injury, and identify the date of the occurrence,
·3· answer on the record.                               ·3· the nature of the occurrence, any witnesses to the
·4· · · · A.· · (Reviewing document.)                   ·4· occurrence, all documents referring, reflecting, or
·5· · · · Q.· · Mr. Savory, have you come across        ·5· otherwise relating to the occurrence."
·6· yet your answer where you're stating that the       ·6· · · · · · · · ·And then as you continue on
·7· defendants' misconduct accused you of the rape and ·7· because -- and then this response is your answer
·8· murder of Connie Cooper?                            ·8· to that interrogatory from the defendants.· And
·9· · · · MR. TAYLOR:· Objection; form.                 ·9· you begin with your objections about how this
10· BY MS. SCHROEDER:                                   10· interrogatory is premature, and we have all these
11· · · · Q.· · So I see what page you're on now,       11· objections there.· But then you could start, if you
12· Mr. Savory.· You're on interrogatory 2.· And I'm    12· look at -- it's the second to last sentence where
13· really just concerned with the first interrogatory. 13· the words begin "subject to and without waiving
14· So it appears that you've finished reading the      14· those objections."· Do you see that?· That'll be
15· answer to the first interrogatory.                  15· like right here (indicating), second to last
16· · · · A.· · Yeah.· But you had me to go back to the 16· sentence halfway -- keep going down.· Keep going
17· back page just a second -- I just wanted to --      17· down.· Right there.· Now go over, and it'll start
18· · · · Q.· · That's for the signature.               18· "subject to."
19· · · · A.· · I'd just like to read the entire thing  19· · · · · · · · ·So it says, "Subject to and without
20· to familiarize myself with it because it's been a   20· waiving those objections and plaintiff's general
21· while since I seen these interrogatories if that's  21· objections, plaintiff responds that he has prepared
22· okay.                                               22· an extensive complaint that alleges in detail how
23· · · · Q.· · So do you believe that you're putting   23· each of the defendants," and then you list every
24· your signature on documents that you wouldn't have 24· defendant in this case, "acted individually and in


                                              Page 19                                                      Page 21
·1· already reviewed?                                     ·1· conspiracy with one another to conceal and withhold
·2· · · · MR. TAYLOR:· Objection.· That's -- there's      ·2· exculpatory evidence from plaintiff, his defense
·3· no evidence that he did put his signature on this     ·3· counsel, state's attorney's office, and to extract
·4· document.                                             ·4· statements from plaintiff involuntarily which they
·5· BY MS. SCHROEDER:                                     ·5· used to prosecute him, to fabricate false evidence
·6· · · · Q.· · So, Mr. Savory, I'm just wanting to ask   ·6· against plaintiff implicating him in a crime he had
·7· you about the first interrogatory.· We don't need     ·7· not committed, and to prosecute plaintiff without
·8· to go over the remaining docu- -- the remaining       ·8· any probable cause to believe that he had committed
·9· interrogatories.                                      ·9· the murder of James Robinson or the rape and murder
10· · · · A.· · So I'm not -- I'm not allowed to read     10· of Connie Cooper."
11· it in its entirety?                                   11· · · · · · · · ·If you continue down three more
12· · · · Q.· · It's not -- the questions that I'm        12· sentences, you continue your answer, and you state
13· asking you pertain to the pages that I've just seen   13· that plaintiff specifically alleges that the
14· you read.                                             14· investigative team, these defendants, acting in
15· · · · MR. TAYLOR:· So just at this point focus on     15· conspiracy with one another, and others still
16· the first interrogatory.                              16· unknown to plaintiff collected evidence from the
17· · · · THE WITNESS:· Okay.· It's this one right        17· crime scene, all of which showed that plaintiff
18· here?                                                 18· could not have been in the murder -- involved in
19· BY MS. SCHROEDER:                                     19· the murders of James Robinson and Connie Cooper or
20· · · · Q.· · Yeah.                                     20· the rape of Connie Cooper.
21· · · · · · · · ·So the first interrogatory, if you     21· · · · · · · · ·Then if you continue down a few
22· look -- so that's where it says Interrogatories,      22· more sentences, you continue your answer, and you
23· and it says, "Identify every action taken by          23· are stating that the defendants here interrogated
24· Defendant Teplitz which you contend for the           24· plaintiff, a child, for extended periods, failed to


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·1· give him effective Miranda, polygraphed him,        ·1· · · · · · · · ·If you were told that by an
·2· lied to him about the results, physically and       ·2· attorney, you don't need to answer that.
·3· psychologically abused him, deprived him of         ·3· · · · THE WITNESS:· The attorneys.
·4· adequate food and sleep, continued questioning him  ·4· BY MS. SCHROEDER:
·5· when he invoked his right to remain silent, and     ·5· · · · Q.· · I'm sorry?
·6· lied to him about evidence, and in so doing         ·6· · · · A.· · I stick by the reports that was written
·7· extracted statements from plaintiff that he did not ·7· and the laboratory reports and police reports.
·8· give voluntarily, which were used to implicate him  ·8· · · · Q.· · And you believe laboratory reports and
·9· in James Robinson's murder and Connie Cooper's rape ·9· police reports --
10· and murder.                                         10· · · · A.· · That was used at the trial -- both
11· · · · · · · · ·Why do you continue to say that      11· trials.
12· the defendants implicated you in a rape of Connie   12· · · · Q.· · That were used -- that were used at
13· Cooper?                                             13· both trials show that you were charged with rape?
14· · · · MR. TAYLOR:· Objection; form, foundation,     14· · · · MR. BOWMAN:· Johnnie, I'm going to just step
15· narrative question.                                 15· in and say that --
16· · · · THE WITNESS:· I stand by this statement then. 16· · · · MS. SCHROEDER:· I'm not sure that I want --
17· It's true.                                          17· I don't know where you're going with this.· But
18· BY MS. SCHROEDER:                                   18· if --
19· · · · Q.· · So you were charged with rape?          19· · · · MR. BOWMAN:· I want to clarify --
20· · · · MR. TAYLOR:· Objection.· Misstates his        20· · · · MS. SCHROEDER:· -- it's a speaking objection
21· testimony.                                          21· or if you're coaching, I don't know what you're doing
22· BY MS. SCHROEDER:                                   22· here, Locke.
23· · · · Q.· · So I'll ask a different question.       23· · · · MR. BOWMAN:· Certainly not coaching.
24· · · · · · · · ·How is this true?                    24· · · · MS. SCHROEDER:· Okay.

                                                   Page 23                                                 Page 25
·1· · · · MR. TAYLOR:· Same objection; form, foundation.     ·1· · · · MR. BOWMAN:· What I'm concerned about is
·2· · · · THE WITNESS:· The response in here is              ·2· an issue of privilege, and I want Mr. Savory to
·3· accurate according to the records that they have.        ·3· understand that to the extent he would have to
·4· BY MS. SCHROEDER:                                        ·4· reveal conversations that he had with a lawyer who
·5· · · · Q.· · What record?                                 ·5· represented him as to what his understandings were
·6· · · · A.· · Police records, what took place, court       ·6· or were not, he should not answer the question.
·7· records to the best of my knowledge.                     ·7· · · · · · · · ·I just wanted to state that again
·8· · · · Q.· · What records are you referring to?           ·8· for his benefit as he considers whether he's free
·9· · · · A.· · Police records.· Laboratory records.         ·9· to answer the question.
10· I cannot give you the exact number or name.· You         10· · · · MS. SCHROEDER:· So do you -- are you implying
11· have to look at the records yourself.                    11· that it's attorney-client privilege on why he has
12· · · · Q.· · Do you believe you were charged with         12· an understanding that he's putting it on his
13· rape?                                                    13· website that he's been charged with rape?
14· · · · A.· · Yes, I believe I was accused and             14· · · · MR. BOWMAN:· Yes.
15· charged with that rape.                                  15· · · · MS. SCHROEDER:· Are you also implying that
16· · · · Q.· · Okay.· Were you convicted of rape?           16· it's attorney-client privilege of why he says it at
17· · · · MR. TAYLOR:· I'm going to object.· Excuse me.      17· news conferences that he's been charged with rape?
18· Asked and answered.                                      18· · · · MR. BOWMAN:· That's not the question that you
19· · · · THE WITNESS:· No.                                  19· asked.
20· BY MS. SCHROEDER:                                        20· · · · MS. SCHROEDER:· Okay.· But he responded
21· · · · Q.· · Okay.· Who told you that you were being      21· that --
22· charged with rape in 1977?                               22· · · · MR. BOWMAN:· If you want to ask --
23· · · · MR. TAYLOR:· Objection.· Are you asking --         23· · · · MS. SCHROEDER:· He responded that he is
24· strike that.· Objection.                                 24· relying on police reports and lab reports.· And I


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·1· don't know how either of those are privileged.                ·1· · · · A.· · Again, according --
·2· · · · MR. BOWMAN:· I don't know whether they are              ·2· · · · MR. TAYLOR:· Objection.· Hold on a moment.
·3· or not except to the extent that his understanding            ·3· Objection.
·4· with respect to those documents may have derived              ·4· · · · · · · · ·You don't need to answer that
·5· from a conversation with a lawyer.                            ·5· question and should not answer that question if,
·6· · · · · · · · ·You asked him a question about way             ·6· in fact, the answer to it implicates a conversation
·7· back in the day.· If you want to ask him a question           ·7· that you had with any of your lawyers.· If it
·8· about his website, that's a different question.               ·8· didn't, you can answer it.
·9· We're just going to deal with it question by                  ·9· · · · THE WITNESS:· Attorney-client privilege.
10· question.· That was my counsel to Mr. Savory.· I'm            10· BY MS. SCHROEDER:
11· done talking.                                                 11· · · · Q.· · Okay.· Mr. Savory, what information
12· · · · MS. SCHROEDER:· Okay.                                   12· were you relying on in your answer to the
13· · · · MR. BOWMAN:· Over to you.                     13· interrogatory to state that evidence collected from
14· BY MS. SCHROEDER:                                   14· the crime scene plaintiffs [sic] suppressed in
15· · · · Q.· · So, Mr. Savory, I had thought that I    15· order for you to be framed for the rape of Connie
16· was asking you what you're relying -- what you were 16· Cooper?
17· relying on in this 2020 answer to an interrogatory  17· · · · MR. TAYLOR:· Johnnie -- same objection.
18· that caused you to believe that you were charged    18· · · · · · · · ·Again, if the answer implicates a
19· with the rape of Connie Cooper.                     19· conversation with any of your lawyers, then you
20· · · · MR. BOWMAN:· Same instruction to you,         20· should not answer it.
21· Mr. Savory.· If your answer to that question would  21· · · · THE WITNESS:· Attorney-client privilege.
22· require disclosure of a conversation with a lawyer, 22· BY MS. SCHROEDER:
23· don't answer it.· If you can answer it without      23· · · · Q.· · Okay.· Mr. Savory, what evidence are
24· disclosing a conversation with a lawyer, you're               24· you relying on here to say that the defendants used

                                                        Page 27                                                        Page 29
·1· free to answer.                                    ·1· physical and psychological coercion in order to
·2· · · · THE WITNESS:· Yes.· It don't look like I can ·2· implicate you in the rape of Connie Cooper?
·3· answer that then.                                  ·3· · · · MR. TAYLOR:· If that evidence -- if the
·4· BY MS. SCHROEDER:                                  ·4· answer with regard to that evidence implicates a
·5· · · · Q.· · So -- okay.· So you're stating that    ·5· conversation that you had with any of your attorneys,
·6· it's your lawyers -- or if I'm understanding this  ·6· then you should assert the attorney-client privilege.
·7· from your attorney in these objections that it's   ·7· If that evidence did not come from or in any way be
·8· your lawyers who are telling you you've been       ·8· connected to your attorneys, then you may answer.
·9· charged with rape --                               ·9· · · · THE WITNESS:· I was taken against my will
10· · · · MR. BOWMAN:· And don't answer --             10· into a bathroom.· I was stripped naked, my hair was
11· BY MS. SCHROEDER:                                  11· plucked from my body, from my head, both sides of
12· · · · Q.· · -- and it's your lawyers that are      12· the head, back, front, all my clothes taken on the
13· putting this information in the interrogatory      13· morning of the 26th.· Cold and alone in that
14· answer and the complaint.                          14· washroom.· Didn't know why they were taking my hair
15· · · · MR. BOWMAN:· Don't answer that question.     15· samples, clothes, and later on took my blood at a
16· BY MS. SCHROEDER:                                  16· hospital.· I didn't really know what was going on
17· · · · Q.· · So I'm going to ask each individual    17· with me with that.
18· question.                                          18· BY MS. SCHROEDER:
19· · · · · · · · ·Mr. Savory, can you tell me how --  19· · · · Q.· · So you didn't know why they were doing
20· no, strike that.                                   20· that?
21· · · · · · · · ·Can you tell me what you're relying 21· · · · A.· · I know what they were -- what they were
22· on to say that the defendants in this case have    22· saying.· They said all kind of things to me.
23· created a conspiracy and misconduct to accuse you 23· · · · Q.· · What did they say?
24· of the rape of Connie Cooper?                      24· · · · A.· · Calling me a liar, murderer, all those


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·1· things.                                             ·1· · · · · · · · ·And now I'm asking him to explain to
·2· · · · Q.· · Did they call you anything else?        ·2· me why that experience is what he is relying on for
·3· · · · A.· · They called me quite a few things.      ·3· this answer.· And you're telling me the analysis of
·4· · · · Q.· · What?                                   ·4· it is attorney-client privilege.
·5· · · · A.· · And some things I can remember.· Some   ·5· · · · MR. TAYLOR:· Certainly.· If that evidence was
·6· things I can't.· But it was just -- it was a moment ·6· taken to an attorney and that attorney interpreted
·7· in time 45 years ago that I still tremble and shake ·7· it to be a rape -- or a charge of rape or an
·8· and try to suppress.· Never -- it's a nightmare     ·8· implication of rape and put it in a pleading that
·9· that I still -- plague me to this day.· I don't     ·9· that attorney signed, that would be attorney-client
10· know and I didn't understand everything that I was  10· privilege, and you know that.· You've just pulled
11· going through.· And we're talking about nearly 50   11· this out to play games.
12· years ago.· So that's -- this is -- but I know that 12· · · · · · · · ·Let's get to the questions and
13· they treated me like I was the worst human being on 13· answers that are concerned with this case and quit
14· this planet.                                        14· playing with the word, "rape."· Okay?· We know what
15· · · · Q.· · How is that evidence to implicate you   15· you're doing.· We've given you about half an hour
16· in rape?                                            16· to do it.· It's time to move on to your stack of
17· · · · MR. TAYLOR:· Objection; form, foundation.     17· documents.
18· BY MS. SCHROEDER:                                   18· BY MS. SCHROEDER:
19· · · · Q.· · I'm asking, Mr. Savory, what evidence   19· · · · Q.· · Mr. Savory, aside from the experience
20· you're relying on to say that the defendants        20· that you just explained in the bathroom with your
21· fabricated evidence in order to frame you for the   21· hairs and your clothes being taken, is there any
22· rape of Connie Cooper.· And you just explained to   22· other evidence that you're using to rely on the
23· me how your hairs were taken and clothes were taken 23· fact that the defendants are framing you for the
24· from you in response to that answer.· So I'm asking 24· rape of Connie Cooper?

                                              Page 31                                                   Page 33
·1· for you to please explain it a little bit further     ·1· · · · MR. TAYLOR:· Same instruction, Johnnie.· If
·2· about how you're relying on that incident to say      ·2· you can answer it, answer it.· But don't answer
·3· that the defendants are framing you for Connie        ·3· it if it implicates your conversations with your
·4· Cooper's rape.                                        ·4· attorney.
·5· · · · MR. TAYLOR:· You may answer that if it          ·5· · · · THE WITNESS:· The fabrication of the blood
·6· isn't -- doesn't implicate conversations with         ·6· on the pants, the fabrication of the blood on
·7· your attorneys --                                     ·7· the knife, the fabrication of everything that you
·8· · · · THE WITNESS:· We're fine.                       ·8· see here, and those lab reports that you read,
·9· · · · MR. TAYLOR:· -- in analyzing the evidence.      ·9· everything that you told the jury, everything you
10· · · · THE WITNESS:· Okay.                             10· told the courts, everything you told the public
11· · · · MS. SCHROEDER:· What -- how is that -- how      11· all was a lie.· And we know that now through DNA
12· is that an attorney-client objection?· He -- I'm      12· testing.· Everything you implicated, implied is
13· asking for his personal knowledge, and he just        13· right there in front of us all.· And in none of it,
14· told me --                                            14· none of it has my name, my DNA nowhere in the
15· · · · MR. TAYLOR:· That wasn't what you --            15· blood, in the clothes, anything, hair samples,
16· · · · MS. SCHROEDER:· -- about a personal             16· nothing.· And it's so sad.· So sad.· Because we had
17· experience that --                                    17· a piece of evidence from Connie's hands and James'
18· · · · MR. TAYLOR:· That wasn't what you asked.        18· hands, the hairs in it, even back then clearly were
19· · · · MS. SCHROEDER:· I did.· I asked him what        19· not mine.· But that didn't stop them from telling
20· information he's relying on to say that he is being   20· the jury -- two juries they were mine.· And all of
21· charged -- or the defendants framed him for rape,     21· the things they said to me, I cannot remember.
22· and he is saying in response an experience that he    22· · · · · · · · ·But I can tell you this.· All the
23· had with the defendants, that that was his answer     23· things they done to me was all a lie.· And the rest
24· to my question.                                       24· is attorney-client privilege.


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·1· · · · · · · · ·I hope I've answered your question.  ·1· · · · A.· · Lack of.· None.· None.· And it proves --
·2· But I ... the trauma sometimes is --                ·2· · · · Q.· · I don't know what you mean when you say
·3· BY MS. SCHROEDER:                                   ·3· "none."
·4· · · · Q.· · Mr. Savory, do you believe you've been  ·4· · · · A.· · Let me say this here.· In the blood
·5· found innocent of this crime?                       ·5· lies the truth.· Indeed?· Indeed, right?
·6· · · · A.· · Yes.                                    ·6· · · · Q.· · So let's -- let's think about this more
·7· · · · Q.· · Okay.· And when I say "this crime," I'm ·7· succinctly.
·8· going to go through the three crimes that you're -- ·8· · · · · · · · ·So which specific DNA test are
·9· have alleged in your complaint and then also in     ·9· you relying on to say that you have been proven
10· your answers to interrogatories.                    10· innocent of the murder of Scopey?
11· · · · · · · · ·So do you believe that you've been   11· · · · MR. TAYLOR:· I object to the form.· The kind
12· found innocent of the murder of your friend Scopey? 12· of predicate that you put in your question, "let's
13· · · · MR. TAYLOR:· Objection to the form.           13· think about this more distinctly."· This man has
14· · · · · · · · ·You may answer.                      14· been thinking about this distinctly --
15· · · · THE WITNESS:· Yes.                            15· · · · MS. SCHROEDER:· Are you --
16· BY MS. SCHROEDER:                                   16· · · · MR. TAYLOR:· -- for 45 years.
17· · · · Q.· · Why?                                    17· · · · MS. SCHROEDER:· The speaking objections are
18· · · · A.· · DNA.                                    18· going to stop, Flint.· The speaking objections are
19· · · · Q.· · Which DNA?                              19· going to stop.
20· · · · A.· · The DNA that was taken from the crime   20· · · · MR. TAYLOR:· My ob- -- no.
21· scene and from me.· DNA.· My blood.· Their blood.   21· · · · MS. SCHROEDER:· Yes.
22· · · · Q.· · Who's "their" blood?                    22· · · · MR. TAYLOR:· I'm going to make my objections,
23· · · · A.· · The victims.· None of that is on me.    23· and -- you're not telling me what's going to stop
24· Although the state said it was on me.· And said I   24· and what's not going to stop.

                                                         Page 35                                                  Page 37
·1· wore clothes that I did not wear that was ten --               ·1· · · · MS. SCHROEDER:· The speaking objections will
·2· five, six times bigger than I am.· But they said               ·2· stop.
·3· that I walked around with the victims' blood on                ·3· · · · MR. TAYLOR:· Oh, thank you.· Well, your
·4· me and the victims' blood was on the knife.· The               ·4· questions that are objectionable will stop.· Okay?
·5· victims' blood everywhere.· But none of that                   ·5· · · · MS. SCHROEDER:· No.
·6· belongs to Johnnie Savory.                                     ·6· · · · MR. TAYLOR:· Now we're even.
·7· · · · Q.· · So I'm going to see if I understand                ·7· · · · MS. SCHROEDER:· You can object.· I'm not
·8· this.· You're saying that you were found innocent              ·8· saying --
·9· because none of the victims' blood was found on                ·9· · · · MR. TAYLOR:· Objection to the form.
10· you?                                                           10· · · · MS. SCHROEDER:· -- you can't object.
11· · · · MR. TAYLOR:· Objection; mischaracterizes and             11· BY MS. SCHROEDER:
12· incompletely summarizes his answer.                            12· · · · Q.· · Perfect.
13· · · · MS. SCHROEDER:· Yeah.· I mean --                         13· · · · · · · · ·Mr. Savory, please tell me which DNA
14· · · · MR. TAYLOR:· Objection to the form.                      14· test you are relying on to say that you have been
15· BY MS. SCHROEDER:                                              15· found innocent of the murder of James Robinson.
16· · · · Q.· · Please, Mr. Savory, explain that to me.            16· · · · A.· · You have to rely on the state laboratory
17· · · · A.· · Explain what?                                      17· reports that you have in your possession.
18· · · · MR. TAYLOR:· Explain what?                               18· · · · Q.· · Do you know which specific test that --
19· · · · THE WITNESS:· What you asking?                           19· · · · A.· · No, I do not.
20· BY MS. SCHROEDER:                                              20· · · · Q.· · -- you are relying on?
21· · · · Q.· · Your answer how the DNA -- how the lack            21· · · · A.· · No, I do not.
22· of the victims' DNA on you has --                              22· · · · Q.· · Okay.· Is there any other evidence that
23· · · · A.· · Lack of.                                           23· you're relying on to say that you have been found
24· · · · Q.· · -- proven you innocent.                            24· innocent of this crime, of the murder of James


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·1· Robinson?                                             ·1· innocent of the rape of Connie Cooper?
·2· · · · A.· · I'm going to just -- attorney-client      ·2· · · · MR. TAYLOR:· Objection; form, foundation.
·3· privilege with that.· I gave you what I had.          ·3· · · · THE WITNESS:· Yes.
·4· · · · Q.· · So only the -- I just want to make sure   ·4· BY MS. SCHROEDER:
·5· it's clear.· So the other evidence that you are       ·5· · · · Q.· · What evidence are you relying on to
·6· relying on to say that you are innocent of the murder ·6· form your belief that you've been found innocent of
·7· of James Robinson is protected by attorney-client     ·7· the rape of Connie Cooper?
·8· privilege?                                            ·8· · · · A.· · The same laboratory report I just
·9· · · · A.· · Yes.                                      ·9· mentioned to you with the semen and testing, the
10· · · · Q.· · Okay.· What evidence are you relying --   10· DNA laboratory reports that either you possess or
11· well, strike that.                                    11· the courts possess from the postconviction hearing.
12· · · · · · · · ·Do you believe you've been found       12· · · · Q.· · Are there any other tests besides the
13· innocent of the murder of Connie Cooper?              13· one that you've mentioned about the semen that
14· · · · A.· · Yes.                                      14· you're relying on to form this belief?
15· · · · Q.· · What evidence are you relying on to       15· · · · A.· · I'm not aware of it at this moment,
16· form your belief that you have been found innocent 16· but ...
17· of Connie Cooper's murder?                            17· · · · Q.· · Okay.· Is there any other evidence at
18· · · · A.· · State laboratory reports.                 18· all that you're relying on to form the belief that
19· · · · Q.· · Do you know which specific state          19· you've been found innocent of the rape of Connie
20· laboratory reports you're relying on?                 20· Cooper?
21· · · · A.· · Unless you have them in the file,         21· · · · MR. TAYLOR:· Objection --
22· I don't have them in front of me.                     22· · · · THE WITNESS:· That's the attorney-client
23· · · · Q.· · I'm asking you which reports you're       23· privilege.
24· relying on.                                           24· · · · MR. TAYLOR:· -- form and foundation.

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·1· · · · A.· · I cannot --                               ·1· BY MS. SCHROEDER:
·2· · · · MR. TAYLOR:· Objection; asked and answered.     ·2· · · · Q.· · Okay.· And you said yes, there is, but
·3· · · · THE WITNESS:· -- remember the exact report.     ·3· it's attorney-client privilege?
·4· We're talking about 2013.                             ·4· · · · A.· · No.· I said it's attorney-client
·5· BY MS. SCHROEDER:                                     ·5· privilege.
·6· · · · Q.· · Okay.· Were there specific DNA tests      ·6· · · · Q.· · So you can't tell me what --
·7· that were done that you believe the results proved    ·7· · · · A.· · No.
·8· your innocence of Connie Cooper's murder?             ·8· · · · Q.· · -- other evidence -- okay.
·9· · · · A.· · Yes.                                      ·9· · · · A.· · No.
10· · · · Q.· · Which DNA test?                           10· · · · Q.· · Because it's protected by attorney-
11· · · · A.· · Don't know the test.· But I can quote     11· client privilege?
12· you what it said in the test to the best of my        12· · · · A.· · Yes, ma'am.
13· ability.· And that is that semen was found inside     13· · · · Q.· · Okay.· Do you believe -- well, strike
14· of Connie Cooper, and it did not match Johnnie        14· that.
15· Savory.                                               15· · · · · · · · ·If you've been found innocent of the
16· · · · Q.· · And that's because?                       16· murder of James Robinson, why were you petitioning
17· · · · A.· · I don't know the because.                 17· the governor for a pardon based on innocence in
18· · · · Q.· · Okay.· Is there any other evidence that   18· 20- -- I think that it was 2016?
19· you're relying on to form your belief that you've     19· · · · MR. TAYLOR:· Objection; form and foundation.
20· been found innocent of Connie Cooper's murder?        20· · · · THE WITNESS:· Attorney-client privilege.
21· · · · A.· · That is also attorney-client privilege.   21· BY MS. SCHROEDER:
22· · · · Q.· · Okay.· What evidence are you relying      22· · · · Q.· · Okay.· Has a court ever announced that
23· on -- nope.· Strike that.                             23· you have been found innocent of the murder of James
24· · · · · · · · ·Do you believe you've been found       24· Robinson?


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·1· · · · A.· · No.                                     ·1· BY MS. SCHROEDER:
·2· · · · Q.· · Has a court ever announced that you     ·2· · · · Q.· · Okay.· Do you believe the pardon
·3· have been found innocent of the murder of Connie    ·3· that -- well, strike that.
·4· Cooper?                                             ·4· · · · · · · · ·When did you receive your pardon
·5· · · · A.· · No.                                     ·5· from the governor?
·6· · · · Q.· · Has a court ever announced that you     ·6· · · · A.· · January 2015, I assume.· I'm not sure.
·7· have been found innocent of the rape of Connie      ·7· · · · Q.· · But around there, around 2015?
·8· Cooper?                                             ·8· · · · A.· · Something like that, yeah.
·9· · · · A.· · Say that again.                         ·9· · · · Q.· · Okay.· And do you believe that this
10· · · · Q.· · Has a court ever announced that you     10· pardon proclaimed you innocent of the crimes that
11· have been found innocent of the rape of Connie      11· you had been convicted of?
12· Cooper?                                             12· · · · MR. TAYLOR:· Objection; form and foundation.
13· · · · A.· · No.                                     13· · · · THE WITNESS:· Yes.
14· · · · Q.· · Okay.· Has the governor of Illinois     14· BY MS. SCHROEDER:
15· ever proclaimed that you are innocent of the murder 15· · · · Q.· · Okay.· This is Exhibit 2.
16· of Connie Cooper?                                   16· · · · · · · · ·Okay.· So actually, Mr. Savory, I
17· · · · MR. TAYLOR:· Objection; form, foundation.     17· think I'm going to do this as a Group Exhibit 2
18· · · · THE WITNESS:· Attorney-client privilege.      18· because I need to have both these together.
19· BY MS. SCHROEDER:                                   19· · · · · · · · ·Here you go, Mr. Savory.· I'm going
20· · · · Q.· · Has the governor ever proclaimed that   20· to do that one also.· And we're going to make this
21· you have been found innocent of the murder of James 21· a group exhibit.
22· Robinson?                                           22· · · · · · · · ·And I -- for the record, this is --
23· · · · A.· · I was granted a full pardon by the      23· the one exhibit is Savory-LL-4980 through --
24· governor.· Yes.                                     24· sorry -- 5019.

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·1· · · · Q.· · What do you understand that full pardon   ·1· · · · · · · · ·And then the other exhibit is --
·2· to mean?                                              ·2· I believe we actually received from plaintiff,
·3· · · · A.· · I know --                                 ·3· but there's no Bates stamp on it.· But it's a
·4· · · · MR. TAYLOR:· Objection; form, foundation,       ·4· January 11th, 2019 letter from the Prisoner Review
·5· calls for a legal conclusion.                         ·5· Board addressed to Christopher Tompkins regarding
·6· · · · · · · · ·You may answer.                        ·6· Johnnie Savory.
·7· · · · THE WITNESS:· My entire criminal history has    ·7· · · · · · · · ·Mr. Savory --
·8· been expunged, and I am a free and legal citizen of   ·8· · · · A.· · Before you ask something, can I use the
·9· the United States again with all the rights and       ·9· washroom right quick?
10· privileges that every other citizen of the United     10· · · · Q.· · Can you what?
11· States have.                                          11· · · · A.· · Use the washroom right quick.
12· BY MS. SCHROEDER:                                     12· · · · Q.· · Yes.
13· · · · Q.· · Do you have the right to own a gun?       13· · · · A.· · Thank you.
14· · · · A.· · I don't desire to own one.                14· · · · THE VIDEOGRAPHER:· Going off the record at
15· · · · Q.· · I'm sorry?                                15· 11:21 a.m.
16· · · · A.· · I don't desire to own one.                16· · · · · · · · · · · · · ·(Recess taken.)
17· · · · Q.· · That's not -- my question is do you       17· · · · THE VIDEOGRAPHER:· We are back on the record
18· have the right to own a gun?                          18· at 11:30 a.m.
19· · · · MR. TAYLOR:· Objection; asked and answered.     19· · · · MR. TAYLOR:· For the record, just so it's
20· · · · THE WITNESS:· That's my answer.                 20· clear, is Defendant Teplitz still on the Zoom?
21· BY MS. SCHROEDER:                                     21· · · · MS. TEPLITZ:· Yes, we both are.
22· · · · Q.· · Are you not answering this question?      22· · · · MR. TAYLOR:· Thank you.
23· · · · MR. TAYLOR:· You may answer.· If you know.      23· · · · MS. SCHROEDER:· All good?
24· · · · THE WITNESS:· Attorney-client privilege.        24· · · · THE VIDEOGRAPHER:· We're set.


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·1· BY MS. SCHROEDER:                                              ·1· · · · · · · · ·Do you see that sentence?
·2· · · · Q.· · Okay, good.                                        ·2· · · · A.· · Yes, ma'am.
·3· · · · · · · · ·Okay.· Mr. Savory, so I handed you              ·3· · · · Q.· · Okay.· And then if you continue, it
·4· what is Group Exhibit 2, and the -- I think I would            ·4· says, "However, that pardon was issued without the
·5· like you to look at the thicker document first.                ·5· benefit of recent DNA testing of physical evidence
·6· And let's just look at the front page and I --                 ·6· in Mr. Savory's case that indicates that someone
·7· because I just want to see if you're familiar with             ·7· else, and not Mr. Savory, committed the crime,
·8· this document.                                                 ·8· and therefore did not specifically recognize
·9· · · · · · · · ·So do you see here that the                     ·9· Mr. Savory's innocence as contemplated by 735 ILCS
10· signature is from a Christopher Tompkins?                      10· 5/2-702(h)."
11· · · · A.· · Yes.                                               11· · · · · · · · ·Do you see that sentence there?
12· · · · Q.· · And it's on Jenner & Block letterhead?             12· · · · A.· · Yes.
13· · · · A.· · Yes.                                               13· · · · Q.· · Okay.· What do you understand then that
14· · · · Q.· · Are you familiar with this person?                 14· sentence to mean?
15· · · · A.· · Yes, ma'am.                                        15· · · · MR. TAYLOR:· Objection to the form; calls for
16· · · · Q.· · Who is this person to you?                         16· a legal conclusion.
17· · · · A.· · Was one of my attorneys.                           17· · · · THE WITNESS:· I guess Christopher Tompkins
18· · · · Q.· · Okay.· And do you see the date where it            18· would be the best person to answer that.
19· says July 25th, 2016 --                                        19· · · · MS. SCHROEDER:· Okay.
20· · · · A.· · Yes.                                               20· · · · THE WITNESS:· Yes, ma'am.
21· · · · Q.· · -- at the top?                                     21· BY MS. SCHROEDER:
22· · · · · · · · ·Okay.· And then do you see where                22· · · · Q.· · Okay.· Do you understand, though, as
23· it says the address at the top is to the Illinois              23· you read this sentence that the pardon that was
24· Prisoner Review Board?                                         24· issued by Governor Quinn on January 12, 2015 did


                                                         Page 47                                                            Page 49
·1· · · · A.· · Yes, ma'am.                                        ·1· not specifically recognize your innocence as
·2· · · · Q.· · And then it's regarding Johnnie L.                 ·2· contemplated by an Illinois statute?
·3· Savory supplemental petition for executive                     ·3· · · · MR. TAYLOR:· Objection; form.
·4· clemency?                                                      ·4· · · · THE WITNESS:· I'm not.
·5· · · · A.· · Yes, ma'am.                                        ·5· BY MS. SCHROEDER:
·6· · · · Q.· · Okay.· And if we flip -- well, we can              ·6· · · · Q.· · If you flip to page 3, Mr. Savory, and
·7· just even flip to the second page, and, again, the             ·7· you look at the paragraph that is at the top.· And
·8· title says it's a Supplemental Petition for                    ·8· do you see where it starts, "The results of this
·9· Executive Clemency, and it's signed.                           ·9· new DNA testing ..."?
10· · · · · · · · ·Are you -- do you remember filing               10· · · · A.· · Yes.
11· this supplemental petition for executive clemency              11· · · · Q.· · Okay.· "The results of this new DNA
12· in 2016?                                                       12· testing, when combined with the recantations of
13· · · · MR. TAYLOR:· Objection to form.                          13· each of the witnesses who testified Mr. Savory made
14· · · · THE WITNESS:· Yes, I remember it.                        14· admissions concerning the murders, should remove
15· BY MS. SCHROEDER:                                              15· any lingering question that Mr. Savory committed
16· · · · Q.· · Okay.· And so if we now flip to -- all             16· these horrible crimes for which he spent 30 years,
17· the way where it says the Introduction.· So it's               17· and most of his adult life, in prison."
18· really like after the Table of Contents, maybe four            18· · · · · · · · ·Do you see that sentence?
19· pages in.· Okay.                                               19· · · · A.· · Yes.
20· · · · · · · · ·And do you see here at the top, it              20· · · · Q.· · Do you know what lingering questions
21· says Introduction, it says, "The purpose of this               21· are remaining that this sentence is referring to?
22· supplemental petition is narrow, but important.                22· · · · MR. TAYLOR:· Objection; form, foundation.
23· Mr. Savory was already pardoned by Governor Quinn 23· · · · THE WITNESS:· I would refer to Christopher
24· on January 12th, 2015."                                        24· Tompkins.


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·1· BY MS. SCHROEDER:                                   ·1· on innocence?
·2· · · · Q.· · Okay.· So you don't know?               ·2· · · · MR. TAYLOR:· Objection.
·3· · · · A.· · No, ma'am.                              ·3· · · · THE WITNESS:· I'm saying you could refer to
·4· · · · Q.· · Okay.· And then the last sentence there ·4· him.
·5· says, "Accordingly, Mr. Savory respectfully asks    ·5· · · · MR. TAYLOR:· Johnnie, hold on.· Hold on.
·6· the governor to use his power of executive clemency ·6· I will advise you that that conversation with
·7· to correct errors made by police, prosecutors, the  ·7· Mr. Tompkins is privileged, and you do not have to,
·8· courts, and unwittingly the jury, and recognize     ·8· nor should you, answer that question if it
·9· Mr. Savory's innocence."                            ·9· implicates a conversation you had with him.
10· · · · · · · · ·Do you see that?                     10· · · · THE WITNESS:· I'm going to refer it back to
11· · · · A.· · Yes.                                    11· Christopher Tompkins.
12· · · · Q.· · Okay.· What do you understand that      12· BY MS. SCHROEDER:
13· sentence to be requesting of this governor?         13· · · · Q.· · Okay.· Is there any information aside
14· · · · MR. TAYLOR:· Objection; form --               14· from what Mr. Tompkins has told you that you are
15· · · · THE WITNESS:· I'm not sure.                   15· relying on for your belief that the governor's
16· · · · MR. TAYLOR:· -- foundation.                   16· pardon proclaimed you innocent of these crimes?
17· · · · THE WITNESS:· I think Mr. Tompkins --         17· · · · MR. TAYLOR:· Again, Johnnie, if it's a
18· · · · MR. TAYLOR:· Let me finish my objection.      18· conversation with any attorney, you should assert
19· · · · THE WITNESS:· Oh, I'm sorry.                  19· your privilege.· If it's -- if you're relying on
20· · · · MR. TAYLOR:· Form, foundation.                20· something else other than what attorneys have told
21· · · · · · · · ·Go right ahead and finish.           21· you, then go right ahead and answer the question.
22· · · · THE WITNESS:· I will refer this to            22· · · · THE WITNESS:· I'm going to go back to
23· Christopher Tompkins again.                         23· Christopher Tompkins as -- for this petition.
24                                                      24

                                              Page 51                                                 Page 53
·1· BY MS. SCHROEDER:                                   ·1· BY MS. SCHROEDER:
·2· · · · Q.· · Are you referring to him because you    ·2· · · · Q.· · Okay.· Is there any non-privileged
·3· don't know?                                         ·3· information that you are relying on to say that
·4· · · · A.· · No, I don't.                            ·4· the governor's pardon was based on innocence?
·5· · · · Q.· · Okay.· Is there any other reason you    ·5· · · · A.· · No.
·6· would be referring me to Mr. Tompkins for the       ·6· · · · Q.· · Okay.· Are you aware of what the result
·7· answer?                                             ·7· was of this 2016 petition for executive clemency?
·8· · · · A.· · No.· He drafted this up, you know.      ·8· · · · A.· · Yes.
·9· Once the governor pardoned me, I believe            ·9· · · · Q.· · And what was that result?
10· wholeheartedly that he did it based on my           10· · · · A.· · It was denied.
11· innocence.                                          11· · · · Q.· · Okay.· Do you know why it was denied?
12· · · · Q.· · Okay.                                   12· · · · A.· · No.
13· · · · A.· · Yes, ma'am.                             13· · · · Q.· · Do you have any non-privileged
14· · · · Q.· · And what information was given to you   14· information on why this petition was denied?
15· that you believe the governor granted the pardon    15· · · · A.· · No.
16· based on innocence?                                 16· · · · Q.· · Okay.· Did you ever seek to find out
17· · · · MR. TAYLOR:· Objection.                       17· why it was denied?
18· · · · · · · · ·Johnnie, if that information came    18· · · · A.· · I refer back to Christopher Tompkins.
19· from any attorney, then that's covered by lawyer-   19· · · · Q.· · Okay.· And are you referring to me --
20· client privilege.                                   20· him to me because your answer is privileged?
21· · · · THE WITNESS:· Mr. Christopher Tompkins I'll   21· · · · A.· · Between, yes, he and I.
22· refer.                                              22· · · · Q.· · Okay.· And is there any non-privileged
23· BY MS. SCHROEDER:                                   23· information that you can share with me to
24· · · · Q.· · He told you that the pardon was based   24· demonstrate what you did to find out why your


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·1· petition was denied?                                  ·1· · · · Q.· · -- correct?
·2· · · · A.· · No, ma'am.                                ·2· · · · A.· · Yes, ma'am.
·3· · · · Q.· · Okay.· Do you have any thoughts on why    ·3· · · · Q.· · Okay.· And do you believe that this
·4· it was denied?                                        ·4· lawsuit is going to proclaim you a finding of
·5· · · · MR. TAYLOR:· Objection to the form.             ·5· innocence?
·6· · · · THE WITNESS:· No, ma'am.                        ·6· · · · A.· · I believe it's going to -- it has to
·7· BY MS. SCHROEDER:                                     ·7· to -- yes, I believe it will.
·8· · · · Q.· · Okay.· Do you currently have another      ·8· · · · Q.· · Okay.· And is there any other -- aside
·9· petition before the governor asking for executive     ·9· from this lawsuit, is there any other document
10· clemency?                                             10· that's filed with any court where you're seeking
11· · · · A.· · Not that I'm aware of.                    11· that court to proclaim you innocent?
12· · · · Q.· · Okay.· Do you have any petitions in any   12· · · · A.· · I refer that back to my attorneys.
13· court that are seeking to proclaim you innocent of    13· · · · Q.· · Okay.· And are you referring me to your
14· the murder of James Robinson?                         14· attorneys because the information is privileged?
15· · · · A.· · Not that I'm aware of.                    15· · · · A.· · Because they would know.
16· · · · Q.· · Okay.· And do you have any petition       16· · · · Q.· · And explain to me that answer.· Meaning
17· currently before the court seeking that court to      17· you don't know?
18· proclaim you innocent of the murder of Connie         18· · · · A.· · Not that I'm aware of.
19· Cooper?                                               19· · · · MR. TAYLOR:· Objection to form.
20· · · · A.· · Not that I'm aware of.                    20· BY MS. SCHROEDER:
21· · · · Q.· · Okay.· And is there anything that you     21· · · · Q.· · Okay.· Okay.· Would you expect your
22· would need in order for you to provide an answer      22· attorneys to inform you if they were petitioning a
23· that is more definitive than not that you're aware    23· court for a legal proclamation of your innocence?
24· of?                                                   24· · · · MR. TAYLOR:· Objection.

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·1· · · · A.· · My attorneys --                           ·1· · · · THE WITNESS:· Attorney-client privilege.
·2· · · · MR. TAYLOR:· Objection.· It's asked and         ·2· BY MS. SCHROEDER:
·3· answered.                                             ·3· · · · Q.· · Okay.· Okay.· Do you recall that you
·4· · · · THE WITNESS:· I refer to my attorneys.· They    ·4· had a -- you were pursuing additional DNA testing
·5· would know.                                           ·5· in the Peoria County Court?
·6· BY MS. SCHROEDER:                                     ·6· · · · MR. TAYLOR:· Objection.· At what time are you
·7· · · · Q.· · Your attorneys will know if you have      ·7· talking about?
·8· current petitions pending requesting your --          ·8· · · · MS. SCHROEDER:· Yeah.· That would be -- let
·9· · · · A.· · Yes, ma'am.                               ·9· me see here.
10· · · · Q.· · -- the courts to proclaim you innocent?   10· BY MS. SCHROEDER:
11· · · · A.· · Yes, ma'am.                               11· · · · Q.· · Mr. Savory, were you ever pursuing
12· · · · Q.· · Okay.· And I just want to clarify that    12· a certificate of innocence in Peoria County?
13· when you say not that you're aware of, what does      13· · · · A.· · Yes.
14· that mean?· That you have no knowledge of any         14· · · · Q.· · Okay.· Do you know what a certificate
15· petition that's been filed -- currently filed with    15· of innocence is?
16· the court?                                            16· · · · A.· · Yes.
17· · · · A.· · I'm aware of this.                        17· · · · Q.· · Okay.· Can you tell me what a
18· · · · Q.· · Okay.· And when you say "this," do you    18· certificate of innocence is?
19· mean this --                                          19· · · · MR. TAYLOR:· Objection; calls for a legal
20· · · · A.· · The civil --                              20· conclusion.
21· · · · Q.· · The civil --                              21· · · · · · · · ·You may answer.
22· · · · A.· · The civil suit.                           22· · · · THE WITNESS:· A certificate that allows you
23· · · · Q.· · -- lawsuit that we're in right now --     23· to get compensation from the state.
24· · · · A.· · Yes.· Yes, ma'am.                         24


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·1· BY MS. SCHROEDER:                                     ·1· · · · MR. TAYLOR:· Objection to the form of the
·2· · · · Q.· · Okay.· Are you currently pursuing that    ·2· question.
·3· certificate of innocence?                             ·3· · · · MS. SCHROEDER:· I'm not asking him.· I'm
·4· · · · A.· · Yeah, within this document, but I'm not   ·4· asking you.
·5· aware of any other documents.                         ·5· · · · MR. TAYLOR:· I'm not a witness here either.
·6· · · · Q.· · Okay.· Did your -- did you stop           ·6· · · · MS. SCHROEDER:· Okay.· Well, you're certainly
·7· pursuing the certificate of innocence with the        ·7· talking enough that you're providing enough
·8· Peoria County Court?                                  ·8· information and instruction to me.· So I'm trying
·9· · · · A.· · I'm going to refer that to Josh Tepfer,   ·9· to clarify.· I always thought that the client held
10· who I believe -- my attorney, Josh, I think           10· the attorney-client privilege.
11· that's -- he would be the best one to answer for      11· BY MS. SCHROEDER:
12· that.                                                 12· · · · Q.· · Mr. Savory, when you --
13· · · · Q.· · Okay.· And why is he the best one to      13· · · · A.· · Yes.
14· answer that?                                          14· · · · Q.· · -- say Josh Tepfer is the best person
15· · · · MR. TAYLOR:· Objection.· If that implicates     15· to answer that question, what do you mean by that?
16· any conversations you had with Josh, then you need    16· · · · A.· · I mean he was my attorney at
17· not and should not answer it.                         17· Northwestern, and he's the person that I rely on
18· · · · THE WITNESS:· It would be attorney-client       18· for this situation.
19· privilege with Josh Tepfer.· I think he would be      19· · · · Q.· · Okay.· And so are you saying to me that
20· the best person to answer those questions.            20· the information is privileged as to why you stopped
21· BY MS. SCHROEDER:                                     21· pursuing a certificate of information -- or
22· · · · Q.· · And are you telling me to ask him that    22· innocence?· Excuse me.
23· question?                                             23· · · · A.· · Yes.
24· · · · MR. TAYLOR:· Objection.                         24· · · · Q.· · It is privileged?

                                              Page 59                                                              Page 61
·1· · · · THE WITNESS:· I'm just referring to the         ·1· · · · A.· · Yes.
·2· person that was my attorney at that time.             ·2· · · · Q.· · Okay.
·3· BY MS. SCHROEDER:                                     ·3· · · · A.· · Yes, ma'am.
·4· · · · Q.· · Okay.· So when you're referring me to     ·4· · · · Q.· · Okay.· And then do you recall that
·5· go to an attorney to get that information, are you    ·5· after you filed -- do you remember when you filed
·6· instructing me to get that information from that      ·6· the current lawsuit that we're in right now?
·7· attorney?                                             ·7· · · · A.· · I believe it was -- I believe it was
·8· · · · MR. TAYLOR:· Objection.· You know that he       ·8· January 2017.
·9· can't instruct you to do anything.· He's here as      ·9· · · · Q.· · That's right.· Yeah.
10· a witness and that he's here to answer your           10· · · · · · · · ·And do you recall that even after
11· questions.                                            11· that time that you had filed this document, you
12· · · · MS. SCHROEDER:· He's not -- he is here as a     12· were still pursuing additional DNA testing on other
13· party.· He is here as the plaintiff, not a witness.   13· evidence down in Peoria County; is that correct?
14· · · · MR. TAYLOR:· Okay.· He's a witness and a        14· · · · A.· · Josh Tepfer would be the best one to
15· plaintiff.· Fine.· That's a distinction without a     15· answer that.
16· difference --                                         16· · · · Q.· · So you're not aware of it, or are you
17· · · · MS. SCHROEDER:· And I'm --                      17· telling me that your knowledge of it --
18· · · · MR. TAYLOR:· -- for purposes of your            18· · · · A.· · Attorney-client --
19· question.· He's not here to instruct you, nor can     19· · · · Q.· · -- is privileged?
20· he instruct you, nor need you or should you ask him   20· · · · A.· · -- privilege, yes.
21· whether he's instructing you to do anything.          21· · · · Q.· · Your knowledge of it?
22· · · · MS. SCHROEDER:· Why, as a grown man, can he     22· · · · A.· · Yes.
23· not instruct me where I should go get the answer to   23· · · · Q.· · Okay.· Okay.· You do know that court
24· the question I'm asking?                              24· appearances are public, correct?


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·1· · · · A.· · Yes.                                        ·1· and I stick by what I gave you.
·2· · · · Q.· · Okay.· And so court appearances and         ·2· · · · Q.· · Okay.
·3· things that you say in court during court               ·3· · · · A.· · Yes, ma'am.
·4· appearances are public; is that correct?                ·4· · · · Q.· · And I just need to clarify because --
·5· · · · A.· · Yes, ma'am.                                 ·5· and my understanding is that you are saying that
·6· · · · Q.· · Okay.· And so are you telling me            ·6· defendants' misconduct framed you and implicated
·7· that you cannot tell me that you were pursuing          ·7· you in the rape of Connie Cooper; is that correct?
·8· an additional DNA testing in Peoria County courts       ·8· · · · A.· · I am going to stick by what I -- what
·9· because that's privileged information?                  ·9· you asked me and what I shared with you that's
10· · · · A.· · I'm telling you that that's                 10· being recorded.
11· confidential between me and Josh Tepfer.                11· · · · Q.· · Okay.
12· · · · Q.· · Okay.· Mr. Savory --                        12· · · · A.· · I'm going to stick to that.· And I
13· · · · A.· · Yes, ma'am.                                 13· can't go back and verbatim and go over all that
14· · · · Q.· · -- did you eventually stop seeking --       14· and nor do I have a desire to go over it because I
15· or I guess -- strike that.                              15· don't want to relive what I went through in that
16· · · · · · · · ·Did you eventually stop pursuing the     16· bathroom and no parts of the interrogation or what
17· additional DNA testing on other evidence?               17· took place.· I gave you the best answer I could
18· · · · A.· · That is another question for Josh           18· give you when you asked me that.
19· Tepfer; attorney privilege.                             19· · · · Q.· · Okay.
20· · · · Q.· · And are you referring me to Mr. Tepfer      20· · · · A.· · Yes, ma'am.
21· because your answer is --                               21· · · · Q.· · Okay.· Mr. Savory, how old were you
22· · · · A.· · Privileged between --                       22· when you had your first sexual experience?
23· · · · Q.· · -- based on privileged information?         23· · · · MR. TAYLOR:· Objection.· I'm going to object
24· · · · A.· · Yes, ma'am.                                 24· in terms of form, in terms of foundation, and also

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·1· · · · Q.· · Okay.· And is there any other               ·1· in terms of relevance.
·2· information that you can share with me to explain       ·2· · · · THE WITNESS:· I don't even know what -- how
·3· why you stopped the DNA testing that would not be       ·3· to even answer that.· Why is it relevant?· I don't
·4· privileged?                                             ·4· understand what you're asking me.· When was the
·5· · · · MR. TAYLOR:· Objection.                           ·5· first time?
·6· · · · THE WITNESS:· I cannot.                           ·6· · · · MS. SCHROEDER:· Yes.
·7· · · · MR. TAYLOR:· It assumes a fact not in evidence.   ·7· · · · THE WITNESS:· I don't remember.
·8· · · · THE WITNESS:· I cannot.                           ·8· BY MS. SCHROEDER:
·9· BY MS. SCHROEDER:                                       ·9· · · · Q.· · Was it before you were arrested for the
10· · · · Q.· · Okay.· So Mr. Taylor brings up a good       10· murder of James Robinson and Connie Cooper?
11· point.· Did you, in fact, stop pursuing additional      11· · · · MR. TAYLOR:· Same objection.
12· DNA testing in Peoria County?                           12· · · · THE WITNESS:· I would say after my release
13· · · · A.· · Josh Tepfer would appear to be the best     13· from prison.
14· one; privileged between he and I.                       14· BY MS. SCHROEDER:
15· · · · Q.· · Okay.· So the fact of whether you           15· · · · Q.· · Okay.· And what was that experience
16· were -- are or are not pursuing DNA testing is          16· that you're referencing?
17· privileged information; is that correct?                17· · · · MR. TAYLOR:· Objection.· Can you tell us how
18· · · · A.· · Yes, ma'am.                                 18· this has any arguable relevance to this case?
19· · · · Q.· · Okay.· Okay.· So, Mr. Savory, I just        19· · · · MS. SCHROEDER:· Certainly.· He is maintaining
20· want to confirm before I continue down these            20· that he has been charged and framed and implicated
21· questions.· Are you maintaining that you were           21· in the rape of Connie Cooper.· And in your
22· charged with rape in this case, in the underlying       22· pleadings and in many of the things that the
23· case of Connie Cooper?                                  23· lawyers have filed over the years, they proclaim
24· · · · A.· · I gave you my description in my answer,     24· that Johnnie Savory was a 14-year-old boy who would


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·1· be unable to do that sort of sexual act on a woman.   ·1· what the experiences that he said he had after he
·2· · · · MR. TAYLOR:· Point -- do you want to point to   ·2· was released from prison.
·3· a point where we've made that allegation that he'd    ·3· · · · THE WITNESS:· Okay.· Could you be specific
·4· be unable to do that?                                 ·4· about the sexual experience that you want me to
·5· · · · MS. SCHROEDER:· Well, I'm going to continue     ·5· share with you?
·6· my ques- --                                           ·6· BY MS. SCHROEDER:
·7· · · · MR. TAYLOR:· Let's see that.                    ·7· · · · Q.· · Okay.· So if that's -- certainly.
·8· · · · MS. SCHROEDER:· No.· I'm going to continue --   ·8· · · · · · · · ·Mr. Savory, how old were you when
·9· · · · MR. TAYLOR:· Hang on.· You're relying on --     ·9· you had sexual intercourse, your first sexual
10· you're pulling that one out of your hat.              10· intercourse?
11· · · · MS. SCHROEDER:· So are you telling me, Flint,   11· · · · A.· · Okay.· I want to say 4- -- 44.
12· that you have not maintained and filed federal        12· · · · Q.· · 44.
13· court documents saying that the defendants'           13· · · · A.· · Yes.
14· misconduct implicated and framed Johnnie Savory for   14· · · · Q.· · Okay.· And was that after you were
15· rape?                                                 15· released from incarceration?
16· · · · MR. TAYLOR:· No.· You've just -- you showed     16· · · · A.· · Yes, ma'am.
17· us the documents --                                   17· · · · Q.· · Okay.· And --
18· · · · MS. SCHROEDER:· Correct.                        18· · · · MR. BOWMAN:· Just so it's clear, I have a --
19· · · · MR. TAYLOR:· -- that make that allegation.      19· we have an objection to this line of questioning
20· · · · MS. SCHROEDER:· And now I'm exploring it.       20· and to its form and foundation and relevance.
21· · · · MR. TAYLOR:· But the leap that you're making    21· BY MS. SCHROEDER:
22· now is --                                             22· · · · Q.· · Prior to your arrest for the murder of
23· · · · MS. SCHROEDER:· No.· I'm exploring it.· I'm     23· Connie Cooper and James Robinson, had you had any
24· exploring it.· I want to understand it because I      24· sexual experience with another person?


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·1· want to understand what these defendants could have   ·1· · · · MR. TAYLOR:· Objection in terms of form,
·2· known back in 1977 that would have framed this man    ·2· foundation, vagueness of the question.
·3· for rape.· So I need to explore that.· If he was      ·3· · · · THE WITNESS:· No.
·4· sexually active, I need to explore it.                ·4· BY MS. SCHROEDER:
·5· · · · MR. TAYLOR:· I may be slow, but I really        ·5· · · · Q.· · Okay.· Had you -- prior to your arrest
·6· can't understand your rationale, your explanation     ·6· on January 25th, had you ever experienced sexual
·7· in any manner that how you get to a question of       ·7· abuse?
·8· asking him about, quote -- and what was the term      ·8· · · · A.· · No.
·9· that she used?                                        ·9· · · · Q.· · Okay.· Prior to your arrest on
10· · · · MR. BOWMAN:· Sexual experience.                 10· January 25th, had you ever looked at a pornographic
11· · · · MR. TAYLOR:· Sexual experience.· Whatever       11· magazine?
12· that means.· I could ask everybody in this room       12· · · · A.· · No, ma'am.
13· what that means, and we'd get ten different           13· · · · Q.· · Okay.
14· answers, I would assume.                              14· · · · MR. BOWMAN:· Are you kidding?
15· · · · MS. SCHROEDER:· And that's why I asked --       15· BY MS. SCHROEDER:
16· · · · MR. TAYLOR:· So now we're delving --            16· · · · Q.· · Had -- prior to January 25th --
17· · · · MS. SCHROEDER:· -- him to define it.            17· · · · MR. BOWMAN:· Seriously.· Are you kidding?
18· · · · MR. TAYLOR:· -- into an area that has no        18· BY MS. SCHROEDER:
19· relevance, is harassing, and I strongly urge you      19· · · · Q.· · -- your arrest --
20· to forego this line of questioning.· Because at       20· · · · MR. TAYLOR:· Hold on.· Calm down.
21· some point very soon it becomes harassing, if not     21· · · · MS. SCHROEDER:· No.
22· already.                                              22· · · · MR. BOWMAN:· Objection.· I think you may
23· · · · · · · · ·Is there a question pending?           23· have crossed a line.· Okay?· I really -- you know,
24· · · · MS. SCHROEDER:· Yeah.· I asked him to tell me   24· seriously.· Can you articulate the relevance of


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·1· that?                                                  ·1· has waived the attorney-client privilege, and you
·2· · · · MS. SCHROEDER:· Are you maintaining that the     ·2· are now able to answer me on --
·3· defendants' misconduct framed him for rape?            ·3· · · · MR. BOWMAN:· No.
·4· · · · MR. BOWMAN:· My point is about --                ·4· BY MS. SCHROEDER:
·5· · · · MS. SCHROEDER:· That's -- no.· I'm asking you    ·5· · · · Q.· · -- the evidence that you're relying on
·6· because that is the basis for this questioning.        ·6· to say that the defendants' misconduct has framed
·7· · · · MR. BOWMAN:· Well, since you've asked me the     ·7· you for the rape of Connie Cooper.
·8· question, I'll respond.· Thank you for giving me       ·8· · · · A.· · I can help you --
·9· the opportunity to respond.                            ·9· · · · MR. BOWMAN:· No.· There's been no waiver of
10· · · · MS. SCHROEDER:· Oh, sure.· This is turning       10· the privilege.· Don't answer the question.
11· into the plaintiff's attorneys' deposition.            11· · · · MS. SCHROEDER:· How is there no waiver?· You
12· · · · MR. BOWMAN:· No.                                 12· just literally sat here and explained to me your
13· · · · MR. TAYLOR:· No.                                 13· position.· So you're claiming there's no waiver?
14· · · · MR. BOWMAN:· You offered me an opportunity.      14· · · · MR. BOWMAN:· I'm claiming there's no waiver.
15· I have not said anything.· But under the rules, now    15· · · · THE WITNESS:· I can -- I can -- I can answer
16· that you have asked me to clarify the reason for my    16· that.· I'm going to answer that for you.
17· objection, I will respond to your question if you      17· · · · MR. BOWMAN:· No.· Don't.
18· desire me to do so.· If you tell me you don't want     18· · · · MS. SCHROEDER:· Yeah.
19· me to respond, I will not respond.· But the rules      19· · · · MR. BOWMAN:· Don't answer it, Johnnie.
20· entitle me to tell you what I think in response to     20· · · · THE WITNESS:· If you let me --
21· your question if you wish an answer.· Over to you.     21· · · · MR. BOWMAN:· Don't answer it.· Don't waive
22· · · · MS. SCHROEDER:· So my question is, are you       22· your privilege.· Don't answer it.
23· maintaining that the defendants' misconduct framed     23· · · · MR. TAYLOR:· Don't answer that --
24· and implicated him for the rape of Connie Cooper?      24· · · · MR. BOWMAN:· She wants to know about your

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·1· · · · MR. BOWMAN:· I will answer your question.     ·1· conversations with us.· Do not answer it.
·2· The problem that -- the answer to your question     ·2· · · · THE WITNESS:· No.· This is not -- this is not
·3· is yes, because Connie Cooper was raped.· She was   ·3· even pertaining to the lawyers at all.
·4· very clearly raped.· The features of the crime were ·4· · · · MR. BOWMAN:· Okay.· Then you can answer.
·5· indicative without question of a sexual assault.    ·5· · · · THE WITNESS:· This is pertaining to the
·6· This man, as a 14-year-old boy, was framed for a    ·6· courtroom.· In the courtroom I don't know if it was
·7· crime that included obviously a rape, a sexual      ·7· Dr. Immesoete or what state witness it was, he gave
·8· assault.                                            ·8· a description of the crime itself.· And in it, he
·9· · · · · · · · ·So the answer to your question is    ·9· stated that it had all the details of a rape, very
10· yes, as alleged in the complaint.                   10· violent crime.
11· · · · MS. SCHROEDER:· Okay.                         11· · · · · · · · ·And I'm going to refer you back
12· · · · MR. BOWMAN:· Now then, having said that --    12· to the second trial, and in your records you
13· · · · MS. SCHROEDER:· So I think that's it now.     13· have that testimony from a state witness, either
14· · · · MR. BOWMAN:· -- can you explain to me what    14· Dr. Immesoete or some other criminal psychologist
15· on earth his -- his viewing pornography at any time 15· in there for the state.· Testimony -- don't
16· has to do with this case?                           16· remember what page, but I can tell you it's in
17· · · · MS. SCHROEDER:· I will tell you what, I'm     17· the second transcripts.· In his description, he
18· going to change my question now based on your       18· described me -- he described this crime scene as
19· earlier question.                                   19· one that Mr. Bowman, Locke Bowman, just described.
20· BY MS. SCHROEDER:                                   20· If you go to your tes- -- your trial transcript for
21· · · · Q.· · Mr. Savory, so your attorney here has   21· the second trial, you will see that.
22· just explained to me his thoughts on why the        22· · · · · · · · ·I -- through you all's conversation,
23· defendants' misconduct has implicated and framed 23· it just made me remember what that man said on that
24· you for the rape of Connie Cooper, which I believe 24· witness stand as it related to this crime itself.


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·1· BY MS. SCHROEDER:                                     ·1· · · · A.· · No.
·2· · · · Q.· · And is that information that you're       ·2· · · · Q.· · Okay.· Very good.
·3· relying on to say that the defendants' --             ·3· · · · · · · · ·Do you remember Connie Cooper?
·4· · · · A.· · Yes.                                      ·4· · · · A.· · Yes.
·5· · · · Q.· · -- misconduct --                          ·5· · · · Q.· · Describe her for me.
·6· · · · A.· · Yes.                                      ·6· · · · A.· · I guess five foot six or seven
·7· · · · Q.· · Wait a minute.· Let me finish so it's     ·7· something, something like that.· Maybe 120 pounds.
·8· for the record.                                       ·8· I mean, I don't know exactly.· But -- I mean, just
·9· · · · · · · · ·-- (continuing) that the defendants'   ·9· based on what I remember.
10· misconduct framed and implicated you for the rape     10· · · · Q.· · Is there anything else about her
11· of Connie Cooper?                                     11· appearance that you remember?
12· · · · A.· · Yes.                                      12· · · · A.· · No.· I don't -- I only met her one time.
13· · · · Q.· · Okay.· Is Dr. Immesoete a defendant in    13· · · · Q.· · When did you meet her?
14· this case?                                            14· · · · A.· · On the 17th.
15· · · · A.· · I'm not sure.                             15· · · · Q.· · Okay.· And that was --
16· · · · Q.· · Are you not sure who you're suing?        16· · · · A.· · January.
17· · · · A.· · There's 25 or 26 defendants in there.     17· · · · Q.· · -- the one and only time you had ever
18· · · · Q.· · There's 26 defendants?                    18· met her?
19· · · · A.· · However many.· It's on that page.         19· · · · A.· · The only time I've ever seen her in my
20· · · · Q.· · Okay.· Do you know who it is?             20· life.
21· · · · A.· · I'm not sure if it's Dr. Immesoete.       21· · · · Q.· · Okay.· Do you remember the color of her
22· I'm just giving you the person that I -- it could     22· hair?
23· be another name.· But in that trial testimony, you    23· · · · A.· · No, ma'am.
24· could ask my lawyers or you all can just research     24· · · · Q.· · Okay.· Do you remember the shape of her

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·1· it and find out which one gave that testimony.        ·1· face?
·2· Because I don't remember 40-plus years everybody's    ·2· · · · A.· · No, ma'am.
·3· names.· But I do remember him giving his horrific     ·3· · · · Q.· · Okay.· Do you remember the shape of her
·4· details about the crime.                              ·4· body?
·5· · · · Q.· · Is there any other information that       ·5· · · · A.· · No, ma'am.
·6· you remember that you are relying on aside from       ·6· · · · Q.· · Okay.· And in that one and only time
·7· privileged conversations --                           ·7· that you met Connie on the 17th, how many hours
·8· · · · MR. TAYLOR:· Objection.                         ·8· were you with her?
·9· BY MS. SCHROEDER:                                     ·9· · · · A.· · I was --
10· · · · Q.· · -- to support your -- to support your     10· · · · MR. TAYLOR:· Objection; form.
11· belief that the defendants' misconduct is framing     11· · · · THE WITNESS:· I never was with her for no
12· and implicating you in the rape of Connie Cooper?     12· hours.· Maybe -- I was never actually with her.
13· · · · MR. TAYLOR:· Objection, because he has given    13· I was with James.
14· other evidence already prior in his testimony.        14· · · · MS. SCHROEDER:· Okay.
15· BY MS. SCHROEDER:                                     15· · · · THE WITNESS:· I saw her in the living room.
16· · · · Q.· · Yeah.· I mean anything that he's          16· That's it.
17· given -- I'm looking -- that's fine.· I'm looking     17· BY MS. SCHROEDER:
18· from beyond.                                          18· · · · Q.· · Okay.· So -- and that's on the 17th?
19· · · · · · · · ·Is there anything else?· I want to     19· · · · A.· · That's on January 17th.
20· make sure we exhaust it.                              20· · · · Q.· · And just for the record, we're talking
21· · · · A.· · I'm going to refer that back to           21· about January 17th --
22· attorney-client privilege.                            22· · · · A.· · Yes, ma'am.
23· · · · Q.· · Okay.· So there's nothing else outside    23· · · · Q.· · -- 1977; is --
24· attorney-client privilege?                            24· · · · A.· · Yes, ma'am.


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·1· · · · Q.· · -- that correct?                        ·1· · · · A.· · I didn't have no thoughts about it one
·2· · · · A.· · Yes, ma'am.                             ·2· way or another.
·3· · · · Q.· · Okay.· Did you talk to her when you     ·3· · · · Q.· · Okay.· And why not?
·4· were at the house on the 17th?                      ·4· · · · A.· · Why would I?· Just -- she was just
·5· · · · A.· · No, ma'am.                              ·5· another person.· I mean, just -- I mean, like I was
·6· · · · Q.· · Okay.· And you stated, I think, in your ·6· introduced to the family from James.· And I just --
·7· answer that she was in the living room and you were ·7· you know, I come from a very respectful, you know,
·8· not; is that correct?                               ·8· family.· So you are taught to be hospitable, and
·9· · · · A.· · Yes, ma'am.                             ·9· that's it.· I mean, that's all I got.· I know she
10· · · · Q.· · Okay.· And tell me anything else that   10· was older than I.
11· you can remember about your seeing Connie that      11· · · · Q.· · How did you know that?
12· night on the 17th.                                  12· · · · A.· · Because she looked older than I.
13· · · · A.· · I mean, I just gave it to you.· My      13· · · · Q.· · Did someone tell you she was older?
14· interaction was with James.· It wasn't with the     14· · · · A.· · No need.· I mean, I have a judgment of
15· rest of the family, you know.· That's the only      15· my own, just like mother and father, they're older
16· answer I can give you.                              16· than I am, you know.· I mean, she looks like an
17· · · · Q.· · Okay.· And there's nothing else aside   17· adult.
18· from just seeing Connie in the living room that     18· · · · Q.· · Is there anything else that you can
19· you can remember from the night of the 17th --      19· remember about her?
20· · · · A.· · No, ma'am.                              20· · · · A.· · No, ma'am.
21· · · · Q.· · -- pertaining to Connie?                21· · · · Q.· · Did you know that she had a child?
22· · · · A.· · No, ma'am.                              22· · · · A.· · I did not.
23· · · · Q.· · Okay.· Did Connie speak to you on the   23· · · · Q.· · Okay.· When you were at the -- Connie
24· 17th?                                               24· and James' house on the 17th, did you see a baby

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·1· · · · A.· · They all spoke.                           ·1· there?
·2· · · · Q.· · And what did she say?                     ·2· · · · A.· · Yes.
·3· · · · A.· · They said hello.                          ·3· · · · Q.· · Okay.· And did you learn whose baby
·4· · · · Q.· · And did she say anything else?            ·4· that was?
·5· · · · A.· · No, ma'am.                                ·5· · · · A.· · Not at that moment.
·6· · · · Q.· · Okay.· Did you say anything back to       ·6· · · · Q.· · Okay.· Where did you see the baby on
·7· her?                                                  ·7· the 17th?
·8· · · · A.· · Hello.                                    ·8· · · · A.· · Running around playing in the living
·9· · · · Q.· · And what did you say?                     ·9· room.
10· · · · A.· · Hello.                                    10· · · · Q.· · Did you learn the baby's name?
11· · · · Q.· · Okay.· And did you say anything back to   11· · · · A.· · No.
12· her?                                                  12· · · · Q.· · Okay.· Did you interact with the baby?
13· · · · A.· · No, ma'am.                                13· · · · A.· · No, ma'am.
14· · · · Q.· · Okay.· And were those the only two        14· · · · Q.· · Okay.· Did James tell you whose baby
15· words that you shared between you and Connie?         15· that was?
16· · · · A.· · Yes, ma'am.                               16· · · · A.· · No.· And I didn't ask, you know.
17· · · · Q.· · Okay.· Did you know anything about        17· · · · Q.· · Okay.· So I'm going to ask you a little
18· Connie's personal life?                               18· bit about your damages.
19· · · · A.· · No, ma'am.                                19· · · · · · · · ·Do you know what I mean when I say I
20· · · · Q.· · Okay.· Did you think Connie was           20· want to learn about your damages in this lawsuit?
21· attractive?                                           21· · · · A.· · If you don't mind, I would like you to
22· · · · A.· · I didn't think of it one way or           22· explain it to me, yeah.· Then I could have ...
23· another.                                              23· · · · Q.· · Are you familiar with your complaint
24· · · · Q.· · I'm sorry.· I didn't hear you.            24· that was filed in this lawsuit that outlines why


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·1· you believe that you were -- the defendants'                  ·1· I felt like a slave through no freedom or liberty
·2· conduct caused you to be convicted for the murders            ·2· and knowing that I had done nothing wrong.· And I
·3· of James Robinson and Connie Cooper and apparently ·3· could never understand why I had to be subjected
·4· the rape of Connie Cooper?                                    ·4· to that.· And I never did not believe that the
·5· · · · A.· · Yes, ma'am.                                       ·5· defendants did not know that I was innocent.
·6· · · · Q.· · Okay.· And are you aware that you have            ·6· · · · · · · · ·And to be in prison -- and nobody
·7· a section in here that you talk about the damages             ·7· here at this table know what it's like to be a
·8· that you suffered due to that misconduct?                     ·8· slave, but I do, because I had to work in there.
·9· · · · A.· · Yes, ma'am.                                       ·9· Either you work or you stayed locked up.· And
10· · · · Q.· · Okay.· And so if I say I want to talk             10· locked up means you be in your cell 23 hours a day.
11· about and learn about those damages from you, do              11· Being in solitary confinement.
12· you now understand what I mean when I say that?               12· · · · Q.· · How often were you in solitary
13· · · · A.· · Yes, ma'am.                                       13· confinement?
14· · · · Q.· · Okay.· Okay.· So I am interested in               14· · · · A.· · Off and on.· Maybe four or five times.
15· learning about -- I think first one of the things             15· · · · Q.· · And for how many days per time?
16· that you alleged in here is that part of your                 16· · · · A.· · A couple weeks sometime.· 30 days
17· damages are that you suffered from harsh and                  17· sometime.· 90 days sometime.· And sometimes when
18· dangerous conditions in prison.                               18· they have lockdowns, that becomes solitary
19· · · · A.· · Yes.                                              19· confinement because you cannot move, you cannot buy
20· · · · Q.· · Can you explain to me what you mean               20· nothing to eat, you cannot -- you don't have no
21· by -- first of all, do you believe that the words             21· visits.· You don't have anything.· You don't have
22· "harsh" and "dangerous" are interchangeable and the           22· no phone calls.· You have nothing.
23· same thing?                                                   23· · · · Q.· · I'm sorry --
24· · · · A.· · Yes.                                              24· · · · A.· · And that can be as long as a year --

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·1· · · · Q.· · Okay.· So then can you explain to me              ·1· · · · Q.· · Okay.
·2· or give me some examples of what the harsh and                ·2· · · · A.· · -- you know, that --
·3· dangerous conditions were that you suffered while             ·3· · · · MR. BOWMAN:· I'm not sure he's finished his
·4· in prison?                                                    ·4· answer.
·5· · · · A.· · Being in one of the nation's worst                ·5· · · · MS. SCHROEDER:· That's fine.· I didn't mean
·6· prisons in this country, which was Stateville                 ·6· to interrupt him.
·7· Correctional Center and Pontiac Correctional                  ·7· · · · THE WITNESS:· It can be as long as a year.
·8· Center, where assaults and death go on every day.             ·8· Well, I've been on so many lockdowns, because of
·9· Only through the grace of God can you make it out             ·9· assaults that take place.· Three months, six
10· of there without being stabbed, beat up, robbed,              10· months.· I know it's well documented in the media
11· raped.· And you have no liberty to interact with              11· about those prisons that I was in.· And I lost
12· your family except for visits.· You have -- I --              12· everything.
13· I lost all of my teens.· No high school, no proms,            13· BY MS. SCHROEDER:
14· no nothing.· All of my 20s.· All of my 30s.· Half             14· · · · Q.· · Were you ever sent to solitary aside
15· of my 40s for a crime.                                        15· from a prison-wide lockdown?
16· · · · · · · · ·And I had to watch my grandmother              16· · · · A.· · Yes.
17· pass away during my first trial.· I had to live               17· · · · Q.· · Okay.· Tell me about those times.· Tell
18· with the fact that my dad passed away on my                   18· me -- first of all, how many times did that occur
19· birthday, July 25th, 1986.· I watched my family               19· to you?
20· being torn apart.· I could do nothing.                        20· · · · MR. TAYLOR:· Objection; asked and answered.
21· · · · · · · · ·And my marriage of ten years to my             21· · · · THE WITNESS:· I don't remember exactly how
22· wife while I was in prison, not knowing when I                22· many, but I -- you know, it's been quite a few.
23· would ever come home.                                         23· And one of the main reasons that I was sent to
24· · · · · · · · ·And the fact that I actually --                24· solitary confinement because I was an advocate for


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·1· those inside of the prison system.· And sometimes           ·1· advocates.
·2· the administration did not want you to interfere            ·2· · · · · · · · ·And as I think back in juvenile now,
·3· with that.· So I've been in administrative seg.             ·3· we were protesting about the treatment of some of
·4· I've been what they call the circuit, meaning they          ·4· the officers, and they came and got me in IYC
·5· transfer you every three, four weeks to different           ·5· Joliet and stripped me down to my underwear and put
·6· prisons because they -- you're just not supposed to         ·6· me in a cold cell with no blanket.· So I had to rip
·7· care about another human being in there.                    ·7· open the mattress and get inside the mattress in
·8· · · · · · · · ·And I -- my attorney at the time,            ·8· order to protect me from the cold.· They left me
·9· Ted Gottfried, who was a state public defender of           ·9· there seven days.
10· the state public defender's office, he -- he's like         10· · · · Q.· · And why were you -- I didn't
11· my guardian angel because many times that I got             11· understand.· Why were you placed in there?
12· involved in things that did not concern me, he was          12· · · · A.· · We had a protest against the off- --
13· there to help me through it, meaning that -- when           13· · · · Q.· · Or what do you -- yeah.· Tell me what
14· Hurricane Katrina happened, some prisoners got              14· you learned on why you were put there.
15· together and raised money for those people, Red             15· · · · A.· · Because we protested the treatment that
16· Cross.· And some of it's accepted and some of it's          16· we was receiving --
17· not by the administration or the department of              17· · · · Q.· · Okay.
18· corrections itself.                                         18· · · · A.· · -- by some of the officers.
19· · · · · · · · ·Saving somebody from -- I was on a           19· · · · Q.· · Okay.· And what year did this happen?
20· crisis team in prison.· When people tried to commit         20· You were at Joliet, you said?
21· suicide and things like that, they would send me to         21· · · · A.· · IYC Joliet.· That's a --
22· help them.                                                  22· · · · Q.· · What is it?
23· BY MS. SCHROEDER:                                           23· · · · A.· · That's a maximum security for
24· · · · Q.· · So you were put into solitary                   24· juveniles.

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·1· confinement because of the Red Cross and Hurricane ·1· · · · Q.· · Okay.· Okay.· Do you remember the year?
·2· Katrina --                                         ·2· · · · A.· · '77 or '78.
·3· · · · A.· · That's not what I --                            ·3· · · · Q.· · Okay.· And then are there any other
·4· · · · Q.· · -- and the crisis?                              ·4· times that you can recall that you were placed in
·5· · · · A.· · That's not what I said.· I said --              ·5· solitary confinement?· Yeah.
·6· · · · Q.· · Okay.· That's the question I'm asking.          ·6· · · · A.· · It's been a lot of times.· Quite a few
·7· · · · MR. TAYLOR:· Objection.                               ·7· times.
·8· · · · THE WITNESS:· What I'm saying is -- what I'm          ·8· · · · Q.· · Okay.· Can you remember any specifics
·9· saying to you is --                                         ·9· about any of these other times?
10· · · · MS. SCHROEDER:· Well, I just had to clarify           10· · · · A.· · If I do, I'll recall it as we go along.
11· that that answer was not directed to my question.           11· Not at this moment.
12· · · · THE WITNESS:· I was put in pris- -- I was put         12· · · · Q.· · Okay.· Okay.· Just let me know if you
13· in solitary confinement for helping other inmates           13· remember anything.
14· with legal situations and --                                14· · · · A.· · Yes, ma'am.
15· BY MS. SCHROEDER:                                           15· · · · Q.· · Okay.
16· · · · Q.· · Okay.· Can you explain to me what that          16· · · · MR. TAYLOR:· Excuse me.· But he was in the
17· was?                                                        17· middle of describing -- you had asked him about his
18· · · · A.· · Yes.· You had a grievance against               18· damages, and he was --
19· officers or you had a grievance against the                 19· · · · MS. SCHROEDER:· No.
20· administration, I was in the law library, and I             20· · · · MR. TAYLOR:· -- he was describing it, and
21· became your advocate, whether it's to write your            21· then you interrupted him in the middle.
22· grievances and your complaints.· At the time I was          22· · · · MS. SCHROEDER:· Oh, my gosh, Flint.· No.
23· in prison, you had very limited -- you had very             23· I asked him about --
24· limited access to the court system, outside                 24· · · · MR. TAYLOR:· I want to -- I just want to find


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·1· out if he was finished with his answer.· I don't         ·1· that there's really no words to describe other than
·2· want the record to look like he stopped telling          ·2· what I described.
·3· you --                                                   ·3· · · · · · · · ·And I had to be in that environment.
·4· · · · MS. SCHROEDER:· I can promise you I'm not          ·4· And it was never pretty.· I had to be denied. I
·5· done.                                                    ·5· had an incident -- my father came to see, me and
·6· · · · MR. TAYLOR:· -- in response to your question       ·6· he's -- he's older.· He's like late 60s.· And I
·7· about it.                                                ·7· went up to the visiting room.· And he wear glasses.
·8· · · · MS. SCHROEDER:· I'm not done, Flint.· And I        ·8· So he went in the wrong bathroom.· He went in the
·9· specifically said I wanted to talk about the harsh       ·9· ladies' bathroom because he couldn't see.· And
10· and dangerous con- -- harsh and dangerous                10· there was a group of white officers standing around
11· conditions.                                              11· laughing.· And I didn't know what they was laughing
12· · · · MR. TAYLOR:· And he hadn't finished that           12· at until I walked over.· And they was laughing
13· answer yet as far as I could tell.                       13· about an old black man that went in the women's
14· · · · MS. SCHROEDER:· I could tell that he had           14· bathroom.
15· moved on because I asked him, and he said no,            15· · · · · · · · ·And I leaned down and I whispered
16· that's not what he was referencing.                      16· to the officer, Stop laughing at my dad.· He felt
17· BY MS. SCHROEDER:                                        17· threatened.· So they called security.· Security
18· · · · Q.· · So, Mr. Savory, we're going to continue      18· came and let me continue my visit.· And then after
19· on, and we're going to talk about all the damages        19· the visit, they took me to jail, segregation inside
20· you list in here.· So there should be no concern         20· of it.
21· that I'm not going to let you have the opportunity       21· · · · · · · · ·And I went before the judiciary
22· to put on the record what you had to endure in           22· committee -- the disciplinary committee.· And they
23· prison.· Okay?                                           23· asked me did I threaten the officer.· I told them
24· · · · · · · · ·And if there is something that            24· not to laugh at my dad.· I said, They could have

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·1· somehow we don't get to, you just let me know, and ·1· just got up and showed him that he went in the
·2· you'll be able to put it on the record.· Okay?      ·2· wrong bathroom.· Why would you stand around
·3· · · · A.· · Yes, ma'am.                             ·3· belittling him?
·4· · · · Q.· · Okay.· So -- so just moving on, making  ·4· · · · · · · · ·And the disciplinary committee threw
·5· sure I've got everything, is everything that you've ·5· out the ticket and let me go.· And I had the
·6· just told us in these last answers cover the        ·6· officer removed from the visiting room.
·7· specific harsh and dangerous -- dangerous           ·7· · · · · · · · ·But they subjected your family
·8· conditions that you endured in prison?              ·8· members to some just uncaring behavior.· Over
·9· · · · · · · · ·And I'm going to get to all the      ·9· excessive with strip searching your mom.· My
10· other stuff.· So I'm just looking for this specific      10· godmother, she had never had nobody touch on her.
11· thing that you allege in your complaint.                 11· And it's a lot.· It's very intrusive.· It's
12· · · · A.· · I can't echo enough that being in            12· intrusive for your family.· It's intrusive for you.
13· Stateville and Pontiac Correctional Centers was the      13· · · · · · · · ·It's -- but it didn't have to happen
14· most dangerous prisons in this -- in this entire         14· because I shouldn't have never been there in the
15· country.· And facing with constant shooting from         15· first place to be subjected to all that and more.
16· the guards to protect other inmates, watching            16· But when they don't consider you a human being,
17· people get shot and stabbed on a daily basis,            17· I guess treat you any kind of way.
18· watching people -- hearing screams of people being       18· · · · Q.· · Did you get in trouble for ripping that
19· raped or abused, I have interceded on quite a few        19· mattress up so that you could crawl into it?
20· people's behalf to stop it.· And not ever being a        20· · · · A.· · No.
21· part of a gang no time in my life, I didn't even         21· · · · Q.· · Okay.· Is there anything else --
22· understand how I was able to do it.· All I know is       22· because I feel like even if I ask specifically,
23· that I would not allow prison to desensitize me          23· we're kind of going over all the things that you've
24· from caring because it was so -- it was so brutal        24· endured all while you were imprisoned.


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·1· · · · · · · · ·So is there anything else about your ·1· they say, Johnnie, Mr. Savory, why didn't you go
·2· experiences in prison that you have not shared with ·2· get the police?· I thought about it for a minute.
·3· us yet?                                             ·3· And I asked each and every one of the parole board
·4· · · · A.· · No.· Only thing I ever said that when   ·4· members, If someone broke through that door right
·5· it come to damages, the loudest voices that will    ·5· now and began to hurt you, do you want me to go get
·6· ever speak in this case will be those people who    ·6· the police, or do you want me to stop it from
·7· love me who are now gone.· And I never got a        ·7· taking place?
·8· chance to fulfill our relationships; meaning my     ·8· · · · Q.· · What did they say to you?
·9· grandmother, my dad, my sister -- my two sisters    ·9· · · · A.· · They wanted me to stop it.
10· are gone.· And that time can never be -- it's       10· · · · Q.· · Do you remember which one -- when this
11· probably to me is the most horrific thing that I    11· was?
12· had to go through is knowing that I would never be  12· · · · A.· · 1994, '95, somewhere like that.
13· able to do that again.· So yes.                     13· · · · · · · · ·But some things you have to do
14· · · · Q.· · Okay.· You said here that you, while    14· regardless if it -- you have to put yourself in
15· in prison, interceded on people's behalf who were   15· harm's way.· And throughout my prison stay, I've
16· being maybe -- I'm not really sure what they were   16· put myself in harm's way plenty of times.
17· doing, if they were being hurt or attacked.· Maybe  17· · · · Q.· · Are you doing that to -- for other
18· you can explain to me what you meant by interceding 18· people, to protect other people?
19· on other people's behalf.                           19· · · · A.· · My nature.
20· · · · A.· · Well, since you already have some       20· · · · Q.· · Okay.
21· of the IDOC records, it was a young man who I'd     21· · · · A.· · If someone came in here right now, and
22· helped get out of the gang.· I was in, I believe,   22· we see all kind of violence, I wouldn't let nobody
23· Galesburg Correctional Center.· And I had just got  23· hurt you or no one in this room.· And I would hope,
24· married.· I think it was maybe two years after I    24· I would hope that the people at this table feel the

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·1· got married.· And I was on a visit.· And the gang               ·1· same way and not let nobody hurt me.· So yeah.
·2· had let him out because he was in school.· His                  ·2· · · · Q.· · Did you have to protect yourself while
·3· grandmother was confined to a wheelchair.· His                  ·3· you were in prison?
·4· sister was murdered.                                            ·4· · · · A.· · Oh, most definitely.
·5· · · · · · · · ·And while I was on a visit, a                    ·5· · · · Q.· · Okay.· Can you tell me what sorts of
·6· Latino, Hispanic gang dragged him in the cell and               ·6· threats were coming at you in prison that you had
·7· beat him up and held him in his cell.                           ·7· to protect yourself from?
·8· · · · · · · · ·When I came off a visit, I -- they               ·8· · · · A.· · Oh.· I guess when I first arrived to
·9· told me what happened, and I went up to the cell to             ·9· Joliet State- -- Joliet Correctional Center, and we
10· get him.· And they told me, This is none of your                10· were going to breakfast one morning, and one of the
11· affair.· I asked them again to let me -- let me                 11· inmates was making some sexual comments.· We got
12· have him.· Let me -- so they finally let me have                12· back to the cell house.· Because he was in a gang,
13· him.· And some other inmates took him to the                    13· I guess he thought that that would be intimidating
14· bath- -- washroom, was washing him up.· And then                14· enough, but ...· So he tried.· They took me to
15· they turned around and stabbed him.                             15· jail, and they took him to the hospital.· And I
16· · · · · · · · ·Well, that resulted in an all-out                16· explained to the committee why.· After that, no
17· fight because we believed that they had killed him.             17· more.
18· But he survived.                                                18· · · · Q.· · Were -- did anything else -- like did
19· · · · · · · · ·And later on that night, they came               19· that, you feel, helped protect you from other
20· and got me, took me to segregation.· Told me that               20· similar threats then when you were in Joliet?
21· they had to ship me because I was an administrative             21· · · · A.· · Yes.· You have to send a clear message
22· threat.                                                         22· to other prisoners that you're not going to be no
23· · · · · · · · ·So then after that, I had to go to               23· victim.· Be a survivor.
24· the parole board.· And the parole board ask me,                 24· · · · Q.· · Yeah.


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·1· · · · A.· · And surviving is putting a person in   ·1· pain, so you say you suffer from psychological
·2· situations where they would have never been had    ·2· fear.
·3· not, once again, they put me in a situation like   ·3· · · · · · · · ·So can you explain to me, as you
·4· that.                                              ·4· sit here today in current times, what sort of
·5· · · · Q.· · Okay.· Were there any other threats    ·5· psychological fear you're suffering from due to the
·6· that you can think of that you had to protect      ·6· defendants' misconduct?
·7· yourself from while you were in prison?            ·7· · · · A.· · I live with the nightmares of what
·8· · · · A.· · Always have to protect yourself during ·8· happened to me, every single thing.· And it does
·9· riots.· Always stayed out of harm's way.           ·9· not go away, and it invokes -- because I know that
10· · · · Q.· · Okay.                                  10· I'm innocent -- I give you this example.· Going to
11· · · · A.· · You know, for the most part.           11· the parole board, seeing the people that put you
12· · · · Q.· · Um-hmm.                                12· there sitting on the parole board, and they deny
13· · · · A.· · Yeah.                                  13· you time and time again and they tell you time and
14· · · · Q.· · Why were you ever physically harmed    14· time again, You don't show no remorse.· We're doing
15· when you were in prison?                           15· this to you -- we're going to give you a two-year
16· · · · A.· · No.                                    16· set, a three-year set.· Those sets are because you
17· · · · Q.· · Okay.· Okay.· Good.                    17· will not conform to what they want you to say and
18· · · · · · · · ·So the other area that you talk     18· do.· So that made me feel like I was back in
19· about in your complaint here about damages are     19· interrogation all over again every single 26 times
20· extreme physical and psychological damages.· So I 20· that I been to the -- to the board and knowing
21· kind of want to separate those two out.· And just  21· Defendant Stenson, knowing Defendant Bowers,
22· let's talk first about the psychological damages   22· knowing defendants -- a few others in the early
23· that you feel you suffer from the defendants'      23· years that were placed there to keep me there.
24· misconduct.                                        24· · · · · · · · ·I remember writing to Stenson. I

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·1· · · · · · · · · · · (Brief interruption.)           ·1· remember talking to him when he was -- when I was
·2· · · · THE VIDEOGRAPHER:· Ending media 1 of the      ·2· in the county jail, his son was there, and his son
·3· deposition of Johnnie Lee Savory.                   ·3· called him and he let me talk to him.· And I say,
·4· · · · · · · · ·Off the record at 12:35 p.m.         ·4· You know I'm not guilty.· Why won't you help me?
·5· · · · · · · · · · · · · ·(Recess taken.)            ·5· · · · · · · · ·Well, what he did was his son was
·6· · · · THE VIDEOGRAPHER:· Beginning media number 2 ·6· removed from the jail, took him to the -- over to
·7· of the deposition of Johnnie Lee Savory.            ·7· the courthouse where he was beat up at allegedly by
·8· · · · · · · · ·Back on the record at 12:37 p.m.     ·8· his dad.
·9· BY MS. SCHROEDER:                                   ·9· · · · · · · · ·But I carry many nightmares with me
10· · · · Q.· · Okay.· Mr. Savory, so before our break  10· about people who tried to help me.· And I have to
11· there, I was just going to say I wanted to talk now 11· listen that they've been harassed or -- even the
12· about the psychological damages that you say the 12· Ivys, they are more of a victim than I would ever
13· defendants' misconduct has caused you.              13· be.· And I have no hatred, ill will, but I have to
14· · · · A.· · Okay.                                   14· live with all those things knowing that I've done
15· · · · Q.· · And you've listed out a few things in   15· nothing wrong.· I will never escape that.
16· here that I can -- I can like read off one, and     16· · · · · · · · ·That's like asking the survivors of
17· then you can tell me -- and that might be best.     17· the Holocaust, What's it like to go in the gas --
18· So I'll tell you what you've alleged here in the    18· why would you ask?· Why would they even ask the
19· complaint, and then you can tell me what you mean 19· question?· They already know.· It's beyond any
20· by that.                                            20· words that we conceive.
21· · · · · · · · ·So in your allegations here, you say 21· · · · · · · · ·When you hear the word "slave," you
22· that, you know, it continues to this day.· So I'm   22· know it that comes with terror, you know it comes
23· curious about things that you're still suffering    23· with pain, you know it comes with being damaged.
24· from today.· And with regards to psychological      24· And I was always afraid of how damaged am I.· What


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·1· would I do when I release?· How would this affect   ·1· voices that speak.
·2· me how I communicate with people?· Thank God that   ·2· · · · · · · · ·I'm here to protect my daughter,
·3· I did not allow it to just become cancerous within  ·3· who's six years old, so she will know what her
·4· me.                                                 ·4· daddy went through.· And as long as I draw breath,
·5· · · · · · · · ·So I chose to love opposed to hate.  ·5· they will never do that to my daughter, no other
·6· You want me to say I did not hate them for what     ·6· child nowhere.· That's why I became an advocate.
·7· they did to me, because I'd be lying to you. I      ·7· That's why I put my story out there.· But I don't
·8· hated everything they done to me.· They took things ·8· even tell my story.· I tell other people's stories
·9· from me I never can get back.· I can't get my -- I  ·9· because mine is too painful for me to do.
10· can't get no justice.· How I'mma get justice?· I'm  10· · · · · · · · ·All right.· There is no, you know,
11· already injured.· You can't reverse what you did to 11· number.· They can't reverse what took place with
12· me.                                                 12· me.· No one can.· Only God can continue to heal me
13· · · · · · · · ·And then you lie in my face.· You    13· and allow me to do the things that I do on a daily
14· tell me that you didn't do it.· You tell me that    14· basis to help other children.· That's why I help.
15· you didn't break my will.· You talk to me like I'm  15· Because that's therapy for me, to put myself in
16· stupid.· How the hell can I describe what it's done 16· harm way for others, to be a voice for others.· And
17· to me?· I can't describe it.· It's -- it is         17· I will do that all the days of my life because it's
18· incomprehensible, and I wouldn't want my worst      18· the best therapy I've ever had.
19· enemy to go through it.· And that's what they don't 19· · · · · · · · ·I done spoke at all the high
20· understand about me.· They wanted me to hate.· They 20· schools, colleges.· And I tell all the children to
21· wanted me to be vengeful.· They wanted me to do     21· keep your faith and let love -- and there's no set
22· those things.· That's why you did it to me.         22· of circumstances, whether it's rape, whether it's
23· Because you have no reason as a human being to take 23· cancer, whatever it is, if you don't keep your
24· me as a child and act like I wasn't a child.· You   24· faith, you can go through it.· I've counseled men

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·1· treated me worse than you treated some adults.        ·1· and women and children.· Because if I sit up and
·2· · · · · · · · ·And you say to me now you never even   ·2· think about what you did to me, I can't accept it.
·3· apologized to me.· And I've never seen a police       ·3· And I don't know no survivors that accept being
·4· officer or a prosecutor after all these wrongful      ·4· misused, abused, lied on, tortured.· No one will
·5· conviction cases ever say, I'm sorry.· Why?· Why      ·5· accept that unless they just totally strip you of
·6· can't you tell me you're sorry?                       ·6· all your will in life.
·7· · · · · · · · ·Have you been numb?· I know they see   ·7· · · · · · · · ·Now that I've regained my will, this
·8· a lot of things on the job.· I know you have a        ·8· day is about me regaining my will to stand up for
·9· tough job here doing what you're doing.· I believe    ·9· me and to stand up for my daughter.· And that's
10· people here at this table have families.· Ain't no    10· what I'm going to do.
11· way in the world we can look at the documents we      11· · · · Q.· · Okay.
12· look at and see nothing other than -- I come out an   12· · · · A.· · Excuse me.
13· era in time, so we might as well be truthful.         13· · · · Q.· · That's okay.· I'll wait for you.
14· · · · · · · · ·I was born before civil rights         14· · · · · · · · ·Let me know when you're ready.· Do
15· became a federal law in this country.· And I'm not    15· you want to take your break now?
16· giving you no racism.· I'm not -- I'm telling you I   16· · · · A.· · No.
17· don't care if you black or white, if you're wrong,    17· · · · Q.· · Okay.· The one area I do want to talk
18· you're wrong.· And there were black involved in my    18· about is that you say that you suffer from rage as
19· case who did not do their job.· And in those          19· a result of the misconduct.· And so I'm curious to
20· reports, you can see how I responded to them.         20· know what you mean by that.
21· · · · · · · · ·But my damage goes beyond anything     21· · · · A.· · Rage is something that's out of control.
22· anyone here can imagine.· Because I don't have my     22· · · · Q.· · Um-hmm.
23· two sisters no more.· I don't have my dad no more.    23· · · · A.· · Through the grace of God, I control
24· I don't have my grandmother no more.· It's their      24· what I say and do.· I'm saying to you is when I


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·1· think about what happened to me, the only way you     ·1· officers, but I have.· I'm a licensed security
·2· can express it is you have to have faith and love     ·2· officer for the state of Illinois.· And we have
·3· that would allow you -- many people in my situation   ·3· found each other when I come -- came -- travel, I
·4· cannot explain.· I use and channel all of my          ·4· have learned how to befriend people despite what
·5· energy, and I'm going to say again, in love and       ·5· others have done.· And I do that better than most.
·6· helping others.· That's what you will see.· That's    ·6· · · · · · · · ·But do I cry when I'm alone?· Yes.
·7· what I have done both inside and out.                 ·7· Do I cry when I see my daughter thinking that she
·8· · · · · · · · ·Has it been a challenge?· Yes.         ·8· might go through -- of course I do.· I'm watching
·9· Going to a job and being denied it?· Problem.         ·9· this stuff go on every day.· So are all of you.
10· Going -- and people know you and see you and they     10· You see both the pain of children being murdered by
11· put a news flash on, and people don't know what to    11· parents, by strangers, stray bullets.· You see
12· think.· It's been a challenge.                        12· corruption from both politicians, police officers,
13· · · · · · · · ·I think I've done well for what        13· what have you.· It's the society we live in.
14· I've -- for what I've been through.                   14· · · · · · · · ·I choose to be -- use everything
15· · · · Q.· · Did you have episodes of rage in those    15· that I went through, all the pain, all the anger,
16· instances that you just described?                    16· all the everything, I'm going to say again, to help
17· · · · A.· · I have never been out of control of       17· people.· And if that rage is channelled like that,
18· myself.                                               18· that's how it's channelled.· It's channelled
19· · · · Q.· · Okay.                                     19· through love and through hope and help.· That's my
20· · · · A.· · When I get to a point, I know how to go   20· rage.· It's not nothing that damages another human
21· within myself and talk to the God that loves me.      21· being or myself.
22· · · · Q.· · Okay.· So I just want to ask then why     22· · · · Q.· · Okay.· So it's -- I get this feeling
23· are you saying that you suffer from rage?             23· from you that you are the type of person that has
24· · · · A.· · I'm saying I suffer from pain.            24· always wanted to help others in need.· Is that a

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·1· · · · Q.· · You have the word "rage."· You say        ·1· fair assessment --
·2· specifically you suffer from rage.                    ·2· · · · A.· · Yes.
·3· · · · A.· · Pain.                                     ·3· · · · Q.· · -- of you?
·4· · · · Q.· · No.· The word is "rage" in your           ·4· · · · A.· · Yes.
·5· complaint.                                            ·5· · · · Q.· · Okay.· And is that even like -- was
·6· · · · A.· · Well, you probably -- I don't --          ·6· that kind of part of your personality even before
·7· I channel all of my energy with positive energy.      ·7· you were arrested --
·8· I am overwhelmed at times.· I'm overwhelmed sitting   ·8· · · · A.· · Yes.
·9· here.· While you may hear thunder in my voice, you    ·9· · · · Q.· · -- on January 25th?· Okay.
10· don't feel the rattling of the thunder, but you do    10· · · · A.· · Yes.
11· hear and see the pain.                                11· · · · Q.· · And is it something that you would
12· · · · · · · · ·Now, if you talking about something    12· like -- I guess maybe what I would like to know
13· that's out of control, that's not me, and nor have    13· from you is if you saw somebody in need, how would
14· I displayed any attributes of being out of control,   14· you -- explain to me what you were seeing and how
15· hurting anyone.· You do not see that, and it's not    15· you would help that person.· And I'm specifically
16· written anywhere.                                     16· talking about before you were arrested on
17· · · · Q.· · Okay.                                     17· January 25th.
18· · · · A.· · I just want to be clear.· But I'm not     18· · · · A.· · Well, I'll start at home.
19· saying to you I do not get angry when I think about   19· · · · Q.· · Okay.
20· it.· Then I wouldn't be human.· I'm not saying --     20· · · · A.· · Since it's going to come up anyway.
21· but I'm not going out making new victims.· I work     21· · · · Q.· · Okay.
22· with police officers.· I work with probation          22· · · · A.· · And I remember seeing Governor
23· officers since I've been home.· I never thought in    23· Pritzker's ad, and he said how his mother was an
24· my life that I'd be working with the police           24· alcoholic and suffered from that disease.· Well, my


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·1· dad also suffered from that disease.· And sometime            ·1· state their appearances?
·2· I would have to take their money.· He would become            ·2· · · · MR. ART:· Same as earlier.· Steve Art for the
·3· upset.· But I would take the money and give it to             ·3· plaintiff.
·4· my school teacher, Mrs. Worthem.· Little bitty                ·4· · · · MS. PALLINI:· Same as earlier for us as well.
·5· school teacher.· She about four feet eleven.· But             ·5· · · · MR. TAYLOR:· Okay.
·6· she had such an overwhelming personality.                     ·6· · · · MS. PAUL:· Tayleece Paul for the plaintiff.
·7· · · · · · · · ·And he would come up to the school             ·7· · · · MS. MILES:· Emani Miles for the plaintiff.
·8· angry, upset.· She would tell him, Go back home,              ·8· · · · MS. SCHROEDER:· Okay.· So, one, I'm
·9· sleep it off.· And she would give me the money                ·9· requesting that just one attorney from plaintiff's
10· back, and I would take it back.                               10· team object throughout the remaining of the
11· · · · · · · · ·And sometime he would probably call            11· deposition.· And I'm sure that that will -- that
12· the police on me, say I stole the money.· But I               12· will go forward.
13· would always have my school teacher, Ms. Maxine               13· · · · · · · · ·The other question I had was if
14· Worthem, Dr. Maxine Worthem, and -- because my                14· you're -- if plaintiff's counsel was going to
15· sister, she was mentally handicapped, and when he             15· maintain their privilege assertions or instructions
16· would go to work, I would have to take care of her.           16· telling Mr. Savory not to answer certain questions
17· Mind you, I'm very small.· My sister was probably             17· due to attorney-client privilege, because if they
18· twice as big as I was.· But she was always sweet.             18· are going to maintain those privilege assertions,
19· · · · · · · · ·So I had to learn how to -- he                 19· I am going to be looking at those questions and
20· taught me how to braid her hair, he taught me how             20· determining if we're going to do some sort of
21· to cook.· And I would have to put her on the bus              21· motion to have Savory -- Mr. Savory answer those
22· before I went to school and then get back home and            22· questions and possibly have to bring him back to do
23· catch that bus.                                               23· the deposition to have him answer those questions.
24· · · · · · · · ·So I know my dad was born in 1919.             24· · · · · · · · ·On the other hand, if you feel like,

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·1· And he carried a lot of pain.· And I -- we don't    ·1· okay, no, we will instruct him to answer those
·2· have to really revisit 1919.· We know what this     ·2· questions, then that's fine.· We can go ahead and
·3· country has been through, and thank God it has      ·3· get those answers on the record.· But they will not
·4· changed drastically compared to that year.          ·4· be taken out from the remainder of the time because
·5· · · · · · · · ·But, yes, it started at home.        ·5· I will feel like we've already lost that time in
·6· · · · Q.· · Okay.                                   ·6· the beginning with him asserting the privilege.
·7· · · · A.· · Me caring for my sister and my dad.     ·7· And now with the waiver, I don't feel like we
·8· · · · Q.· · Okay.· So I think before we go down     ·8· should -- the defense counsel should be punished
·9· that topic and -- you know, it's definitely         ·9· for that.· So that's just our position right now.
10· something we'll explore a little bit because then   10· · · · MR. BOWMAN:· I appreciate the heads-up.· And
11· it's going to get into your time before you were    11· thank you for that.· We took and will maintain the
12· arrested.· It's probably a good time for us to take 12· position that to the extent a question that you
13· a break then if that's good for everybody?          13· asked, such as -- such as, you know, relating to
14· · · · THE VIDEOGRAPHER:· Going off the record at    14· the formulation of an interrogatory answer, to the
15· 12:57 p.m.                                          15· extent those questions would have called upon
16· · · · · · · · · · · · · ·(Recess taken.)            16· Mr. Savory to express what was discussed in
17· · · · THE VIDEOGRAPHER:· And we are back on the     17· conversations with his counsel as those answers
18· record at 2:12 p.m.                                 18· were formulated or to the extent the questions
19· · · · MS. SCHROEDER:· Okay.· So I was just asking,  19· called upon Mr. Savory to express his understanding
20· before we came on the record, plaintiff's counsel   20· as to the status of various legal matters affecting
21· to, one, have one --                                21· his criminal prosecution, his postconviction
22· · · · MR. TAYLOR:· Before you do that, can we have  22· proceedings, clemency and COI proceedings, and the
23· on the record who's present in terms of the Zoom?   23· like, to the extent formulating those answers,
24· · · · THE VIDEOGRAPHER:· Will those on Zoom please 24· again, would call upon him to reveal conversations


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·1· that he had with present or former counsel, it's       ·1· and then we're going to have to see if, you know,
·2· privileged.                                            ·2· we have to file a motion to get those answers.
·3· · · · · · · · ·And to be clear, what we asked --       ·3· · · · · · · · ·So I feel like we're at an impasse,
·4· instructed Mr. Savory was to do his best to answer     ·4· and we're going to take a look at that after
·5· the questions parsing out what he could tell you       ·5· today's deposition at the transcript, and then
·6· outside of what he'd learned in conversations with     ·6· we'll move from there.
·7· lawyers.· And that's what he tried to do.              ·7· · · · MR. TAYLOR:· That's your prerogative. I
·8· · · · · · · · ·I told you before we went on the        ·8· assume that -- that's your prerogative.· And we are
·9· record that if there is a specific question or even    ·9· confident in what we asserted.· And we -- at this
10· a specific area from the questioning this morning      10· point, I would think we agree we want to proceed
11· as to which you think we would be advised to           11· with the deposition.
12· reconsider our position, I'm more than happy to        12· · · · MR. BOWMAN:· Oh, yeah.· We definitely -- I
13· reconsider it.· But if it's just a general             13· mean, you know, you're using your deposition time
14· proposition, Are you standing on the instructions      14· as we sit here.· So, you know, however you want to
15· that you gave to Mr. Savory? I am confident in the     15· use the time.
16· correctness of the instruction and will stand on it.   16· · · · MS. SCHROEDER:· Oh, I'm not -- I was going to
17· · · · · · · · ·So I'm happy to discuss it further,     17· ask how much time has been used.· I'm going to tack
18· but that's our position based on what you've said      18· this on to the end, I believe, for this discussion
19· so far.                                                19· because I wanted to do this off the record and you
20· · · · MS. SCHROEDER:· Okay.· So I think that this      20· asked for it to be on the record.
21· morning I was pretty clear in a lot of the             21· · · · · · · · ·So how much time has elapsed since
22· questions I was asking Mr. Savory and asking for       22· we just came on?
23· information and asking whether he had anything that    23· · · · THE VIDEOGRAPHER:· Started the deposition?
24· was not privileged that he could share with us, and    24· · · · MS. SCHROEDER:· Yeah.· Just now from lunch.

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·1· several dozens of questions the answers were           ·1· · · · THE VIDEOGRAPHER:· We went on 2:12, so --
·2· specific to attorney-client privilege.                 ·2· · · · MS. SCHROEDER:· Okay.· And what time is it
·3· · · · · · · · ·I don't believe that you would want     ·3· right now?· It is 2:20.· So 18 minutes.· Okay.
·4· to pause right now for us to review the record and     ·4· · · · MR. BOWMAN:· I think -- I think the
·5· go through question by question to determine if you    ·5· arithmetic --
·6· will or will not waive the privilege or instruct       ·6· · · · MS. SCHROEDER:· Oh, I'm sorry.
·7· Mr. Savory to answer.· If that is not something        ·7· · · · MR. BOWMAN:· -- reveals eight.
·8· that you want to do, and -- certainly, you know, I     ·8· · · · MR. TAYLOR:· Your math --
·9· feel like I was pretty clear this morning, and I       ·9· · · · MS. SCHROEDER:· I just showed my math skills
10· don't think that it was so long ago that you don't     10· there.
11· remember what I was asking.                            11· · · · · · · · ·Okay.· So everybody ready?
12· · · · · · · · ·So I think you're kind of in your       12· Mr. Savory?
13· position and where you're standing, and from what      13· · · · THE WITNESS:· Oh, yes.· I'm getting --
14· I got from you, Locke, is that you feel pretty         14· · · · MS. SCHROEDER:· I'll wait for you now that
15· confident in the answers that came from Mr. Savory     15· the lawyers have gotten their little -- their
16· and you feel pretty confident in your instructions     16· procedural stuff out of the way.
17· to him, and that you would only be persuaded if I      17· · · · THE WITNESS:· Okay.
18· could come up with some sort of argument to            18· BY MS. SCHROEDER:
19· overcome your confidence.                              19· · · · Q.· · Okay.· So let me flip here.
20· · · · · · · · ·And so I feel fairly confident that     20· · · · · · · · ·Mr. Savory, prior to January 26,
21· I asked several, several questions that required       21· 1977, did you know Marcella Teplitz?
22· a -- or could have been answered with non-privileged   22· · · · · · · · ·And let me preface she went by the
23· information.· And to the extent that they couldn't,    23· name Marcella Brown.· She was Officer Marcella
24· then that means we're going to have to review it,      24· Brown Teplitz.


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·1· · · · A.· · I can't recall at this minute.· But, I     ·1· and you gave those -- all of those letters to your
·2· mean, is there something you have that can probably    ·2· attorneys?
·3· jar my memory for that?· I can't recall at this        ·3· · · · A.· · Yes.
·4· particular moment.                                     ·4· · · · Q.· · Okay.· Do you remember when she wrote
·5· · · · Q.· · Do you know who I'm talking about --       ·5· you?
·6· · · · A.· · Yes.                                       ·6· · · · A.· · Not exactly.
·7· · · · Q.· · -- when I'm asking you?                    ·7· · · · Q.· · Okay.
·8· · · · A.· · Yes.                                       ·8· · · · A.· · I would be -- I would be guessing.
·9· · · · Q.· · Okay.                                      ·9· I don't want to guess.· If I had the letters here
10· · · · A.· · Yes.                                       10· in front of me, then I could -- I would remember
11· · · · Q.· · And who do you -- who do you believe       11· exact date and time.· I just don't remember that.
12· that I'm asking you about?                             12· You know what I mean?· And I'm -- forgive me, but
13· · · · A.· · Marcella Teplitz.                          13· I'm still a little just -- little bit out of it
14· · · · Q.· · Um-hmm.· And so who do you know her as     14· after our last -- whatever.
15· when --                                                15· · · · · · · · ·But I'm -- I can -- as we go along
16· · · · A.· · Marcella Teplitz.                          16· and I remember, I will definitely let you know I
17· · · · Q.· · Okay.· And who is she to you?              17· remember.· If I could -- if you can give me some
18· · · · A.· · She's a police officer.                    18· kind of situation, maybe I --
19· · · · Q.· · And do you know anything else about her?   19· · · · Q.· · Well, I guess the situation --
20· · · · A.· · Other than she's tried to write me and     20· · · · A.· · -- could, I don't know.
21· come see me in prison.                                 21· · · · Q.· · -- I'm thinking of is you know who she
22· · · · Q.· · Okay.· And when was that?                  22· is on January 26, 1977; is that correct?
23· · · · A.· · Juvenile and -- I have some letters,       23· · · · A.· · Of course.· I can't forget that.
24· but I don't have the dates of them.· I turned them     24· · · · Q.· · Okay.· Did you know her prior to that

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·1· over to my attorney.· I think she was -- she wrote     ·1· day?
·2· me when she was a private investigator and she         ·2· · · · A.· · That's what I'm saying.· I don't
·3· wrote me -- I'm not sure as a councilwoman. I          ·3· remember meeting her prior to that day.· I'm not
·4· mean, she'll never write me on her official -- I       ·4· gonna say it didn't happen.· I'm saying I don't
·5· know -- I don't have those letters.· But I know who    ·5· have no recollection of it.
·6· we're talking about.· I just don't remember her        ·6· · · · Q.· · Okay.· Okay.· Did you ever write her
·7· prior to 1977.                                         ·7· when you were in prison?
·8· · · · Q.· · Okay.                                      ·8· · · · A.· · I don't remember.· I could have.
·9· · · · A.· · That's all.                                ·9· · · · Q.· · Okay.
10· · · · Q.· · Okay.· So --                               10· · · · A.· · I could have responded to one of her
11· · · · A.· · I'm not saying it didn't happen.           11· letters.
12· I'm just -- I just can recall it at this minute.       12· · · · Q.· · Okay.· So you think you responded to
13· · · · Q.· · Okay.· So I'm just going to ask you        13· her?
14· about a couple things you just said.                   14· · · · A.· · Oh, ain't no doubt.· I probably wrote a
15· · · · · · · · ·So you said you gave some letters to    15· letter back saying whatever I said.
16· your attorneys --                                      16· · · · Q.· · Okay.· Did you ever just write to her
17· · · · A.· · Yes.                                       17· on your own --
18· · · · Q.· · -- that Marcella wrote you?                18· · · · A.· · No.
19· · · · A.· · Yes.                                       19· · · · Q.· · -- unprompted?
20· · · · Q.· · How many letters?                          20· · · · A.· · No.
21· · · · A.· · Three, four.· I don't remember exactly.    21· · · · Q.· · Okay.· And do you know how many times
22· · · · Q.· · Okay.                                      22· you wrote her?
23· · · · A.· · More than two.                             23· · · · A.· · I do not.
24· · · · Q.· · She wrote you more than two letters,       24· · · · Q.· · Okay.· Do you think you wrote her more


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·1· than once?                                            ·1· · · · A.· · No.
·2· · · · A.· · I could have.                             ·2· · · · Q.· · No.
·3· · · · Q.· · Okay.· Do you think you wrote her more    ·3· · · · · · · · ·How do you know that she tried to
·4· than twice?                                           ·4· visit you then?
·5· · · · A.· · I mean, I could have based on the         ·5· · · · A.· · I think my counselor told me that she
·6· letters that she wrote me.                            ·6· was trying to visit me, but I didn't want to --
·7· · · · Q.· · Okay.                                     ·7· I didn't want to see her.
·8· · · · A.· · The last time I seen Marcella Teplitz     ·8· · · · Q.· · Who's your counselor?
·9· was, I believe, on an interview with Phil Rogers in   ·9· · · · A.· · Oh, God, I don't remember.· In juvy,
10· 1998, Channel 5.                                      10· juvenile.
11· · · · Q.· · I'm sorry.· On a what interview?          11· · · · Q.· · When you say "in juvenile," where do
12· · · · A.· · On a TV interview.                        12· you mean physically?
13· · · · Q.· · Oh, a TV interview.· I just didn't hear   13· · · · A.· · I mean IYC Joliet.
14· the --                                                14· · · · Q.· · Okay.· And you had a counselor there?
15· · · · A.· · Yeah.                                     15· · · · A.· · Several.
16· · · · Q.· · I didn't hear.· And what --               16· · · · Q.· · Several.
17· · · · A.· · Phil Rogers.                              17· · · · · · · · ·And one of your counselors told you
18· · · · Q.· · Phil Rogers.· Is that the reporter?       18· that Marcella Teplitz was trying to visit you?
19· · · · A.· · Yeah.                                     19· · · · A.· · Yes.
20· · · · Q.· · Okay.· And what year was this?            20· · · · Q.· · Okay.
21· · · · A.· · I believe 1998.                           21· · · · A.· · Because you had to go through the
22· · · · Q.· · So was this just an interview you saw     22· counselors to have visits.
23· on TV; it wasn't something you participated in?       23· · · · Q.· · And what did you say to your counselor?
24· · · · A.· · No.· It had something to do with my       24· · · · A.· · I don't want to see her.

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·1· parole hearing, though.                               ·1· · · · Q.· · And why not?
·2· · · · Q.· · It did.· Okay.                            ·2· · · · A.· · Why not is the fact that when I was in
·3· · · · A.· · Yes.                                      ·3· the station being questioned with two and three
·4· · · · Q.· · Okay.· Were you -- did you see her in     ·4· officers at a time, none of them seemed to care.
·5· person in relation to this interview, or no, you      ·5· None of them really seemed to want the truth.· And
·6· just --                                               ·6· every time I would say something, they would tell
·7· · · · A.· · I don't --                                ·7· me that I was wrong, and would I -- could it be
·8· · · · Q.· · -- saw her on television?                 ·8· something else.· Could it be this?· Could it be
·9· · · · A.· · I don't -- yes.                           ·9· that?
10· · · · Q.· · Okay.· Do you remember what she said on   10· · · · · · · · ·And I was never equipped to sit down
11· that television news program?                         11· and talk to three -- two and three people at the
12· · · · A.· · No.· No, I don't.                         12· same time.· And she was one of those people.· And I
13· · · · Q.· · Okay.· Do you remember if this was        13· did not -- I could not understand why adults would
14· before or after you had exchanged letters?            14· be sitting there, and they say Officer Friendly
15· · · · A.· · After.                                    15· would help you.· Officer Friendly would not lie to
16· · · · Q.· · It was after.                             16· you or hurt you or do any of that.· And I feel like
17· · · · A.· · I believe.                                17· they did not want the truth, and I feel like I
18· · · · Q.· · Okay.· And then I think you said that     18· became -- as my will slowly left me, it's like I
19· you thought that she had tried to visit you in        19· had no -- no voice, no one who was listening to me.
20· prison; is that correct?                              20· · · · · · · · ·And she was one of those people.
21· · · · A.· · Yes.                                      21· And I just felt overwhelmed by their questioning.
22· · · · Q.· · Okay.· When was this?                     22· It made it hard for me to remember things.· It made
23· · · · A.· · I believe while I was in juvenile.        23· it hard for me to answer.· I just couldn't -- I
24· · · · Q.· · Okay.· And did she visit you?             24· didn't know how.· I just didn't know how.


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·1· · · · · · · · ·I didn't know -- like everything        ·1· help.· And I asked for help from the people that
·2· changed when they told me that first that, This may    ·2· was involved in this case with me.· Because I
·3· be something you can help us with.· Maybe you can      ·3· couldn't believe they thought that I was guilty.
·4· help us remember what you saw or what you heard        ·4· I don't even know how they even drew the
·5· that day.· But that went from me helping them to       ·5· inclination that I was guilty of taking two
·6· them hurting me.· And I didn't understand why.· If     ·6· people's lives as though I was some kind of
·7· that makes sense, you know.                            ·7· magician.
·8· · · · · · · · ·So I began to reach a point where I     ·8· · · · Q.· · So you have no idea why they thought
·9· didn't want to talk to any of them.· And I began to    ·9· this?
10· express that.· And that didn't make them happy.        10· · · · A.· · No.· How could I?· I was five feet
11· That made them angry with me or telling me I was       11· tall, 110 pounds.· And you got me killing an adult
12· backtracking, I was -- you sure you're not             12· and another teenager.· How?· When did I become so
13· confused?· And I didn't understand.· And to this       13· skilled, so strong that I could overpower two human
14· day I really don't understand.· When I say             14· beings and not have a scratch, not leave a
15· "understand," why, because it seemed like I became     15· fingerprint, not leave an ounce of blood, nothing.
16· from someone to help to someone that was a suspect.    16· I just want to know how.· And I just want somebody
17· I don't get that.· I don't understand it.              17· here to tell me just how do you do that.
18· · · · · · · · ·And a lot of things that went on,       18· · · · Q.· · So -- so let's think, right, the true
19· I just like -- it's hard to believe that adults, I     19· killer, was there -- there was no fingerprints of
20· say again, were not targeting anyone but the people    20· anybody that could have been the true killer; is
21· that questioned me.· Why me?                           21· that right?
22· · · · Q.· · So this is the reason why you didn't       22· · · · A.· · I wouldn't --
23· want to see her at Joliet; is that correct?            23· · · · Q.· · So didn't that person also not leave
24· · · · A.· · Yes.                                       24· any fingerprints?

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·1· · · · Q.· · Okay.· What changed for you to start       ·1· · · · A.· · I wouldn't know.· I don't know what
·2· writing her letters?                                   ·2· they found in the home.· But what I read that they
·3· · · · A.· · No, nothing changed.· Because when she     ·3· found, oh, I'm sure they had a lot of things they
·4· wrote me letters, I wrote her back, and I said,        ·4· could have turned to if now that's what you want to
·5· Well, you know I'm innocent.· Why don't you help       ·5· know.· I can remember some of the police reports
·6· me?                                                    ·6· that I read that truly indicated that someone else
·7· · · · · · · · ·Same way I wrote to Captain Stenson.    ·7· committed this crime.
·8· He was Lieutenant Stenson.· Same flavor.· I wrote      ·8· · · · Q.· · What was it that you read that you
·9· him letters.· I'm sure you -- you may have a copy,     ·9· believe indicated someone else committed the crime?
10· may not have a copy.· But I'm sure my attorneys        10· · · · A.· · Okay.· The police say when they showed
11· will provide it.                                       11· up at the house, the stepfather was there.· They
12· · · · · · · · ·I have did something most people in     12· said that they couldn't enter the house because the
13· my situation would never do.· I sit down.· I tried     13· dog wouldn't let them in.· But the stepfather could
14· to read the police reports and understand them, but    14· enter the house, and he could come in.· He had
15· I couldn't.· But I would call people try to            15· scratches and welts under his eyes, and I -- if I'm
16· understand what happened to me.· And I asked them      16· not mistaken -- I don't remember who the officer's
17· personally, Why won't you help me?· I am not guilty.   17· name was.· He said he asked him about the marks and
18· · · · · · · · ·I also wrote to the victims' mother     18· the weps -- welts under his eye as well as the
19· and told her, I did not take your children's life.     19· mother did.· And they just totally ignored that.
20· · · · Q.· · Why did you write her?                     20· · · · · · · · ·There's the Schwartz family; white
21· · · · A.· · What you mean why?                         21· mother with two children who identified the
22· · · · Q.· · I'm asking you.                            22· perpetrator coming out of the house, five foot
23· · · · A.· · That's what I'm saying.· I'm innocent,     23· eleven, 200-some pounds.· Each child identified
24· and I need help.· So I was never afraid to ask for     24· something that belonged there.· I would never be


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·1· five foot eleven, 200 pounds.                         ·1· · · · A.· · What they provided.· Only thing they
·2· · · · · · · · ·So I feel like the police had a lot    ·2· provided me was that.· They never provided us with
·3· of other people they could have turned to --          ·3· any of that evidence.· I've never read it from no
·4· · · · Q.· · Do you have a belief that the police      ·4· file that they have ever given me.
·5· officers did not investigate anyone else?             ·5· · · · · · · · ·Now, if it was left out, then that
·6· · · · A.· · I believe --                              ·6· would have probably gave me another outlook.· But I
·7· · · · MR. TAYLOR:· Objection.· I think we're          ·7· have no -- unless you could show me right now where
·8· going -- going into his belief?                       ·8· they did that, then my thoughts remain the same.
·9· · · · MS. SCHROEDER:· Um-hmm.                         ·9· · · · Q.· · Okay.· Did you know that there were DNA
10· · · · MR. TAYLOR:· Seems to me that we want to        10· tests that excluded the stepfather?
11· deal -- that's an objectionable question in terms     11· · · · MR. TAYLOR:· Objection.· It seems like
12· of form.                                              12· we're -- you're using him to argue the case, and
13· · · · · · · · ·But you may answer.                    13· you're going back and forth.
14· · · · THE WITNESS:· I believe that our police         14· · · · MS. SCHROEDER:· Why are you doing these
15· department had more than enough knowledge,            15· speaking objections, Flint?
16· scientific people to find the real perpetrator        16· · · · MR. TAYLOR:· Because I think it's appropriate
17· that did this.· Yes, I believe that.                  17· in terms of the questions that you're asking at
18· BY MS. SCHROEDER:                                     18· this point.· And I think that it's -- that it's
19· · · · Q.· · Do you have a thought on who you          19· an inappropriate way to deal with questioning a
20· believe is the real killer of James Robinson and      20· witness --
21· Connie Cooper?                                        21· · · · MS. SCHROEDER:· He's the plaintiff.
22· · · · MR. TAYLOR:· Objection; form.· Excuse me.       22· · · · MR. TAYLOR:· -- on the facts in the case.
23· Form.· Foundation.                                    23· · · · MS. SCHROEDER:· He's the plaintiff in the
24· · · · THE WITNESS:· I knew what was said in our       24· case bringing the lawsuit, making the allegations

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·1· community.· I know that.· I knew when I               ·1· in a how-many-page complaint of which several of
·2· read the police reports for myself how the victims'   ·2· these questions that I'm asking are in this
·3· stepfather was heavily involved in -- and I -- I --   ·3· complaint.· Specifically they talk about the true
·4· all I could do was base it off of what I was able     ·4· killer being the stepfather.· It talks about in
·5· to read.· And then I wondered why he was never        ·5· this complaint that the DNA evidence has indicated
·6· interrogated like they interrogated me.· I wondered   ·6· that Mr. Savory is innocent and that the stepfather
·7· why they didn't take his blood samples and --         ·7· is allegedly the true killer or points to him.· And
·8· things they done to me why you didn't do that to      ·8· these are things that I am asking the person who's
·9· him when he was probably the original suspect in      ·9· bringing the lawsuit.
10· this case.                                            10· · · · MR. TAYLOR:· You know, let's take a break.
11· BY MS. SCHROEDER:                                     11· We'll discuss your approach to this case, we'll
12· · · · Q.· · Would it surprise you to learn that       12· collectively.· And we'll be back in a few minutes.
13· he -- they did do that to the stepfather?             13· · · · THE VIDEOGRAPHER:· We're going off the record
14· · · · A.· · Did what to him?                          14· at 2:38 p.m.
15· · · · Q.· · They took hair samples and blood          15· · · · MS. SCHROEDER:· So I'm just going to say I do
16· samples.                                              16· have a question pending, so I would -- I'm asking
17· · · · A.· · I have no -- I have no knowledge.         17· you not to discuss the answer to that question
18· Didn't never read that a day in my life that they     18· during this time.
19· took those things from him.                           19· · · · MR. BOWMAN:· That's fine.
20· · · · Q.· · Okay.· So you're not -- so because you    20· · · · MS. SCHROEDER:· Thank you.
21· were just expressing your knowledge that they did     21· · · · MR. BOWMAN:· We won't do that.
22· not, so --                                            22· · · · · · · · · · · · · ·(Recess taken.)
23· · · · A.· · I said based on what I read.              23· · · · THE VIDEOGRAPHER:· We are back on the record
24· · · · Q.· · Based on what you read.                   24· at 2:48 p.m.


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·1· · · · MS. SCHROEDER:· Okay.· Thank you.                     ·1· · · · A.· · I don't -- I don't remember --
·2· · · · · · · · ·Mr. Court Reporter, can you read me          ·2· · · · Q.· · You don't remember?
·3· back my last question, please?                              ·3· · · · A.· · -- what time I got up at this point.
·4· · · · · · · · · · · (The record was read as follows:        ·4· · · · Q.· · Did you have a usual time that you
·5· · · · · · · · · · · ·Q. Did you know that there were        ·5· would wake up in the mornings in that timeframe?
· · · · · · · · · · · · ·DNA tests that excluded the            ·6· · · · A.· · No, ma'am, because school didn't start
·6· · · · · · · · · · · ·stepfather?)                           ·7· till 3:30.
·7· · · · THE WITNESS:· Yes.                                    ·8· · · · Q.· · Okay.
·8· BY MS. SCHROEDER:                                           ·9· · · · A.· · So --
·9· · · · Q.· · And what were your thoughts about that          10· · · · Q.· · Did you usually wake up on your own, or
10· when you learned that those tests excluded the
                                                                11· did -- or did someone have to wake you up?
11· stepfather?
                                                                12· · · · A.· · No.· I could wake up on my own.
12· · · · MR. TAYLOR:· Objection; form, foundation.
                                                                13· · · · Q.· · You would wake up on your own?
13· · · · THE WITNESS:· I just left it alone. I
                                                                14· · · · A.· · Yes, ma'am.
14· don't -- I'm not an investigator.· I'm not a police
                                                                15· · · · · · · · ·I know I --
15· officer.· I took what I -- what was provided with
                                                                16· · · · MR. TAYLOR:· Johnnie, there's no question
16· me and to me, and I tried to figure out what
                                                                17· pending right now.
17· happened to me.· And that's about the best way I
18· can sum it up.                                              18· · · · THE WITNESS:· Oh, I thought it was.
19· · · · · · · · ·And now I'm through with it.· I just         19· BY MS. SCHROEDER:
20· don't -- there's nothing else I can do with it.· If         20· · · · Q.· · Do you have a best guess as to what
21· DNA excluded them, I'm not the person to argue              21· time you may have woken up on that morning of
22· against.                                                    22· January 17th?
23· BY MS. SCHROEDER:                                           23· · · · MR. TAYLOR:· Objection.· I don't think we
24· · · · Q.· · But are you the person that has been            24· should be in the business of guessing.· Objection;

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·1· saying that the stepfather is the true killer?      ·1· form, foundation.
·2· · · · A.· · I'm the person that they provided       ·2· · · · THE WITNESS:· I don't -- to be honest, I
·3· information for to do it.                           ·3· don't remember what time I actually woke up --
·4· · · · Q.· · I'm sorry?                              ·4· · · · MS. SCHROEDER:· Okay.
·5· · · · A.· · I'm the person that echoed what was     ·5· · · · THE WITNESS:· -- to be honest with you.
·6· provided to me that I --                            ·6· BY MS. SCHROEDER:
·7· · · · Q.· · And who provided you this information?  ·7· · · · Q.· · Was anybody in your home when you woke
·8· · · · A.· · The records, the transcripts, the       ·8· up that day?
·9· police reports, and things of that nature.          ·9· · · · A.· · My dad.
10· · · · Q.· · And from that information you           10· · · · Q.· · Okay.· Anyone else?
11· determined that the stepfather was the true killer? 11· · · · A.· · No, ma'am.
12· · · · A.· · Yes.                                    12· · · · Q.· · Where was your sister?
13· · · · Q.· · Okay.· Is there anything else besides   13· · · · A.· · I don't remember.· I don't know if she
14· what we've just talked about that you are relying   14· was with -- I don't -- I just don't remember where
15· on to support your belief that the stepfather is    15· she was at that point.
16· the true killer?                                    16· · · · Q.· · Was she living with you then?
17· · · · A.· · No, ma'am.                              17· · · · A.· · Yes.
18· · · · Q.· · Okay.· Mr. Savory, can you please tell  18· · · · Q.· · Okay.· But you remember that on the
19· me everything you remember doing on January 17th, 19· 17th she was not at your house?
20· 1977?· And trust me, we'll end up looking at        20· · · · A.· · No, I'm not saying that.· She could
21· reports, but I would like to know what your memory  21· have been to school.· My dad could have put her on
22· is right now without those reports.                 22· the school bus or whatever.· She went to the school
23· · · · A.· · I remember getting up.                  23· in the morningtime.· So when I woke up -- you asked
24· · · · Q.· · What time did you get up, sir?          24· me about when I woke up.


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·1· · · · Q.· · Correct.                                  ·1· had another sister; is that correct?
·2· · · · A.· · She was gone.· So I don't know exactly    ·2· · · · A.· · Yes.
·3· where she at, but I assume she was in school.         ·3· · · · Q.· · Okay.· Can you tell me her name,
·4· · · · Q.· · Got it.· Okay.                            ·4· please?
·5· · · · · · · · ·So it's not that she wasn't living     ·5· · · · A.· · Mavis.
·6· there with you, she just wasn't in the home --        ·6· · · · Q.· · And what is her last name?
·7· · · · A.· · Exactly.                                  ·7· · · · A.· · Jackson.
·8· · · · Q.· · -- when you woke up?                      ·8· · · · Q.· · In the birth range -- is she also
·9· · · · A.· · She -- yes.                               ·9· your -- your sister Louisa, is she a sister to
10· · · · Q.· · Okay.· What time did she go to school     10· her as well?
11· in the morning?                                       11· · · · A.· · We have the same mother, different
12· · · · A.· · Normally -- kind of early, like 7:30,     12· fathers.
13· 8:00 o'clock, something like that.                    13· · · · Q.· · Okay.· And did Mavis live with you?
14· · · · Q.· · And how did she get to school?            14· · · · A.· · No.
15· · · · A.· · Bus came and picked her up.               15· · · · Q.· · Okay.· Where did Mavis live?
16· · · · Q.· · Okay.· And where was the bus at?· Was     16· · · · A.· · Mississippi.
17· it a private -- excuse me.· Sorry about that.         17· · · · Q.· · Was she living in Mississippi in 1977?
18· · · · · · · · ·Was it a private bus that would pick   18· · · · A.· · Yes, ma'am.
19· her up?                                               19· · · · Q.· · Okay.· And she's -- and, I'm sorry,
20· · · · A.· · Peoria Association for Retarded           20· I can't re- -- is she still living now?
21· Citizens.                                             21· · · · A.· · No.
22· · · · Q.· · Okay.· Did she go to school every day?    22· · · · Q.· · She passed.· Okay.
23· · · · A.· · Yes.                                      23· · · · · · · · ·Did she ever live in Illinois?
24· · · · Q.· · Okay.· And how long did she -- was her    24· · · · A.· · Not to my knowledge.

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·1· school day?                                           ·1· · · · Q.· · Okay.· Did you ever live with Mavis?
·2· · · · A.· · From 8:00 to 3:00 or 4:00 when the bus    ·2· · · · A.· · No.
·3· come back.                                            ·3· · · · Q.· · Okay.· Did you keep in touch with her,
·4· · · · Q.· · Okay.· Did she have a usual time when     ·4· though, as you were growing up?
·5· she would come home from school?                      ·5· · · · A.· · Yes.
·6· · · · A.· · Yeah.· That's what I just said, 3:00 or   ·6· · · · Q.· · Okay.· How did you keep in touch with
·7· 4:00.                                                 ·7· her?
·8· · · · Q.· · 3:00 or 4:00.                             ·8· · · · A.· · Visit.
·9· · · · A.· · Yeah.                                     ·9· · · · Q.· · I'm sorry?
10· · · · Q.· · Okay.· And would someone have to pick     10· · · · A.· · Visit.
11· her up from the bus stop at the end of the school     11· · · · Q.· · A visit.· When would you visit her?
12· day?                                                  12· · · · A.· · I don't remember the exact time and
13· · · · A.· · Yes.                                      13· date.· But when we would go down south, we would
14· · · · Q.· · Okay.· And who would do that?             14· visit each other.
15· · · · A.· · Either my dad most of the time because    15· · · · Q.· · And who would you go down south with?
16· I went to school at 3:30.                             16· · · · A.· · Other family members.
17· · · · Q.· · Okay.· Was your grandmother living with   17· · · · Q.· · Which other family members?
18· you at this time?                                     18· · · · A.· · Aunt.· Uncle.
19· · · · A.· · Off and on.                               19· · · · Q.· · Are these your aunt and uncle on your
20· · · · Q.· · Okay.· And this grandmother that was      20· mom's side?
21· living with you, was she your dad's mom or your       21· · · · A.· · Dad.
22· mom's mom?                                            22· · · · Q.· · Your dad's side.
23· · · · A.· · My dad's mom.                             23· · · · · · · · ·Were your aunt and uncle -- when you
24· · · · Q.· · Okay.· And I heard you earlier say you    24· say "aunt and uncle," are they a married couple?


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·1· · · · A.· · Yes.                                      ·1· · · · Q.· · Okay.· Did you do anything else prior
·2· · · · Q.· · Okay.· And what are their names?          ·2· to going to school on the 17th that you can
·3· · · · A.· · My aunt name is Martha Williams.          ·3· remember?
·4· That's my dad's sister.· My uncle name, I don't       ·4· · · · A.· · No, ma'am.
·5· remember.                                             ·5· · · · Q.· · Okay.· Do you remember that you just
·6· · · · Q.· · Okay.· Did they live in Peoria?           ·6· stayed at your house all morning and afternoon
·7· · · · A.· · Yes.                                      ·7· until you caught the bus?· Is that your memory
·8· · · · Q.· · Okay.· Did they live with you?            ·8· right now?
·9· · · · A.· · No.                                       ·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· Okay.· So -- so you wake up,       10· · · · Q.· · Okay.· Did you do anything else to get
11· and your dad's there.· Tell me what else you can      11· ready for school other than getting clothes on?
12· remember.                                             12· · · · A.· · Not that I recall.
13· · · · A.· · I ate something.· And I got my clothes    13· · · · Q.· · Any homework?
14· ready for school.                                     14· · · · A.· · I don't remember doing homework.
15· · · · Q.· · Did you eat at your house?                15· · · · Q.· · Okay.· And can you tell me the name of
16· · · · A.· · Yes.                                      16· your school that you were attending at this time?
17· · · · Q.· · Okay.· And who made you the meal?         17· · · · A.· · Late Afternoon High School.
18· · · · A.· · My dad.                                   18· · · · Q.· · Okay.· And you said what time did you
19· · · · Q.· · What was it?                              19· start?
20· · · · A.· · I don't remember.                         20· · · · A.· · 3:30.
21· · · · Q.· · And then you said you got ready for       21· · · · Q.· · Until what time does it end?
22· school; is that correct?                              22· · · · A.· · About 6:15, 6:30.
23· · · · A.· · Yes.                                      23· · · · Q.· · Okay.· And is this an alternative
24· · · · Q.· · What does that mean?                      24· school --

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·1· · · · A.· · My clothes.                               ·1· · · · A.· · Yes.
·2· · · · Q.· · So like did you -- you changed your       ·2· · · · Q.· · -- for children?
·3· clothes, is that what you're saying?                  ·3· · · · A.· · Yes.
·4· · · · A.· · No.· I went and got the clothes that I    ·4· · · · Q.· · Okay.· And can you tell me how long
·5· was going to wear.                                    ·5· had you been going to this school at this time in
·6· · · · Q.· · Okay.· And what else did you do?          ·6· January 1977?
·7· · · · A.· · Waited for the time to get on the bus     ·7· · · · A.· · I don't remember at this moment. I
·8· and head out.                                         ·8· don't remember the exact -- how long I went there.
·9· · · · Q.· · Okay.· What time did you catch the bus?   ·9· I want to say a little less than a year.
10· · · · A.· · I believe around about 3:00 o'clock.      10· · · · Q.· · Okay.
11· Between 2:45 and 3:00 o'clock.· Sometime 2:30.        11· · · · A.· · You know, something like that.
12· Depend on when the bus got there.· Didn't arrive      12· · · · Q.· · Okay.· And do you know why you were
13· all the time at the same time.                        13· attending that school?
14· · · · Q.· · What was the -- do you remember the bus   14· · · · A.· · Yes.
15· stop?                                                 15· · · · Q.· · Why?
16· · · · A.· · No.· No.· It's on the corner of my home   16· · · · A.· · I was expelled from Loucks Elementary
17· at that time.                                         17· School.
18· · · · Q.· · And --                                    18· · · · Q.· · Okay.
19· · · · A.· · The corner of the block.                  19· · · · A.· · Or middle school, rather.
20· · · · Q.· · Can you tell me what the corner is?       20· · · · Q.· · Okay.· Why were you expelled?
21· · · · A.· · My address was 1011, I believe, West      21· · · · A.· · I refused to let the principal
22· Hurlburt Street or West or South Hurlburt Street,     22· discipline me with a paddle.
23· one of them.· It was only like a couple of houses     23· · · · Q.· · Okay.· So tell me about that incident.
24· down, the bus stop.                                   24· · · · A.· · From what I remember, he called me to


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·1· the office.· I don't remember what reason he wanted·1· · · · Q.· · Okay.· You didn't stop to see anybody
·2· to discipline me.· But he became, because I didn't ·2· else?
·3· allow him to discipline me, became very angry.· So ·3· · · · A.· · Not to -- not that I remember or
·4· I ran off from school, and I ran to get my dad, who·4· recall.
·5· was working at a hospital.                         ·5· · · · Q.· · Okay.· And then -- and then what do you
·6· · · · Q.· · And then the school expelled you for   ·6· remember next?
·7· leaving the premises?                              ·7· · · · A.· · Went to class.· Joking around with some
·8· · · · A.· · Yeah.· They called the truant officer. ·8· other students before we went to class inside the
·9· He met me and my dad at the hospital.              ·9· school.· I went to class.
10· · · · Q.· · Okay.                                  10· · · · Q.· · Do you remember the names of those
11· · · · A.· · And we came back with the truant       11· students?
12· officer to the school.                             12· · · · A.· · No, ma'am.
13· · · · Q.· · Okay.· Do you remember who the officer 13· · · · Q.· · Okay.· So you went to class.· And then
14· was?                                               14· what?
15· · · · A.· · No.                                    15· · · · A.· · Did my assignment, my homework and
16· · · · Q.· · Okay.· Was it a man?                   16· everything inside the school and had a lunch break.
17· · · · A.· · Yes.                                   17· · · · Q.· · Do you remember who you ate lunch with?
18· · · · Q.· · Okay.· Was it a Peoria police officer? 18· · · · A.· · No.
19· · · · A.· · I don't think so.                      19· · · · Q.· · Okay.· Did you pack your lunch?
20· · · · Q.· · Okay.· Okay.· So then you're expelled. 20· · · · A.· · No.
21· And then do you have go to Late Afternoon School; 21· · · · Q.· · Okay.· Did they provide lunch for you?
22· is that correct?                                   22· · · · A.· · Cafeteria.
23· · · · A.· · Yes.· Yes.                             23· · · · Q.· · Got it.· Okay.· So then after lunch,
24· · · · Q.· · Had you been expelled prior to that    24· you go back to classes; is that right?

                                                Page 147                                                        Page 149
·1· before --                                                ·1· · · · A.· · Yes.
·2· · · · A.· · No.                                          ·2· · · · Q.· · Okay.· And what -- and then what
·3· · · · Q.· · -- like at any other school?                 ·3· happens?· What time does school get out?
·4· · · · A.· · Not that I recall.                           ·4· · · · A.· · I think I said 6:15, 6:30, something
·5· · · · Q.· · Okay.· So this incident was the first        ·5· like that.
·6· time you remember being expelled?                        ·6· · · · Q.· · Okay.· So then in between that time of
·7· · · · A.· · Yes.                                         ·7· lunch and getting out of school, are you just in
·8· · · · Q.· · Okay.· And is that all you can remember      ·8· class, that you can remember, on the 17th?
·9· about that incident?                                     ·9· · · · A.· · Yes.
10· · · · A.· · Yes.                                         10· · · · Q.· · Okay.· So then what happens after you
11· · · · Q.· · Okay.· So did you catch the bus that         11· are done with school?
12· day to go to school then on the 17th?                    12· · · · A.· · I boarded the bus.
13· · · · A.· · Yes, ma'am.                                  13· · · · Q.· · Okay.· Were you with anyone?
14· · · · Q.· · Okay.· So take me from there then.· Did      14· · · · A.· · Yes.
15· you catch the bus alone?                                 15· · · · Q.· · Who were you with?
16· · · · A.· · Yes.                                         16· · · · A.· · James Robinson, Jr.
17· · · · Q.· · Okay.· And where did you go?                 17· · · · Q.· · Okay.· And was this the first time that
18· · · · A.· · To school.                                   18· you and he had rode the bus together?
19· · · · Q.· · And do you remember where your school        19· · · · A.· · Yes.
20· was located?                                             20· · · · Q.· · Okay.· And why -- is there a reason
21· · · · A.· · On Washington Street.                        21· this day that you ended up riding the bus together?
22· · · · Q.· · Okay.· And did you go straight to            22· · · · A.· · He asked me to come to his home.
23· school?                                                  23· · · · Q.· · Okay.· And had he ever asked you to
24· · · · A.· · Yes.                                         24· come to his home before?


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·1· · · · A.· · No.                                       ·1· School?
·2· · · · Q.· · Okay.· Were you friends with James        ·2· · · · A.· · No.
·3· Robinson?                                             ·3· · · · Q.· · Okay.· And prior to this incident when
·4· · · · A.· · Yes.                                      ·4· you and he were on the bus on the 17th going to his
·5· · · · Q.· · Okay.· How long had you been friends      ·5· house, had you done anything else with James
·6· with him?                                             ·6· Robinson after school hours?
·7· · · · A.· · We first met in third grade.              ·7· · · · A.· · No, ma'am.
·8· · · · Q.· · And what school was that?                 ·8· · · · Q.· · Okay.· So is the only time that --
·9· · · · A.· · I believe McKinley.                       ·9· prior to January 17th, 1977, is the only time you
10· · · · Q.· · Okay.· And were you in the same class?    10· had ever seen James Robinson would have been during
11· · · · A.· · That, I don't remember.                   11· school hours?
12· · · · Q.· · I'm sorry?                                12· · · · A.· · Yes.
13· · · · A.· · I don't remember.                         13· · · · Q.· · Okay.· And is the only time from your
14· · · · Q.· · Okay.· You just remember that you knew    14· not -- your knowing James, right, from third grade
15· him --                                                15· until January 17th, 1977, is the only time that you
16· · · · A.· · Shooting -- all I remember is shooting    16· and he interacted would have been during school
17· marbles and playing.                                  17· hours?
18· · · · Q.· · Okay.· And did you live near each other   18· · · · A.· · Yes.
19· at that timeframe?                                    19· · · · Q.· · Okay.· And had you -- and can you --
20· · · · A.· · We probably did.· But I had never been    20· other than this January 17th day after school
21· over his home.                                        21· you've led out and you're on the bus going to his
22· · · · Q.· · Okay.· Did you play together --           22· house, can you remember any other time that you and
23· · · · A.· · Yes.                                      23· he might have gotten together after school hours?
24· · · · Q.· · -- in that timeframe?                     24· · · · A.· · No, ma'am.


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·1· · · · A.· · Yes.                                      ·1· · · · Q.· · Okay.· And are you telling me no, you
·2· · · · Q.· · Okay.· And from third grade until --      ·2· don't remember, or no, you know that you never --
·3· what grade are you in now in January 1977?            ·3· · · · A.· · No.· I know I did not.· We didn't have
·4· · · · A.· · I think that's eighth.                    ·4· no interactions other than at school at that time.
·5· · · · Q.· · You were in eighth grade.                 ·5· · · · Q.· · Okay.· Okay.· So what changed that for
·6· · · · · · · · ·So from third grade to eighth grade,   ·6· this night on January 17th?
·7· had you maintained a friendship with James            ·7· · · · A.· · Well, we -- we just kind of like just
·8· Robinson?                                             ·8· hit it off, and it just -- you know, talking about
·9· · · · A.· · We were on opposite sides of town, so     ·9· sports and things like that.· I was very active in
10· we did not see each other since third grade until     10· sports and calisthenics and things like that.· And
11· we went to Loucks School.· Then in Loucks School,     11· just had a conversation.· He asked me to come to
12· we was in there, that was sixth grade.                12· his house for this first time.· Nothing -- I don't
13· · · · Q.· · Okay.· So then you reconnect in sixth     13· remember nothing else about that.· But I know I
14· grade?                                                14· went on and we went together on that bus.
15· · · · A.· · There we go.                              15· · · · Q.· · I didn't understand that last part.
16· · · · Q.· · Okay.                                     16· · · · A.· · I said this the only time we went
17· · · · A.· · Yes.                                      17· together on that bus.
18· · · · Q.· · And are you living near each other at     18· · · · Q.· · Okay.· So what -- you said you were
19· this timeframe?                                       19· interested in sports and calisthenics?
20· · · · A.· · I was in the district.· I don't think     20· · · · A.· · Um-hmm.
21· we lived close to each other.                         21· · · · Q.· · Like what sports and calisthenics?
22· · · · Q.· · Okay.                                     22· · · · A.· · Mine was football.· And calisthenics
23· · · · A.· · But I was in the district.                23· was pushups, sit-ups, and all the things I still do
24· · · · Q.· · So did you see him outside of Loucks      24· today.


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·1· · · · Q.· · Okay.· Did you play on a football team,    ·1· · · · Q.· · -- playing in the neighborhood?
·2· or was it just more of like a neighbored playing?      ·2· · · · A.· · No.
·3· · · · A.· · Just some sandlot football.· We just --    ·3· · · · Q.· · Okay.· Okay.· Where do you go -- now
·4· you know, some boys get together play football.        ·4· you're on the bus together.· And where are you
·5· · · · Q.· · Um-hmm.                                    ·5· headed at this time?
·6· · · · A.· · You know.                                  ·6· · · · A.· · To his home.
·7· · · · Q.· · Did you have other friends then in the     ·7· · · · Q.· · Okay.· And did you guys talk on the
·8· neighborhood that you would play football with?        ·8· bus?· Did you have any conversations that you can
·9· · · · A.· · In my neighborhood?                        ·9· remember?
10· · · · Q.· · Yeah.                                      10· · · · A.· · Just laughed and joked.· But no, I
11· · · · A.· · Yes.                                       11· can't actually remember what we laughed and joked
12· · · · Q.· · And do you remember the names of those     12· about or nothing.· I can't remember that.· I know
13· people?                                                13· we -- we enjoyed each other company.· That's all
14· · · · A.· · No.                                        14· I -- yeah.
15· · · · Q.· · Okay.· Do you remember the names of        15· · · · Q.· · Okay.· So -- and then you took the bus
16· any friends that you had during this timeframe of      16· to his bus stop; is that correct?· Or did you just
17· January 1977?                                          17· take the bus --
18· · · · A.· · Oh, lot of them.· A lot of them.           18· · · · A.· · The bus let off in the front of his
19· · · · Q.· · Oh, you do.· Okay.· So can you tell me     19· home.
20· the names of some of your friends?                     20· · · · Q.· · It did.· Okay.· Okay.· So I guess
21· · · · A.· · Perry Green.· Richard Gear.· Kimberly.     21· that's maybe -- I was trying to get a roundabout
22· · · · Q.· · What was that last one?                    22· way.· I was just wondering if you had stopped
23· · · · A.· · Kimberly.                                  23· anywhere on the way to his home.· You just took the
24· · · · Q.· · Kimberly?                                  24· bus straight to his house?


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·1· · · · A.· · I don't remember some of the last names.   ·1· · · · A.· · It would stop and let other children
·2· · · · Q.· · Okay.                                      ·2· off the bus.
·3· · · · A.· · So ...                                     ·3· · · · Q.· · Right.· But you stayed on the bus until
·4· · · · · · · · ·Oh, God.· Smalleys family.· Wendy.      ·4· it was time --
·5· Frankie.                                               ·5· · · · A.· · Exactly.
·6· · · · Q.· · Frankie Ivy?                               ·6· · · · Q.· · -- for you to get off to go to his
·7· · · · A.· · Yes, ma'am.                                ·7· home?
·8· · · · Q.· · Okay.                                      ·8· · · · A.· · Exactly.
·9· · · · A.· · God.· Paulette.· It was quite a few.       ·9· · · · Q.· · Okay.· So you get off the bus.· And
10· · · · Q.· · Okay.· And what kinds of things would      10· then do the two of you go straight to his home?
11· you do with these individuals that you just named      11· · · · A.· · Yes.
12· off in the neighborhood?                               12· · · · Q.· · Okay.· And then -- and then tell me
13· · · · A.· · Ride bikes.                                13· about that.· Was there, you know, a door that
14· · · · Q.· · Um-hmm.                                    14· you --
15· · · · A.· · Race.· Played basketball, baseball.        15· · · · MR. TAYLOR:· Objection to form.
16· I was on a little league team, so ...· Those things    16· BY MS. SCHROEDER:
17· like that.                                             17· · · · Q.· · That's fine.· Fair.
18· · · · Q.· · Okay.· And was -- did James Robinson       18· · · · · · · · ·Tell me -- tell -- just tell me what
19· ever play in the neighborhood with you?                19· you did after you got off the bus.
20· · · · A.· · We lived on opposite sides of the --       20· · · · A.· · He opened the door.· But he had to go
21· of the community.· He lived one area, and I lived      21· in first because there was a dog inside, and I was
22· in another one.                                        22· afraid of the dog.· And he put the dog up in his
23· · · · Q.· · Okay.· So he was never with you --         23· garage.
24· · · · A.· · No.                                        24· · · · Q.· · How did you know that that's what he


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·1· did?                                                  ·1· sitting here today, what his house looked like?
·2· · · · A.· · Because the dog was barking.              ·2· · · · A.· · Not really.· I remember the living
·3· · · · Q.· · Um-hmm.                                   ·3· room, his room, the kitchen.
·4· · · · A.· · And then he told me to wait until he      ·4· · · · Q.· · Okay.· What did the house look like
·5· went in.· Because they had a German shepherd dog,     ·5· when you walked in?
·6· very huge.                                            ·6· · · · MR. TAYLOR:· Objection; form.
·7· · · · Q.· · Okay.· And do you remember how you got    ·7· · · · THE WITNESS:· A couch, a chair, a television,
·8· into the house?                                       ·8· carpet, kitchen table, refrigerator, stove, lamps.
·9· · · · A.· · What you mean?                            ·9· That's what I remember.
10· · · · Q.· · Well, you said that he went into the      10· BY MS. SCHROEDER:
11· house --                                              11· · · · Q.· · Okay.· Was it clean?
12· · · · A.· · I said -- I said he told me to wait.      12· · · · A.· · Yes.
13· · · · Q.· · Okay.· Do you --                          13· · · · Q.· · Okay.· Everything in place?
14· · · · A.· · Came back after he put the dog up and     14· · · · A.· · What do you mean by --
15· let me in the house.                                  15· · · · Q.· · So like, I mean, it didn't -- like
16· · · · Q.· · Do you remember how he got into the       16· there was no mess, things weren't turned over.
17· house?                                                17· It was -- you walked in and it was a clean home?
18· · · · A.· · Yeah.· He took a key from under the       18· · · · A.· · It was neat.
19· mat.                                                  19· · · · Q.· · Okay.· Okay.· So tell me what you do
20· · · · Q.· · Okay.· Okay.· So then what happened?      20· now.· You're in the house with James.· And tell me
21· So the dog -- he puts the dog in the garage; is       21· what you remember next.
22· that right?                                           22· · · · A.· · We were hungry.
23· · · · A.· · Yes.                                      23· · · · Q.· · Um-hmm.
24· · · · Q.· · Okay.· And then what happens?· Are you    24· · · · A.· · So he went to the refrigerator, and we

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·1· waiting on the front stoop at this time?           ·1· had some hot dogs and corn.· And we ate that, but
·2· · · · A.· · There's no -- there's no stoop.        ·2· that was not enough.· And we played around for a
·3· · · · Q.· · No?                                    ·3· little bit; wrestle, play.
·4· · · · A.· · Just standing in the front door.       ·4· · · · · · · · ·And then I called a friend, and I
·5· · · · Q.· · Front door.· Okay.                     ·5· asked her could I have $4.· And we left and went to
·6· · · · A.· · Yeah.· He came back immediately after  ·6· a fast-food restaurant, Church's Chicken, Chad's
·7· putting the dog up.· We went inside.               ·7· Chicken, somebody's chicken somewhere.
·8· · · · Q.· · Was there anyone home?                 ·8· · · · Q.· · Okay.· So I heard you say you made corn
·9· · · · A.· · No.                                    ·9· and hot dogs, but that wasn't enough.
10· · · · Q.· · Okay.· And how did you know there was  10· · · · A.· · No.
11· no one home?                                       11· · · · MR. TAYLOR:· Objection; form.· I don't think
12· · · · A.· · 'Cause wasn't nobody in there but me   12· he said they made it.· I think he said they got it.
13· and him and the dog.                               13· · · · THE WITNESS:· No.· I said made.
14· · · · Q.· · But did you go to all the rooms?· Like 14· · · · MR. TAYLOR:· Oh, thank you.
15· how would you know that those rooms were empty? 15· · · · THE WITNESS:· We did.
16· · · · A.· · Because wasn't nobody else there. I    16· · · · MR. TAYLOR:· Withdraw that particular
17· don't know, 'cause I went to just the kitchen and  17· objection.
18· his room.· But there's no voices, no people in the 18· BY MS. SCHROEDER:
19· home.                                              19· · · · Q.· · Okay.· So you made your corn and hot
20· · · · Q.· · Okay.· Okay.                           20· dogs.
21· · · · A.· · That I could hear.                     21· · · · A.· · Right.
22· · · · Q.· · Um-hmm.                                22· · · · Q.· · Okay.· But then what did you say after
23· · · · A.· · Yeah.                                  23· that if I misunderstood you?· I had thought you
24· · · · Q.· · Okay.· Do you remember, as you're      24· said that it wasn't enough.· I thought you were


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·1· saying that that did not -- I interpreted it as you      ·1· · · · Q.· · Okay.· Tell me what you remember about
·2· saying that you were still hungry.                       ·2· that.
·3· · · · A.· · It was only a couple hot dogs --             ·3· · · · A.· · Just that we just wrestled and played.
·4· · · · Q.· · Okay.                                        ·4· It was nothing truly physical.· It was just -- I
·5· · · · A.· · -- and one can of corn.                      ·5· mean, it was just playing.· Maybe like horseplaying.
·6· · · · Q.· · Okay.· Okay.· Who -- who made the corn       ·6· · · · Q.· · Okay.
·7· and hot dogs?                                            ·7· · · · A.· · Wrestling.· You know what I mean?· Not
·8· · · · A.· · I believe he made it.                        ·8· just -- not nothing to either one of us were hurt
·9· · · · Q.· · He did?                                      ·9· or injured or anything of that nature.
10· · · · A.· · Um-hmm.                                      10· · · · Q.· · Okay.· And -- and it was playful then?
11· · · · Q.· · Okay.· Do you remember him making it?        11· · · · A.· · Very playful.
12· · · · A.· · Kinda sorta.                                 12· · · · Q.· · Okay.· What room were you doing this in?
13· · · · Q.· · Okay.· Is your memory like enough            13· · · · A.· · The living room.
14· that -- I mean, do you think you could possibly          14· · · · Q.· · And did you move any furniture around?
15· have helped make the corn and hot dogs?                  15· · · · A.· · Yes.· We moved the television.
16· · · · A.· · I might have opened the can.· I don't        16· · · · Q.· · Okay.· So tell me about that.
17· know exactly.· So, you know, we just -- I'm just         17· · · · A.· · Moved the television.
18· trying to remember to the best of my recollection.       18· · · · Q.· · How did you move it?
19· · · · Q.· · Okay.· Do you recollect cutting up the       19· · · · A.· · We turned it around so we wouldn't
20· hot dogs and putting them with the corn?                 20· accidently bump into it.
21· · · · A.· · Not at this moment.                          21· · · · Q.· · Is that all you did to it?
22· · · · Q.· · Okay.· Is it something that could be in      22· · · · A.· · Yes.
23· the realm of possibility that you did?                   23· · · · Q.· · Okay.· Did you move any other furniture?
24· · · · MR. TAYLOR:· Objection; form.                      24· · · · A.· · No.

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·1· · · · THE WITNESS:· I mean, anything is possible --      ·1· · · · Q.· · Okay.· When you were wrestling around,
·2· · · · MS. SCHROEDER:· Um-hmm.                            ·2· were you playing with any other -- I think we've,
·3· · · · THE WITNESS:· -- you know.· But I'm giving         ·3· you know, talked about -- did you play with any
·4· you the best that I can --                               ·4· nunchucks or --
·5· · · · MS. SCHROEDER:· Right.                             ·5· · · · A.· · No, ma'am.
·6· · · · THE WITNESS:· -- recollect from 45 years ago.      ·6· · · · Q.· · Okay.· Did you play with any
·7· BY MS. SCHROEDER:                                        ·7· nightsticks?
·8· · · · Q.· · Okay.· Because it is -- I understand         ·8· · · · A.· · No, ma'am.
·9· it's been --                                             ·9· · · · Q.· · Okay.· When -- can you explain to me
10· · · · A.· · Long time.                                   10· so that I'm not imparting it on you -- when you say
11· · · · Q.· · -- a long time.· I get it.· And              11· "wrestling around," can you just explain to me what
12· memories fade.                                           12· you mean when you're saying that?
13· · · · · · · · ·Okay.· So you make the corn and hot       13· · · · A.· · Playing like wrestling like little
14· dogs.· And then tell me what you did next, because       14· boys do.· Just holding and rolling, playing.· Just
15· I don't want to -- I don't want to misstate it.          15· playing.
16· · · · A.· · I thought I said -- what did -- did          16· · · · Q.· · Um-hmm.
17· I -- oh, can I ask him to read it back?                  17· · · · A.· · You know what I mean?· Not no -- you
18· · · · Q.· · You can ask him to read it back, sure.       18· know, not like the WWC wrestling.· But like just
19· · · · A.· · Okay.                                        19· playing.· Just like little boys play.· But nothing
20· · · · · · · · · · · (Record read as requested.)          20· that was harmful.
21· · · · Q.· · Okay.· Okay.· So you said then you           21· · · · Q.· · Okay.· And then where was the dog
22· wrestled and played around after you ate your corn       22· during this whole time?
23· and hot dogs.                                            23· · · · A.· · In the garage.
24· · · · A.· · Yes.· Yes.                                   24· · · · Q.· · Okay.· The whole time?


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·1· · · · A.· · Yes.                                               ·1· · · · Q.· · Okay.· Was Marva a friend of your
·2· · · · Q.· · Okay.· And do you know how long --                 ·2· mother's?
·3· · · · A.· · It wasn't long.                                    ·3· · · · A.· · No.
·4· · · · Q.· · Well, you know what?· Yeah.· Let me ask            ·4· · · · Q.· · Okay.· Would you regularly see Marva?
·5· a different question.                                          ·5· · · · A.· · No.· It would be like every so often.
·6· · · · · · · · ·So you said the next thing you did              ·6· · · · Q.· · Okay.· And is every so of- --
·7· was you called a friend.                                       ·7· · · · A.· · She had a little daughter like I was --
·8· · · · A.· · Yes.                                               ·8· that was like a little sister to me.
·9· · · · Q.· · Okay.· Who was that friend?                        ·9· · · · Q.· · Okay.· Did you know her daughter first,
10· · · · A.· · Marva.                                             10· and that's how you met Marva?
11· · · · Q.· · Okay.· And what did you say to Marva?              11· · · · A.· · No.
12· · · · A.· · Could I get $4.                                    12· · · · Q.· · Okay.· Did Marva typically give you
13· · · · Q.· · Okay.· And what did she say to you?                13· money?
14· · · · A.· · Yes.                                               14· · · · A.· · I never typically asked for it.
15· · · · Q.· · And did you say anything else to her?              15· · · · Q.· · Okay.· Was this unusual that you asked
16· · · · A.· · No.· But thank you.· And we went to --             16· for money tonight?
17· we left and proceeded to her home.                             17· · · · A.· · Well, it's not unusual.· But I'm saying
18· · · · Q.· · Okay.· And where did Marva live in                 18· it wasn't like, you know, you ask for money every
19· relation to Scopey's house?                                    19· day.· So no.· I mean, I asked her for it because I
20· · · · A.· · Maybe about two, three -- two, three               20· thought that would be the person close enough to us
21· blocks maybe, something like that.                             21· so we could get it and go get something to eat.
22· · · · Q.· · Okay.· What time did you leave Scopey's            22· · · · Q.· · And is that the reason why you asked
23· house?                                                         23· for the money --
24· · · · A.· · Oh, God.· Let me see.· Maybe like 7:45,            24· · · · A.· · Yes.

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·1· something like that.· 7:30, something -- something        ·1· · · · Q.· · -- so you could eat?
·2· like that.                                                ·2· · · · A.· · Yes, ma'am.
·3· · · · Q.· · How did -- I meant to ask you how did   ·3· · · · Q.· · Okay.· And is that because you had the
·4· Scopey know to put the dog in the garage for you?   ·4· corn and the hot dogs at the house, but you were
·5· · · · A.· · I told him I was afraid of dogs.        ·5· still hungry; is that correct?
·6· · · · Q.· · Okay.· Okay.· Okay.· So then you --     ·6· · · · A.· · That's -- yes, you're correct.
·7· do -- you get to Marva's house.· And are -- is      ·7· · · · Q.· · Okay.· Did you go inside Marva's house
·8· Scopey with you?                                    ·8· when you got -- when you arrived?
·9· · · · A.· · Yes.                                    ·9· · · · A.· · I don't believe so.· I think I met her
10· · · · Q.· · Okay.· And did Marva know Scopey?       10· at the door, got the money, and we went on to the
11· · · · A.· · No.                                     11· restaurant.
12· · · · Q.· · All right.· How long had you -- how     12· · · · Q.· · Okay.· Did you introduce her to Scopey?
13· long had you known Marva?                           13· · · · A.· · I may have.
14· · · · A.· · I don't remember exactly when I         14· · · · Q.· · Okay.· But you knew for sure that they
15· actually met her, but it was some years.            15· had not met before; is that correct?
16· · · · Q.· · Okay.· Do you remember how you met her? 16· · · · A.· · I didn't -- they don't know each other.
17· · · · A.· · Not really.                             17· · · · Q.· · They didn't know each other.
18· · · · Q.· · Okay.· Was she a friend of your dad's?  18· · · · A.· · So I would assume they didn't.
19· · · · A.· · No.                                     19· · · · Q.· · Okay.· Did you have to do anything for
20· · · · Q.· · Okay.· Was she a friend of your -- I    20· this $4?
21· know your mom passed away when you were young; is 21· · · · A.· · What you mean?
22· that correct?                                       22· · · · Q.· · I mean, did she just give it to you,
23· · · · A.· · She passed away when I was six months   23· or did she say, Yes, I'll give you this $4, but in
24· old.                                                24· return I need you to do something for me?


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·1· · · · A.· · No.                                          ·1· · · · Q.· · Do you remember what time that was?
·2· · · · Q.· · Okay.· And so you took the $4, and you       ·2· · · · A.· · No, ma'am.· I can't remember the exact
·3· and Scopey went to eat chicken.                          ·3· time.
·4· · · · · · · · ·And then do you know about what time      ·4· · · · Q.· · Okay.
·5· this is now that you're eating chicken?                  ·5· · · · A.· · I believe it was like somewhere like
·6· · · · A.· · I can't remember the time at the time.       ·6· maybe 9:00 or something like that.
·7· · · · Q.· · Okay.· And then you -- what do you do        ·7· · · · Q.· · Around 9:00?
·8· after you eat chicken?                                   ·8· · · · A.· · Something.· 9:00, 8:00, or something.
·9· · · · A.· · We left and went back to his house.          ·9· I don't --
10· · · · Q.· · Okay.· And did you go straight from the      10· · · · Q.· · Okay.
11· restaurant back to Scopey's?                             11· · · · A.· · I don't remember exactly.
12· · · · A.· · Yes.                                         12· · · · Q.· · Because it's just been too long?
13· · · · Q.· · Okay.· Did you inter- -- interact with       13· · · · A.· · Yes.
14· anyone between the chicken place and the -- and          14· · · · Q.· · Okay.· So did you go inside when you
15· Scopey's?                                                15· arrived at the house?
16· · · · A.· · I don't recall.· I don't recall              16· · · · A.· · Yes, we went inside.
17· interacting with nobody.                                 17· · · · Q.· · Okay.· And did Scopey have to do the
18· · · · Q.· · You don't recall?                            18· same thing where he went in first and took care of
19· · · · A.· · (Shaking head.)                              19· the dog?
20· · · · Q.· · Do you remember what you and Scopey          20· · · · A.· · No.· The family was there.
21· were talking about while you were eating dinner at       21· · · · Q.· · Okay.· What door did you go in?
22· the chicken restaurant?                                  22· · · · A.· · The front door.
23· · · · A.· · Yeah.· Boy talk, meaning it could have       23· · · · Q.· · Okay.· And when you went in, then what
24· been anything.· Sports or nothing -- I can't             24· happened?

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·1· remember actually what conversation we had on the          ·1· · · · A.· · He introduced me to his family.· And we
·2· way there or the way back.· All I know is that we          ·2· went to the kitchen and started drawing.
·3· were happy that we were together.                   ·3· · · · Q.· · What family was -- were you introduced
·4· · · · Q.· · Okay.· And the same question for when   ·4· to?
·5· you're walking to Marva's, do you remember any      ·5· · · · A.· · His mother, stepdad, sister.
·6· conversations you and Scopey may have had while you ·6· · · · Q.· · And where was the dog at this time?
·7· were walking to Marva's?                            ·7· · · · A.· · In the garage.
·8· · · · A.· · No.· We was having fun, though.· We     ·8· · · · Q.· · Okay.· So did you have any conversation
·9· were laughing and joking and playing.               ·9· with the mom?
10· · · · Q.· · Okay.· And then how about from Marva's  10· · · · A.· · No.· We had -- we didn't -- we did not.
11· to the restaurant, any --                           11· · · · Q.· · Okay.· Did you have any conversation
12· · · · A.· · Same -- same --                         12· with the stepdad?
13· · · · Q.· · -- conversations you remember?          13· · · · A.· · No.
14· · · · A.· · We had plenty of them, but don't know   14· · · · Q.· · Okay.· And I think we talked earlier --
15· what we talked about.                               15· did you have any conversation with Connie?
16· · · · · · · · · · · (Discussion off the record.)    16· · · · A.· · No.
17· BY MS. SCHROEDER:                                   17· · · · Q.· · Okay.· So you go into the kitchen and
18· · · · Q.· · Okay.· So from the restaurant to        18· you're drawing pictures; is that correct?
19· Scopey's -- you walked straight from the restaurant 19· · · · A.· · Yes.· Yes.
20· to Scopey's; is that correct?                       20· · · · Q.· · What type of pictures?
21· · · · A.· · Yes, ma'am.                             21· · · · A.· · Doodling.· Art.· Just artwork.
22· · · · Q.· · Okay.· Do you -- and then did you go    22· · · · Q.· · Okay.
23· into Scopey's house when you got there?             23· · · · A.· · And we would then get up and ask his
24· · · · A.· · Yes, ma'am.                             24· parents, you know, which one you think is best.


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·1· And then we'd go back to drawing again.              ·1· · · · Q.· · Okay.
·2· · · · Q.· · Okay.· And did you do anything else      ·2· · · · A.· · I don't remember.
·3· while you were -- while you were there at the        ·3· · · · Q.· · Okay.· Do you remember where the garage
·4· house?                                               ·4· door was that the dog was let out of?
·5· · · · A.· · Not that I recall.· And that -- you      ·5· · · · A.· · Not right at this point.· I know it was
·6· know, not that I -- at this moment I can't --        ·6· somewhere in the back of the house, but I don't
·7· · · · Q.· · Okay.                                    ·7· know where.· I don't remember exactly.· I don't
·8· · · · A.· · -- remember nothing else that we did.    ·8· know if it was off of his room or whatever. I
·9· · · · Q.· · Did you stay in the kitchen the whole    ·9· don't remember.
10· time?                                                10· · · · Q.· · Okay.· Okay.· Did you ever -- in the
11· · · · A.· · Yes.· I stayed at the kitchen table.     11· times that you were at James' house, did you ever
12· · · · Q.· · Okay.· Now, earlier I had forgotten to   12· see the dog?
13· ask you, you said that when you were there in the    13· · · · A.· · I could hear it.· I ain't -- I don't
14· house alone, I thought you had said that you had     14· recall seeing it.
15· gone into Scopey's bedroom; is that correct?         15· · · · Q.· · Okay.· How did you know it was a German
16· · · · A.· · Yes.                                     16· shepherd?
17· · · · Q.· · Okay.· Tell me why you went into his     17· · · · A.· · Because that's what he said he had.
18· bedroom.                                             18· · · · Q.· · Okay.· How did you know how big it was?
19· · · · A.· · He invited me into his bedroom.          19· · · · A.· · Oh, he -- he sounded big.· He sound- --
20· · · · Q.· · And what did you do in the bedroom?      20· I never got a chance, but he sounded very, very
21· · · · A.· · We just talked, and that's it.           21· big.
22· · · · Q.· · Okay.· Do you remember where his         22· · · · Q.· · Okay.
23· bedroom was located in the house?                    23· · · · A.· · I mean, he was -- just to say a German
24· · · · A.· · In the kitchen.                          24· shepherd, I naturally assumed it was a big dog.

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·1· · · · Q.· · I'm sorry?                               ·1· · · · Q.· · Okay.· Is there anything else -- okay.
·2· · · · A.· · In the kitchen.· Off from the kitchen.   ·2· So wait.· So let's -- I don't think we finished the
·3· · · · Q.· · Did you have to walk through the         ·3· night.
·4· kitchen to go into his bedroom?                      ·4· · · · · · · · ·What do you do after you're drawing
·5· · · · A.· · Yes.                                     ·5· pictures?
·6· · · · Q.· · Okay.· And can you remember what his     ·6· · · · A.· · We did that for a little while.· And
·7· bedroom looked like?                                 ·7· then I said I had to get home because it was
·8· · · · A.· · No.· He had pictures and stuff like      ·8· getting late.
·9· that.· But I can't remember exactly what it looked   ·9· · · · Q.· · Okay.· What was the family doing this
10· like.· It was a boy's room, though.                  10· whole time while you were drawing photos -- or
11· · · · Q.· · Okay.· And how many beds were in the     11· drawing pictures?
12· room?                                                12· · · · A.· · Sitting in the living room talking,
13· · · · A.· · One.· One.                               13· watching television.
14· · · · Q.· · One.· Okay.                              14· · · · Q.· · Okay.· Do you remember what television
15· · · · · · · · ·And was there any furniture in that   15· show they were watching?
16· room?                                                16· · · · A.· · No, ma'am.· No, ma'am.
17· · · · A.· · I don't remember exactly all the stuff   17· · · · Q.· · Was the -- was Connie in the room with
18· that was in his room.                                18· that -- with the parents?
19· · · · Q.· · Okay.· Did he have a window to his       19· · · · A.· · From the times I saw them, yes.
20· room?                                                20· · · · Q.· · Okay.· And were both the stepfather and
21· · · · A.· · I don't remember that either.            21· the mother in the living room watching TV this
22· · · · Q.· · Did he have a closet in his room?        22· whole time?
23· · · · A.· · I don't know if he had a closet or not   23· · · · A.· · I believe they was sitting on the
24· have one.                                            24· couch.


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·1· · · · Q.· · Okay.· So earlier when you had told me    ·1· · · · Q.· · So I'm asking you what time did you
·2· that you took the -- or you turned the TV, right,     ·2· leave that night after your second visit to the
·3· to protect it from when you were wrestling --         ·3· house?
·4· · · · A.· · Um-hmm.                                   ·4· · · · A.· · Oh, yeah.· It was getting late.· Maybe
·5· · · · Q.· · -- did you -- did you or Scopey turn it   ·5· about -- I want to say something after 10:00.
·6· back before you left?                                 ·6· · · · Q.· · Okay.· Okay.
·7· · · · A.· · Yes.                                      ·7· · · · A.· · That's about as close as I can get you.
·8· · · · Q.· · Okay.· Did you clean up from your meal    ·8· · · · Q.· · Okay.
·9· of the corn and hot dogs?                             ·9· · · · A.· · Yes.
10· · · · A.· · We put the dishes in the sink.· Is that   10· · · · Q.· · Okay.· And were the parents still up
11· what you mean?                                        11· and awake when you left?
12· · · · Q.· · Well, that's what I'm asking you.· Did    12· · · · A.· · Yes, ma'am.
13· you clean up?                                         13· · · · Q.· · Okay.· And did you say anything to them
14· · · · A.· · Put the dishes in the sink.               14· when you left the house?
15· · · · Q.· · Okay.· Did you wash the dishes?           15· · · · A.· · Yeah.· Goodbye.
16· · · · A.· · No.                                       16· · · · Q.· · Okay.· And how about Connie, was she in
17· · · · Q.· · Okay.· Okay.· So what time do you think   17· the living room when you left the house?
18· you left the house?                                   18· · · · A.· · I don't remember.
19· · · · A.· · I don't know.· We might have been there   19· · · · Q.· · Okay.· And what did you say to James
20· 30 or 45 minutes.· I said something to you like       20· when you were leaving?
21· that.· Do you remember what I said?                   21· · · · A.· · Goodbye.· See you at school tomorrow.
22· · · · Q.· · Well, I'm just -- I'm asking you.         22· · · · Q.· · Okay.· Was that the last time you spoke
23· · · · A.· · No.· I'm saying, you know, 'cause you     23· to James?
24· asked me, and I know I said it.                       24· · · · A.· · Yes.

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·1· · · · Q.· · Um-hmm.                                   ·1· · · · Q.· · Okay.· Did you -- was that the last
·2· · · · A.· · So I don't -- I remember it's no more     ·2· time you saw him?
·3· than 30 or 45 minutes, something like that.· So --    ·3· · · · A.· · Yes.
·4· · · · Q.· · Okay.· So --                              ·4· · · · Q.· · What did you do after you left his
·5· · · · A.· · I said around 7:30, 7:45, something       ·5· house?
·6· like that.· I believe that's what I said.             ·6· · · · A.· · Walked home in the dead of winter.
·7· · · · Q.· · So do you think that it's actually 30     ·7· · · · Q.· · Did you go straight home?
·8· or 45 minutes from the time you got back to James'    ·8· · · · A.· · Yes.
·9· house after the restaurant?                           ·9· · · · Q.· · Was anyone home when you got there?
10· · · · MR. TAYLOR:· Wait a minute.                     10· · · · A.· · Yeah, my dad.
11· · · · THE WITNESS:· That's two different --           11· · · · Q.· · Why do you say that in that tone?
12· · · · MR. TAYLOR:· Yeah.· I'm confused.· You're       12· · · · A.· · He was a little upset that I was that
13· talking the first time he left or the second time?    13· late coming home.
14· · · · MS. SCHROEDER:· Oh, I'm sorry.· I'm talking     14· · · · Q.· · Okay.· So what time did you arrive
15· about the second time.· Sorry.                        15· home?
16· · · · THE WITNESS:· The second time?                  16· · · · A.· · After 11:00, almost 12:00, something
17· · · · MS. SCHROEDER:· Um-hmm.                         17· like that.
18· · · · THE WITNESS:· What do you mean?                 18· · · · Q.· · Okay.· And how did you know your dad
19· BY MS. SCHROEDER:                                     19· was upset?
20· · · · Q.· · Because you -- you went to James' house   20· · · · A.· · How did I know he was upset?
21· twice --                                              21· · · · Q.· · Um-hmm.
22· · · · A.· · Right.                                    22· · · · A.· · He was upset.· I mean, I had been gone
23· · · · Q.· · -- on the 17th, correct?                  23· since school was out at 6:30.· So I'm like, what,
24· · · · A.· · Right.                                    24· four, five hours late or something.· Yeah, he was


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·1· upset.· Worried.· Didn't know where I was at.         ·1· after school, depending on the bus route?
·2· · · · Q.· · He was worried?                           ·2· · · · A.· · No.· It would still be round about
·3· · · · A.· · Of course, yeah.                          ·3· 7:00, 7:45, or something like -- I mean, we got out
·4· · · · Q.· · Did he tell you he was worried?           ·4· of school at 6:30, 6:45, or 7:00 o'clock.
·5· · · · A.· · Yes.                                      ·5· · · · Q.· · Okay.
·6· · · · Q.· · Okay.· And did he tell you he was         ·6· · · · A.· · Should make it home.· Depending on the
·7· upset?                                                ·7· bus.· Depending on what -- how the schedule is
·8· · · · A.· · Yes.                                      ·8· running.
·9· · · · Q.· · Okay.· And did he yell?                   ·9· · · · Q.· · Okay.· So typically you would be
10· · · · A.· · Kinda sorta.                              10· home --
11· · · · Q.· · Okay.· And did he do anything else,       11· · · · A.· · By 7:00.
12· anything physical to you to show --                   12· · · · Q.· · -- around 7:00?
13· · · · A.· · No.                                       13· · · · A.· · Yes.
14· · · · Q.· · -- you he was upset?                      14· · · · Q.· · Okay.· Okay.· And this time you were
15· · · · A.· · He let me know he didn't want me to do    15· not, obviously.
16· that no more.                                         16· · · · A.· · Obviously, yes.
17· · · · Q.· · Okay.· Did you have a curfew with your    17· · · · Q.· · Okay.· Were you like grounded by your
18· dad that you had to be home by?                       18· dad because of this?· I don't -- I mean, do you --
19· · · · A.· · I had to come home after school.          19· · · · A.· · No.
20· · · · Q.· · So you had to come home right after       20· · · · Q.· · Okay.· Did he give you any punishment
21· school?                                               21· for -- for coming home so late this day?
22· · · · A.· · Yes.                                      22· · · · A.· · Yeah.· Told me don't do that no more --
23· · · · Q.· · Okay.                                     23· · · · Q.· · Okay.
24· · · · A.· · I rode the bus to a whole nother side     24· · · · A.· · -- or I would be.

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·1· of town.                                              ·1· · · · Q.· · Got it.· So a warning, he gave you a
·2· · · · Q.· · Was that the usual rule that you had      ·2· fair warning?
·3· with your dad?                                        ·3· · · · A.· · Gave me a warning.· He gave me a fair
·4· · · · A.· · Yes.                                      ·4· warning.
·5· · · · Q.· · And did you typically abide by that       ·5· · · · Q.· · Gotcha.· Okay.
·6· rule?                                                 ·6· · · · · · · · ·Is there any other information that
·7· · · · A.· · Yes.                                      ·7· you can think of that you did after -- after you
·8· · · · Q.· · Okay.· Was this the first time that you   ·8· got home?
·9· broke that rule?                                      ·9· · · · A.· · Not that I recall.
10· · · · A.· · Yes.                                      10· · · · Q.· · Did you -- did you go straight to bed?
11· · · · Q.· · Okay.· And usually you're saying that     11· · · · A.· · Yes.
12· you would go home after school every day?             12· · · · Q.· · Okay.· Did you talk to your -- do you
13· · · · A.· · Yes.                                      13· remember -- aside from your and your dad having
14· · · · Q.· · Okay.                                     14· this interaction about you coming home late, was
15· · · · A.· · I had to help with my sister.             15· there anything else that you and your dad
16· · · · Q.· · Okay.· And what time would you            16· discussed?
17· typically get home from school?                       17· · · · A.· · No, ma'am.
18· · · · A.· · Well, the school had buses that take      18· · · · Q.· · Okay.· Was anybody else home at the
19· you home.· And also when the bus didn't go on that    19· house when you arrived home?
20· route, they would give you bus passes, and you        20· · · · A.· · My dad and my sister.
21· could catch the bus after you left school and go      21· · · · Q.· · Okay.· Was your grandma home?
22· home.                                                 22· · · · A.· · I don't recall.· She might have been
23· · · · Q.· · Okay.· So does that mean there were two   23· with her -- his sister, my aunt.· She would go --
24· different times that you could have arrived home      24· · · · Q.· · And who is that?


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·1· · · · A.· · Martha Williams.                          ·1· from Loucks?
·2· · · · Q.· · Your aunt, Martha Williams.· Okay.        ·2· · · · A.· · I do not know that either.
·3· · · · A.· · That's her daughter.                      ·3· · · · Q.· · Okay.· Were you acquaintances at -- or
·4· · · · Q.· · Got it.· Okay.                            ·4· friends at Loucks?
·5· · · · · · · · ·Was there anything else that you       ·5· · · · A.· · Yes.
·6· and James discussed before you left his house that    ·6· · · · Q.· · Okay.· And then one of you was
·7· night?                                                ·7· expelled, you don't remember which one first;
·8· · · · A.· · Not -- not that I recall.                 ·8· is that correct?
·9· · · · Q.· · Okay.· Did you -- did you make plans to   ·9· · · · A.· · Yes, ma'am.
10· see James the next day?                               10· · · · Q.· · Okay.· And so in my understanding then,
11· · · · A.· · At school.                                11· one person was going to Loucks and one person was
12· · · · Q.· · Okay.· And is that the only plan that     12· going to Late Afternoon School, and so you --
13· you made to see him?                                  13· during that time you were not seeing each other; is
14· · · · A.· · That's the only one I recall.             14· that correct?
15· · · · Q.· · That's the only one you recall as you     15· · · · A.· · Yes.
16· sit here today?                                       16· · · · Q.· · Okay.· And then whenever the last
17· · · · A.· · Yes.                                      17· person was expelled from Loucks and went to Late
18· · · · Q.· · Okay.                                     18· Afternoon School, is that what you're referencing
19· · · · A.· · But as we go along, if I remember         19· when you say you're reconnecting?
20· something, I will definitely share it with you.       20· · · · A.· · Yes.
21· · · · Q.· · Oh, okay.                                 21· · · · Q.· · Got it.· Okay.
22· · · · A.· · Okay.                                     22· · · · · · · · ·In this timeframe -- so in January
23· · · · Q.· · Okay.· Had you ever invited Scopey to     23· 1977, you were 14 are years old; is that correct?
24· your house?                                           24· · · · A.· · Yes.


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·1· · · · A.· · No.· No.· We had just reconnected.        ·1· · · · Q.· · Okay.· And so in this timeframe, let's
·2· So, you know, we didn't get an opportunity to.        ·2· say, 13 to 14 years old, would you spend the night
·3· · · · Q.· · Okay.· Do you know how long -- how long   ·3· at friends' homes?
·4· before this January 17th night did you reconnect?     ·4· · · · A.· · No.
·5· · · · A.· · I don't remember exactly because,         ·5· · · · Q.· · Okay.· And is that because your dad
·6· remember, we both were expelled from the same         ·6· would not allow it or -- I guess maybe just tell me
·7· school, but I don't remember how long we were         ·7· what the reason is that you wouldn't do that?
·8· at that -- at the school right at this point.         ·8· · · · A.· · Well, he didn't allow it.· I spent the
·9· · · · Q.· · Okay.                                     ·9· nights at family members' house, but he didn't
10· · · · A.· · But we went to school together.           10· allow me to spend no nights at no one else's home.
11· · · · Q.· · Did you get expelled together?            11· · · · Q.· · Okay.· And do you know the reason why
12· · · · A.· · No.                                       12· he wouldn't allow that?
13· · · · Q.· · Okay.· Was he expelled before you?        13· · · · A.· · No.· I didn't question him.
14· · · · A.· · I don't recall him being expelled.        14· · · · Q.· · Okay.· Did your dad run a pretty tight
15· · · · Q.· · Oh, okay.· I mis- -- I thought you had    15· ship at your house?
16· said you were both expelled from the same school.     16· · · · A.· · Yeah, he was very disciplined, you
17· · · · A.· · I'm talking about Loucks School.          17· know.· Weekends we had to do laundry and stuff like
18· · · · Q.· · Correct.· So you and he were expelled     18· that, yeah.
19· from Loucks?                                          19· · · · Q.· · Okay.· And your -- your answer here
20· · · · A.· · Yes, ma'am.                               20· that you said you would just -- you know, when your
21· · · · Q.· · Okay.· And then was he expelled before    21· dad said you're not spending the night, and you
22· you from Loucks?                                      22· wouldn't question him; is that correct?
23· · · · A.· · Do not know.                              23· · · · A.· · Yes.
24· · · · Q.· · Okay.· Do you know why he was expelled    24· · · · Q.· · Okay.· And is that because you just


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·1· would obey your father?                               ·1· · · · A.· · I'm not sure.
·2· · · · A.· · Yeah.· I was taught to respect --         ·2· · · · Q.· · Did you ever go anywhere with him in a
·3· · · · Q.· · Got it.                                   ·3· car?
·4· · · · A.· · -- my dad's decision, whatever he made.   ·4· · · · A.· · Not that I recall.
·5· · · · Q.· · Okay.· And is -- and was that typically   ·5· · · · Q.· · In this timeframe, this 13-, 14-year-old
·6· how you -- what do I want to say? -- interacted       ·6· timeframe, did you ever drink alcohol?
·7· with your dad, that you would just obey what he       ·7· · · · A.· · Not that I recall.· No, ma'am.
·8· asked of you?                                         ·8· · · · Q.· · You don't recall, or you did not?
·9· · · · A.· · To the best of my ability.                ·9· · · · A.· · No.
10· · · · Q.· · Okay.· Okay.· When you were in this       10· · · · Q.· · Okay.· In this timeframe, this 13-,
11· timeframe, this 13-, 14-year-old timeframe, on the    11· 14-year-old timeframe, did you ever smoke weed?
12· weekends, would you go out with your friends?         12· · · · A.· · No.
13· · · · A.· · Sometime.                                 13· · · · Q.· · Okay.· Did Scopey ever meet your friend
14· · · · Q.· · Okay.· Which friends would you go out     14· Ray Mason?
15· with, if you can remember?                            15· · · · A.· · No, ma'am.
16· · · · A.· · Frankie, Paulette, Wendy, Marchelle.      16· · · · Q.· · Okay.· And is there a reason why those
17· It would be different people.· It was never the       17· two didn't meet?
18· same people.                                          18· · · · A.· · I just reconnected with him, so wasn't
19· · · · Q.· · Did you hang out with James Ivy?          19· no need for him to ever meet him.· We didn't even
20· · · · A.· · No.                                       20· get a chance to enjoy each other long enough for
21· · · · Q.· · Okay.· Why not?                           21· him to meet anyone other than the people we had at
22· · · · A.· · I don't know.· Just we didn't hang out.   22· school.
23· I hung out with Frankie.                              23· · · · Q.· · Okay.· Did Tina Ivy go to your school?
24· · · · Q.· · Okay.· Would you not consider James a     24· · · · A.· · She ended up there.· Her first day was

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·1· friend of yours?                                      ·1· January 18th.
·2· · · · A.· · He wasn't no enemy.· But, you know, he    ·2· · · · Q.· · Okay.· So she did not meet Scopey;
·3· was just somebody in they family that I knew.         ·3· is that a safe assumption?· Is that what you're
·4· · · · Q.· · Okay.· Are you -- was there any other     ·4· telling me?
·5· member of the Ivy family that you would hang out      ·5· · · · A.· · That's a safe assumption.
·6· with?                                                 ·6· · · · Q.· · Okay.· Did you and Scopey ever get in
·7· · · · A.· · No.                                       ·7· fights in the neighborhood?
·8· · · · Q.· · Okay.· Is Frankie the only person of      ·8· · · · A.· · No.
·9· the Ivy family that you would consider your friend?   ·9· · · · Q.· · Okay.· Did you ever get into any fights
10· · · · A.· · Yes.                                      10· in the neighborhood?
11· · · · Q.· · Okay.· How about a person named Ray       11· · · · A.· · No.
12· Mason, does that strike a memory for you?             12· · · · Q.· · Never?
13· · · · A.· · Yes.                                      13· · · · A.· · Not that I remember.
14· · · · Q.· · And can you tell me who that person is?   14· · · · Q.· · Do you remember a person in the
15· · · · A.· · Someone I knew from the neighborhood.     15· neighborhood named Mark Burks?
16· Liked to play music.                                  16· · · · A.· · Oh, yeah.
17· · · · Q.· · Do you mean on a record player or in a    17· · · · Q.· · What do you remember?
18· band?                                                 18· · · · A.· · I remember him.· What do I remember
19· · · · A.· · I think he played some kind of            19· about Mr. Burks?· Well, I used to be on a paper
20· instrument.· I just don't remember which one it       20· route with him.
21· was.                                                  21· · · · Q.· · Okay.
22· · · · Q.· · Okay.· Was he older than you?             22· · · · A.· · While on the paper route, he had a
23· · · · A.· · Oh, yeah.                                 23· girlfriend.· He was taking the paper route money,
24· · · · Q.· · Okay.· Did he have a car?                 24· giving it to his girlfriend, and made his


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·1· grandmother think that I was taking the money         ·1· on January 25th?· Like was it a year before or just
·2· myself.· And the grandmother became angry at me.      ·2· the summer before?· Do you have any clue?
·3· And she sent Mark and his brother to beat me up.      ·3· · · · A.· · Maybe 1975, 1976, one of them.
·4· · · · · · · · ·And they subsequently one day          ·4· · · · Q.· · Okay.· And tell me about the fight
·5· surrounded me and hit me in the head with a brick     ·5· between you and Mark.· Was it just the two of you?
·6· and knocked me out on a street corner.· Yeah.· And    ·6· · · · A.· · Yes.
·7· I went to the hospital.                               ·7· · · · Q.· · Okay.· And was it a fistfight?
·8· · · · · · · · ·And when I saw him again, we got       ·8· · · · A.· · Yes.
·9· into another altercation, but this time it wasn't     ·9· · · · Q.· · Okay.· And did anyone have a knife?
10· nobody but me and him.                                10· · · · A.· · No.
11· · · · Q.· · It was what?                              11· · · · Q.· · Did you ever own a knife at this
12· · · · A.· · Me and him.                               12· timeframe?
13· · · · Q.· · Okay.                                     13· · · · A.· · No.
14· · · · A.· · Yeah.· That's about the size of it.       14· · · · Q.· · Okay.· Did you ever own a knife at all
15· · · · Q.· · Okay.· Do you remember when this          15· prior to your arrest on January 25th?
16· happened that you were beat up by Mark and his        16· · · · A.· · No, ma'am.
17· brother?                                              17· · · · Q.· · Okay.· Did your father own a knife?
18· · · · A.· · I don't remember the day.                 18· · · · A.· · Yes.
19· · · · Q.· · Okay.· Did you ever go to the police      19· · · · Q.· · Okay.· Did you carry your father's
20· about that?                                           20· knife?
21· · · · A.· · No.                                       21· · · · A.· · No.
22· · · · Q.· · Okay.· So do you know if any police       22· · · · Q.· · Did you ever carry anyone's knife at
23· report was ever made about that fight?                23· all prior to your arrest on January 25th, 1977?
24· · · · A.· · I didn't make one.                        24· · · · A.· · No, ma'am.

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·1· · · · Q.· · Okay.· Did you ever talk to any police    ·1· · · · Q.· · Okay.· Did you ever borrow anyone's
·2· officers about that incident?                         ·2· knife in this timeframe of -- leading up to
·3· · · · A.· · No, not to my knowledge.                  ·3· January 25th, 1997 -- or 1977?
·4· · · · Q.· · Okay.· And then you said the next time    ·4· · · · A.· · No, ma'am.
·5· you ran into him it was just the two of you.          ·5· · · · Q.· · Okay.· Would there be any possibility
·6· · · · A.· · Yes.                                      ·6· that a person could be truthfully making a
·7· · · · Q.· · Did you get into a fight with him --      ·7· statement that they saw you with a knife in 1975?
·8· · · · A.· · Yes.                                      ·8· · · · MR. TAYLOR:· Objection to form.
·9· · · · Q.· · -- then at this time?                     ·9· · · · THE WITNESS:· No.· They'd be -- they'd be
10· · · · A.· · Yes.                                      10· lying.
11· · · · Q.· · Okay.· And was that in just sort of       11· · · · MS. SCHROEDER:· Okay.
12· like retaliation because of what he and his brother   12· · · · THE WITNESS:· So the answer is no.
13· had done to you, or was there another reason that     13· BY MS. SCHROEDER:
14· sparked this new fight?                               14· · · · Q.· · Okay.· And would that be your same
15· · · · A.· · You know, wasn't no new set of            15· response regarding if anyone said they saw you with
16· circumstances.· It was just from the old              16· a knife during like the span of 1976?
17· circumstances that, You lied on me, and then          17· · · · A.· · Yes.
18· you all tried to hurt me.                             18· · · · MR. TAYLOR:· Same objection.
19· · · · Q.· · Okay.· Do you remember when that          19· BY MS. SCHROEDER:
20· happened?                                             20· · · · Q.· · Okay.· And then although it was a very
21· · · · A.· · I don't remember the day or where it      21· short timeframe in 1977, it was just that first
22· took place.· But it did take place.                   22· part of January --
23· · · · Q.· · Okay.· Do you know timing-wise when       23· · · · A.· · Um-hmm.
24· that would have happened in relation to your arrest   24· · · · Q.· · -- but would that be your same response


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·1· to anyone who would have made a statement that      ·1· truant from school.· I was accused of a burglary
·2· they saw you with a knife in that January 1977      ·2· that never happened.· And then Mark Burks incident
·3· timeframe?                                          ·3· probably.
·4· · · · A.· · Same answer.· No.                       ·4· · · · MS. SCHROEDER:· Okay.
·5· · · · Q.· · Okay.· No.                              ·5· · · · THE WITNESS:· That's all I can recall at this
·6· · · · · · · · ·And the answer is that they would be ·6· moment, you know.
·7· lying --                                            ·7· BY MS. SCHROEDER:
·8· · · · A.· · Yes.                                    ·8· · · · Q.· · Do you recall any offenses involving
·9· · · · Q.· · -- is that correct?                     ·9· theft?
10· · · · · · · · ·Okay.                                10· · · · A.· · Not at this moment.· But if I think of
11· · · · THE VIDEOGRAPHER:· Ending media number 2 of 11· it, you know, I'll make sure I share that with you
12· the deposition of Johnnie Lee Savory.               12· before we leave, you know.· I mean, once it come
13· · · · · · · · ·Off the record at 3:58 p.m.          13· into memory.
14· · · · · · · · · · · · · ·(Recess taken.)            14· · · · Q.· · Okay.
15· · · · THE VIDEOGRAPHER:· Beginning media number 3 15· · · · A.· · I don't have nothing in my memory about
16· of the deposition of Johnnie Lee Savory.            16· a theft at this moment.
17· · · · · · · · ·Back on the record at 4:14 p.m.      17· · · · Q.· · Okay.· And so -- and you've given me
18· BY MS. SCHROEDER:                                   18· that type of answer a couple times today --
19· · · · Q.· · Okay, Mr. Savory.· So I think we've     19· · · · A.· · Yes.
20· finished the -- your memory on the 17th, right?     20· · · · Q.· · -- and I want to make sure that I
21· Because we ended with you going to bed at your      21· understand what you mean.· And what you mean
22· house, correct?                                     22· is you can't definitively tell me --
23· · · · A.· · Yes, ma'am.                             23· · · · A.· · No.
24· · · · Q.· · Okay.· And then did you stay at your    24· · · · Q.· · -- no; you're saying you just don't

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·1· home that -- that whole night --                    ·1· remember at this point --
·2· · · · A.· · Yes, ma'am.                             ·2· · · · A.· · Right.
·3· · · · Q.· · -- until you woke up the next day?      ·3· · · · Q.· · -- is that correct?
·4· · · · A.· · Yes, ma'am.                             ·4· · · · A.· · Yes.
·5· · · · Q.· · Okay.· Do you remember what time you    ·5· · · · Q.· · Okay.
·6· woke up the next day?                               ·6· · · · A.· · Certain things just jog my memory.
·7· · · · A.· · Maybe between 8:00 and 8:30 or          ·7· Just like when you all were talking when you asked
·8· something like that.                                ·8· me did I -- did anyone ever -- them accuse me of
·9· · · · Q.· · Okay.· And do you remember how you woke ·9· rape.· Well, I didn't remember that until I thought
10· up?· Like did you do it on your own?· Did someone 10· about the person that testified for the state on
11· wake you up?                                        11· that witness stand.
12· · · · A.· · Yeah, I did it on my own.               12· · · · Q.· · Okay.
13· · · · Q.· · Was it an alarm clock?                  13· · · · A.· · But I -- you know, so that's -- it's
14· · · · A.· · No, no.· I did it on my own.            14· just something -- it just -- yeah.· If it come to
15· · · · Q.· · Okay.· So prior to being arrested for   15· me, yes.
16· the murders of Scopey and Connie, did you have a 16· · · · Q.· · Okay.
17· juvenile record?                                    17· · · · A.· · I can --
18· · · · A.· · Yes.                                    18· · · · Q.· · Okay.
19· · · · Q.· · Okay.· Can you tell me what you         19· · · · A.· · -- tell you.
20· remember about your juvenile record, what sort      20· · · · Q.· · Okay.· And I'll just put on the record
21· of incidences were on that?                         21· that if for some reason your memories to some of
22· · · · MR. TAYLOR:· Objection to the relevance.      22· the questions I've asked you come to you after you
23· · · · · · · · ·But you may answer.                  23· leave this deposition --
24· · · · THE WITNESS:· It wasn't much.· But I know     24· · · · A.· · Yes.


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·1· · · · Q.· · -- then I ask you that you supplement     ·1· · · · A.· · Yes.
·2· your discovery responses --                           ·2· · · · Q.· · Okay.· Do you remember who the
·3· · · · A.· · Yes, ma'am.                               ·3· police --
·4· · · · Q.· · -- that we have issued to you that        ·4· · · · A.· · No, ma'am.
·5· are -- are touching on the subjects of your           ·5· · · · Q.· · -- officer was?
·6· memories.· Right?                                     ·6· · · · A.· · No.
·7· · · · A.· · Yes, ma'am.· Yes, ma'am.                  ·7· · · · Q.· · Do you remember if it was a woman?
·8· · · · Q.· · So if you remember something about your   ·8· · · · A.· · No.
·9· juvenile record --                                    ·9· · · · Q.· · Okay.· Do you remember anything about
10· · · · A.· · Yes, ma'am.                               10· your interactions with the police concerning that
11· · · · Q.· · -- that happens after the deposition,     11· specific arrest?
12· then I ask that you work with your attorneys to       12· · · · A.· · Couldn't believe it.· I never left the
13· supplement your discovery responses.                  13· store.· I was sitting at the counter.· I mean, I
14· · · · A.· · Will do.                                  14· was just writing with it.· So I thought it was a
15· · · · Q.· · Okay.                                     15· basket of pens, I thought I could write with the
16· · · · MR. THOMSON:· Johnnie, as a reminder, for the   16· pen.· I didn't know I couldn't write with the pen.
17· benefit of the court reporter, wait till Sara         17· · · · Q.· · Okay.
18· finishes her questions before you answer.· You're     18· · · · A.· · So that's what I remember about it.
19· saying "yes, ma'am" a couple of times in the middle   19· · · · Q.· · Do you remember anything specific to
20· of her statement.                                     20· the police officers that came and arrested you?
21· · · · THE WITNESS:· Okay.                             21· · · · A.· · It was a white male.
22· · · · MR. THOMSON:· Okay.· Thanks.                    22· · · · Q.· · And did they handcuff you?
23· · · · MS. SCHROEDER:· That's -- I do the same where   23· · · · A.· · No.
24· it becomes more of a conversation.· So it becomes     24· · · · Q.· · Okay.· Did they put you in the police

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·1· a little bit stunted in this type of deposition.      ·1· car?
·2· BY MS. SCHROEDER:                                     ·2· · · · A.· · I believe so.
·3· · · · Q.· · Do you remember any offenses of           ·3· · · · Q.· · And where did they take you?
·4· shoplifting?                                          ·4· · · · A.· · That, I don't remember.· But I know
·5· · · · A.· · Yes.                                      ·5· where -- I didn't stay long.· You know, my dad came
·6· · · · Q.· · Tell me what you remember, please.        ·6· and got me.· So it wasn't like they kept me in no
·7· · · · A.· · I was in Woolworth department store.      ·7· detention center or nothing.
·8· And I went to the back to take one of those photo     ·8· · · · Q.· · And do you remember what your dad said
·9· IDs.· And I was sitting down at the counter, and      ·9· to you when he came and got you?
10· there was a basket of ink pens there.· And I picked   10· · · · A.· · He didn't say nothing.· He asked me
11· one of them up to begin to write with ink pen at      11· what I did.· I told him I was writing with a pen
12· the counter.· And the lady called the police saying   12· sitting in Woolworth's, and I didn't realize -- if
13· I stole a 19-cent Bic pen.· And I never left the      13· I had an incident of racism, that was probably it.
14· counter.                                              14· I didn't realize that's what it was, but -- I mean,
15· · · · Q.· · And do you remember when this was?        15· we talking about Peoria in the early '70s.
16· · · · A.· · Oh, maybe '73, '74, something like that   16· · · · Q.· · Well, what do you mean by that?
17· nature.· Maybe '75.                                   17· · · · A.· · Well, they still had signs in Pekin on
18· · · · Q.· · Okay.                                     18· the bridge said no -- no black people after dark.
19· · · · A.· · All I know is it didn't make no sense.    19· And there's only certain places you can go in
20· · · · Q.· · Okay.                                     20· Peoria where it wasn't nothing but 5 percent or
21· · · · A.· · But I was charged with stealing a         21· 2 percent black, or whatever it was.· A lot of
22· 19-cent Bic pen at Woolworth's or whatever that       22· people.
23· store is.· And they took me to jail for that.         23· · · · Q.· · How old were you at this time?
24· · · · Q.· · Did the police come and arrest you?       24· · · · A.· · Well, if I was 14 in '77.· '76, 13.


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·1· '75, 12.· 11, 10 -- 11, somewhere around in there.     ·1· fight with Mark Burks in order to protect Frankie
·2· · · · Q.· · Okay.· And you were sort of out in the     ·2· Ivy?
·3· world enough to understand the percentage of the       ·3· · · · A.· · It could have happened, but I just
·4· racial makeup of Peoria?                               ·4· can't simply recall it at this moment.· But it's
·5· · · · A.· · Well, Peor- --                             ·5· very well possible.
·6· · · · MR. TAYLOR:· Objection.· That's -- that          ·6· · · · Q.· · Does that go in line with what we
·7· misstates his testimony.                               ·7· talked about earlier where you would jump in to
·8· · · · MS. SCHROEDER:· Okay.                            ·8· maybe protect somebody that you thought needed
·9· · · · THE WITNESS:· Peoria was all predominantly       ·9· protection?
10· white and small percentage of black people.            10· · · · A.· · It does.
11· · · · MS. SCHROEDER:· Okay.                            11· · · · MR. TAYLOR:· Objection; form.
12· · · · THE WITNESS:· I'm just giving you percents       12· · · · THE WITNESS:· Most of the time if I saw
13· how because I understand percent.· Back then the       13· somebody being harmed, I would try to intervene
14· majority of people, 80, 90 percent of the people       14· and stop it, you know.· And Frankie was somebody
15· were white.· I didn't really have any run-ins          15· that was very -- to me he was very kindhearted,
16· with whites, so I'd have no -- I didn't really         16· so ...· And Mark Burks was a bully.· Call it what
17· understand racism.· But I knew that particular         17· it is.
18· incident just left the same bad taste in my mouth      18· · · · MS. SCHROEDER:· Yeah.· That's the sense I'm
19· as it did then, because I did not steal the pen.       19· getting.
20· I was just writing with the pen.                       20· · · · THE WITNESS:· You know.· And since then I've
21· · · · · · · · ·But I'm sure they made a police         21· seen him at Stateville Correctional Center.· Just
22· report out about it.· But I was writing with a pen.    22· seem to understand.
23· That's all I'm saying.· Wasn't no need for the         23· BY MS. SCHROEDER:
24· person to call the police about me writing with a      24· · · · Q.· · Did you have any run-ins with him

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·1· pen.                                                   ·1· there?
·2· BY MS. SCHROEDER:                                      ·2· · · · A.· · Oh, no.
·3· · · · Q.· · Um-hmm.· Okay.· Do you remember any        ·3· · · · Q.· · Okay.· Where did you learn the ability
·4· other shoplifting offenses?                            ·4· to be able to protect those people you see getting
·5· · · · A.· · Not at this time.                          ·5· hurt and beat up?
·6· · · · Q.· · Okay.· How about any damage to property    ·6· · · · A.· · Oh, just natural instincts.· It's like
·7· offenses?                                              ·7· any child, you -- once you get the first punch in
·8· · · · A.· · Not at this time.                          ·8· the stomach, get the butterflies flowing, then I
·9· · · · Q.· · How about any trespassing?                 ·9· guess it's -- you learn how to protect yourself.
10· · · · A.· · Not at this time.                          10· Trial and error.
11· · · · Q.· · Okay.                                      11· · · · Q.· · Okay.· And is that something that you
12· · · · MR. CHRISTIE:· Could we move the Tylenol         12· wanted -- let me strike that.
13· bottle out of the view of the camera?                  13· · · · · · · · ·Is that something that you felt that
14· · · · MS. SCHROEDER:· Oh, yeah.· That's probably ...   14· Frankie Ivy was lacking, that he didn't have the
15· · · · THE WITNESS:· Anything else?                     15· ability to protect himself, and so you had to step
16· · · · MS. SCHROEDER:· Is everything --                 16· in to help him?
17· · · · THE VIDEOGRAPHER:· The water and soda.           17· · · · A.· · It wasn't -- he just didn't have it.
18· · · · THE WITNESS:· Okay.                              18· · · · Q.· · I didn't hear you.
19· BY MS. SCHROEDER:                                      19· · · · A.· · He just didn't have it.· He just wasn't
20· · · · Q.· · Okay.· How about any assault charges?      20· that kind of kid.· I mean, he -- he would rather
21· · · · A.· · Other than Mark Burks?                     21· run than -- I mean, I understood him.· I liked him.
22· · · · Q.· · Um-hmm.                                    22· · · · Q.· · Um-hmm.
23· · · · A.· · No, not that I recall.                     23· · · · A.· · So he was a friend of mine, so that was
24· · · · Q.· · Okay.· Do you remember getting in a        24· enough for me to not let somebody take advantage of


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·1· him or hurt him if I was there to, you know, to     ·1· with this bully, is that something that you're
·2· stop it.                                            ·2· going to -- you feel that you should take on on
·3· · · · Q.· · Okay.· And were there other things that ·3· your own, or would you go talk to a parent about
·4· you did for people that you felt needed your help?  ·4· Frank needing help?
·5· · · · A.· · Yeah.· Groceries for the mothers in my  ·5· · · · MR. TAYLOR:· Objection; form.
·6· community.                                          ·6· · · · THE WITNESS:· It all depends on the
·7· · · · Q.· · Um-hmm.                                 ·7· situation.· And that -- the situations you keep
·8· · · · A.· · Whenever somebody needed help, I -- we  ·8· talking about with Frankie, that was probably at
·9· were taught, because our community was so small, we ·9· the spur of a moment, it was something that was in
10· would do the cup of flour, cup of sugar, or an egg, 10· my face.· I mean, I'm not no -- I can't -- I can't
11· meaning that you knew your neighbors and you shared 11· sit up here and tell you --
12· in that capacity, you know.                         12· · · · MS. SCHROEDER:· I know.· I see that fly also.
13· · · · Q.· · Okay.· Is there anything else that --   13· · · · THE WITNESS:· But anyway ...· I mean, it
14· any other examples you can share with us that --    14· was not nothing planned.· It was just something
15· of your actions in helping others -- and now I'm    15· reactionary.
16· talking in the 1977 timeframe -- helping others     16· · · · MS. SCHROEDER:· It was --
17· that you felt needed your help?                     17· · · · THE WITNESS:· Best way I can say it.
18· · · · A.· · I can't --                              18· · · · MS. SCHROEDER:· Okay.· Okay.· So are we on
19· · · · MR. TAYLOR:· Just a moment.· Just a           19· Exhibit 3?
20· clarification.· By "1977 timeframe," are you saying 20· · · · MR. TAYLOR:· Yes.
21· before he was arrested, or are you saying a time -- 21· BY MS. SCHROEDER:
22· BY MS. SCHROEDER:                                   22· · · · Q.· · Okay.· So we'll do Exhibit 3.· I'm just
23· · · · Q.· · Yes.· And that is a short timeframe.    23· making sure I have all the pages I need, because I
24· · · · · · · · ·So I'm going to say 1976, 1977; it's 24· don't need this whole thing.· I'll do that.· Okay.

                                               Page 211                                                     Page 213
·1· the timeframe before you were arrested in -- on     ·1· · · · · · · · ·So Mr. Savory, I'm going to hand
·2· January 25th.                                       ·2· you a document that -- it's going to be Exhibit 3.
·3· · · · A.· · I cannot sit here and literally tell    ·3· And I will tell you because we printed on two-sided
·4· you all the people that I've helped and that have   ·4· paper, I'm not needing us to review all of the
·5· helped me, as it's impossible for me to recount     ·5· sides.· So I'll tell you the Bates numbers.· It's
·6· that.· You know, I mean, most of it I forgot.       ·6· really just these individual pages right here.· But
·7· · · · Q.· · If somebody were to ask you for help,   ·7· because it's printed on two sides, I'm going to
·8· though, is that something that you would --         ·8· have to give you this whole document.
·9· · · · A.· · Yes.                                    ·9· · · · · · · · ·So I'll read into the record.· It's
10· · · · Q.· · -- freely give?                         10· going to be Peoria Savory 25541 through 25546 are
11· · · · · · · · ·Okay.· And if a friend asked you for 11· the documents that I'm handing Mr. Savory.· But
12· your help in, you know, any issue they might have   12· we're actually going to be reviewing Peoria Savory
13· been having, is that something that you would do as 13· 25542 through 25545.
14· well?                                               14· · · · A.· · Could you mark --
15· · · · A.· · You didn't even have to ask.· If I      15· · · · MR. TAYLOR:· Do you have more of these?
16· have, you know, the wherewithal to see you in       16· · · · MS. SCHROEDER:· I do.· I'm going to -- I'm
17· trouble, then I would help you.                     17· just doing this for the record.
18· · · · Q.· · Okay.· If a -- in your -- in that sort  18· · · · THE WITNESS:· Could you mark -- could you
19· of -- in this neighborhood you had, like with your  19· mark that with your highlighter what you want me to
20· friends that you had you were talking about and     20· read, so I --
21· telling me about, if they were coming to you for    21· · · · MS. SCHROEDER:· I'll have you do it. I
22· help -- so let's say Frank Ivy's got this issue     22· don't -- because this is your exhibit --
23· with this bully, Mark Burks, right, it's -- and     23· · · · THE WITNESS:· No problem.
24· they are coming because they are having an issue    24· · · · MS. SCHROEDER:· -- so I don't want to mark up


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·1· your exhibit, so ...                                  ·1· · · · Q.· · Okay.· Do you remember any interactions
·2· · · · THE WITNESS:· My exhibit.· Oh, that's mine?     ·2· with this person?
·3· · · · MS. SCHROEDER:· Yes.· I mean, you'll turn       ·3· · · · A.· · No, ma'am.
·4· it there --                                           ·4· · · · Q.· · Okay.· Okay.· So do you ever remember
·5· · · · MR. TAYLOR:· You don't get to take it home.     ·5· having a social history report done on you in -- in
·6· · · · · · · · · · · (Discussion off the record.)      ·6· or around October 11th, 1976?
·7· · · · MR. TAYLOR:· And what pages were you saying     ·7· · · · A.· · No, ma'am.· This is the first time I
·8· you'd like us to look specifically at?                ·8· ever seen this.
·9· · · · MS. SCHROEDER:· Sure.· I'll tell you right      ·9· · · · Q.· · Okay.· Okay.· So we'll review this
10· now.· So we're going to look specifically at 25542    10· then.
11· through 25545.                                        11· · · · · · · · ·And do you see there it has the
12· · · · MR. TAYLOR:· Okay.                              12· investigator's name, Teresa Hulslander?
13· · · · THE WITNESS:· Where you at?                     13· · · · A.· · Um-hmm.
14· · · · MS. SCHROEDER:· Let me know when you're         14· · · · Q.· · And then -- I'm just going to have you
15· ready, Mr. Savory.                                    15· flip so you can see it.· If you flip to Peoria
16· · · · THE WITNESS:· What -- where are you -- where    16· Savory 25545.· I think you can flip one more time.
17· are you at?                                           17· Yep.· And it'll be on the left-hand side at the
18· · · · MS. SCHROEDER:· I think you're good.· So        18· bottom.
19· we're just going to start right there.· And we're     19· · · · A.· · This is right hand --
20· going to start on that page that's on your            20· · · · Q.· · Right-hand side.· You're right.· Sorry.
21· left-hand side there.                                 21· · · · · · · · ·And then you see the signature where
22· · · · THE WITNESS:· Right.                            22· it says, Respectfully Submitted, Teresa Hulslander,
23· BY MS. SCHROEDER:                                     23· Investigator?
24· · · · Q.· · Yep.· And so we're going to look at the   24· · · · A.· · Yes, ma'am.

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·1· top.· And you see this document, it's called Social   ·1· · · · Q.· · Okay.· So just I wanted you to have
·2· History?                                              ·2· that sort of parameters as we're walking through
·3· · · · A.· · Um-hmm.                                   ·3· this then.
·4· · · · Q.· · Okay.· And then do you see underneath     ·4· · · · · · · · ·So do you -- underneath the Present
·5· the Identifying Data AND it has Johnnie L. Savory,    ·5· Problem, it says here that you were made a
·6· and then -- is that your birth date underneath your   ·6· delinquent ward of the court after admitting in
·7· name?                                                 ·7· court to your involvement in the offense of theft
·8· · · · A.· · Yes.                                      ·8· occurring on or about October 4th, 1976.
·9· · · · Q.· · Okay.· And is that your address that      ·9· · · · · · · · ·And if you go down, it says, "The
10· you were living in in the 1976 and 1977 timeframe?    10· petition states that, 'he did exert unauthorized
11· · · · A.· · Yes.                                      11· control over property of Doris Packman, being one
12· · · · Q.· · Okay.· And that's your father's name,     12· Ward's ten-speed."· Do you remember --
13· Y.T. Savory; is that correct?                         13· · · · A.· · Where -- where are you?
14· · · · A.· · Yes.                                      14· · · · MS. SCHROEDER:· I'm at -- can you help him?
15· · · · Q.· · Okay.· And then if you continue on, do    15· · · · MR. TAYLOR:· I'll highlight it for you.· This
16· you see where it says Date of Hearing, and it has a   16· is the wrong page.
17· date October 11th, 1976?                              17· · · · THE WITNESS:· Yeah, that's what I thought.
18· · · · A.· · Um-hmm.                                   18· · · · MR. TAYLOR:· She's all the way up on 442.
19· · · · Q.· · And then Petition, Delinquent.· And       19· Right?
20· then the petitioner is a Lieutenant Marteness of      20· · · · MS. SCHROEDER:· I am.· Yep.
21· the Peoria Department?                                21· · · · MR. TAYLOR:· Okay.· She's pointing --
22· · · · A.· · Um-hmm.                                   22· · · · MS. SCHROEDER:· Just under Present Problem,
23· · · · Q.· · Do you remember Lieutenant Marteness?     23· yeah.
24· · · · A.· · No.                                       24· · · · MR. TAYLOR:· -- to this here.


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·1· · · · THE WITNESS:· You gave me the wrong page.     ·1· · · · Q.· · How many times did he call the police
·2· · · · MS. SCHROEDER:· Well, I'm trying.· I'm        ·2· on you for giving the money to your teacher?
·3· trying.· Luckily you have your attorneys --         ·3· · · · A.· · I don't know.· Maybe a couple times or
·4· · · · THE WITNESS:· Yeah.· 'Cause I --              ·4· something maybe.
·5· · · · MS. SCHROEDER:· -- to catch me.               ·5· · · · Q.· · Um-hmm.· How many times did you have to
·6· · · · THE WITNESS:· Where were we?                  ·6· take the money and give it to your teacher?
·7· · · · MR. TAYLOR:· Right under Present Problem.     ·7· · · · A.· · Whenever he was intoxicated.
·8· · · · THE WITNESS:· Okay.                           ·8· · · · Q.· · And how often was that?
·9· BY MS. SCHROEDER:                                   ·9· · · · A.· · He mainly drank on the weekend.· But
10· · · · Q.· · Under Present Problem.· And so it just  10· that was -- I mean, probably after payday or
11· says -- and I'll repeat it, that, "Johnnie was made 11· something of that nature.· I don't -- I don't
12· a delinquent ward of the court after admitting in   12· actually remember the thing.· I know I -- I know I
13· court to his involvement in the offense of theft    13· did it.· I did that.· That was the only way for me
14· occurring on or about October 4th, 1976."· And then 14· to help him so he -- we could still pay the rent
15· it explains that, "The petition states that, 'he    15· and do what we needed to do.
16· exerted unauthorized control over property of Doris 16· · · · Q.· · Okay.· Is that an example of you doing
17· Packman, being one Ward's ten-speed blue girl's     17· an action that you knew you had to do in order to
18· bike.'"                                             18· help somebody in need?
19· · · · · · · · ·Do you remember that incident,       19· · · · A.· · That was to help us.
20· Mr. Savory?                                         20· · · · Q.· · Um-hmm.· Was it to help your sister?
21· · · · A.· · Not at this moment I don't.             21· · · · A.· · Yes.· Help all of us.· I mean --
22· · · · Q.· · Okay.· Do you remember ever being       22· · · · Q.· · Help you?
23· accused of stealing a ten-speed bike?               23· · · · A.· · Yes.
24· · · · A.· · Un-uhn.                                 24· · · · Q.· · And help your dad?

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·1· · · · Q.· · Okay.· Do you remember ever admitting     ·1· · · · A.· · Yes.
·2· to stealing a ten-speed bike?                         ·2· · · · Q.· · Okay.· Do you remember how much money
·3· · · · A.· · No, ma'am.                                ·3· you would have to take to your teacher to hold?
·4· · · · Q.· · Okay.· So if we continue on, it says      ·4· · · · A.· · Man, I probably took all of it and gave
·5· that, "The police reports state that Mr. Y.T.         ·5· it to the teacher, because I didn't know -- you
·6· Savory reported to police that Johnnie had stolen a   ·6· know, I knew the rent had to be paid.· I know
·7· bicycle."                                             ·7· groceries had to be bought.· So I would just take
·8· · · · · · · · ·Do you recall your father ever         ·8· it.· Once he go to sleep, I'd take it and give it
·9· calling the police on you to report a theft?          ·9· to her.· And then he would -- she had a way of
10· · · · A.· · I do not.                                 10· calming him down.· And then he would -- after he
11· · · · Q.· · Okay.· Do you remember your father ever   11· would sober up, he wouldn't -- he wouldn't be
12· calling the police on you for any reason?             12· angry.
13· · · · A.· · Yes.                                      13· · · · Q.· · Okay.
14· · · · Q.· · Okay.· What reasons would he have         14· · · · A.· · So ...
15· called the police on you?                             15· · · · Q.· · Do you know what kind of alcohol your
16· · · · A.· · What I stated earlier when he would be    16· dad would drink?
17· intoxicated, I would take the money and give it to    17· · · · A.· · Whatever he bought.
18· my schoolteacher.                                     18· · · · Q.· · Okay.
19· · · · Q.· · Okay.· And is that the only time he       19· · · · A.· · You know.
20· would have called the police on you?                  20· · · · Q.· · And was he drinking at the home and
21· · · · A.· · That's what I remember.· You know, I'm    21· getting drunk?
22· not saying he did not do this.· I'm saying I don't    22· · · · A.· · He would go out and drink.
23· remember him doing it.· And that's all I remember     23· · · · Q.· · Do you know where --
24· about it.· I don't remember him doing it.             24· · · · A.· · He drank sometime at home, but, you


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·1· know -- friend's house or whatever.                   ·1· stuff there.
·2· · · · Q.· · Would he go to any bars?                  ·2· · · · Q.· · Okay.· Is there a reason you didn't
·3· · · · A.· · I didn't really seen him at no bars.      ·3· give your grandma the money to hold?
·4· You know, maybe friends' houses, people he knew in    ·4· · · · A.· · She wasn't always there.
·5· the community.                                        ·5· · · · Q.· · Okay.
·6· · · · Q.· · Do you know any of the friends' names     ·6· · · · A.· · You know, she split up between houses,
·7· whose homes he would go to?                           ·7· her son, her daughter; son, daughter, so ...
·8· · · · A.· · Not at this moment.· But --               ·8· · · · Q.· · Okay.· And what school did this teacher
·9· · · · Q.· · Okay.                                     ·9· teach at where you would give the money?
10· · · · A.· · -- give it a minute and let me think      10· · · · A.· · Ooh wee.· Linc- -- Lincoln Middle
11· about it.                                             11· School?· I mean, she taught fourth or fifth -- she
12· · · · Q.· · And why -- is there a reason you          12· taught fifth grade.· So it would be Lincoln Middle
13· wouldn't have relied on your grandma to help you      13· School.
14· out in this type of situation?                        14· · · · Q.· · Okay.· Okay.· Do you ever remember
15· · · · A.· · Yeah, because she was always sound,       15· being interviewed by any investigator from the
16· good judgment.                                        16· court system in relation to any of the juvenile
17· · · · Q.· · What does that mean?                      17· offenses that you told us about today?
18· · · · A.· · That means that she was stable.· And      18· · · · A.· · I just can't recall at this moment.
19· that was an unstable.· It was a stable environment    19· I may have spoke with someone.· I'm not going to
20· to some degree.· You know, when he was sober, he      20· say I didn't.· But I -- I just do not remember.
21· was the most wonderful person on the planet.· You     21· I don't remember.· I may have talked to them.
22· know what I mean?· I'm not gonna sit here and try     22· I just don't remember at this moment.
23· to describe an alcohol disease because everybody      23· · · · Q.· · Okay.· All right.· So let's continue
24· got somebody in their family that, you know,          24· reading.· So we're continuing on that third

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·1· probably going through that, whether it's drugs       ·1· paragraph where it says, The police reports state
·2· and other things.· So I'm just giving you the best    ·2· that Mr. Y.T. Savory reported to police that
·3· account that I can at this moment.                    ·3· Johnnie stole a bike, and Johnnie was arrested and
·4· · · · · · · · ·But she was a wonderful grandma.       ·4· taken to Peoria County Juvenile Detention Center.
·5· · · · Q.· · And you didn't want to trouble her with   ·5· · · · · · · · ·Okay.· Had you ever been -- do you
·6· this -- these issues, is that what you're telling     ·6· remember being at the juvenile -- at the Peoria
·7· me?                                                   ·7· County Juvenile Detention Center?
·8· · · · A.· · I think she knew her own son.· She knew   ·8· · · · A.· · Yes.· I was -- I remember being there
·9· her son --                                            ·9· one time before this incident.
10· · · · Q.· · Okay.                                     10· · · · Q.· · Okay.· And is that -- is that the same
11· · · · A.· · -- long before I knew him --              11· thing as the Gift Home?
12· · · · Q.· · Okay.                                     12· · · · A.· · Yes.
13· · · · A.· · -- you know.· So I never -- I never       13· · · · Q.· · It is.· Okay.· And you remember being
14· really got in trouble for it.· I mean, he would --    14· there.
15· after a period of time, he would appreciate me        15· · · · · · · · ·And do you remember how long you
16· taking it --                                          16· were at that detention center?
17· · · · Q.· · Um-hmm.                                   17· · · · A.· · Not long.
18· · · · A.· · -- you know.· But when he wanted it and   18· · · · Q.· · Okay.· Were you there overnight?
19· he woke up and I wasn't there, then he became -- he   19· · · · A.· · Maybe a day or two.
20· became angry.· He wanted to know where I was.         20· · · · Q.· · Okay.· And do you remember how close in
21· · · · · · · · ·But after he seen that I was just      21· time it was before this January arrest?
22· taking it and putting it up and giving it to          22· · · · A.· · No.· No, I don't.
23· someone that, when it was all said and done, that     23· · · · Q.· · Okay.· Do you remember how -- or for
24· we'd still have a place to live and have food and     24· what reason you were at the detention center?


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·1· · · · A.· · Not at this moment.                       ·1· in 1919, which is -- it was just overwhelming
·2· · · · Q.· · Okay.· And do you remember if -- who      ·2· coming from the cotton fields and just Jim Crowe
·3· took you to the detention center?                     ·3· and all the rest of the things.
·4· · · · A.· · I don't remember.· But I know this --     ·4· · · · · · · · ·And so my dad had a -- and he had
·5· it could have happened.· That's what I'm saying.      ·5· some serious problem with police officers, mainly
·6· But I just don't remember right at this moment.       ·6· black police officers.· He couldn't get along with
·7· · · · Q.· · Okay.· So we'll continue.· It says,       ·7· them.· And until I got older, I didn't understand
·8· "Johnnie told police that he stole the bike because   ·8· why.
·9· he wanted to be arrested.· He said he feels as        ·9· · · · Q.· · Okay.· So I'm trying to understand that
10· though he is a burden to his father and by taking     10· answer from you.· So I think what I -- so I think
11· the bike and being arrested he would be out of the    11· what I was asking was if your father wasn't a
12· house."                                               12· person you could lean on.· And then that was your
13· · · · · · · · ·Does this bring up a memory that --    13· answer is you were explaining to me the pain your
14· of you ever feeling this way where you did            14· father was carrying; is that correct?
15· something in order to be arrested to be taken out     15· · · · A.· · Yes.· Yes.
16· of the home?                                          16· · · · Q.· · Okay.· And is that pain, did that
17· · · · A.· · I just don't recall that at this          17· prevent him from being the type of person or adult
18· moment.                                               18· that you could lean on?
19· · · · Q.· · Okay.                                     19· · · · A.· · Well, I could lean on him in most
20· · · · A.· · I'm not going to say I didn't say it.     20· cases.
21· I just don't -- I don't remember it --                21· · · · Q.· · Okay.
22· · · · Q.· · Okay.                                     22· · · · A.· · But in some things it just did not --
23· · · · A.· · -- at this moment.                        23· it didn't work.
24· · · · Q.· · Do you remember ever having that          24· · · · Q.· · Um-hmm.

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·1· feeling, that maybe you were a burden to your dad     ·1· · · · A.· · But for the most part, yes.· I mean,
·2· and wanted to leave the home?                         ·2· he took -- I believe he did the best job he could
·3· · · · A.· · No.· But I had the feeling that           ·3· with me and my sister.· And regardless of his
·4· sometime it just felt helpless.· You know, I          ·4· disease with alcohol, regardless of how he
·5· just needed someone else to lean on.· So ...          ·5· addressed his own pain, I realize now we all
·6· · · · Q.· · And is that because your dad wasn't       ·6· address our pains differently.
·7· there for you to lean on?                             ·7· · · · Q.· · How did he address his pain besides
·8· · · · A.· · No.· It was that he had his own pain.     ·8· alcohol?
·9· And it took me a long time to understand the pain     ·9· · · · A.· · That's enough right there.· Alcohol.
10· of his life and what he had to go through.            10· · · · Q.· · Oh, okay.
11· · · · · · · · ·And I hate to bring this up because    11· · · · A.· · That's -- getting lost in that hinders
12· I never have used racism for any excuse of me.· But   12· your ability to rationalize situations out.
13· they made it difficult for him to be a black dad      13· · · · Q.· · Did he neglect you and your sister?
14· trying to raise two children.                         14· · · · A.· · No.
15· · · · Q.· · Who's "they"?                             15· · · · Q.· · Did he provide food for you and your
16· · · · A.· · The system itself.· They were not in      16· sister?
17· favor of him being uneducated.· The system we know    17· · · · A.· · Yes.
18· that has been through the changes, we don't have to   18· · · · Q.· · Did he provide a bed for you?
19· pretend, you know.· It just -- it's just what it      19· · · · A.· · Yes.
20· is.· He tried to do his best.                         20· · · · Q.· · Did he provide furniture for the
21· · · · · · · · ·He -- I remember him giving me his     21· apartment?
22· fourth grade education, that's as far as he went,     22· · · · A.· · Yes.
23· and he took time out to teach me my ABCs and how to   23· · · · Q.· · Or I guess I should ask you.· I don't
24· count, how to tell time.· And he just -- being born   24· even know.· Was it an apartment you were living in?


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·1· · · · A.· · Yes.                                    ·1· · · · A.· · No.
·2· · · · Q.· · Okay.· Did he provide clothing for you? ·2· · · · MR. TAYLOR:· Objection.
·3· · · · A.· · Yes.                                    ·3· · · · THE WITNESS:· I don't understand what you
·4· · · · Q.· · Okay.· And your sister?                 ·4· mean.
·5· · · · A.· · Yes.                                    ·5· BY MS. SCHROEDER:
·6· · · · Q.· · Did he provide medical care for you?    ·6· · · · Q.· · I mean --
·7· · · · A.· · Yes.                                    ·7· · · · MR. TAYLOR:· Form and foundation.
·8· · · · Q.· · And -- any special care your sister     ·8· BY MS. SCHROEDER:
·9· needed?                                             ·9· · · · Q.· · Okay.· Would you have been aware if
10· · · · A.· · Yes.                                    10· your father did this action if you weren't living
11· · · · Q.· · Okay.· Do you remember your father      11· in the house with him?
12· bringing prostitutes to your house?                 12· · · · A.· · Yes.· And I realize what you're asking
13· · · · A.· · No.                                     13· now.
14· · · · Q.· · Do you remember gambling going on in    14· · · · Q.· · Okay.
15· your home?                                          15· · · · A.· · Because he was convicted of that when I
16· · · · A.· · No.                                     16· was on trial.· Falsely.· And I think you know that
17· · · · Q.· · Do you remember your father having      17· too.· Because the Illinois Supreme Court reversed
18· drinking buddies in his home while you were there? 18· his case and sent him home.· Because that same
19· · · · A.· · Un-uhn.                                 19· person the police used to make that statement
20· · · · Q.· · Did your father ever make any           20· offered nothing of proof that it took place.· And
21· inappropriate suggestions to his friends about      21· how shameful they did that to remove him from the
22· your sister?                                        22· situation because, as I stated now, my dad was very
23· · · · MR. TAYLOR:· Objection to the form.           23· protective over me and my sister.· And two of your
24· · · · THE WITNESS:· I don't understand what you're  24· defendants know that all so well.

                                             Page 231                                                   Page 233
·1· saying.                                               ·1· · · · Q.· · Who is that?
·2· BY MS. SCHROEDER:                                     ·2· · · · A.· · Lieutenant Stenson and Charles Cannon.
·3· · · · Q.· · Well, what I'm saying --                  ·3· · · · Q.· · And how do they know that?
·4· · · · A.· · I mean, just tell me -- just tell me      ·4· · · · A.· · Because he had physical altercations
·5· what you mean.                                        ·5· with both of them.
·6· · · · Q.· · So did your father ever offer your        ·6· · · · Q.· · And when did that occur?
·7· sister up to his friends --                           ·7· · · · A.· · 1974 I believe one time.· And I can't
·8· · · · A.· · No.                                       ·8· remember the exact date for Cannon.
·9· · · · Q.· · Let me finish.                            ·9· · · · Q.· · So the 1974 was with Lieutenant Stenson?
10· · · · MR. TAYLOR:· Let her finish.                    10· · · · A.· · Oh, yes.
11· · · · THE WITNESS:· Oh.                               11· · · · Q.· · Or Defendant Stenson, I should say.
12· BY MS. SCHROEDER:                                     12· · · · · · · · ·And then you -- there was another
13· · · · Q.· · That's okay.· I know -- I know you're     13· altercation with Charles Cannon, but you don't
14· ready to answer.· But I just have to get on record.   14· remember when?
15· · · · · · · · ·Did your father ever -- to your        15· · · · A.· · No.
16· knowledge, did your father ever offer your sister     16· · · · Q.· · And how do you know that these
17· up to his friends for their use in exchange for       17· occurred?
18· alcohol?                                              18· · · · A.· · I was there.
19· · · · MR. TAYLOR:· Objection to the form,             19· · · · Q.· · Okay.· And what was the -- tell me
20· foundation.                                           20· about the one with Defendant Stenson.
21· · · · THE WITNESS:· No.                               21· · · · A.· · My dad went around the corner to one of
22· BY MS. SCHROEDER:                                     22· his friend's house, and me and my sister was at
23· · · · Q.· · Okay.· Would you have been aware of       23· home.· One of the neighbors called the police, and
24· that when you were incarcerated?                      24· they came to the home.


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·1· · · · Q.· · Do you know why they were called?         ·1· · · · A.· · That's what I was --
·2· · · · A.· · They called 'cause I guess it was -- we   ·2· · · · Q.· · -- they wanted to take you?
·3· were there in the home.                               ·3· · · · A.· · That's what I was saying was 'cause he
·4· · · · Q.· · And what year was this?                   ·4· left us at home for that short period of time.· It
·5· · · · A.· · I don't remember the exact year, but I    ·5· wasn't -- it wasn't even a long time.· It may not
·6· know it was in the '70s somewheres.                   ·6· have been no more than 20 or 30 minutes, if that.
·7· · · · Q.· · Okay.                                     ·7· He wasn't gone -- he had just walked around the
·8· · · · A.· · '73.· '74.· I don't -- one of those       ·8· corner.· So they -- they say he left -- left us
·9· years.                                                ·9· unattended or whatever the situation may be.
10· · · · Q.· · And how old is your sister in 1973?       10· · · · Q.· · Okay.
11· · · · A.· · My sister's probably two years older      11· · · · A.· · I don't remember what the charges was,
12· than me.                                              12· but I know what they ended up being.
13· · · · Q.· · Okay.· I'm just trying to figure out --   13· · · · Q.· · Were you removed from the home?
14· as you may have learned earlier, my math is not       14· · · · A.· · Yes.
15· very good.                                            15· · · · Q.· · Okay.· And for how long?
16· · · · · · · · ·So in '73, you are ten; is that        16· · · · A.· · I think I was -- six months, seven
17· right?· About ten?                                    17· months.· I was in what I believe is temporary
18· · · · A.· · Something like that.                      18· foster care.
19· · · · Q.· · Okay.· And then your sister's twelve?     19· · · · Q.· · And then eventually you went back --
20· · · · A.· · Um-hmm.                                   20· · · · A.· · Yes.
21· · · · Q.· · And at this time is she still disabled?   21· · · · Q.· · -- to your dad?
22· Was she born disabled?                                22· · · · A.· · Yes.
23· · · · A.· · I don't know that answer.                 23· · · · Q.· · Okay.· And were you ever told why it
24· · · · Q.· · Okay.· Okay.· But at this time she is     24· took that long for you to be returned to your

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·1· disabled?                                             ·1· father?
·2· · · · A.· · Yes, ma'am.                               ·2· · · · A.· · He was in the county jail for assault
·3· · · · Q.· · Okay.· So the police arrive at your       ·3· charges on Stenson.
·4· house.· And who arrives at your house, from your      ·4· · · · Q.· · Okay.· Did you ever learn if there were
·5· memory?                                               ·5· any other reasons why you were removed from the
·6· · · · A.· · I remember Stenson.                       ·6· home at that time?
·7· · · · Q.· · And do you remember anyone else?          ·7· · · · A.· · No.· I never.
·8· · · · A.· · No.                                       ·8· · · · Q.· · Okay.· And you and your sister
·9· · · · Q.· · Did he come alone?                        ·9· then were returned to your father after he was
10· · · · A.· · I don't know.· I don't remember that.     10· released --
11· · · · Q.· · Okay.                                     11· · · · A.· · Yes.
12· · · · A.· · I just remember them because of what      12· · · · Q.· · -- from jail; is that right?
13· took place.                                           13· · · · A.· · Yes.
14· · · · Q.· · Um-hmm.· And so he arrives.· And then     14· · · · Q.· · Okay.· And did anything ever come from
15· what happened?                                        15· that assault charge, if you remember, against your
16· · · · A.· · I ran around him because I knew my dad    16· father?
17· was around the corner.· And I ran and got my dad,     17· · · · A.· · He did seven months in the county jail.
18· and we came back.                                     18· · · · Q.· · So he was convicted, and that was his
19· · · · Q.· · Um-hmm.· And then what happened.          19· sentence?
20· · · · A.· · They tried to take us, and he wouldn't    20· · · · A.· · I assume he was convicted.· I wasn't at
21· let them take us.                                     21· his --
22· · · · Q.· · Why did they want to take you?            22· · · · Q.· · Okay.
23· · · · A.· · That is --                                23· · · · A.· · -- trial, arraignment, or nothing else.
24· · · · Q.· · Did they tell you why --                  24· · · · Q.· · Okay.· Did you have any other -- are


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·1· there any other interactions with Defendant Stenson ·1· I'm sure when you go and -- if you go and
·2· that you can remember prior to your arrest?         ·2· investigate his brother's history, you will
·3· · · · A.· · Not that I remember.                           ·3· see just what I'm saying to you.
·4· · · · Q.· · Okay.· And then you said there was             ·4· · · · Q.· · So is this something you knew --
·5· another incident with Defendant Cannon; is that            ·5· · · · A.· · We knew --
·6· correct?                                                   ·6· · · · Q.· · -- before you were arrested --
·7· · · · A.· · Yes.                                           ·7· · · · A.· · Yes.
·8· · · · Q.· · Okay.· And do you remember that                ·8· · · · Q.· · -- on January 25th?
·9· incident?                                                  ·9· · · · A.· · Of course.
10· · · · A.· · I mean, I remember my dad telling me           10· · · · Q.· · So this is information you knew when
11· he pulled a pistol on him, so ...· But I don't know        11· you were 13?
12· what became of the circumstances, don't know any           12· · · · A.· · 12.· 13.· 10.· We all lived in
13· of that.· So I'm sure maybe somewheres in Peoria's         13· basically the same community.
14· files or whatever.· I don't -- I'm not sure.               14· · · · Q.· · And you knew --
15· · · · Q.· · Okay.· And that -- that is not                 15· · · · A.· · Knew his brother --
16· something that you witnessed?                              16· · · · Q.· · -- he was selling drugs?
17· · · · A.· · No.                                            17· · · · A.· · Know his brother selling -- of course.
18· · · · Q.· · Okay.· That is something your father           18· · · · Q.· · Why do you say "of course"?
19· told you; is that correct?                                 19· · · · A.· · What I'm saying is I just showed you
20· · · · A.· · Yes, yes.                                      20· that in our community, it was a very small
21· · · · Q.· · Okay.· And did he tell you anything            21· community, period.· So if you were gambling, if you
22· else about the circumstances surrounding that              22· were drinking, you were doing whatever, everybody
23· incident?                                                  23· gets a chance to see you.· It's not like you can go
24· · · · A.· · No, ma'am.                                     24· to the North Side, go to the East Side; you were

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·1· · · · Q.· · Okay.· And is there anything else about ·1· only permitted to live in your community, and
·2· that incident that you can recall to share with us? ·2· that's it.
·3· · · · A.· · No.· As I've stated earlier, if I'm not ·3· · · · Q.· · Okay.· I want to look here at the --
·4· confused, that my dad had very little respect for   ·4· · · · A.· · Okay.
·5· black police officers because of how he grew up.    ·5· · · · Q.· · I'm just going to look -- you know
·6· And when black police officers entered the force,   ·6· what?· Let's go to the 25543.
·7· they were not allowed to police no one but the      ·7· · · · A.· · 25- --
·8· black community, period.· That's it.· And they were ·8· · · · Q.· · So it's probably -- I don't -- I can't
·9· very -- they were more abusive than some of their   ·9· tell what page you're on.
10· white counterparts.                                 10· · · · A.· · 25543.
11· · · · Q.· · How do you know that?                   11· · · · Q.· · So do you see -- it's really hard to
12· · · · A.· · What you mean?· I watched it. I         12· see on the bottom --
13· watched it growing up.· I grew up black.· And I     13· · · · A.· · 2- -- 255- --
14· seen how our police officers treated our people in  14· · · · MS. SCHROEDER:· Flint, can you see what page
15· our community.                                      15· he's on for me?
16· · · · Q.· · Give me an example.                     16· · · · MR. TAYLOR:· Let me take a look for you,
17· · · · A.· · For example, Charles Cannon's brother   17· Johnnie.· 25543.
18· sold drugs in our community and was never arrested. 18· · · · MS. SCHROEDER:· Yeah.· The Bates is bad.
19· He ran lounges and places like that and grocery     19· It starts on the top 6/8/75, robbery, strong arm.
20· stores.                                             20· · · · MR. BOWMAN:· What are you going to ask, the
21· · · · Q.· · And how did you know he sold drugs in   21· child's history or --
22· the community?                                      22· · · · MR. TAYLOR:· What's the title of --
23· · · · A.· · We all know each other.· We all live in 23· · · · MS. SCHROEDER:· It's -- right here.· It says
24· the same neighborhood.· Everybody know what you do. 24· 6/8/75, Robbery, Strong Arm.


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·1· · · · MR. TAYLOR:· Oh, okay.· Yeah.· We got the      ·1· · · · Q.· · -- and they would feed you or take care
·2· page.· Right at the top, Johnnie.                    ·2· of you, that sort of thing?
·3· BY MS. SCHROEDER:                                    ·3· · · · A.· · Well, they would -- I pretty much was
·4· · · · Q.· · Okay.· So do you see three lines down    ·4· self-sufficient.· I mean, I would go there and act
·5· from the top, Mr. Savory, it says, "Also there are   ·5· like I was a part of their children.
·6· 16 runaway reports on Johnnie"?                      ·6· · · · Q.· · Um-hmm.
·7· · · · A.· · Um-hmm.                                  ·7· · · · A.· · And I would do whatever, you know, take
·8· · · · Q.· · Do you remember running away from your   ·8· out the garbage, whatever, go grocery shopping with
·9· home 16 times --                                     ·9· them or whatever.· They knew where I was, and he
10· · · · A.· · Sure, I do.                              10· knew where I was too.
11· · · · Q.· · -- in October 1976?                      11· · · · Q.· · Um-hmm.· Okay.
12· · · · A.· · Sure.                                    12· · · · A.· · Um-hmm.
13· · · · Q.· · Okay.· Why --                            13· · · · Q.· · Very good.
14· · · · A.· · Oh.                                      14· · · · · · · · ·If he knew where you were, why are
15· · · · Q.· · You're shrinking.                        15· there runaway reports in your file?
16· · · · A.· · What happened here?                      16· · · · A.· · I -- I couldn't tell you.· He had to
17· · · · MS. SCHROEDER:· Can we go off the record for   17· call the police as far as I'm concerned.
18· a minute.                                            18· · · · Q.· · And why did he have to call the police?
19· · · · THE VIDEOGRAPHER:· Off the record at 5:02 p.m. 19· · · · A.· · I don't have no idea.
20· · · · · · · · · · · · · ·(Brief pause.)              20· · · · MR. TAYLOR:· Objection to form.
21· · · · THE VIDEOGRAPHER:· We're back on the record 21· · · · · · · · ·I'm sorry.· That's all right.· You
22· at 5:03 p.m.                                         22· answered.· That's fine.
23· BY MS. SCHROEDER:                                    23· BY MS. SCHROEDER:
24· · · · Q.· · Okay.· So we were just looking at the    24· · · · Q.· · What?

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·1· document, and three lines from the top it says you     ·1· · · · A.· · I don't have -- I don't have no idea
·2· had 16 runaway reports, and you said yes, you do       ·2· why or what his mindset is.· And I cannot tell you
·3· recall running away from the home multiple times;   ·3· that 'cause I don't -- I don't know.
·4· is that correct?                                    ·4· · · · Q.· · Okay.
·5· · · · A.· · Yes.                                    ·5· · · · A.· · I don't know what he was thinking.
·6· · · · Q.· · Okay.· Can you tell me -- can you tell  ·6· · · · Q.· · And would you run away to different
·7· me -- you know, was there specific reasons that you ·7· homes?· Is that what you were saying to me?
·8· ran away so many multiple times?                    ·8· · · · A.· · Yes.· In the neighborhood.
·9· · · · A.· · I mean, I would -- I would get tired.   ·9· · · · Q.· · Okay.· And would you run away for
10· I would only be in the community, so, you know, I   10· multiple nights?
11· would -- that's why I had like 20 mamas, mothers.   11· · · · A.· · Well, in some instances.
12· So I wouldn't -- it wouldn't never really be like   12· · · · Q.· · Okay.· Do you recall the longest amount
13· actually I was running away.· I would just go to    13· of nights you ran away from home before you
14· other people's home and just -- just get tired.     14· returned?
15· It was overwhelming trying to be there for my dad   15· · · · A.· · Maybe a couple of days.· I don't recall
16· and sister.                                         16· being gone longer than that.
17· · · · · · · · ·I never really had a childhood.· It  17· · · · Q.· · Did the police have to come find you to
18· was just -- I spent most of my time trying to care  18· bring you home?
19· for them and care for myself at the same time,      19· · · · A.· · Never.
20· so ...· That's best way I can explain it.           20· · · · Q.· · So how do you know that your father
21· · · · Q.· · And you said you had like 20 mamas in   21· called the police on you?
22· the neighborhood.· Are these women whose homes you 22· · · · A.· · I mean, you have it right here.· Who
23· would go to --                                      23· called them?
24· · · · A.· · Oh, yes.                                24· · · · Q.· · Okay.


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·1· · · · A.· · I'm assuming.                             ·1· · · · Q.· · Okay.· So you did steal two guns from a
·2· · · · Q.· · And so -- and each one of these runaway   ·2· store; is that correct?
·3· reports you're saying you returned home on your       ·3· · · · A.· · I didn't --
·4· own?                                                  ·4· · · · MR. TAYLOR:· Hold on.· Hold on.· Objection;
·5· · · · A.· · On my own.                                ·5· form, assumes facts not in evidence.
·6· · · · Q.· · Okay.· And who was taking care of your    ·6· · · · · · · · ·You may answer.
·7· sister when you ran away?                             ·7· · · · THE WITNESS:· I'm saying that my older cousin
·8· · · · A.· · I guess him and maybe my grandmother.     ·8· and I, we took those items from a store.
·9· · · · Q.· · Okay.· Do you see -- Mr. Savory,          ·9· BY MS. SCHROEDER:
10· we're going to go to this page here where it says     10· · · · Q.· · And did what?
11· Previous Problems.· So it's the page previous to      11· · · · A.· · Did nothing.· Because the police came
12· you that you -- we've already looked at.· The one     12· and took them back.
13· where it says Social History at the top.              13· · · · Q.· · Where -- where were you when the police
14· · · · A.· · Social History.· Social History.          14· came to take them back?
15· Summary Evaluation.· Social History.                  15· · · · A.· · Walking -- walking down the street.
16· · · · Q.· · Um-hmm.                                   16· We never got nowhere from the store.· They came and
17· · · · MR. TAYLOR:· You got it?                        17· saw us walking down the street with some BB guns
18· · · · THE WITNESS:· Yes, sir.                         18· and some shirts.
19· BY MS. SCHROEDER:                                     19· · · · Q.· · Had you left the store premises --
20· · · · Q.· · Okay.· So if you see down it says,        20· · · · A.· · Yes.
21· Previous Problems, and it says, "Johnnie has been     21· · · · Q.· · -- at that time?
22· arrested for the following offenses."· And then       22· · · · A.· · Yes.
23· we see a shoplifting, Woolworth's, which I think      23· · · · Q.· · Okay.· And you did not pay for these
24· you had told us about the pen.                        24· items --

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·1· · · · A.· · Right.                                    ·1· · · · A.· · No.
·2· · · · Q.· · And then there's a burglary, but it       ·2· · · · Q.· · -- is that correct?
·3· says "no force."· And then another burglary, and      ·3· · · · A.· · No.
·4· it says, "This offense was subject of a delinquent    ·4· · · · Q.· · Okay.· Did you eventually own -- like
·5· petition signed by the Peoria Police Department."     ·5· purchase a BB gun that you had for yourself?
·6· · · · · · · · ·And then in December of '75, it        ·6· · · · A.· · No.
·7· says, "Investigation, other investigation."· And      ·7· · · · Q.· · Did you ever own a BB gun?
·8· it says, "Johnnie was arrested for carrying seven     ·8· · · · A.· · Yes.
·9· shirts from Sears and two guns from Murray's."        ·9· · · · Q.· · You did.· Did you own it at the time
10· · · · · · · · ·Do you remember that?                  10· that you -- like in January 1977 timeframe?
11· · · · A.· · Yes.                                      11· · · · A.· · No, ma'am.· No, ma'am.
12· · · · Q.· · Can you explain why you were arrested     12· · · · Q.· · When did you have a BB gun?
13· for carrying two guns from Murray's?                  13· · · · A.· · I don't know.· My dad had bought it for
14· · · · A.· · That's just not true, though.             14· me one Christmas or something.
15· · · · Q.· · Okay.· So tell me why it's not true.      15· · · · Q.· · And then what happened to it?
16· · · · A.· · Because I had an older cousin, and he     16· · · · A.· · I don't know.· I don't know what
17· was also arrested with me.· We were both walking      17· happened to it, you know.· I don't know, it broke
18· down the street with BB guns and a shirt -- some      18· or whatever.· I mean, you asking me to remember
19· shirts.                                               19· something that I don't -- I don't remember at this
20· · · · Q.· · So the guns that they're referencing      20· moment.
21· here are BB guns?                                     21· · · · Q.· · Okay.· But you do remember your dad
22· · · · A.· · Of course.                                22· buying you a BB gun --
23· · · · Q.· · Okay.· And did you purchase those guns?   23· · · · A.· · Yes.
24· · · · A.· · No, ma'am.                                24· · · · Q.· · -- you just don't remember --


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·1· · · · A.· · Yes.                                    ·1· when your father would have had to call the police
·2· · · · Q.· · -- if you ever --                       ·2· because you had taken the money?
·3· · · · A.· · I don't know what happened to it.       ·3· · · · A.· · Yes.
·4· · · · Q.· · -- got rid of it?                       ·4· · · · Q.· · Okay.· Mr. Savory, do you ever remember
·5· · · · A.· · Right.                                  ·5· being placed on probation for any of these offenses
·6· · · · Q.· · Okay.· Okay.· And then I'm just going   ·6· that we reviewed?· I'm sorry.· I didn't realize ...
·7· to go down a couple more where it says, Johnnie was ·7· · · · A.· · Yes.
·8· a suspect in the following offenses.· And then if   ·8· · · · Q.· · Okay.· And did you have a specific
·9· we look at 5/13/76, it says, "Aggravated assault.   ·9· probation officer assigned to you?
10· Johnnie was involved in fight with Mark Burks."     10· · · · A.· · No.
11· Does that sound right as to the fight that you're   11· · · · Q.· · Do you know why -- what offense caused
12· remembering about Mark Burks?                       12· you to be placed on probation?
13· · · · A.· · Yes.                                    13· · · · A.· · No.
14· · · · Q.· · Okay.· And is that the only -- do you   14· · · · Q.· · Do you remember the terms of the
15· remember having the police being called on you with 15· probation that you were placed on?
16· regards to the fight you had with Mark Burks?       16· · · · A.· · No.
17· · · · A.· · No.                                     17· · · · Q.· · Okay.· And do you remember the
18· · · · Q.· · Okay.· Do you remember the police ever  18· timeframe of when you were placed on probation?
19· being called on you regarding a fight that might    19· · · · A.· · No, ma'am, not at this time.
20· not have been just you and Mark Burks, but where    20· · · · Q.· · Okay.· Do you re- -- do you recall
21· Mark Burks was involved?                            21· if you were on probation when you were arrested
22· · · · A.· · Not at this moment.                     22· January 25th?
23· · · · Q.· · Okay.· Is that something that possibly  23· · · · A.· · Yes.
24· your memory might -- it might come to you later?    24· · · · Q.· · Okay.· And do you recall that Percy

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·1· · · · MR. TAYLOR:· Objection.                         ·1· Baker was your probation officer?
·2· · · · THE WITNESS:· If I remember --                  ·2· · · · A.· · Yes.
·3· · · · MR. TAYLOR:· Objection to form.                 ·3· · · · Q.· · Do you recall if sometime prior to that
·4· BY MS. SCHROEDER:                                     ·4· that you were actually deemed a ward of the state?
·5· · · · Q.· · I'm sorry?                                ·5· · · · A.· · If it did, I didn't understand it.
·6· · · · A.· · I said if I remember it, yeah, I'll       ·6· · · · Q.· · Okay.· So do you remember somebody
·7· share it with you.                                    ·7· telling you sometime prior to January 25th that you
·8· · · · Q.· · Okay.· And then do you see the March --   ·8· were a ward of the state?
·9· it says, "3/7/76, Battery Simple, Johnnie admitted    ·9· · · · A.· · No, not at this time.· I don't
10· to hitting Michael Wright"?                           10· remember.
11· · · · A.· · I don't remember that.                    11· · · · Q.· · Okay.· You don't remember now at this
12· · · · Q.· · Do you know who Michael Wright is?        12· time?
13· · · · A.· · No.                                       13· · · · A.· · I don't remember, right.
14· · · · Q.· · Okay.· And then if we just drop down to   14· · · · Q.· · Okay.· And do you remember that at the
15· 8/3/75, it says, "Theft, stole $185 from his          15· time of January 25th that you had been granted a
16· father."· Is that in reference to the money --        16· legal guardian in a court hearing?
17· · · · A.· · Yes.                                      17· · · · MR. TAYLOR:· Objection; form.
18· · · · Q.· · -- that you're talking about -- hang on   18· · · · THE WITNESS:· I don't -- I don't remember
19· one second, Mr. Savory.                               19· that.· I don't remember being -- nobody else being
20· · · · · · · · ·Is that in reference to the money      20· my guardian.
21· you're talking about that you would take from your    21· BY MS. SCHROEDER:
22· home and give to your teacher to hold?                22· · · · Q.· · Okay.· And do you remember at the time
23· · · · A.· · Yes.                                      23· of January 25th that there was a court order where
24· · · · Q.· · Okay.· And this would be an example of    24· you would be going to a boys home in February of


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·1· 1977?· Do you recall that?                            ·1· · · · A.· · All I remember is they played the
·2· · · · A.· · I do remember going to a boys home, but   ·2· Beatles.
·3· I don't know -- I don't remember the circumstances    ·3· · · · Q.· · That they what?· Oh, played the
·4· surrounding it.                                       ·4· Beatles?
·5· · · · Q.· · When did you go to the boys home?         ·5· · · · A.· · Yeah.· "It's been a hard day's night."
·6· · · · A.· · I don't remember the date and hour I      ·6· · · · Q.· · Okay.· Mr. Savory, do you know what an
·7· went to the boys home.· I just remember I went.       ·7· alibi is?
·8· · · · Q.· · You just remember -- do you remember      ·8· · · · MR. TAYLOR:· Are you done with this exhibit?
·9· how long you were there for?                          ·9· · · · MS. SCHROEDER:· Oh, I am for now, yes.· Thank
10· · · · A.· · Maybe a couple days.· Maybe.              10· you.
11· · · · Q.· · Do you know why you went?                 11· · · · THE WITNESS:· Yes.
12· · · · A.· · I just said I didn't know.                12· BY MS. SCHROEDER:
13· · · · Q.· · Do you recall an Officer George           13· · · · Q.· · Can you explain to me what you believe
14· Pinkney?                                              14· an alibi is?
15· · · · A.· · Yeah.· He came to the school on the       15· · · · MR. TAYLOR:· Objection; form.
16· 25th.· That's the only time I remember Pinkney.       16· · · · THE WITNESS:· It's an account of things that
17· · · · Q.· · Had you ever met that person before?      17· you have done or say or -- it's your account what
18· · · · A.· · Not to my knowledge.                      18· took place.
19· · · · Q.· · Okay.· Do you recall a police officer     19· BY MS. SCHROEDER:
20· working with the Catholic Social Services to have     20· · · · Q.· · Do you believe an alibi is used in
21· you placed in a -- like a work program for a boys     21· order to show that a person was at one place when
22· home?                                                 22· a crime was committed at another place?
23· · · · A.· · I don't remember none of the              23· · · · MR. TAYLOR:· Objection; form.
24· circumstances surrounding that.· Or --                24· · · · THE WITNESS:· Be a little bit more specific

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·1· · · · Q.· · Do you recall working with the Catholic   ·1· if you can.
·2· Social Services with regards to a program that they   ·2· BY MS. SCHROEDER:
·3· would be able to provide you?                         ·3· · · · Q.· · Do you believe an alibi is evidence
·4· · · · A.· · No, ma'am.· I didn't -- I don't recall    ·4· that you present to a police officer to show that
·5· if it was Catholic, Baptist, or whatever.· All I      ·5· you were not present when a crime was committed?
·6· know I went to that -- whatever that boys home is.    ·6· · · · MR. TAYLOR:· Same objection in terms of his
·7· But I don't remember how it took place.               ·7· belief.
·8· · · · Q.· · Okay.· And do you remember, was a         ·8· · · · THE WITNESS:· Yes.
·9· police officer involved in that with your father?     ·9· BY MS. SCHROEDER:
10· · · · A.· · I don't understand.· What you mean?       10· · · · Q.· · Okay.· And do you know what the word
11· · · · Q.· · So do you remember a time ever of         11· "verifiable" means?
12· your -- of your father and you having to go to        12· · · · A.· · Yes.
13· meetings regarding your placement in a -- in some     13· · · · Q.· · Okay.· Tell me what "verifiable" means
14· sort of program that was going to help you?           14· to you.
15· · · · MR. TAYLOR:· Objection; form.                   15· · · · MR. TAYLOR:· Same objections.
16· · · · THE WITNESS:· I can't recall.                   16· · · · THE WITNESS:· I guess if I say I was at the
17· BY MS. SCHROEDER:                                     17· store and you say I was at the baseball game,
18· · · · Q.· · Okay.· Oh, I have the name here.· Do      18· somebody at the store will remember me or the
19· you recall if the -- what we're discussing where      19· cameras would support it or whatever.
20· you were at was called Victory Hall School for the    20· BY MS. SCHROEDER:
21· Boys?                                                 21· · · · Q.· · So it's something then -- would you
22· · · · A.· · Vaguely.                                  22· agree that it's something that -- information that
23· · · · Q.· · Okay.· Do you recall anything about       23· a person would have to provide in order for an
24· what Victory Hall School for the Boys was?            24· individual like a police officer to be able to


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·1· check and demonstrate something to be true; is that ·1· but I'm -- I'm not -- I don't necessarily know what
·2· right?                                              ·2· all those is.· But all I know is just be truthful
·3· · · · MR. TAYLOR:· Objection.· Excuse me.                  ·3· as you can --
·4· Objection; form, foundation.                               ·4· · · · Q.· · Okay.
·5· · · · THE WITNESS:· As long as it's truthful.              ·5· · · · A.· · -- based on your memory.
·6· BY MS. SCHROEDER:                                          ·6· · · · Q.· · Okay.· And then would it be fair to say
·7· · · · Q.· · Um-hmm.· Okay.· Then would you say that        ·7· that if an alibi isn't true, then it would be not
·8· an alibi has to be true in order for it to be              ·8· be able to be verified --
·9· verified?                                                  ·9· · · · MR. TAYLOR:· Objection.
10· · · · A.· · Completely.                                    10· BY MS. SCHROEDER:
11· · · · Q.· · Okay.· And can you give me some                11· · · · Q.· · -- is that correct?
12· examples of how an alibi can be verified?                  12· · · · MR. TAYLOR:· Objection; form and foundation.
13· · · · MR. TAYLOR:· Objection; form, foundation.            13· That's a double whammy question.· Double -- seems
14· · · · THE WITNESS:· I'm sitting here with Flint,           14· like a double negative.
15· and all of you all see me sitting here with                15· · · · THE WITNESS:· That depends on who's giving --
16· Mr. Taylor.                                                16· doing the investigating or doing the inquiry.
17· BY MS. SCHROEDER:                                          17· BY MS. SCHROEDER:
18· · · · Q.· · And so what would you tell someone in          18· · · · Q.· · So do you think that -- so then let's
19· order to verify that -- if somebody else needed to         19· figure this out.· So if an alibi is not true -- so
20· check out your account that you were here in this          20· the person giving the alibi is giving a false
21· room with these people, what would you tell that           21· alibi.· If that alibi is not true, is it not able
22· other person to do in order to verify that alibi           22· to be verified?
23· that you were here with all these people?                  23· · · · MR. TAYLOR:· Objection; form.
24· · · · MR. TAYLOR:· Objection; form, foundation.            24· · · · THE WITNESS:· I mean, it just -- every

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·1· · · · THE WITNESS:· I would try to remember who            ·1· circumstance is different.· I mean, if you one on
·2· was present, and I would use them as a reference           ·2· one with an officer, the officer or the person he
·3· or witnesses that I'm telling the truth.                   ·3· interviewing, one of them could be lying.· But you
·4· BY MS. SCHROEDER:                                          ·4· have to dig and find out which one it is.· So I
·5· · · · Q.· · Okay.· So give the names of the people         ·5· don't know the exact answer to that because it all
·6· that were here with you?                                   ·6· depends on the two people that's in the situation
·7· · · · A.· · That if you remember or a description          ·7· and what the circumstances are.
·8· or whatever you can do.                                    ·8· BY MS. SCHROEDER:
·9· · · · Q.· · Okay.· And like you said, if there was         ·9· · · · Q.· · So let's say -- we're going to use the
10· video or camera work, you would provide that --            10· same example that you used earlier about a person
11· · · · A.· · Yes, ma'am.                                    11· being in this room.· Right?
12· · · · Q.· · -- or if they go grab that?                    12· · · · A.· · Um-hmm.
13· · · · A.· · Yes, ma'am.                                    13· · · · Q.· · So let's say I am saying that I was
14· · · · Q.· · Okay.· And then is it -- is there              14· sitting in this room with all these -- all of you
15· anything else that you can think of that you               15· individuals --
16· believe a person could do in order to verify an            16· · · · A.· · Right.
17· alibi?                                                     17· · · · Q.· · -- right, at this timeframe.
18· · · · A.· · That's it right now.                           18· · · · A.· · Um-hmm.
19· · · · Q.· · I'm sorry?                                     19· · · · Q.· · And that's what I tell my boss so I
20· · · · A.· · That's it as far as I'm ...                    20· don't get in trouble.
21· · · · Q.· · Okay.· There's nothing else that you           21· · · · A.· · Um-hmm.
22· can think of right now?                                    22· · · · Q.· · But the truth of the matter is I wasn't
23· · · · A.· · I mean, there might be a laundry list          23· in this room.· I was actually down on the riverboat.
24· of things you could phrase in a different manner,          24· How -- what I'm trying to say is since that alibi


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·1· that I told my boss is false, how would you be able     ·1· BY MS. SCHROEDER:
·2· to verify that alibi?                                   ·2· · · · Q.· · -- shows you were not at Scopey's home
·3· · · · MR. TAYLOR:· Objection; form, confusing --        ·3· when he and his sister were murdered?
·4· BY MS. SCHROEDER:                                       ·4· · · · MR. TAYLOR:· Objection; form and foundation.
·5· · · · Q.· · You wouldn't because it's false, correct?   ·5· · · · THE WITNESS:· Yes.
·6· · · · MR. TAYLOR:· -- confusing question.· I don't      ·6· BY MS. SCHROEDER:
·7· see how it can be answered.                             ·7· · · · Q.· · Okay.· Please tell me.
·8· · · · THE WITNESS:· Yes, but some -- one of your        ·8· · · · A.· · On the morning of the 18th --
·9· coworkers could be in here and corroborate what you     ·9· · · · Q.· · I'm sorry?
10· just said.                                              10· · · · A.· · On the morning of the 18th --
11· BY MS. SCHROEDER:                                       11· · · · Q.· · Okay.
12· · · · Q.· · So you could have somebody lie for you?     12· · · · A.· · -- I woke up between 8:00 and 8:30.
13· · · · A.· · Oh, yeah.· They -- they do do it.           13· · · · Q.· · Okay.
14· · · · Q.· · Okay.                                       14· · · · A.· · I went down to the Smalleys' home.
15· · · · A.· · Yeah.                                       15· · · · Q.· · Who was at your house --
16· · · · Q.· · Okay.· So that would be one way to have     16· · · · A.· · George -- George --
17· a false alibi verified, is by having somebody lie       17· · · · Q.· · -- between 8:00 and 8:30?
18· for you; is that correct?                               18· · · · A.· · My dad.
19· · · · A.· · Or you, yes.                                19· · · · Q.· · Okay.· Did your dad see you?
20· · · · Q.· · Okay.· And is there any other examples      20· · · · A.· · Yes.
21· that you can think of where you could have a false      21· · · · Q.· · Did you speak to your dad?
22· alibi verified?                                         22· · · · A.· · Yes.
23· · · · MR. TAYLOR:· Objection; form.                     23· · · · Q.· · What did you say?
24· · · · THE WITNESS:· Not at this moment.                 24· · · · A.· · Good morning.

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·1· BY MS. SCHROEDER:                                   ·1· · · · Q.· · Did your dad feed you?
·2· · · · Q.· · Okay.· So do you believe you have a     ·2· · · · A.· · No.
·3· verifiable alibi for January 18th, 1977?            ·3· · · · Q.· · Who woke you up at 8:00 or 8:30?
·4· · · · MR. TAYLOR:· Objection; form, foundation --   ·4· · · · A.· · Woke myself up.
·5· · · · THE WITNESS:· Yes, ma'am.                     ·5· · · · Q.· · Okay.· Was your sister there?
·6· · · · MR. TAYLOR:· -- calls for a conclusion.       ·6· · · · A.· · She probably was gone already. I
·7· · · · · · · · ·Johnnie, let me finish my objection. ·7· didn't see her.
·8· · · · THE WITNESS:· Oh, my bad.· I apologize.       ·8· · · · Q.· · Okay.· Was your grandma there?
·9· · · · MR. TAYLOR:· Okay, man.                       ·9· · · · A.· · No.
10· · · · · · · · ·Go ahead on.· Did you finish your    10· · · · Q.· · Anybody else in the house?
11· answer?                                             11· · · · A.· · No.
12· · · · THE WITNESS:· Yeah, I'm finished.             12· · · · Q.· · Okay.· 8:30 you're awake.· What happens
13· BY MS. SCHROEDER:                                   13· next?
14· · · · Q.· · Can you just repeat it since it was --  14· · · · A.· · I walk down the alley to the Smalleys'
15· to make sure we get it on the record and the video? 15· home.
16· · · · A.· · Go ahead and say it again.              16· · · · Q.· · Yeah.· How long did it take you to get
17· · · · Q.· · I said do you believe you have a        17· there?
18· verifiable alibi for January 18th, 1977?            18· · · · A.· · Three to five minutes.
19· · · · A.· · Yes.                                    19· · · · Q.· · So what time did you arrive?
20· · · · Q.· · Okay.· What is that alibi?· Do you know 20· · · · A.· · I don't know the exact time.· But maybe
21· it?· I mean, can you sit here and recite to me what 21· 8:40 or whatever, something -- something after
22· your alibi is for the day of January 18th, 1977     22· getting up.
23· that --                                             23· · · · Q.· · 8:40?
24· · · · MR. TAYLOR:· Objection.                       24· · · · A.· · Somewhere in that neighborhood.


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·1· · · · Q.· · Give or take five minutes?                ·1· BY MS. SCHROEDER:
·2· · · · A.· · Give or take five minutes.                ·2· · · · Q.· · Okay.· So you said ever since they
·3· · · · Q.· · Okay.· And what did you do when you       ·3· accused --
·4· arrived?                                              ·4· · · · MR. TAYLOR:· Hold on.· Slow down.
·5· · · · A.· · Entered the home.                         ·5· BY MS. SCHROEDER:
·6· · · · Q.· · Did you just walk in?                     ·6· · · · Q.· · -- you of the crime --
·7· · · · A.· · They opened the door.                     ·7· · · · MR. TAYLOR:· Slow down.· I'd like to get my
·8· · · · · · · · ·No.· Knocked on door.· They opened     ·8· objection in.· Objection; form and foundation.· And
·9· the door.                                             ·9· he hadn't got one answer out until you're asking
10· · · · Q.· · Who answered?                             10· the next.
11· · · · A.· · Probably one of the kids.· I don't know   11· · · · MS. SCHROEDER:· Okay.
12· exactly who opened the door.                          12· · · · MR. TAYLOR:· Please let him answer, and
13· · · · Q.· · What kids were there?                     13· please let us object.· Thank you.
14· · · · A.· · Oh, God.· Plenty.· By name, I cannot      14· BY MS. SCHROEDER:
15· name actually all of them.· But like maybe like --    15· · · · Q.· · Okay.· So you said you've been thinking
16· oh, they were the younger kids.· God, I can't         16· about this day and your activities since the day
17· remember all their little names.· I can't remember    17· you were accused.· Did I -- did I hear that
18· all their names at this moment -- at this point.      18· correctly?
19· They had a lot of children.                           19· · · · A.· · Yes.
20· · · · Q.· · Oh.· Did you speak to any of these        20· · · · Q.· · Okay.· And that was since 1977; is that
21· children when you were at the house?                  21· correct?
22· · · · A.· · Yes.                                      22· · · · A.· · Yes.
23· · · · Q.· · And what were their names?                23· · · · Q.· · Okay.· And you have -- I asked you if
24· · · · A.· · I don't know their names, not at this     24· you thought about this every day.

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·1· moment.                                               ·1· · · · A.· · No.
·2· · · · Q.· · Were they female or male?                 ·2· · · · Q.· · Okay.· Every week?
·3· · · · A.· · They were both.                           ·3· · · · A.· · I can't put no timeframe on it.
·4· · · · Q.· · How many were there?                      ·4· · · · Q.· · Okay.· But consistently over the years?
·5· · · · A.· · I do not know exactly.                    ·5· · · · A.· · No.
·6· · · · Q.· · Was it a female or a male that answered   ·6· · · · Q.· · No?· Oh, so no, it's -- so no, you have
·7· the door?                                             ·7· not thought about it consistently since you were
·8· · · · A.· · I don't remember exactly who opened the   ·8· accused?
·9· door.                                                 ·9· · · · A.· · Every day, no.
10· · · · Q.· · Do you remember if it was a child?        10· · · · Q.· · Okay.· So has your memory faded over
11· · · · A.· · I just don't remember at this moment.     11· the years?
12· · · · Q.· · Do you --                                 12· · · · A.· · Somewhat.
13· · · · A.· · But if I recall, I'll make sure I let     13· · · · Q.· · Okay.· So now part of the memory fade
14· you know.                                             14· is you can't remember who opened the door at the
15· · · · Q.· · But don't remember right now?             15· Smalleys'; is that correct?
16· · · · A.· · That's what I'm trying to tell you.       16· · · · A.· · Yes, ma'am.
17· · · · Q.· · How long have you been thinking about     17· · · · Q.· · Okay.· So somebody opens the door, and
18· this activities that you did on January 18th, 1977?   18· you -- you're there.
19· · · · A.· · Ever since they accused me of the         19· · · · · · · · ·How can you be positive about the
20· crime.                                                20· time you arrived at the Smalleys'?
21· · · · Q.· · Okay.· So every day; is that right?       21· · · · MR. TAYLOR:· Objection.· He never said he was
22· · · · A.· · No.                                       22· positive.· Objection; form.
23· · · · MR. TAYLOR:· Objection.                         23· BY MS. SCHROEDER:
24                                                        24· · · · Q.· · Okay.· No, you answer.


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·1· · · · A.· · I already answered it.                             ·1· · · · MR. TAYLOR:· No.
·2· · · · Q.· · What -- I've asked you --                          ·2· · · · MS. SCHROEDER:· Okay.
·3· · · · A.· · I answered.· I told you I didn't know              ·3· · · · MR. TAYLOR:· But on the other hand, you used
·4· exactly what time.                                             ·4· the present tense.· So that's why I'm objecting.
·5· · · · Q.· · Okay.· Do you believe that you were                ·5· It's confusing.
·6· there at 8:40 in the morning?                                  ·6· BY MS. SCHROEDER:
·7· · · · A.· · And I answered that too.· You said                 ·7· · · · Q.· · Did you understand my question, or do
·8· about five -- three to five minutes walking down               ·8· you need me to repeat it in a different way?
·9· there.· Yes.                                                   ·9· · · · A.· · You can repeat it a different way.
10· · · · Q.· · Okay.· So do you believe that you were             10· · · · Q.· · Okay.· So when you woke up in the
11· there between 8:35 and 8:45 in the morning on the              11· morning on January 18th, 1977, from the time you
12· 18th?                                                          12· woke up until you left the house to go to the
13· · · · A.· · I mean --                                          13· Smalleys', how much time passed?
14· · · · MR. TAYLOR:· Objection.· Objection to the                14· · · · A.· · I don't know exactly, but it wasn't
15· form of the question.                                          15· much.
16· · · · THE WITNESS:· I can't be specific with you               16· · · · Q.· · Would it have been 30 minutes?
17· because I do not actually remember the actual time.            17· · · · A.· · No.
18· I knew it wasn't that long to walk down from my                18· · · · Q.· · Would it have been 15 minutes?
19· house to their house down the alley.                           19· · · · A.· · I don't think so.
20· BY MS. SCHROEDER:                                              20· · · · Q.· · Would it have been ten minutes?
21· · · · Q.· · Okay.· Do you remember that it was the             21· · · · A.· · Maybe so.
22· morning?                                                       22· · · · Q.· · Okay.· So ten minutes after you woke
23· · · · A.· · Yes.                                               23· up, you got up and you walked out to go to the
24· · · · Q.· · Okay.· But not -- but you don't                    24· Smalleys'; is that correct?

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·1· remember the time?                                             ·1· · · · A.· · No.· Actually I washed my face and
·2· · · · A.· · Not exact --                                       ·2· stuff before I left out.· Brushed my teeth.· That
·3· · · · MR. TAYLOR:· Objection; mischaracterizes his             ·3· didn't take long, though.
·4· testimony.                                                     ·4· · · · Q.· · Okay.· Did that take place in that ten
·5· · · · THE WITNESS:· I don't know -- remember the               ·5· minutes before you left after you woke up?
·6· exact time.· I know it was shortly after I got up              ·6· · · · A.· · I'm sure it did.
·7· that morning.                                                  ·7· · · · Q.· · Okay.· So -- and what you're saying here
·8· BY MS. SCHROEDER:                                              ·8· is you could have woken up as early as 8:00 a.m. or
·9· · · · Q.· · Okay.· And so the time that you woke up            ·9· as late as 8:30; is that correct?
10· is the time that you are sure of?                              10· · · · A.· · Yes.
11· · · · MR. TAYLOR:· I'm sorry.· I didn't hear that              11· · · · Q.· · Okay.· And so now, depending on that,
12· question.                                                      12· we're getting to the Smalleys' house, and the
13· BY MS. SCHROEDER:                                              13· Smalleys' was just a three- to five-minute walk;
14· · · · Q.· · I said is the time that you woke up the            14· is that correct?
15· time that you are sure of?                                     15· · · · A.· · Yes.
16· · · · A.· · Between 8:00 and 8:30, yes.                        16· · · · Q.· · Okay.· So you go inside the Smalleys'
17· · · · Q.· · Okay.· When you wake up in the morning,            17· house.· Is there a reason you went to the Smalleys'
18· how much time expanded between before you left the 18· this Tuesday morning on the 18th?
19· house to go to the Smalleys'?                                  19· · · · A.· · Not really.· I just enjoy being there.
20· · · · MR. TAYLOR:· Hold on.· You said "when you                20· It was just one of the places that I enjoyed going.
21· wake up."· You mean now today when he wakes up                 21· And plus she usually cooking early in the morning
22· or -- objection; form.                                         22· breakfast.
23· · · · MS. SCHROEDER:· Is he going to the Smalleys'             23· · · · Q.· · Okay.· So you walk in.· And you --
24· today?                                                         24· and tell me everyone you remember seeing when you


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·1· walked in.                                                  ·1· them that morning right now.· You know, I'm not
·2· · · · A.· · I can't.· All I can tell you is                 ·2· saying later on -- I can't -- I'm not saying that
·3· Ms. Smalley asked me did I have breakfast, and              ·3· they wasn't there.· But I'm just saying I don't
·4· I said no.· And she invited me to table to eat              ·4· remember them being there at that -- at this moment
·5· breakfast.                                                  ·5· and juncture of this conversation.
·6· · · · Q.· · Okay.· Did you talk to anybody when you         ·6· BY MS. SCHROEDER:
·7· were in the house?                                          ·7· · · · Q.· · Do you not believe that your alibi for
·8· · · · MR. TAYLOR:· Other than how he's -- what he's         ·8· the morning of the day that James Robinson and
·9· already said?                                               ·9· Connie Cooper would be extremely important for you
10· · · · MS. SCHROEDER:· Yes.                                  10· to remember today?
11· · · · MR. TAYLOR:· Objection; form.                         11· · · · MR. TAYLOR:· Excuse me.· Objection; form,
12· · · · THE WITNESS:· Her husband.                            12· foundation.· Double negative question.
13· BY MS. SCHROEDER:                                           13· · · · THE WITNESS:· It was unimportant because I
14· · · · Q.· · Okay.· Was he there when you arrived?           14· don't keep track of where I go and mostly what I
15· · · · A.· · Yes.                                            15· see.· I mean, it just happened, the day happened.
16· · · · Q.· · Okay.· And so we know Mrs. Smalley was          16· I didn't get up looking for no alibi.· I didn't get
17· there when you arrived.· We know Mr. Smalley was            17· up looking for -- to have to prove where I was at.
18· there when you arrived.                                     18· I got up to go down to some friends' house, and
19· · · · · · · · ·And is there anybody else with               19· that's it.
20· certainty that you can remember was there when you 20· BY MS. SCHROEDER:
21· arrived?                                                    21· · · · Q.· · So what do you mean by you don't keep
22· · · · A.· · Not at this time.                               22· track of what -- of where you're -- what you're
23· · · · Q.· · Okay.· And what did you say to                  23· doing?
24· Mr. Smalley?                                                24· · · · MR. TAYLOR:· Objection; form.


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·1· · · · A.· · Good morning.                                   ·1· · · · THE WITNESS:· I was a 14-year-old kid.· And
·2· · · · Q.· · Did you eat breakfast with him?                 ·2· I don't know no 14-year-old kid keep track of what
·3· · · · A.· · No.· I think they might have had                ·3· he or she is doing in the course of a day.
·4· breakfast.· I ate breakfast by myself.                      ·4· BY MS. SCHROEDER:
·5· · · · Q.· · Okay.· At the kitchen table?                    ·5· · · · Q.· · Okay.· So you eat breakfast with the
·6· · · · A.· · Yes.                                            ·6· Smalleys.
·7· · · · Q.· · Okay.· And can you remember where all           ·7· · · · A.· · Yes, ma'am.
·8· the other kids were at this time?                           ·8· · · · Q.· · Okay.· And then what happens after that?
·9· · · · A.· · No.                                             ·9· · · · A.· · Mr. Smalley asked me would I take a
10· · · · Q.· · Okay.· Did anyone go to school?                 10· ride with him.· He wanted to go look at some
11· · · · A.· · I believe most of them are either gone          11· vehicle or something.· And we left together.· And
12· or getting ready to go.                                     12· he went and -- some guy's something.· I guess maybe
13· · · · Q.· · Okay.· Do you remember the names of any         13· the car wasn't right or whatever.· Then we came
14· of Mr. and Mrs. Smalley's children?                         14· back to the house.
15· · · · A.· · Yes.· I mean, there was Annette,                15· · · · Q.· · Okay.· Do you remember what time you
16· Darlene, Selma, Maymane.· That's about it.· I can't         16· left the house to go with Mr. Smalley?
17· remember the rest of them.                                  17· · · · A.· · It could have been a little after 9:00.
18· · · · Q.· · Okay.· Did you remember seeing Annette          18· I'm not sure.· Something like that.
19· at the house that morning?                                  19· · · · Q.· · Do you remember -- did you have enough
20· · · · A.· · I can't recall at this time.                    20· time to eat your breakfast --
21· · · · Q.· · Do you remember seeing Darlene at the           21· · · · A.· · Yes, I --
22· house this morning?                                         22· · · · Q.· · -- before you left?
23· · · · MR. TAYLOR:· Objection to form.                       23· · · · A.· · Yes, I did.
24· · · · THE WITNESS:· I just can't remember seeing            24· · · · Q.· · Okay.· And then do you remember if


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·1· there was a lot of time that you were sitting at        ·1· hour.· It might have been 45 minutes or whatever.
·2· the house after you were done with breakfast before     ·2· BY MS. SCHROEDER:
·3· you left?                                               ·3· · · · Q.· · But the one thing that you can
·4· · · · MR. TAYLOR:· Objection to form.                   ·4· remember is that you were back at the Smalleys'
·5· · · · THE WITNESS:· Not in my recollection.· It         ·5· at 10:00 a.m.?
·6· wasn't that long.                                       ·6· · · · A.· · 10:00-something.· Not exactly 10:00.
·7· BY MS. SCHROEDER:                                       ·7· Maybe 10:00, 10:05, 10:10.· It wasn't long, though.
·8· · · · Q.· · Okay.· And do you remember how long it      ·8· I know it wasn't long.
·9· took you to eat breakfast when you arrived?             ·9· · · · Q.· · Okay.· Were you back before 10:30?
10· · · · A.· · No, I do not.                               10· · · · A.· · Yes.
11· · · · Q.· · Okay.· Is it your best recollection         11· · · · Q.· · Okay.· And what did you do after you
12· right now that -- I think you said maybe a little       12· returned?
13· after 9:00.· Is that what you said?                     13· · · · A.· · I came back.· I went to the --
14· · · · A.· · Yes, ma'am.                                 14· Mrs. Williams' house.
15· · · · Q.· · Okay.· Did anyone else go with you?         15· · · · Q.· · Okay.· And where does Mrs. Williams
16· · · · A.· · I said Mr. Smalley.                         16· live?
17· · · · Q.· · Yeah.· That was poorly phrased.             17· · · · A.· · About two or three blocks around from
18· · · · · · · · ·Did anyone besides Mr. Smalley go        18· the Smalleys' home.
19· with you --                                             19· · · · Q.· · Okay.· So how long did it take you to
20· · · · A.· · No.                                         20· walk to Mrs. Williams'?
21· · · · Q.· · -- in the car with the two of you?          21· · · · A.· · Maybe five to seven minutes, something
22· · · · A.· · No.                                         22· like that.
23· · · · Q.· · Okay.· And do you remember who was left     23· · · · Q.· · Is this --
24· at the house when you and Mr. Smalley left?             24· · · · A.· · Maybe.· Maybe.

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·1· · · · A.· · No, ma'am.                              ·1· · · · Q.· · Okay.· And is Mrs. Williams -- is her
·2· · · · Q.· · Okay.· Did you say -- do you remember   ·2· first name Lillie?
·3· saying goodbye to anyone when you and Mr. Smalley ·3· · · · A.· · Yes.
·4· left?                                               ·4· · · · Q.· · And is she the woman that testified at
·5· · · · A.· · No, ma'am.                              ·5· one of your criminal trials?
·6· · · · Q.· · Okay.· Do you remember Mr. Smalley      ·6· · · · A.· · I believe she did.
·7· saying anything to you about this -- this errand    ·7· · · · Q.· · Okay.· So about five or seven minutes
·8· he wanted you to do with him?                       ·8· after you return with Mr. Smalley, you are now at
·9· · · · A.· · He just asked me to go and ride with    ·9· Mrs. Williams' house; is that correct?
10· him.· That's it.                                    10· · · · A.· · Yes, ma'am.
11· · · · Q.· · Okay.· And is that something that       11· · · · Q.· · Okay.· And why did you go to
12· you've done before with Mr. Smalley?                12· Ms. Williams' house?
13· · · · A.· · Yes.· I'd rode with him before.         13· · · · A.· · She had two -- she had a foster care,
14· · · · Q.· · Okay.· How long were you driving around 14· and she had two young children.· I used to babysit.
15· with Mr. Smalley before you returned?               15· · · · Q.· · Were you going there to babysit?
16· · · · A.· · It wasn't long.· Maybe an hour.         16· · · · A.· · No.· I was just going there to see them
17· · · · Q.· · At most -- like at most an hour?        17· because they had been taken from their -- their
18· · · · A.· · I think so.                             18· parents.
19· · · · Q.· · Could it have been less than an hour?   19· · · · Q.· · The foster children?
20· · · · MR. TAYLOR:· Objection; form.                 20· · · · A.· · Yes.
21· · · · THE WITNESS:· I'm not sure.· I know we made   21· · · · Q.· · Do you remember the -- how old the two
22· it back around 10:00.                               22· foster children were?
23· · · · MS. SCHROEDER:· At 10:00.· Okay.              23· · · · A.· · Maybe like five, six, or seven, eight;
24· · · · THE WITNESS:· So it might not even been an    24· somewhere between five and eight years old.


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·1· · · · Q.· · And what did you do when you arrived at   ·1· that you would rely on for any sort of help if you
·2· Ms. Williams' house?                                  ·2· needed it?
·3· · · · A.· · Knocked on the door, went in, and told    ·3· · · · A.· · No.
·4· her I was here to see Eric Taylor.· And I can't       ·4· · · · Q.· · Okay.· Is there any reason why you
·5· remember the other -- the young child's name.         ·5· would seek out Roy Taylor for anything?
·6· · · · Q.· · Okay.· So tell me -- you said you were    ·6· · · · A.· · No.
·7· there to see Eric Taylor?                             ·7· · · · Q.· · Okay.· So now you're at Ms. Williams',
·8· · · · A.· · Taylor, yes.                              ·8· and you're with the foster child.· Is the other
·9· · · · Q.· · And Eric Taylor was one of the foster     ·9· child there too?
10· children?                                             10· · · · A.· · Yes.
11· · · · A.· · Yes.                                      11· · · · Q.· · Okay.· So you're with two children?
12· · · · Q.· · And then what did you want to see Eric    12· · · · A.· · Yes.
13· Taylor for?                                           13· · · · Q.· · And what do you do there?
14· · · · A.· · I used to babysit him.                    14· · · · A.· · I played with them.
15· · · · Q.· · And so were you just going to check --    15· · · · Q.· · Okay.· And what did you do when you say
16· · · · A.· · Check on him, yes.                        16· "played with them"?
17· · · · Q.· · When did you babysit him?                 17· · · · A.· · Played with them.
18· · · · A.· · I don't remember.· It's -- I don't        18· · · · Q.· · Like what were you playing?
19· remember the year.· But I know it was maybe like      19· · · · A.· · Toys, just -- I mean, I don't remember
20· '75, '76 like.                                        20· the exact -- I don't remember exact how we played,
21· · · · Q.· · Was he -- was this child with             21· whether with toys or laughing and joking or
22· Ms. Williams when you babysat?                        22· whatever, tickling them or whatever.
23· · · · A.· · No.                                       23· · · · Q.· · Okay.· And did you -- was there anyone
24· · · · Q.· · Okay.                                     24· else there besides Ms. Williams and these two

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·1· · · · A.· · No.                                       ·1· children?
·2· · · · Q.· · Who was he with?                          ·2· · · · A.· · A bunch of other children.
·3· · · · A.· · Their parents.                            ·3· · · · Q.· · How many?
·4· · · · Q.· · So you knew the child's parents?          ·4· · · · A.· · I don't remember.
·5· · · · A.· · Yes.                                      ·5· · · · Q.· · And were these other children younger,
·6· · · · Q.· · Okay.· And who were the child's           ·6· or were they all older?
·7· parents?                                              ·7· · · · A.· · I assume -- I assume they was all
·8· · · · A.· · The dad name is Taylor, but I don't       ·8· around the same age.
·9· remember -- Roy Taylor.· I don't remember what        ·9· · · · Q.· · And were these all foster children of
10· the mother's name is.                                 10· Ms. Williams?
11· · · · Q.· · Were you friends with Roy Taylor?         11· · · · A.· · To my -- to my knowledge.
12· · · · A.· · I was friends with the children.· He      12· · · · Q.· · Okay.· And did you have any
13· was just somebody that my dad knew.                   13· conversations with Ms. Williams?
14· · · · Q.· · So Roy Taylor was friends with your       14· · · · A.· · I mean, she was a nice lady.· I mean,
15· dad?                                                  15· I -- I don't remember.· I mean, I was cordial.· She
16· · · · A.· · Friends or acquaintance or whatever you   16· was always cordial to me.
17· call it.                                              17· · · · Q.· · Um-hmm.· And is this another example of
18· · · · Q.· · Did you have any other interactions       18· you -- of this babysitting or, you know, something
19· with Roy Taylor that you remember other than the      19· that you would do to help out people that needed
20· babysitting and the fact that he was a friend of      20· your help, or was this a job that -- where you were
21· your father's or acquaintance?                        21· earning money?
22· · · · A.· · I can't recall at this moment.· But if    22· · · · A.· · No, it's --
23· I think of something, I'll tell you.                  23· · · · MR. TAYLOR:· Objection; form.
24· · · · Q.· · Is this person, Roy Taylor, somebody      24· · · · THE WITNESS:· No.· I was just checking on


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·1· them because I missed seeing them and interacting      ·1· · · · Q.· · Okay.· Did you have a reason to believe
·2· with them.                                             ·2· that he wouldn't be at school that day?
·3· BY MS. SCHROEDER:                                      ·3· · · · A.· · No.· I just took a chance.
·4· · · · Q.· · Okay.· Okay.· So how long were you with    ·4· · · · Q.· · Okay.· Did you stay at the Ivys' house?
·5· Ms. Williams' house -- or at Ms. Williams' house?      ·5· · · · A.· · No.
·6· · · · A.· · Maybe 45 minutes to an hour, something     ·6· · · · Q.· · Okay.· How long were you at the Ivys'
·7· like that.                                             ·7· house before you left?
·8· · · · Q.· · Okay.· And where did you go after          ·8· · · · A.· · Not long.
·9· Ms. Williams' house?                                   ·9· · · · Q.· · 15 minutes?
10· · · · A.· · Walked around the corner to the Ivys'      10· · · · A.· · Five minutes.
11· home.                                                  11· · · · Q.· · Five minutes.· Did you talk --
12· · · · Q.· · Okay.· And so do you know what time you    12· · · · A.· · Maybe seven.
13· arrived at the Ivys' home?                             13· · · · Q.· · Five to seven minutes.
14· · · · A.· · It was about -- it was about after         14· · · · · · · · ·Did you talk with Tina?
15· 11:00, almost 12:00.                                   15· · · · A.· · Yes.
16· · · · Q.· · And did you go into the home, the Ivy      16· · · · Q.· · And what did you say?
17· home?                                                  17· · · · A.· · I told her I was getting ready to go
18· · · · A.· · Yes.                                       18· get ready for school.
19· · · · Q.· · Okay.· And did you walk in, or did you     19· · · · Q.· · Anything else that you discussed?
20· have to knock on the door and --                       20· · · · A.· · She asked me where I went to school,
21· · · · A.· · Knocked on the door.                       21· and I told her Late Afternoon High.· And she say,
22· · · · Q.· · -- be let in?                              22· I'm starting down there today, but I don't know how
23· · · · · · · · ·And who let you in?                     23· to get there.
24· · · · A.· · Tina.· To my -- best of my recollection.   24· · · · · · · · ·So I told her that I had two passes

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·1· · · · Q.· · Was there anyone else at the Ivy home      ·1· and if she meet me in front of my house on the
·2· when you entered?                                      ·2· corner, we can catch the bus and I'd show her how
·3· · · · A.· · I remember her parents being there.        ·3· to get there between 2:00 and 2:30.
·4· · · · Q.· · What do you remember about the parents     ·4· · · · Q.· · Okay.· So any other discussions --
·5· being there?                                           ·5· · · · A.· · No, ma'am.
·6· · · · A.· · That they were there.                      ·6· · · · Q.· · -- with Tina?
·7· · · · Q.· · Do you remember seeing them?               ·7· · · · A.· · No, ma'am.
·8· · · · A.· · Yes.                                       ·8· · · · Q.· · Okay.· And then you -- did you leave
·9· · · · Q.· · Okay.· Where were they?                    ·9· after this conversation with Tina?
10· · · · A.· · I don't remember.                          10· · · · A.· · Yes, ma'am.
11· · · · Q.· · Okay.· Did you talk to them?               11· · · · Q.· · And where did you go?
12· · · · A.· · I spoke to them.                           12· · · · A.· · Home.
13· · · · Q.· · What did you say?                          13· · · · Q.· · Okay.· And how long did it take you to
14· · · · A.· · Hello.                                     14· get home?
15· · · · Q.· · Did you say anything else?                 15· · · · A.· · Two, three minutes or less.
16· · · · A.· · Not to my knowledge.                       16· · · · Q.· · And what did you do when you got home?
17· · · · Q.· · Did they say anything to you?              17· · · · A.· · Just went in and sit down, looked at a
18· · · · A.· · No.· Also I asked where were Frankie,      18· little television, started getting my stuff ready
19· but he was in school.                                  19· for school.
20· · · · Q.· · And why did you go over to the Ivys'       20· · · · Q.· · What did you watch on the television?
21· house?                                                 21· · · · A.· · I have no idea.
22· · · · A.· · To see Frankie.                            22· · · · Q.· · Do you remember what time this was when
23· · · · Q.· · Did you have plans to see him that day?    23· you got home?
24· · · · A.· · No.                                        24· · · · A.· · I mean, it was -- I don't remember


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·1· exact time.· But I know I only stayed at their              ·1· · · · Q.· · Okay.· And did you catch the bus?
·2· house for five minutes, and it took me two or three         ·2· · · · A.· · Yes.
·3· minutes to walk up to my home or less.· So I ain't          ·3· · · · Q.· · Okay.· And did you stay at the bus stop
·4· keep track of no time, what the exact time is.              ·4· with her the whole time?
·5· · · · Q.· · Okay.· How long were you at your house?         ·5· · · · A.· · Yes.
·6· · · · A.· · Until 2:00 o'clock.                             ·6· · · · Q.· · Did you ever leave to go back to your
·7· · · · Q.· · Was anyone --                                   ·7· house while she was waiting for the bus?
·8· · · · A.· · 2:30.                                           ·8· · · · A.· · Not that I recall.
·9· · · · Q.· · I'm sorry?                                      ·9· · · · Q.· · So that's something that you don't
10· · · · A.· · 2:00 o'clock, you know.                         10· remember if you did or did not?
11· · · · Q.· · Was anyone at the house with you when           11· · · · A.· · Not that I can recall at this moment.
12· you -- wait.· Was anyone at the house with you when 12· · · · Q.· · And is -- I'm just clarifying.· When
13· you arrived after leaving the Ivys' house?                  13· you say, "I can't recall at this moment," does that
14· · · · A.· · No, ma'am.                                      14· mean you can't remember whether you did or did not
15· · · · Q.· · Did anyone come home during the time            15· leave the bus stop while waiting for the bus?
16· that you were there from leaving the Ivys' house            16· · · · A.· · I cannot recall at this moment.· But if
17· until you left again at 2:00 o'clock?                       17· I do recall it, I'll let you know.
18· · · · A.· · No, ma'am.                                      18· · · · Q.· · Okay.· You get on the bus?
19· · · · Q.· · Do you -- did you have a telephone at           19· · · · A.· · Yes, ma'am.
20· this time in your house?                                    20· · · · Q.· · And do you know what time you got on
21· · · · A.· · No, ma'am.                                      21· the bus?
22· · · · Q.· · Okay.· Do you know where your father            22· · · · A.· · It was in between that time.· I don't
23· was?                                                        23· know exactly what time the bus came.
24· · · · A.· · No, ma'am.                                      24· · · · Q.· · You and Tina got on the bus?


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·1· · · · Q.· · Okay.· Did you do anything else at your         ·1· · · · A.· · Yes.
·2· house during this timeframe that you did not tell           ·2· · · · Q.· · Okay.· And then where did you go after
·3· us?                                                         ·3· that?
·4· · · · A.· · No, ma'am.                                      ·4· · · · A.· · The bus took us downtown.
·5· · · · Q.· · Okay.· You left your house at 2:00              ·5· · · · Q.· · Okay.· And?
·6· o'clock?                                                    ·6· · · · A.· · When we got near the school, I pointed
·7· · · · A.· · About that.· Maybe a little after, not          ·7· to her to go walk down that way, she'll find the
·8· too much.                                                   ·8· school.· And I continued on the bus.· I continued
·9· · · · Q.· · Okay.· And then where did you go after          ·9· on on the bus.
10· that?                                                       10· · · · Q.· · And how further down on the bus route
11· · · · A.· · Walked to the corner to wait for Tina           11· did you go?
12· to come so we can get on the bus.                           12· · · · A.· · To the courthouse.
13· · · · Q.· · Tina met you at the corner?                     13· · · · Q.· · And did you get out at the courthouse?
14· · · · A.· · Yes.                                            14· · · · A.· · Yes.
15· · · · Q.· · Okay.· And how did she know what time           15· · · · Q.· · And why did you get out at the
16· to meet you at the bus?                                     16· courthouse?
17· · · · A.· · I shared that with her when we left --          17· · · · A.· · To see my probation officer.
18· before I left her house.                                    18· · · · Q.· · Why were you going to see your
19· · · · Q.· · And what time did you tell her to meet          19· probation officer?
20· you?                                                        20· · · · A.· · Because I was supposed to go down
21· · · · A.· · Between 2:00 and 2:30, because I didn't         21· there, I guess, and see him.· I probably didn't see
22· know when exactly when the bus was coming.                  22· him in a time, but I wasn't --
23· · · · Q.· · And did Tina meet you?                          23· · · · Q.· · I can't -- I'm sorry.· I couldn't hear
24· · · · A.· · Yes.                                            24· you.


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·1· · · · A.· · I said I went down there to see him        ·1· · · · Q.· · Before 3:30?
·2· because I think either he called and asked me to       ·2· · · · A.· · Something.· I'm just guessing.
·3· come or something.· Something, you know.· I knew I     ·3· · · · Q.· · You're guessing?
·4· had to go see him.· I didn't see him -- hadn't seen    ·4· · · · A.· · Yes.
·5· him in a while I don't think.                          ·5· · · · Q.· · Okay.· And then did you stay in your
·6· · · · Q.· · Were you supposed to see him regularly?    ·6· classroom for how long?
·7· · · · A.· · Not really.· I mean, I would go every      ·7· · · · A.· · I don't actually remember how long it
·8· other day or something like that.· It wasn't no        ·8· was.· I can't remember how long I stayed in there.
·9· real set time.· But I guess he wanted to see me to     ·9· I just don't remember the exact time how long I
10· know how I was doing, something like that.             10· stayed in there.
11· · · · Q.· · How did you know he wanted to see you?     11· · · · Q.· · Um-hmm.· When did you learn Scopey was
12· · · · A.· · I don't recall it at this -- but I         12· killed?
13· remember something.· I don't know -- I don't           13· · · · A.· · 9:00-something at night.
14· remember at this moment.                               14· · · · Q.· · How?
15· · · · Q.· · Do you -- so do you -- get off the bus.    15· · · · A.· · The news.
16· Did you go directly to your probation officer?         16· · · · Q.· · And where were you watching the news?
17· · · · A.· · Yes, ma'am.                                17· · · · A.· · At the Ivys'.
18· · · · Q.· · Okay.· And who was that?                   18· · · · Q.· · And who was there with you?
19· · · · A.· · I saw Percy Baker and Sherman Jones.       19· · · · A.· · The entire family.
20· · · · Q.· · Okay.· Do you remember what time you       20· · · · Q.· · Can you name them?
21· arrived at his office?                                 21· · · · A.· · Not all of them.· The mother, the
22· · · · A.· · Before 3:30.                               22· father, Frankie, James.· I'm not sure about Tina
23· · · · Q.· · Okay.· And then how long were you there?   23· and Ella, but, I mean -- or Lula.· But Ruby.· And
24· · · · A.· · Not long.                                  24· that's all I can remember at this moment.

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·1· · · · Q.· · 15 minutes?                                ·1· · · · Q.· · What did you learn?
·2· · · · A.· · Maybe five.                                ·2· · · · A.· · I learned that they had been murdered.
·3· · · · Q.· · Okay.· And what did you discuss when       ·3· · · · Q.· · Anything else?
·4· you arrived?                                           ·4· · · · A.· · Yeah, I sit there in disbelief.
·5· · · · A.· · Just told him -- he asked me how I was     ·5· · · · Q.· · Do you remember the news channel?
·6· doing.· I told him okay.                               ·6· · · · A.· · No.
·7· · · · Q.· · And then where did you go from there?      ·7· · · · Q.· · Do you remember the newscaster?
·8· · · · A.· · I left with Sherman Jones and walked       ·8· · · · A.· · No.
·9· to Cilco because he had to pay a light bill or         ·9· · · · Q.· · Do you remember what they said?
10· something.                                             10· · · · A.· · Not -- not word for word.
11· · · · Q.· · And then from there?                       11· · · · Q.· · Do you remember what you saw on the TV
12· · · · A.· · Went to school.                            12· screen?
13· · · · Q.· · And who did you see at the school?         13· · · · A.· · No.· I can't -- I can't remember what I
14· · · · A.· · My classroom.                              14· saw on there.
15· · · · Q.· · Okay.                                      15· · · · Q.· · Where were you sitting?
16· · · · A.· · And classmates.                            16· · · · A.· · In the living room.
17· · · · Q.· · Is that where you went first?· You went    17· · · · Q.· · With who?
18· straight to your classroom?                            18· · · · A.· · With the family.
19· · · · A.· · Yes.                                       19· · · · Q.· · Where?
20· · · · Q.· · Okay.· And then what time did you          20· · · · A.· · Don't remember.
21· arrive at your classroom?                              21· · · · Q.· · What did you do after you learned that
22· · · · A.· · I think I arrived on time.· 3:30.          22· your friend Scopey had been murdered?
23· · · · Q.· · You arrived at 3:30?                       23· · · · A.· · I left and went home.
24· · · · A.· · Or little bit before.· Something.          24· · · · Q.· · Did you say anything to the Ivys?


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·1· · · · A.· · I said something to James; that I       ·1· can't remember at this moment.
·2· couldn't believe it 'cause I was just with him.     ·2· · · · Q.· · Is there a reason you wouldn't have
·3· · · · Q.· · Did you say anything else?              ·3· told him?
·4· · · · A.· · That's it.                              ·4· · · · MR. TAYLOR:· Objection; form.
·5· · · · Q.· · Did you say anything to Ella?           ·5· · · · THE WITNESS:· I just don't remember if I told
·6· · · · A.· · No.                                     ·6· him or if I did not tell him.· I don't recall.
·7· · · · Q.· · Did you say anything to Tina?           ·7· BY MS. SCHROEDER:
·8· · · · A.· · No.                                     ·8· · · · Q.· · Doesn't it seem like that would have
·9· · · · Q.· · Did you say anything to Frankie?        ·9· been a shocking thing that you would have wanted to
10· · · · A.· · I just said Frankie.                    10· tell your dad?
11· · · · Q.· · I thought you said James.               11· · · · MR. TAYLOR:· Objection; form.
12· · · · A.· · Frankie.                                12· · · · THE WITNESS:· It was already shocking. I
13· · · · Q.· · Did you say anything to James?          13· just couldn't believe it.· So, you know, I may have
14· · · · A.· · No.                                     14· said something to him, and I may not have said
15· · · · Q.· · Did you say anything to the dad?        15· something to him.· I'm just letting you know right
16· · · · A.· · No.                                     16· now I don't remember if I did or if I didn't.
17· · · · Q.· · Okay.· Did you spend the night at the   17· BY MS. SCHROEDER:
18· Ivys'?                                              18· · · · Q.· · But you remember saying something to
19· · · · A.· · No.                                     19· the Ivys; is that right?
20· · · · Q.· · Did you ever spend the night at the     20· · · · A.· · I remember saying something to Frankie.
21· Ivys'?                                              21· · · · Q.· · Okay.· So now you're at home.· Do you
22· · · · A.· · No.                                     22· stay at your house the whole night?
23· · · · Q.· · Once in your life?                      23· · · · A.· · Yes.
24· · · · A.· · No time in my life.                     24· · · · Q.· · Okay.· Do you go to bed, or do you stay


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·1· · · · Q.· · Okay.· So you walked home?              ·1· up?
·2· · · · A.· · Yes.                                    ·2· · · · A.· · Stayed up a little while.
·3· · · · Q.· · From the Ivys'?                         ·3· · · · Q.· · And what did you do?
·4· · · · A.· · Yes.                                    ·4· · · · A.· · I don't remember.
·5· · · · Q.· · Okay.· Did you go straight home?        ·5· · · · Q.· · You don't remember?
·6· · · · A.· · Yes.                                    ·6· · · · A.· · No.· Not at this moment.
·7· · · · Q.· · Okay.· And who was at your house when   ·7· · · · Q.· · Did you sleep in your bed?
·8· you arrived home?                                   ·8· · · · A.· · Yes.
·9· · · · A.· · My dad.                                 ·9· · · · Q.· · The whole night?
10· · · · Q.· · And what time did you arrive home?      10· · · · A.· · Yes.
11· · · · A.· · I'm not sure.· Maybe 9:45, 10:00,       11· · · · Q.· · What did you do the next morning?
12· something like that.· Maybe, you know.· It          12· · · · A.· · I don't remember.
13· wasn't -- wasn't long.· I can't judge the minutes   13· · · · Q.· · What time did you wake up?
14· right now.                                          14· · · · A.· · I don't remember what time I woke up.
15· · · · Q.· · And was anyone else at the house with   15· · · · Q.· · What did you do after you woke up on
16· you and your dad at this time?                      16· the 19th?
17· · · · A.· · My sister.                              17· · · · A.· · I don't remember.
18· · · · Q.· · Your sister?                            18· · · · Q.· · Do you remember if your dad was home?
19· · · · A.· · Yes.                                    19· · · · A.· · Yes, he was home.
20· · · · Q.· · Anyone else?                            20· · · · Q.· · So you remember your dad being home?
21· · · · A.· · No, ma'am.                              21· · · · A.· · Yeah.
22· · · · Q.· · Okay.· Did you tell your dad your       22· · · · Q.· · Okay.· What else do you remember about
23· friend had been murdered?                           23· the 19th?
24· · · · A.· · I don't know if I did or didn't. I      24· · · · A.· · Very little right now sitting here


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·1· talking to you.                                       ·1· · · · THE WITNESS:· I think me and another
·2· · · · Q.· · Why?                                      ·2· classmate were playing and -- I believe the
·3· · · · A.· · I just can't -- 45 years ago.             ·3· teacher sent me to the principal's office.
·4· · · · Q.· · Okay.· So as the time has passed and      ·4· BY MS. SCHROEDER:
·5· your memory is fading?                                ·5· · · · Q.· · Because you were playing?
·6· · · · MR. TAYLOR:· Objection; form.                   ·6· · · · A.· · Yeah, with another student.
·7· · · · THE WITNESS:· I guess you can call it that.     ·7· · · · Q.· · And what were you doing in this play
·8· BY MS. SCHROEDER:                                     ·8· that would send you to the principal's office?
·9· · · · Q.· · You -- I am just trying to -- you told    ·9· · · · A.· · I believe it was like throwing paper or
10· me it's been 45 years, so I'm asking you is the       10· a book or something like that.
11· fact that it's been 45 years the reason you can't     11· · · · Q.· · And why did you throw a book?
12· remember?                                             12· · · · A.· · I just -- we was in there horseplaying.
13· · · · A.· · And it's -- I expressed to you that --    13· · · · Q.· · Who was the friend?
14· some things I can recall as they are.· Some things    14· · · · A.· · I didn't say it was a friend.
15· I cannot recall at this time.· And I said to you      15· · · · Q.· · Who was the person?
16· that if and when I can recall them, because you       16· · · · A.· · I don't remember.· It was just another
17· asked me to please let you know, let your attorneys   17· classmate, somebody that we was acting silly in the
18· know, and I'm trying to do that for you, you know,    18· classroom.
19· so you can have the information you need.· And I      19· · · · Q.· · And then where did you go?· To the
20· don't tell you something that I don't remember at     20· principal's office?
21· that moment -- at this moment.                        21· · · · A.· · Yes, ma'am.
22· · · · Q.· · Okay.                                     22· · · · Q.· · Who was the principal?
23· · · · A.· · Yes, ma'am.                               23· · · · A.· · I do not remember his name.
24· · · · Q.· · Is it fair to say, though, that because   24· · · · Q.· · And what happened there?

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·1· it's been 45 years, it's human nature that memory     ·1· · · · A.· · I believe he gave me a suspension for
·2· is not going to be as clear as it would have been     ·2· a couple of days.
·3· that day?                                             ·3· · · · Q.· · And then what did you do?
·4· · · · A.· · Correct.                                  ·4· · · · A.· · Took a bus.
·5· · · · MR. TAYLOR:· Objection -- hold on.· Objection   ·5· · · · Q.· · To where?
·6· to the form, particularly to the asking him about     ·6· · · · A.· · Going -- took a bus going down to see
·7· human nature.                                         ·7· Scopey to find out why he wasn't at school.
·8· · · · · · · · ·You may answer if you know.            ·8· · · · Q.· · When you were at the principal's
·9· · · · THE WITNESS:· I think all human beings forget   ·9· office, was there any radio playing?
10· some point in their life.· Some people forget what    10· · · · A.· · Not to my knowledge.
11· they did yesterday.· So I'm not no expert on the      11· · · · Q.· · Okay.· Was there a television playing?
12· human mind or human nature.· But I know you cannot    12· · · · A.· · Not to my knowledge.
13· go through life remembering every single thing you    13· · · · Q.· · Okay.· So you're taking a bus because
14· ever did in your entire life, let alone any period    14· you want to go find out why Scopey's not in school.
15· of time or trauma or whatever that's been involved    15· · · · · · · · ·Were you and Scopey in the same
16· in your life.                                         16· classroom?
17· BY MS. SCHROEDER:                                     17· · · · A.· · I don't believe so.
18· · · · Q.· · Okay.· Okay.· At school, you said you     18· · · · Q.· · So how would you know that he was not
19· were in the classroom.· Did you stay at school        19· at school?
20· until 6:00 o'clock --                                 20· · · · A.· · Because we always greet each other when
21· · · · MR. TAYLOR:· Objection.                         21· we're at school.
22· BY MS. SCHROEDER:                                     22· · · · Q.· · Where do you greet each other?
23· · · · Q.· · -- on the 18th?                           23· · · · A.· · Cafeteria.
24· · · · MR. TAYLOR:· Oh, okay.· Thank you.              24· · · · Q.· · And when do you greet other?


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·1· · · · A.· · Whenever we see one another, whether      ·1· asking me now.
·2· it's coming into the school, at the cafeteria.        ·2· BY MS. SCHROEDER:
·3· Whenever we see each other, that's when we greet      ·3· · · · Q.· · And where were you going to meet?
·4· each other.                                           ·4· · · · A.· · At school.
·5· · · · Q.· · And do you see each other every day of    ·5· · · · Q.· · In the cafeteria?
·6· school at the beginning of school?                    ·6· · · · A.· · Wherever.· That's what I'm saying.
·7· · · · A.· · Yeah, depending on the class.             ·7· There's no specific place.
·8· · · · Q.· · And depending on what class?· What does   ·8· · · · Q.· · Okay.· How long were you at school
·9· that mean?                                            ·9· before you were expelled?
10· · · · A.· · That means math, science, or whatever     10· · · · A.· · I don't remember the exact time.
11· classroom studies that you're in at the time.         11· Maybe -- I don't know.· 30 minutes.· 40 minutes.
12· · · · Q.· · So are there some classes where you       12· I don't know how long it was.
13· would not see him at the beginning of school?         13· · · · Q.· · And when you arrived at school, did you
14· · · · A.· · I mean, yes.· If we in two different      14· have to go straight to your classroom?
15· classes, yeah.· If he in math class and I'm in        15· · · · A.· · Yes.
16· science class, how I'm gonna see him?                 16· · · · Q.· · Okay.· And then right from that
17· · · · Q.· · Okay.· So how did you know he wasn't at   17· classroom, did you have to go straight to the
18· school?                                               18· principal's office because of the horseplay?
19· · · · MR. TAYLOR:· Objection; asked and answered.     19· · · · A.· · Yes.
20· · · · THE WITNESS:· I didn't see him.· Nobody --      20· · · · Q.· · Okay.· And right when that principal
21· you know, I just didn't see him.· And I know the      21· said you're being -- did he suspend you or expel
22· following day I told him that when we get to school   22· you?
23· we was supposed to meet up there.· And I didn't see   23· · · · A.· · I believe he suspended me.
24· him.                                                  24· · · · Q.· · Okay.· All right.· So right when he

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·1· BY MS. SCHROEDER:                                     ·1· suspended you, did he tell you you had to leave the
·2· · · · Q.· · So you did make a plan to meet up with    ·2· school grounds?
·3· Scopey the next day?                                  ·3· · · · A.· · Yes.
·4· · · · A.· · At school.                                ·4· · · · Q.· · Okay.· Did someone have to walk you out
·5· · · · Q.· · Why?                                      ·5· of the school?
·6· · · · A.· · What do you mean "why"?· I don't          ·6· · · · A.· · No.
·7· understand what you're saying.                        ·7· · · · Q.· · Did he watch you walk out of the
·8· · · · Q.· · I'm asking you why would you have made    ·8· school?
·9· a plan to meet up with Scopey at school?              ·9· · · · A.· · I'm not sure.
10· · · · A.· · I think that's what most --               10· · · · Q.· · Did you leave immediately after he told
11· · · · MR. TAYLOR:· Objection to the form, "meet up    11· you you were suspended?
12· at school."· I think she's -- are you trying to ask   12· · · · A.· · I believe I did.
13· him that they made the plan at school, or they made   13· · · · Q.· · Okay.· How did you know that Scopey
14· the plan to meet up at school?                        14· wasn't in one of the classrooms when you were only
15· · · · MS. SCHROEDER:· I'm asking him his answer       15· at the school for 30 minutes?
16· what he means and why he did that.                    16· · · · A.· · I don't recall at this moment.
17· · · · THE WITNESS:· I give you --                     17· · · · Q.· · Okay.· But somehow you knew he was not
18· · · · MR. TAYLOR:· Objection; form.                   18· at school; is that correct?
19· · · · · · · · ·Go ahead on.                           19· · · · A.· · I did not see him.
20· · · · THE WITNESS:· I'll give you the same answer     20· · · · Q.· · And you assumed, because you did not
21· I gave to you before.· Before I left his home, we     21· see him, he was not at school?
22· agreed to meet up at school, on the 17th.             22· · · · A.· · Yes.
23· · · · MS. SCHROEDER:· Okay.                           23· · · · Q.· · And you did not think he might have
24· · · · THE WITNESS:· That's the same answer that you   24· been in his classroom?


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·1· · · · A.· · I did not.                                ·1· · · · THE WITNESS:· May I take a break?· I been
·2· · · · Q.· · Okay.· And why not?                       ·2· trying to raise my hand for the longest.· Can I
·3· · · · A.· · I just didn't.                            ·3· take a break?
·4· · · · Q.· · So you decide to get on a bus and go to   ·4· · · · MS. SCHROEDER:· How much time do we have on
·5· his house?                                            ·5· the record?
·6· · · · A.· · Yes.                                      ·6· · · · THE VIDEOGRAPHER:· Five hours 52 minutes.
·7· · · · Q.· · Okay.· And what was your intention of     ·7· · · · MS. SCHROEDER:· Okay.
·8· doing that with -- what were your plan -- what were   ·8· · · · THE WITNESS:· Thank you.
·9· you going to plan to do when you got to Scopey's      ·9· · · · THE VIDEOGRAPHER:· Ending media 3 of the
10· house?                                                10· deposition of Johnnie Lee Savory.
11· · · · MR. TAYLOR:· Objection; form.                   11· · · · · · · · ·Off the record at 6:13 p.m.
12· · · · THE WITNESS:· Just see him.· Talk to him.· We   12· · · · · · · · · · · · · ·(Recess taken.)
13· can go play around or whatever.                       13· · · · THE VIDEOGRAPHER:· And beginning media number
14· BY MS. SCHROEDER:                                     14· 4 of the deposition of Johnnie Lee Savory.
15· · · · Q.· · And it didn't occur to you that he        15· · · · · · · · ·We're back on the record at 6:31 p.m.
16· could have been in school for another two hours?      16· BY MS. SCHROEDER:
17· · · · MR. TAYLOR:· Objection; asked and answered.     17· · · · Q.· · Johnnie, you were eventually -- on
18· · · · THE WITNESS:· Same answer I gave you.           18· January 25th, two officers came to speak to you at
19· · · · MS. SCHROEDER:· Okay.                           19· Late Afternoon School; is that correct?
20· · · · THE WITNESS:· I just assumed because I didn't   20· · · · A.· · Yes, ma'am.
21· see him.                                              21· · · · Q.· · Okay.· And do you remember those
22· BY MS. SCHROEDER:                                     22· officers coming to speak to you?
23· · · · Q.· · Something was telling you that he         23· · · · A.· · Yes, ma'am.
24· wasn't at school?                                     24· · · · Q.· · Okay.· And do you remember their names?


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·1· · · · A.· · Yes.                                      ·1· · · · A.· · (No response.)
·2· · · · Q.· · Okay.· What did you do when you got to    ·2· · · · Q.· · Do you remember what they -- if you --
·3· Scopey's house?                                       ·3· do -- if you don't remember, it's -- it's fine.
·4· · · · A.· · I didn't go directly to his house.        ·4· If you have a description, you could give me a
·5· · · · Q.· · Why not?                                  ·5· description.
·6· · · · A.· · The bus stopped at where Marva lives      ·6· · · · A.· · They were two while males.
·7· first.                                                ·7· · · · Q.· · Okay.· And do you recall if you had
·8· · · · Q.· · And then what did you do?                 ·8· ever seen these individuals before?
·9· · · · A.· · Knocked on her door and went in and sit   ·9· · · · A.· · I don't recall ever seeing them before.
10· down for a few minutes.                               10· · · · Q.· · Okay.· And do you remember the
11· · · · Q.· · And why did you do that?                  11· circumstances of you speaking with them on
12· · · · A.· · Because that's what I wanted to do, I     12· January 25th?
13· guess, you know.· Say hello to her and -- and her     13· · · · A.· · I don't remember everything was said.
14· daughter.                                             14· I remember them coming, and I re- -- oh, boy. I
15· · · · Q.· · Did you just change your mind from        15· believe they asked me did I know Scopey.
16· wanting to go --                                      16· · · · Q.· · Okay.· Do you remember where you met
17· · · · A.· · No.                                       17· them?
18· · · · Q.· · -- straight to Scopey's and check on      18· · · · A.· · The principal's lounge, teachers'
19· him?                                                  19· lounge, somewhere like that.
20· · · · A.· · No.                                       20· · · · Q.· · Okay.· And was anyone else present
21· · · · MR. BOWMAN:· Objection.                         21· besides just the two officers?
22· · · · THE WITNESS:· No.                               22· · · · A.· · I don't believe so.
23· · · · · · · · ·May I take a break?                    23· · · · Q.· · How did you know to speak with these
24· · · · MS. SCHROEDER:· I'm sorry?                      24· two officers?


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·1· · · · A.· · The principal.                           ·1· BY MS. SCHROEDER:
·2· · · · Q.· · Okay.· Was the principal still there     ·2· · · · Q.· · I guess I should say what were you
·3· when you were -- began speaking with these two       ·3· aware of about your friend's murder?
·4· officers?                                            ·4· · · · A.· · Very little.
·5· · · · A.· · No.                                      ·5· · · · Q.· · Okay.· Did you know he was dead?· Is
·6· · · · Q.· · Okay.· And do you -- you said that       ·6· that correct?
·7· you recall they wanted to ask you questions about    ·7· · · · A.· · Yes, ma'am.
·8· Scopey; is that correct?                             ·8· · · · Q.· · Okay.· Did you, at this time on
·9· · · · A.· · Yes.                                     ·9· January 25th, even have the knowledge that his
10· · · · Q.· · Okay.· Because this has been -- this is  10· sister had been killed?
11· January 25th, and Scopey was killed on January 18th; 11· · · · A.· · Yes.
12· is that correct?                                     12· · · · Q.· · Okay.· And had you gone to the funeral?
13· · · · A.· · Yes.                                     13· · · · A.· · Yes.
14· · · · Q.· · Okay.· And do you remember anything      14· · · · Q.· · Okay.· Who did you go to the funeral
15· else about this interview with these two officers    15· with?
16· and yourself about Scopey?                           16· · · · A.· · Some other children in the neighborhood.
17· · · · A.· · I believe I said that I did not want to  17· · · · Q.· · Which children?
18· talk to them or something like that.                 18· · · · A.· · At this -- right now I don't remember
19· · · · Q.· · Do you remember specifically what they   19· which ones it was.
20· asked you?                                           20· · · · Q.· · Okay.· And --
21· · · · A.· · I don't remember the specific questions  21· · · · A.· · I just know it was some other people my
22· that they asked me.                                  22· age.
23· · · · Q.· · Do you remember why you said you didn't  23· · · · Q.· · Were you upset when you were at the
24· want to talk to them?                                24· funeral?

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·1· · · · A.· · Not at this moment I don't.             ·1· · · · A.· · Yes.
·2· · · · Q.· · Do you feel like you've ever known why  ·2· · · · Q.· · And did you stay at the funeral for a
·3· you didn't want to talk to them?                    ·3· long time?
·4· · · · MR. TAYLOR:· Objection to the form.           ·4· · · · A.· · I don't believe so.
·5· · · · THE WITNESS:· I don't believe I even remember ·5· · · · Q.· · Did you come and go multiple times to
·6· the -- I just don't remember at this -- at this     ·6· the funeral?
·7· point I just don't -- I can't recall it, I guess.   ·7· · · · A.· · I don't recall doing that.
·8· BY MS. SCHROEDER:                                   ·8· · · · Q.· · Do you believe that you only went once
·9· · · · Q.· · Did you know -- you knew that they      ·9· and stayed there?
10· wanted to ask you about your friend Scopey, right? 10· · · · A.· · I can't --
11· · · · A.· · Yes.                                    11· · · · MR. TAYLOR:· Objection; form.
12· · · · Q.· · Okay.· And at this time did you -- had  12· · · · THE WITNESS:· I can't say for sure.
13· a -- had a killer been found of your friend?        13· BY MS. SCHROEDER:
14· · · · MR. TAYLOR:· I'm sorry.· A what?              14· · · · Q.· · Did you ask friends to go to the
15· · · · MS. SCHROEDER:· A killer.                     15· funeral with you?
16· · · · MR. TAYLOR:· Oh.                              16· · · · A.· · Yes.
17· · · · THE WITNESS:· Not to my knowledge.            17· · · · Q.· · Why?
18· BY MS. SCHROEDER:                                   18· · · · A.· · I don't recall my reasoning at this
19· · · · Q.· · Okay.· And were you aware of any        19· point.
20· investigation that was going on for his murder?     20· · · · Q.· · Did you talk to Scopey's mom?
21· · · · A.· · Not really.                             21· · · · A.· · No.
22· · · · Q.· · Okay.· What were you aware of?          22· · · · Q.· · Did you talk to Scopey's stepdad at the
23· · · · MR. TAYLOR:· Objection; form.· Excuse me.     23· funeral?
24                                                      24· · · · A.· · No.


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·1· · · · Q.· · Did you talk to any of Scopey's family    ·1· · · · A.· · No, ma'am.
·2· at the funeral?                                       ·2· · · · Q.· · Okay.· And did you talk to news
·3· · · · A.· · No.                                       ·3· reporters?
·4· · · · Q.· · Did you offer your condolences to the     ·4· · · · A.· · No, ma'am.
·5· family at any time?                                   ·5· · · · Q.· · Okay.· Did you talk to anyone?
·6· · · · MR. TAYLOR:· Objection to form.                 ·6· · · · A.· · I don't recall talking to anyone.
·7· · · · THE WITNESS:· Not that I recall.                ·7· · · · Q.· · Where did you -- where were you when
·8· BY MS. SCHROEDER:                                     ·8· you were at Scopey's house?
·9· · · · Q.· · Did you go over to Scopey's house at      ·9· · · · A.· · In the crowd with everybody else.
10· any time between the day of his death and the         10· · · · Q.· · Okay.· And what time did the last bus
11· funeral?                                              11· come?
12· · · · A.· · No, ma'am.                                12· · · · A.· · Shortly before 7:00 o'clock I believe
13· · · · Q.· · Okay.· Is there a reason why you didn't   13· that's when the last bus runs.
14· go?                                                   14· · · · Q.· · Okay.
15· · · · MR. TAYLOR:· Objection.· Are you -- are you     15· · · · A.· · If I'm not mistaken.
16· excluding the day of the murder in that question?     16· · · · Q.· · Okay.· Do you -- and then we've already
17· · · · MS. SCHROEDER:· I did say between the murder    17· discussed where you were after that.· You ended up
18· and the funeral.                                      18· at home around -- do you remember -- I forget -- I
19· · · · MR. TAYLOR:· Right.· But --                     19· don't want to misquote you.· But I thought you said
20· · · · MS. SCHROEDER:· So yes, I'm excluding it.       20· around 10:00 or 11:00.· I don't know, though. I
21· So the 19th -- whenever the -- I don't know what      21· don't want to --
22· day the funeral was.· I'm not including the 18th.     22· · · · MR. TAYLOR:· Objection; form.
23· · · · MR. TAYLOR:· Okay.· Thank you.                  23· BY MS. SCHROEDER:
24· · · · THE WITNESS:· No.· Because I did not really     24· · · · Q.· · So I -- yeah.· Whatever you had said

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·1· know his mother and father.· I did not know his       ·1· previously --
·2· family like I would know somebody that I lived next   ·2· · · · A.· · Yeah.
·3· door to or whatever.· I did not know them.· So        ·3· · · · Q.· · -- is when you arrived at home.
·4· chances are I just didn't feel comfortable --         ·4· · · · · · · · ·Do you remember anything from the
·5· · · · MS. SCHROEDER:· Okay.                           ·5· day after January 19th, where you stayed from
·6· · · · THE WITNESS:· -- doing that.                    ·6· January 19th until January 25th?
·7· BY MS. SCHROEDER:                                     ·7· · · · A.· · I was at home.
·8· · · · Q.· · You did end up going back to his house    ·8· · · · Q.· · Did you stay at home every night?
·9· on the 18th, though; isn't that correct?              ·9· · · · A.· · Yes.
10· · · · A.· · Like what point you talking about?        10· · · · Q.· · Okay.· And you were suspended, though;
11· · · · Q.· · I'm talking about the 18th.· You did go   11· isn't that correct?
12· to Scopey's house on the 18th?                        12· · · · A.· · Yes, ma'am.
13· · · · A.· · Yes, I did.                               13· · · · Q.· · Do you remember what you did during the
14· · · · Q.· · Okay.· What time did you go?              14· daytime on those days?
15· · · · A.· · A little after 5:00, somewhere around     15· · · · MR. TAYLOR:· Objection.· He said he was
16· there.                                                16· suspended for a day or two, and you're talking
17· · · · Q.· · And how long were you there for?          17· about a broader -- you're talking about from the
18· · · · A.· · I stood outside for, God, maybe till      18· 19th to the 25th.· So --
19· the last bus came.                                    19· · · · MS. SCHROEDER:· I was -- my understanding, it
20· · · · Q.· · Okay.· And at that time police officers   20· was longer than that.
21· were there; is that correct?                          21· · · · MR. TAYLOR:· Okay.· Well, my objection is to
22· · · · A.· · Yes, ma'am.                               22· form.
23· · · · Q.· · Okay.· And did you talk to police         23· BY MS. SCHROEDER:
24· officers?                                             24· · · · Q.· · Okay.· Very good.


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·1· · · · · · · · ·Do you remember what you were doing  ·1· talk to them.
·2· during the days when you weren't at school?         ·2· · · · Q.· · So you do know the reason why you
·3· · · · A.· · No, ma'am.                              ·3· didn't want to talk to them?
·4· · · · Q.· · Or the evenings, I should say, because  ·4· · · · A.· · I just said I don't -- I do know why I
·5· your school starts later.                           ·5· don't want to talk -- I just didn't want to talk to
·6· · · · A.· · Seem like nothing.                      ·6· them maybe because they were police officers. I
·7· · · · Q.· · Okay.· But as you're sitting here       ·7· don't know why -- what the reasoning really was.
·8· today, you're confident that you were at home every ·8· But I just didn't want to talk to them.· I didn't
·9· night between January 19th and January 25th?        ·9· feel like talking to anyone, period.
10· · · · A.· · Yes, ma'am.                             10· · · · Q.· · Why?
11· · · · Q.· · Okay.· Did you see your dad every       11· · · · A.· · 'Cause I just didn't want to.· I don't
12· night?                                              12· understand the reasoning.· And I don't really
13· · · · A.· · Yes, ma'am.                             13· recall.· I just didn't feel like talking to anyone.
14· · · · Q.· · Okay.· Did you spend the night there    14· I didn't feel like doing nothing.· I just wanted to
15· every night?                                        15· just -- I don't know what I was going through at
16· · · · A.· · Yes, ma'am.                             16· that moment.
17· · · · Q.· · Did you wake up in the morning at your  17· · · · Q.· · Okay.· But you did end up talking to
18· house every morning?                                18· them, correct?
19· · · · A.· · I woke up at some point.                19· · · · A.· · Yes.
20· · · · Q.· · And was your dad there?                 20· · · · Q.· · Okay.· And do you remember what you
21· · · · A.· · Yes.                                    21· talked to them about?
22· · · · MR. TAYLOR:· Objection; asked and answered.   22· · · · A.· · It was very brief.· I don't remember
23· BY MS. SCHROEDER:                                   23· what I actually talked to them about there.· But
24· · · · Q.· · Okay.· So now we're back to             24· when we got to the station, I think they was

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·1· January 25th, and you're at the school with the two             ·1· telling me that it was -- if there was something I
·2· officers.· And you've told them you don't want to               ·2· could remember, it might be helpful, what have you.
·3· talk about Scopey.                                              ·3· Something along the lines you -- they wanted me to
·4· · · · A.· · No, ma'am.                                          ·4· search my mind and see if I saw something, heard
·5· · · · Q.· · Okay.· But you change your mind; is                 ·5· something, or did I notice what ...
·6· that correct?                                                   ·6· · · · Q.· · Um-hmm.· And did you tell them that you
·7· · · · MR. TAYLOR:· Objection; form.                             ·7· were with Scopey on the 17th at his house?
·8· · · · THE WITNESS:· I did not tell them that I                  ·8· · · · A.· · I'm know not sure.· I may have, though.
·9· didn't want to talk to them about Scopey.· I told               ·9· · · · Q.· · Okay.· And so -- and so if you did tell
10· them I did not want to talk to them.                            10· them that you -- if you were there on the 17th,
11· BY MS. SCHROEDER:                                               11· then that would be indicative of you being one of
12· · · · Q.· · Didn't they ask you that the reason                 12· the last people to see your friend Scopey before he
13· they wanted to speak to you was about Scopey?                   13· was killed the next morning; is that correct?
14· · · · A.· · Yes.                                                14· · · · MR. TAYLOR:· Objection; form.· Makes
15· · · · Q.· · And so what you're saying is you don't              15· assumptions not in evidence.
16· mind speaking about Scopey, you just don't want to 16· · · · THE WITNESS:· Maybe outside their family,
17· talk to the police officers?                                    17· yes --
18· · · · MR. TAYLOR:· Wait.· Objection.· That's --                 18· · · · MS. SCHROEDER:· Um-hmm.
19· that assumes -- objection; form.                                19· · · · THE WITNESS:· -- I mean, I was ...
20· · · · MS. SCHROEDER:· Okay.                                     20· BY MS. SCHROEDER:
21· · · · THE WITNESS:· I didn't know them.                         21· · · · Q.· · Yep.· Okay.
22· BY MS. SCHROEDER:                                               22· · · · · · · · ·And so would that be understandable
23· · · · Q.· · You didn't know them?                               23· then why the officers would want you to think about
24· · · · A.· · No.· I didn't know -- I didn't want to              24· if there's anything you could remember that might


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·1· help them in their investigation?                            ·1· at the school.
·2· · · · MR. TAYLOR:· Objection; form.                          ·2· · · · THE WITNESS:· It is --
·3· · · · THE WITNESS:· In my forethought now today,             ·3· · · · MS. SCHROEDER:· That's right.· And we're
·4· it makes sense.· But it didn't make too much sense           ·4· talking about the conversation at the school.
·5· back then because I just didn't understand what              ·5· · · · MR. TAYLOR:· Do you understand that?
·6· they was asking me to see or didn't see.· And I              ·6· · · · THE WITNESS:· Now I do.· But no, I didn't --
·7· tried to remember anything I could, but I just ...           ·7· it was -- it was brief.· That wasn't a real -- they
·8· BY MS. SCHROEDER:                                            ·8· really questioned me when we got back to the police
·9· · · · Q.· · And so did you tell them -- strike               ·9· station.
10· that.                                                        10· BY MS. SCHROEDER:
11· · · · · · · · ·Did you answer their questions then           11· · · · Q.· · So you also were being truthful at the
12· with the best of your ability with memory?· Is that          12· police station then is what you're telling me?
13· correct?                                                     13· · · · A.· · To the best of my ability.
14· · · · MR. TAYLOR:· Excuse me.· Objection.· Are you           14· · · · Q.· · To the best of your ability.
15· reading from a report?                                       15· · · · A.· · What I understood about what they were
16· · · · MS. SCHROEDER:· No, I'm not.· I just put it            16· saying.
17· right there.· But I'm not reading it.                        17· · · · Q.· · Got it.· Okay.
18· · · · MR. TAYLOR:· Okay.· Can you show him the               18· · · · · · · · ·So let's start at the school,
19· report so we know what you're talking about?                 19· though.· We're going to jump back there.· Okay?
20· · · · MS. SCHROEDER:· No, because I'm not talking            20· · · · · · · · ·So at the school you're being
21· about a report.· I'm asking him about the best of            21· questioned by two officers; is that correct?
22· his memory.                                                  22· · · · A.· · Yes.
23· · · · MR. TAYLOR:· Okay.· Go -- do it as you may.            23· · · · Q.· · Okay.· And you told those two officers
24· But the objection stands in terms of the form and            24· initially you didn't want to speak; is that

                                                      Page 327                                                          Page 329
·1· the nature of the question.                                  ·1· correct?
·2· · · · THE WITNESS:· I believe I shared with them             ·2· · · · A.· · Yes, ma'am.
·3· the best of my understanding.                                ·3· · · · Q.· · Okay.· And you -- sitting here today,
·4· BY MS. SCHROEDER:                                            ·4· you're saying you don't really know why you didn't
·5· · · · Q.· · And at this point with these two                 ·5· want to talk to them, you just didn't want to?
·6· officers, are you being truthful?                            ·6· · · · A.· · I can't recall at this moment.
·7· · · · A.· · Yes.                                             ·7· · · · Q.· · Got it.
·8· · · · Q.· · Okay.· And at this point with these two          ·8· · · · · · · · ·But you eventually did speak with
·9· officers, are you providing them all the information         ·9· them, correct?
10· that you have in response to their questions?                10· · · · A.· · Yes.
11· · · · A.· · All that I understand to the best of my          11· · · · Q.· · Okay.· And what I'm asking you is
12· recollection.                                                12· those questions those two officers asked you at the
13· · · · Q.· · Okay.· And do you remember the type of           13· school, were you being truthful in your answers to
14· room you were sitting in when you were having this 14· them?
15· conversation at the school?                                  15· · · · A.· · To the best of my recollection and
16· · · · A.· · I think I was -- I think --                      16· understanding from that day.
17· · · · MR. TAYLOR:· I'm confused.· I thought you              17· · · · Q.· · Okay.· So when you say to the best of
18· were talking about a conversation he had at the              18· your recollection, does that mean your recollection
19· station.                                                     19· as you sit here today you're trying -- to best of
20· · · · MS. SCHROEDER:· Nope.                                  20· your recollection, you believe you were being
21· · · · MR. TAYLOR:· Okay.· Well, did you understand           21· truthful, or are you talking about your recollection
22· she's talking about the conversation at the school           22· on January 25th, 1977 as you were answering?
23· rather than when they took you to the station?               23· · · · A.· · As of January 25th --
24· Because you said that it was a brief conversation            24· · · · Q.· · Okay.


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·1· · · · A.· · -- 1977.                                  ·1· BY MS. SCHROEDER:
·2· · · · Q.· · Got it.                                   ·2· · · · Q.· · Okay.· Mr. Savory, did you get into a
·3· · · · · · · · ·Do you recall, as you sit here today,  ·3· car with the two officers?
·4· whether there was anything that was preventing you ·4· · · · A.· · Yes.· They convinced me to go with them.
·5· from having an accurate recollection of events that ·5· · · · Q.· · They convinced you.· How?
·6· happened on January 17th -- or January 18th at this ·6· · · · A.· · By telling me that I could possibly be
·7· time when you were answering these questions to       ·7· helpful to them.
·8· these two officers in the school?                     ·8· · · · Q.· · Okay.· Did you not believe them?
·9· · · · A.· · I mean, they were asking me what I        ·9· · · · A.· · I guess kinda sorta, but not really.
10· remember about the night of the 17th.· And I shared   10· · · · Q.· · Why?
11· with them that I really didn't remember too much.     11· · · · A.· · I mean, I didn't know anything to
12· They was asking me did I hear anything, did I see     12· help them.· That's why.· I didn't believe that
13· anything, did I -- they were asking me about what     13· I knew anything or saw anything about that night
14· was the atmosphere, what was going on in the          14· that would help them with the case now.· I just
15· atmosphere.                                           15· didn't -- and I still don't remember nothing that
16· · · · · · · · ·And to the best of my recollection,    16· could have helped them.· That's about the size of it.
17· I believe I answered their questions as best I could. 17· · · · Q.· · So you get into the car with the two
18· · · · Q.· · Okay.· Did there come a time when you     18· officers; is that correct?
19· left the school with these two officers?              19· · · · A.· · Yes, ma'am.
20· · · · A.· · Yes, ma'am.                               20· · · · Q.· · Okay.· Were you handcuffed?
21· · · · Q.· · Okay.· Did they ask you to go with them?  21· · · · A.· · No, ma'am.
22· · · · A.· · Yes, ma'am.                               22· · · · Q.· · Okay.· And where did you sit in the car?
23· · · · Q.· · Okay.· And what was your response?        23· · · · A.· · In the back.
24· · · · A.· · I was reluctant, but I went.              24· · · · Q.· · Okay.· Did you have any conversations

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·1· · · · Q.· · Okay.· And why were you reluctant?          ·1· when you were walking from the school to the car?
·2· · · · A.· · I ain't never left -- police ain't          ·2· · · · A.· · Not that I remember.
·3· never took me from no school before or asked me     ·3· · · · Q.· · Okay.· And did you walk in front of the
·4· anything.· So I didn't realize why you were taking  ·4· officers or behind the officers?
·5· me now if I was just -- you was trying to ask me    ·5· · · · A.· · I don't remember that.
·6· did I remember something, and I don't remember,     ·6· · · · Q.· · Okay.· And you get in the car.· And
·7· what reason would you have to take me?              ·7· then what do you do once you're in the car?
·8· · · · Q.· · Did you ask them?                       ·8· · · · A.· · Sit down.
·9· · · · A.· · No.· I did not ask them.                ·9· · · · Q.· · Okay.· And then do you go -- do you
10· · · · Q.· · Did they explain it to you?             10· drive -- do they drive somewhere?
11· · · · A.· · Not that I recall.                      11· · · · A.· · Yes.
12· · · · Q.· · So you don't remember?                  12· · · · Q.· · Where do you go?
13· · · · A.· · I don't recall what they said to me to  13· · · · A.· · To the best of my recollection, it was
14· leave.                                              14· to the police station.
15· · · · Q.· · Okay.· Okay.· So you do agree to leave  15· · · · Q.· · Okay.· Did you ever stop at your house?
16· with them, and you go -- do you remember -- did you 16· · · · A.· · I don't remember stopping there.
17· go into a car with them?                            17· · · · Q.· · You don't remember?
18· · · · MR. TAYLOR:· Objection to form.· The first    18· · · · A.· · I can't recall stopping there.
19· part of the question, I don't think it's accurate   19· · · · Q.· · You don't recall stopping?
20· to say that he, quote, "agreed" to go with them.    20· · · · A.· · No.
21· It implies more than his testimony --               21· · · · Q.· · Okay.· Do you remember telling the
22· · · · MS. SCHROEDER:· Oh, my gosh, Flint, the       22· officers that you had a knife similar to Scopey's
23· speaking objections.                                23· and you could get it from your home?
24                                                      24· · · · A.· · I don't recall telling that --


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·1· I don't -- not at this moment as we're talking,     ·1· · · · MR. TAYLOR:· Objection; form.· One is not
·2· I don't recall saying that to them.                 ·2· multiple.
·3· · · · Q.· · Okay.· Do you remember stopping at your ·3· · · · MS. SCHROEDER:· More than one is.
·4· house and you getting out of the police car to go   ·4· · · · MR. TAYLOR:· He said one, two.
·5· see if you could get the knife?                     ·5· · · · MS. SCHROEDER:· Correct.
·6· · · · A.· · I don't recall it.                      ·6· · · · THE WITNESS:· I do not recall --
·7· · · · Q.· · Okay.· Do you remember stopping at the  ·7· · · · MS. SCHROEDER:· Okay.
·8· house and the police officers letting you out, but  ·8· · · · THE WITNESS:· -- how many times.· But it
·9· you could not get into your home because your door ·9· wasn't no lot of times, though.
10· was locked and your dad was not home?               10· · · · MS. SCHROEDER:· Okay.
11· · · · A.· · Not right now.· I don't remember that.  11· · · · THE WITNESS:· I don't know.· I don't know
12· · · · Q.· · Did you have a knife that was similar   12· right now.
13· to a knife that Scopey owned?                       13· BY MS. SCHROEDER:
14· · · · A.· · Never.                                  14· · · · Q.· · Did you ever go to the police station
15· · · · Q.· · Never.                                  15· by yourself?
16· · · · · · · · ·Okay.· Did you ever tell anybody     16· · · · A.· · No.
17· that you and Scopey bought similar knives from      17· · · · Q.· · Did you ever go to the police station
18· Murray's?                                           18· on your own and ask to speak to an officer?
19· · · · A.· · I do not recall it at this time.        19· · · · A.· · No.
20· · · · Q.· · Okay.· Okay.· So you arrive at the      20· · · · Q.· · Did you ever go to the police station
21· police station; is that right?                      21· on your own and ask to speak to Officer Marcella
22· · · · A.· · Yes.                                    22· Teplitz?
23· · · · Q.· · Okay.· Tell me about that.· Did you     23· · · · A.· · Not that I remember.· I don't recall
24· walk into the station?                              24· ever going to the police station by myself and

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·1· · · · A.· · Yes.                                             ·1· asking to speak to anyone.
·2· · · · Q.· · Okay.· Did you walk in with the two              ·2· · · · Q.· · Okay.· Had you -- in these times you
·3· police officers?                                             ·3· remember that you had been to the police station,
·4· · · · A.· · Yes.                                             ·4· what do you remember -- who were you with when you
·5· · · · Q.· · Did you walk in front of them or behind          ·5· went to the police station?
·6· them?                                                        ·6· · · · A.· · I don't recall that either.
·7· · · · A.· · I do not remember.                               ·7· · · · Q.· · Okay.· Was it because you were
·8· · · · Q.· · Okay.· Did you have handcuffs on?                ·8· arrested?· Is that what you're recalling?
·9· · · · A.· · No, ma'am.                                       ·9· · · · A.· · I only remember being arrested for that
10· · · · Q.· · Okay.· Did they -- had you ever been to          10· 19-cent Bic pen.· I don't -- or also the -- the --
11· the police station before?                                   11· with my cousin, so ...
12· · · · A.· · Yes.                                             12· · · · Q.· · What's your cousin's name?
13· · · · Q.· · How many times?                                  13· · · · A.· · Lewis.
14· · · · A.· · I don't recall.                                  14· · · · Q.· · Lewis what?
15· · · · Q.· · Too many to recall?                              15· · · · A.· · Donley.
16· · · · A.· · I just don't recall.                             16· · · · Q.· · Lewis Donnelley?
17· · · · Q.· · More than one?                                   17· · · · A.· · Donley.
18· · · · A.· · Maybe.                                           18· · · · Q.· · Is he in Peoria?
19· · · · Q.· · More than five?                                  19· · · · A.· · Yes.
20· · · · A.· · I just don't recall at this point.               20· · · · Q.· · Is he still in Peoria?
21· It could be one, two.· I just don't recall at this           21· · · · A.· · I have no idea.
22· moment.                                                      22· · · · Q.· · Okay.· So you walk into the police
23· · · · Q.· · So multiple times, but you don't                 23· station.· You've been there before.· Where do you go?
24· remember how many times?                                     24· · · · A.· · They took me to a room.


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·1· · · · Q.· · Do you -- had you ever been in this                  ·1· · · · Q.· · Okay.· And do you remember if it had to
·2· room before?                                                     ·2· deal with you being at Scopey's house on the 17th?
·3· · · · A.· · Not to my knowledge.                                 ·3· · · · A.· · I believe so, yes.
·4· · · · Q.· · You don't remember?                                  ·4· · · · Q.· · Okay.· And is this the conversation
·5· · · · A.· · I don't remember.                                    ·5· that earlier Flint had said was perhaps confusing,
·6· · · · Q.· · Okay.· So you could have been, you just              ·6· is this the conversation that you had referenced
·7· don't remember --                                                ·7· earlier where you said you were truthful in your
·8· · · · A.· · Yeah.                                                ·8· answers to these officers' questions?
·9· · · · Q.· · -- right now?                                        ·9· · · · A.· · To the best of my recollection.
10· · · · A.· · Yeah.                                                10· · · · Q.· · You were truthful?
11· · · · Q.· · Okay.· And who was in the room when you              11· · · · A.· · Yes.
12· went in there?                                                   12· · · · Q.· · Okay.· And would there have been any
13· · · · A.· · The two officers that brought me.                    13· reason for you to not be truthful to these officers
14· · · · Q.· · Okay.· Anybody else?                                 14· when you answering their questions?
15· · · · A.· · Not to my knowledge.                                 15· · · · A.· · No, ma'am.
16· · · · Q.· · Okay.· And then what happened next?                  16· · · · Q.· · Okay.· And -- I mean, really did you --
17· · · · A.· · They sat down and began to ask me                    17· did you feel like you were trying to help the
18· questions again.                                                 18· officers find out who killed your friend?
19· · · · Q.· · The two officers that brought you?                   19· · · · A.· · Yes.
20· · · · A.· · Yes.                                                 20· · · · Q.· · Okay.· And that kind of goes in line
21· · · · Q.· · Was there anybody else in the room with              21· with this personality that we've learned about you
22· you when these questions began?                                  22· that you are willing to take that extra step to
23· · · · A.· · No, ma'am.                                           23· help a person in need; is that correct?
24· · · · Q.· · Okay.· And where were you sitting?                   24· · · · MR. TAYLOR:· Objection; form.

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·1· · · · A.· · I believe across the table from them or ·1· · · · THE WITNESS:· Yes.
·2· something like that.                                ·2· BY MS. SCHROEDER:
·3· · · · Q.· · Okay.· Was the door open or closed?     ·3· · · · Q.· · Okay.· And your friend Scopey had been
·4· · · · A.· · Closed.                                 ·4· murdered.· So certainly he's a person in need, and
·5· · · · Q.· · Okay.· And were there any windows?      ·5· you are helping by offering what information you
·6· · · · A.· · Possibly.· I can't remember.            ·6· had that may assist in the investigation; is that
·7· · · · Q.· · Okay.                                   ·7· correct?
·8· · · · A.· · But I think possibly there might have   ·8· · · · MR. TAYLOR:· Objection; form.
·9· been a window or something.· I'm not sure.          ·9· · · · THE WITNESS:· I'm trying to remember anything
10· · · · Q.· · All righty.· And do you remember now    10· that could help.
11· these two officers that brought you from the school 11· BY MS. SCHROEDER:
12· and are now questioning you, do you remember what 12· · · · Q.· · Okay.· Okay.· And so knowing that,
13· they were asking you?                               13· being truthful to the officers is going to be
14· · · · A.· · They were asking me all kind of         14· the best way for you to help them in their
15· questions.· I just -- I don't remember exactly      15· investigation; is that correct?
16· what it was.                                        16· · · · MR. TAYLOR:· Objection; form.
17· · · · Q.· · But the questions had to deal with      17· · · · THE WITNESS:· So I believed.
18· Scopey?                                             18· BY MS. SCHROEDER:
19· · · · A.· · It had something to do with him --      19· · · · Q.· · Okay.· Okay.· Did you ever tell these
20· · · · Q.· · Okay.                                   20· officers that you called Scopey on the 17th after
21· · · · A.· · -- the case itself.                     21· you had left his home?
22· · · · Q.· · And did it have to deal with your       22· · · · A.· · I don't recall at this time.
23· friendship with Scopey?                             23· · · · Q.· · Okay.
24· · · · A.· · Somewhat.                               24· · · · A.· · You know, I just don't remember telling


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·1· them that day.· We talking about we was there for      ·1· · · · Q.· · Okay.· Why do you believe more than one
·2· some hours.· I cannot remember everything that I                ·2· person is saying that you told them that you and
·3· said or they asked me.                                          ·3· Scopey were practicing karate and how to defend
·4· · · · Q.· · Okay.                                               ·4· against a knife?
·5· · · · A.· · I just don't -- I just don't recall it              ·5· · · · MR. TAYLOR:· Same objections.
·6· at this moment.                                                 ·6· · · · · · · · ·You may answer.
·7· · · · Q.· · Do you remember ever telling anyone                 ·7· · · · THE WITNESS:· I have no idea.
·8· that you called Scopey late at night on the 17th                ·8· BY MS. SCHROEDER:
·9· after you had left his house?                                   ·9· · · · Q.· · Okay.· And is -- this is something that
10· · · · A.· · Not at this moment.                                 10· you are saying you never said?
11· · · · Q.· · Okay.· Do you remember ever learning                11· · · · A.· · I don't recall ever saying that.
12· from Scopey that he was having trouble with some                12· · · · Q.· · You don't remember saying it?
13· big dude and needed help learning to defend                     13· · · · A.· · I don't recall at this point ever
14· himself?                                                        14· saying that.
15· · · · A.· · No.                                                 15· · · · Q.· · Okay.· Is there any reason -- any
16· · · · Q.· · Okay.· Did you ever tell anybody that               16· reason you can think of that you might have said
17· you were going to be practicing karate with Scopey? 17· that?
18· · · · A.· · Not that I remember.                                18· · · · MR. TAYLOR:· Objection; form.
19· · · · Q.· · You don't remember?                                 19· · · · THE WITNESS:· I can't think of any.
20· · · · A.· · Un-uhn.                                             20· BY MS. SCHROEDER:
21· · · · Q.· · Okay.· You don't remember now if you                21· · · · Q.· · Okay.· Do you recall telling the
22· told somebody that, is that what you're saying?                 22· officers that you learned that Scopey was dead when
23· · · · A.· · I don't remember at all.· I just don't              23· you heard about it on a radio in your principal's
24· remember having that conversation with someone.                 24· office when you were suspended?


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·1· · · · Q.· · Okay.· And did you and Scopey ever                  ·1· · · · MR. TAYLOR:· Objection; form.
·2· practice karate?                                                ·2· · · · THE WITNESS:· I can't recall saying that to
·3· · · · A.· · No.                                                 ·3· them or to anyone.
·4· · · · Q.· · And did you ever tell anybody that you              ·4· BY MS. SCHROEDER:
·5· were -- you and Scopey were practicing karate and               ·5· · · · Q.· · Is it true that you did hear it on a
·6· how to defend against a knife?                                  ·6· radio station in your principal's office?
·7· · · · A.· · Not that I recall.· I don't think so.               ·7· · · · A.· · No.
·8· I doubt it.· I can't remember telling anyone that.              ·8· · · · Q.· · Okay.· So do you know why somebody
·9· · · · Q.· · Okay.· Did you tell Ella Ivy that?                  ·9· would have said that that's what you told them?
10· · · · A.· · I don't remember telling anyone that.               10· · · · MR. TAYLOR:· Objection; form.
11· · · · Q.· · Okay.· Is it true?                                  11· · · · THE WITNESS:· I don't have the mindset of
12· · · · A.· · Was what true?                                      12· understanding any human being saying whatever they
13· · · · Q.· · Did you and Scopey ever practice karate             13· say.· I can't -- I can't figure out why a person
14· and how to defend against a knife fight?                        14· would make the statement they made or -- I mean,
15· · · · A.· · No.                                                 15· I'm not no psychic.· All I can do is answer for me.
16· · · · Q.· · Okay.· And so why do you believe that               16· BY MS. SCHROEDER:
17· some people are saying that you have said that?                 17· · · · Q.· · But these are -- people are saying
18· · · · MR. TAYLOR:· Objection.· Hold on, hold on.                18· these are your answers to their questions.
19· I object that -- vague.· That misstates the record.             19· · · · A.· · That's the point.· That's what they're
20· And -- the form and a foundation.                               20· saying.· That's not what I said -- remember saying
21· BY MS. SCHROEDER:                                               21· to them.· Now, where they derive from that, I guess
22· · · · Q.· · Okay.· Do you want me to ask the                    22· you would have to ask them other than myself 'cause
23· question again?                                                 23· I don't know.
24· · · · A.· · Yes, ma'am.                                         24· · · · Q.· · But you did at some point say you did


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·1· kill Scopey, right?                                     ·1· · · · A.· · Marcella Teplitz.· I can't think of the
·2· · · · A.· · Yes.                                        ·2· other officers that was there.
·3· · · · Q.· · And you did at some point say you           ·3· · · · Q.· · Okay.· Was Percy --
·4· killed Connie; is that correct?                         ·4· · · · A.· · But I know that -- I don't remember him
·5· · · · MR. TAYLOR:· Objection.                           ·5· being there.
·6· · · · THE WITNESS:· After Bowers just decimated me      ·6· · · · Q.· · You don't remember Percy Baker being
·7· in that polygraph room.· In the middle of the           ·7· there?
·8· polygraph examination, he just got up, called me a      ·8· · · · A.· · I can't recall him being there.
·9· liar, murderer, everything he could think of.· And      ·9· · · · Q.· · And you remember Officer Teplitz being
10· he broke my will because it left me with no choice.     10· there?
11· They wasn't listening to me.· They wasn't honoring      11· · · · A.· · Yes.
12· what I said.· Didn't want to talk to you.· I'm          12· · · · Q.· · And do you believe there was another
13· tired of talking to you.                                13· officer there?
14· · · · · · · · ·And I couldn't understand how I          14· · · · A.· · I believe there was a couple more
15· became from helping to becoming a suspect in            15· officers there -- that brought -- brought me there
16· something that I had nothing to do with.· So it         16· that was --
17· broke my will to make me say something that I did       17· · · · Q.· · Okay.
18· not mean.· And you gave me the words to say in my       18· · · · A.· · -- there in that -- not in that room,
19· mouth because when I said I didn't do something,        19· but --
20· they said I did.                                        20· · · · Q.· · Right.· In the -- walking into the
21· · · · Q.· · Okay.                                       21· office in the --
22· · · · A.· · When I say I didn't want to talk to         22· · · · A.· · Yeah.
23· you, even after all that, you didn't stop.              23· · · · Q.· · -- whatever, the waiting room -- or
24· · · · Q.· · Let's talk about that.· So you brought      24· yeah.

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·1· up Mr. Bowers.· So you're -- this is the polygraph  ·1· · · · A.· · The foyer room or whatever.
·2· that you're talking about on January 26th; is that  ·2· · · · Q.· · And then Mr. Bowers -- you eventually
·3· correct?                                            ·3· go to do a polygraph; is that correct?
·4· · · · A.· · Yes, ma'am.                             ·4· · · · A.· · Yes, ma'am.
·5· · · · Q.· · Okay.· And you're at the polygraph      ·5· · · · Q.· · Okay.· This is your second polygraph?
·6· office; is that correct?                            ·6· · · · A.· · Yes, ma'am.
·7· · · · A.· · Yes, ma'am.                             ·7· · · · Q.· · So you know what to expect?
·8· · · · Q.· · Okay.· And that's not at the police     ·8· · · · A.· · No, ma'am.
·9· station; is that right?                             ·9· · · · Q.· · You gave a polygraph the night before?
10· · · · A.· · Yes, ma'am.                             10· · · · A.· · Yes, ma'am.
11· · · · Q.· · Okay.· And do you remember who was with 11· · · · Q.· · Okay.· And you then knew what was
12· you at the polygraph office at this time?           12· going to be required of you in order for them to
13· · · · MR. BOWMAN:· At which time?                   13· administer a polygraph to you on the 26th --
14· · · · MS. SCHROEDER:· At the time I'm talking about 14· · · · MR. TAYLOR:· Objection.
15· when he's at the polygraph office for Mr. Bowers.   15· BY MS. SCHROEDER:
16· · · · MR. BOWMAN:· So during the polygraph with     16· · · · Q.· · -- is that correct?
17· Bowers, is that what you're asking?                 17· · · · MR. TAYLOR:· Objection to form.
18· BY MS. SCHROEDER:                                   18· · · · THE WITNESS:· No, ma'am.· I knew they were
19· · · · Q.· · No.· I asked him who was at like the    19· gonna hook me up to this machine.· But Mr. Jenkins
20· office.· Who -- not administering the polygraph.    20· was nice.· He wasn't -- he was respectful.· He did
21· Who is all there at the office with you?            21· not badger me or yell at me or -- he didn't do any
22· · · · A.· · I believe several of the officers.      22· of that.· So actually I thought I was going back to
23· · · · Q.· · Do you remember specifically any of     23· see Mr. Jenkins again.
24· them?                                               24


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·1· BY MS. SCHROEDER:                                     ·1· personal non, you know, investigative --
·2· · · · Q.· · Okay.· So do you -- are you taken into    ·2· · · · A.· · Yes.
·3· a room for this polygraph?                            ·3· · · · Q.· · -- questions?
·4· · · · A.· · Yes, ma'am.                               ·4· · · · · · · · ·Okay.· And then what does he tell you?
·5· · · · Q.· · Okay.· And who takes you back there?      ·5· · · · A.· · He started asking me different
·6· · · · A.· · I don't remember who actually escorted    ·6· questions.· I don't remember exactly what it was,
·7· me.· It could have been Bowers himself, but I'm not   ·7· but he wasn't pleased with my answers.
·8· sure.                                                 ·8· · · · Q.· · And how did you know he wasn't pleased?
·9· · · · Q.· · Okay.· And can you describe for me what   ·9· · · · A.· · Because he got in my face, and he start
10· happens to you when you go into the room?             10· yelling, You a murderer, you a liar.· And the
11· · · · A.· · He sit me down in the chair.              11· polygraph ended.
12· · · · Q.· · Um-hmm.                                   12· · · · Q.· · How many -- how long after the
13· · · · A.· · Put this thing around both -- this        13· polygraph began before he started yelling this
14· thing -- he put this thing around my chest and put    14· at you?
15· something on my -- I believe on my fingers.           15· · · · A.· · I want to say maybe 10, 15 minutes.
16· · · · Q.· · Um-hmm.                                   16· I'm not sure, but it wasn't -- it doesn't feel like
17· · · · A.· · And asked me to state my name and a few   17· it was long.
18· other, I guess, personal questions about, you know,   18· · · · Q.· · Okay.· Is this the first time someone
19· How old are you?· Something -- something like that.   19· has yelled at you like this since you had been
20· · · · Q.· · Okay.                                     20· being interviewed by the police officers regarding
21· · · · A.· · I don't -- you know.                      21· this case?
22· · · · Q.· · Nothing about the case or the --          22· · · · A.· · Yes.
23· · · · A.· · Not yet.                                  23· · · · Q.· · Okay.· And is this the first time
24· · · · Q.· · -- investigation?                         24· somebody had raised their voice to you in this

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·1· · · · · · · · ·Okay.· And then is it just you and     ·1· manner during the time of this investigation while
·2· Mr. Bowers in the room?                               ·2· you were there at the police station January 25th
·3· · · · A.· · Yes, ma'am.                               ·3· to the 26th?
·4· · · · Q.· · Is the door closed?                       ·4· · · · A.· · Yes, ma'am.
·5· · · · A.· · Yes, ma'am.                               ·5· · · · Q.· · Okay.· Had anybody like called you a
·6· · · · Q.· · Okay.· And are you facing him or turned   ·6· murderer before this moment?
·7· away from him?                                        ·7· · · · A.· · No, ma'am.
·8· · · · A.· · He's sitting in front of me.              ·8· · · · Q.· · Okay.· And going into the second
·9· · · · Q.· · So you're looking at him?                 ·9· polygraph, you said you thought it was going to be
10· · · · A.· · Yes, ma'am.                               10· Jenkins and he was respectful; is that correct?
11· · · · Q.· · And can you describe the -- like is it    11· · · · A.· · Yes, ma'am.
12· a table, a desk?· How -- where are you sitting, and   12· · · · Q.· · Okay.· And did you understand why you
13· where is he sitting?                                  13· were being asked to give a second polygraph?
14· · · · A.· · I don't remember exactly.· I know he      14· · · · A.· · I think they explained me it was some
15· was in front of me.· I was sitting in a chair and     15· inconsistencies in the original one.
16· with the polygraph machine either left or right.      16· · · · Q.· · I'm sorry?
17· I don't remember which one.                           17· · · · A.· · There was some inconsistencies in the
18· · · · Q.· · Okay.                                     18· rest -- in the first one.
19· · · · A.· · And he -- that's what I remember.         19· · · · Q.· · In the first polygraph?
20· · · · Q.· · Okay.· Was he standing or sitting?        20· · · · A.· · Yes, ma'am.
21· · · · A.· · I believe he was sitting.                 21· · · · Q.· · Okay.· Did they say anything about
22· · · · Q.· · Okay.· Did the room have windows?         22· inconsistencies in your alibis that you had been
23· · · · A.· · Yes.                                      23· giving to the police officers?
24· · · · Q.· · Okay.· And so he asked you these          24· · · · A.· · Yeah.· I think they -- the biggest


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·1· discrepancy they had, they said something about,       ·1· overwhelmed by the whole set of circumstance.
·2· You didn't -- you and Scopey did not prepare the       ·2· · · · Q.· · Okay.· So were you possibly telling
·3· food, that the mother prepared the food.· But I'm   ·3· one officer one thing and another officer something
·4· telling them that's not true.                       ·4· else because you were having a hard time
·5· · · · Q.· · Okay.· What about the incident of       ·5· remembering?
·6· telling an officer that you woke up at 10:00 and    ·6· · · · MR. TAYLOR:· Objection to the form.
·7· went to go visit your grandma in the hospital on    ·7· · · · THE WITNESS:· I think the reason we had so
·8· January 18th?                                       ·8· much confusion is you had two officers asking me
·9· · · · A.· · I don't -- I don't recall that.         ·9· different questions at the same time.· And I'm
10· · · · Q.· · You don't recall that?                  10· trying to answer something that I don't -- so, you
11· · · · A.· · No, ma'am.                              11· know, I mean, I -- to the best of my recollection,
12· · · · Q.· · Okay.· What about telling an officer    12· it was always chaotic and confusing.
13· that you had made plans to see Scopey the morning 13· BY MS. SCHROEDER:
14· of the 18th at his house?                           14· · · · Q.· · Um-hmm.· Did you ever ask to just speak
15· · · · A.· · I have no recollection of that.         15· with Marcella Teplitz one on one?
16· · · · Q.· · Did you and Scopey make a plan to meet  16· · · · A.· · At the polygraph examiner office after
17· up at his house on the morning of the 18th?         17· he did what he did, I just wanted it to stop. I
18· · · · A.· · I don't believe so.                     18· wanted somebody to come in and stop him from what
19· · · · Q.· · Okay.· Did you ever tell anybody that   19· he was doing.· I just wanted somebody to -- and
20· you had made that plan but you forgot?              20· that's the only person I could think of that was
21· · · · A.· · No.· I think I shared with you that we  21· out there.
22· made plans to meet at school.                       22· · · · Q.· · Okay.· Did you ever ask to speak with
23· · · · Q.· · Okay.· So prior to Mr. Bowers screaming 23· her one on one when you were at the police station
24· at you and, you know, being in this manner towards 24· before the polygraph?

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·1· you, had any other police officer, you know,              ·1· · · · A.· · Not that I recall.
·2· threatened you during their interviews of you on          ·2· · · · Q.· · Okay.· So do you remember speaking with
·3· January 25th or January 26th?                             ·3· her one on one ever --
·4· · · · MR. TAYLOR:· Object to the form.· Vague             ·4· · · · A.· · I don't --
·5· question in terms of threat.                              ·5· · · · Q.· · -- prior -- excuse me -- prior to the
·6· · · · THE WITNESS:· There was other officers              ·6· polygraph evening?
·7· frustrated with my answers.· And they made me feel        ·7· · · · A.· · The day of the 26th, you mean?
·8· as though like I wasn't trying to do my best and          ·8· · · · Q.· · No.· That was a poor question.
·9· answer their questions.· They didn't particularly         ·9· · · · A.· · I'm sorry.
10· like that, and that -- that was in -- displayed           10· · · · Q.· · So -- that's my fault.
11· when they would say, You're -- you're not being           11· · · · · · · · ·Do you remember ever speaking with
12· truthful with us.· You're not -- you backtracking,        12· Marcella Teplitz one on one while you were at the
13· or whatever terminology they used.                        13· police station on January 26th?
14· · · · MS. SCHROEDER:· Okay.                               14· · · · A.· · No.· I don't remember speaking with no
15· · · · THE WITNESS:· And that didn't do nothing but        15· officer one on one --
16· further frustrate me too at the same time.                16· · · · Q.· · Okay.
17· · · · MS. SCHROEDER:· Um-hmm.                             17· · · · A.· · -- on the 26th.
18· · · · THE WITNESS:· 'Cause I was trying to do the         18· · · · Q.· · Do you remember asking for Marcella so
19· best I could to remember whatever they needed me to       19· that you could speak with her only at the police
20· remember.                                                 20· station on January 26th?
21· BY MS. SCHROEDER:                                         21· · · · MR. TAYLOR:· Objection; asked and answered.
22· · · · Q.· · Were you having a hard time remembering       22· · · · THE WITNESS:· Yeah, I just answered it. I
23· things?                                                   23· don't recall speaking to any officer one on one --
24· · · · A.· · Yes, 'cause I was completely                  24· · · · MS. SCHROEDER:· Okay.


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·1· · · · THE WITNESS:· -- on the 26th at the police        ·1· say -- I mean, the best example I can give you is
·2· station.                                                ·2· when I say that we cooked the food, they told me
·3· · · · MS. SCHROEDER:· Okay.                         ·3· I was just flat-out lying, that, We know that the
·4· · · · THE WITNESS:· It was always two officers      ·4· mother cooked the food.· But the mother's leftovers
·5· there that I recall.                                ·5· we did not touch.
·6· · · · MS. SCHROEDER:· Okay.                         ·6· · · · · · · · ·So while I was telling the truth,
·7· · · · THE WITNESS:· Yeah.                           ·7· they told me I was flat-out lying and that wasn't
·8· BY MS. SCHROEDER:                                   ·8· true, you know.· So whatever -- I guess that's the
·9· · · · Q.· · Okay.· So Mr. Bowers is now yelling at  ·9· best example I can give.· Because that's what
10· you.· Do you know what it was that spurred this --  10· happened on the 17th.
11· this yelling and accusations towards you?           11· · · · · · · · ·So when I tell them that we were
12· · · · A.· · Not really, except for he just didn't   12· wrestling and playing, and I tell them we was just
13· like my answers that I was giving him.              13· playing and stuff, they -- they took the wrestling
14· · · · Q.· · Do you remember what your answers were? 14· and playing and put it on the day of the 18th.· So
15· · · · A.· · No.· I don't.                           15· they were always telling me what I did, and it
16· · · · Q.· · Do you remember what the questions were 16· wasn't on that day, it was on another day.
17· that he was asking you?                             17· · · · · · · · ·So, I mean -- and after I become so
18· · · · A.· · I just can't recall them at this time.  18· fed up with it, I just be like, Hey, I don't want
19· Maybe if I had something to read I could be able to 19· to talk to you.· Can I go home?
20· look at it and see if it was something that I said  20· BY MS. SCHROEDER:
21· or something that I did.· I can't think of anything 21· · · · Q.· · Who did you ask to go home?
22· at this point why he would be the one and only      22· · · · A.· · As much all of them that questioned me.
23· person that's completely lose it and just -- but    23· I just wanted to go home, wanted to see my dad.
24· he's the one that broke my will.                    24· This finally allowed me to see my dad.

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·1· · · · Q.· · Okay.· Prior to Mr. Bowers, did             ·1· · · · Q.· · Um-hmm.· And what happened then?
·2· anyone -- any officer, during January 25th or           ·2· · · · A.· · I don't know what truly happened.· But
·3· January 26th, give you information that they            ·3· I know for the first time I could not -- we cannot
·4· wanted you to say in response to questions?             ·4· communicate with each other because he was so
·5· · · · MR. TAYLOR:· Objection to the form.               ·5· angry.· I don't know what the police said to him.
·6· · · · THE WITNESS:· I don't understand what you --      ·6· I don't know what was done.· But we could not
·7· I don't understand what you mean.                       ·7· communicate whatsoever.
·8· BY MS. SCHROEDER:                                       ·8· · · · Q.· · What did he say to you?
·9· · · · Q.· · So you're -- you have said that there       ·9· · · · A.· · I don't -- I don't really remember what
10· are some officers that put words in your mouth; is      10· he said.· All I know is that it was some yelling.
11· that correct?                                           11· He just -- I don't know what -- what they -- I
12· · · · A.· · Yes.                                        12· don't know what he understood or what he didn't
13· · · · Q.· · Because they were telling you that you      13· understand 'cause we couldn't communicate.
14· need to say this or you need to say that; is that       14· · · · Q.· · Okay.· So Mr. Bowers is yelling at you.
15· correct?                                                15· He's called you a murderer.· Did he call you
16· · · · A.· · Yes, ma'am.                                 16· anything else?
17· · · · Q.· · Okay.· So what I'm asking you is did        17· · · · A.· · A liar.
18· that occur where an officer was specifically            18· · · · Q.· · A liar.· Anything else?
19· telling you, You need to say this, or, You need to      19· · · · A.· · I don't know what all he said, but
20· say that, at any time when you were at the police       20· those two came through.
21· station on January 25th or January 26th?                21· · · · Q.· · Those two came through.
22· · · · MR. TAYLOR:· 27th, did you say?                   22· · · · A.· · Um-hmm.
23· · · · MS. SCHROEDER:· I said 6th.                       23· · · · Q.· · So what did you do in response to that?
24· · · · THE WITNESS:· Yes, they did.· When I would        24· · · · A.· · I said I didn't want to talk to him


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·1· anymore.                                            ·1· want to talk to him anymore --
·2· · · · Q.· · Okay.· So you -- you specifically       ·2· · · · A.· · Right.
·3· looked at him and said, I don't want to talk to     ·3· · · · Q.· · -- he stopped?
·4· you?                                                ·4· · · · A.· · Yes.
·5· · · · A.· · And he unhooked me.· And I went over to ·5· · · · Q.· · He unhooked you?
·6· the window of the office, and I began -- tears be   ·6· · · · A.· · Yes.
·7· coming.· I just felt just empty inside after he had ·7· · · · Q.· · He left you?
·8· done that.· So I was standing at the window crying. ·8· · · · A.· · Yes.
·9· · · · Q.· · Okay.· Did -- you said he broke your    ·9· · · · Q.· · You were in the room alone?
10· will; is that correct?                              10· · · · A.· · Yes.
11· · · · A.· · Yeah.                                   11· · · · Q.· · You asked to speak to Marcella; is that
12· · · · Q.· · Okay.· And did you confess to him?      12· correct?
13· · · · A.· · No.                                     13· · · · A.· · Yes.
14· · · · Q.· · No.· What did you say to him?           14· · · · Q.· · Okay.· And was there a reason why you
15· · · · A.· · I ain't say nothing after that.         15· asked for Marcella?
16· · · · Q.· · So then how did --                      16· · · · A.· · Just wanted it to stop.
17· · · · A.· · Evident --                              17· · · · Q.· · Okay.
18· · · · Q.· · -- that break your will?                18· · · · A.· · I wanted somebody, anybody, and that's
19· · · · A.· · What do you mean?                       19· the only person that was with the group that I
20· · · · Q.· · Well, I mean, you say you -- my         20· believe -- 'cause I didn't know Bowers was a police
21· understanding is your will was broke, which means 21· officer.· I thought he was just an ordinary person.
22· you were going to confess to these --               22· He didn't dress like a police officer.· He didn't
23· · · · A.· · I was willing to tell anything that     23· do any of that.
24· they wanted me to say, do anything they wanted me   24· · · · Q.· · Um-hmm.

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·1· to do for it to stop.· Since they didn't want to      ·1· · · · A.· · So I thought he was just like Jenkins.
·2· honor my didn't want to talk to you, don't want to    ·2· Jenkins is not a police officer.· So --
·3· continue to talk to you, so you just continue to      ·3· · · · Q.· · Um --
·4· bombard me with questions, and I'm not trying to      ·4· · · · MR. BOWMAN:· You interrupted his answer.
·5· talk to you.· I'm not trying to -- I see I            ·5· · · · MS. SCHROEDER:· Oh, sorry.
·6· cannot -- nothing I say matters.· So they made me     ·6· · · · MR. BOWMAN:· He's not finished.
·7· feel all you want me to say is, Just say you did      ·7· · · · THE WITNESS:· So I had no knowledge of him
·8· it, and we'll be through, and you go home.            ·8· being an officer, you know.· So I wanted somebody
·9· · · · Q.· · Did someone tell you that?                ·9· in authority to come and make him quit.
10· · · · A.· · That's how they made me feel.· That's     10· · · · MS. SCHROEDER:· Um-hmm.
11· how they made -- that's how they -- when they         11· · · · THE WITNESS:· 'Cause he didn't identify
12· were -- I just feel like I didn't have a voice.       12· hisself as a police officer.
13· · · · Q.· · Okay.                                     13· · · · MS. SCHROEDER:· Um-hmm.
14· · · · A.· · He wasn't listening to me.                14· · · · THE WITNESS:· He identified hisself as a
15· · · · Q.· · Okay.                                     15· polygraph examiner.· And I assumed that he was just
16· · · · A.· · So when they convinced me to sit          16· like Jenkins.· But he was so far from Jenkins, it's
17· down and talk to Marcella Teplitz, she began just     17· night and day.
18· telling me about the crime and telling about, Well,   18· BY MS. SCHROEDER:
19· you know, you don't have to, I guess, feel this way   19· · · · Q.· · And what makes you believe he was a
20· or whatever she was saying to me.· But it didn't      20· police officer?
21· make much sense.· But it -- it -- it's like they      21· · · · A.· · What you mean, what makes me believe he
22· telling me, you know, We believe you did it, and we   22· was a police officer?
23· want you to tell us that.                             23· · · · Q.· · Officer -- or Mr. Bowers is not a
24· · · · Q.· · When you told Mr. Bowers you didn't       24· police officer when he was administering the


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·1· polygraph examination to you.· Did you know that?      ·1· · · · A.· · Yes.
·2· · · · MR. TAYLOR:· But he was for many years before.   ·2· · · · Q.· · -- is that correct?
·3· · · · MS. SCHROEDER:· That is such a terrible          ·3· · · · A.· · Yes.
·4· speaking objection.· And --                            ·4· · · · Q.· · Okay.· And Marcella comes in the room?
·5· · · · MR. TAYLOR:· No, because you're misleading       ·5· · · · A.· · Yes.
·6· him --                                                 ·6· · · · Q.· · And is it just the two of you in there?
·7· · · · MS. SCHROEDER:· I am not misleading him. I       ·7· · · · A.· · Yes, ma'am.
·8· a hundred percent am not misleading him.               ·8· · · · Q.· · Okay.· And tell me what happens then.
·9· · · · MR. TAYLOR:· Yes, you are.                       ·9· · · · A.· · She asked me to sit down.
10· · · · MS. SCHROEDER:· No, I am not.                    10· · · · Q.· · Yeah.
11· · · · THE WITNESS:· I learned later on that he         11· · · · A.· · And --
12· was a police officer.· He was not forthright like      12· · · · MR. TAYLOR:· Wait.· Don't -- wait till she --
13· Jenkins.                                               13· · · · MS. SCHROEDER:· Go ahead.· I'm listening.
14· · · · · · · · ·Let's be clear.· I just gave you the    14· That's fine.· I'm a mom.· I can do three things at
15· greatest analogy I can.· The difference between him    15· once.
16· and Jenkins was night and day.· It was almost like     16· · · · THE WITNESS:· She asked me to sit down and
17· he was the good guy and he's the bad guy.              17· talk to her, tell her what happened.· I said, I
18· · · · MS. SCHROEDER:· Okay.                            18· don't know what happened.· But then she began to
19· · · · THE WITNESS:· So, I mean, the way he -- what     19· tell me what happened; you know, your friends were
20· he did in there violated every essence of being a      20· murdered and they were stabbed and so on, so on.
21· human being.· Not to know me, not to have -- you       21· · · · · · · · ·And I didn't know what to tell her,
22· got some crystal ball to say that, You a liar.· You    22· you know.· She -- so she start making suggestions
23· a murderer.                                            23· that, Could you have possibly done this?· Or --
24· · · · · · · · ·What gave him the right to do that?     24· just questions that didn't make no sense to me.

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·1· What happened?· What did I say to invoke him to do     ·1· But I tried to just comply and just do what she
·2· that?                                                  ·2· asked me 'cause I'm still asking her, When can I go
·3· · · · · · · · ·And no, no one has ever talked to me    ·3· home?
·4· in that particular manner telling me that I killed     ·4· BY MS. SCHROEDER:
·5· my friend and his sister.· What you have?· I'm just    ·5· · · · Q.· · Do you remember what you told her about
·6· curious.                                               ·6· the murders?
·7· BY MS. SCHROEDER:                                      ·7· · · · A.· · Vaguely.· But I do remember some things.
·8· · · · Q.· · So how long were you in the room alone     ·8· · · · Q.· · Okay.· So I'm going to give you this.
·9· before Marcella came in?                               ·9· This is Exhibit 4 I believe we are on.· And even
10· · · · A.· · I don't know.· Five, ten minutes,          10· though there's several documents on here, we're
11· whatever, something like that.· I don't -- I don't     11· just going to be looking at Peoria Savory 788,
12· really recall.                                         12· and -- if we get through it, to 791.· But we're
13· · · · Q.· · Okay.                                      13· going to start with 788.· There you are.· Okay. I
14· · · · A.· · Don't seem like that long, but it's        14· don't know where the other one is.· I'm sorry,
15· somewhere like that.                                   15· guys.· Maybe I have it.· Okay.
16· · · · Q.· · Okay.· And was there a reason why you      16· · · · MR. BOWMAN:· Is this the ground report?· What
17· didn't ask for Percy Baker?                            17· is -- I don't understand.· This is --
18· · · · A.· · I didn't even realize Percy Baker was      18· · · · MS. SCHROEDER:· That's fine.· I can tell you
19· there.                                                 19· what it is.
20· · · · Q.· · You --                                     20· · · · MR. BOWMAN:· The exhibit is the ground report
21· · · · A.· · I don't remember.· As I stated earlier,    21· starting at 785, correct?
22· I didn't -- I don't recall him being there.            22· · · · MS. SCHROEDER:· Correct.· But we're going to
23· · · · Q.· · Okay.· But you were reaching out for       23· be honing in on 788.
24· someone, and so you reached out to Marcella --         24· · · · MR. BOWMAN:· I just want it to be clear.


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·1· You're identifying the entire report as an exhibit?         ·1· questions in one.· He's ask- -- you read to me that
·2· · · · MS. SCHROEDER:· I can, yes.· So since he has          ·2· he -- the arrested requested to talk about the
·3· it in his hand, I will so that it's a complete              ·3· murders in the -- in the case --
·4· exhibit.· So it's Peoria Savory 785 through Peoria          ·4· · · · Q.· · Um-hmm.
·5· Savory 792.· But the page I turned to you, sir, is          ·5· · · · A.· · -- and wanted to specifically talk to
·6· the page that we're going to be looking at.                 ·6· officer -- this officer.
·7· · · · MR. TAYLOR:· And this is -- you said Exhibit          ·7· · · · · · · · ·I never told him that I wanted to
·8· 4, but it's actually Exhibit 5.                             ·8· talk to her about no murders in the case.
·9· · · · MS. SCHROEDER:· Oh, it is?· Thank you.                ·9· · · · Q.· · So what did you tell him?
10· · · · MR. TAYLOR:· I have an Exhibit 4 here.                10· · · · A.· · I would like to speak to Marcella.
11· · · · · · · · · · · (Discussion off the record.)            11· · · · Q.· · And that's it?
12· BY MS. SCHROEDER:                                           12· · · · A.· · And that's it.
13· · · · Q.· · So, Mr. Savory, this is -- if you               13· · · · Q.· · And he -- and he -- and he obliged you?
14· look -- you know, the first page, this is a report          14· · · · A.· · He obliged me.
15· that was created by Marcella Teplitz.· And on this          15· · · · Q.· · Okay.
16· page 788, it is memorializing you and hers                  16· · · · A.· · And also that I didn't want to talk him
17· interactions at the polygraph office.· Okay?· And           17· anymore.
18· what I want to do is read through this, and you can         18· · · · Q.· · Okay.· And he obliged that as well?
19· tell me if this sounds accurate to you and if it            19· · · · A.· · Exactly.
20· refreshes your recollection.                                20· · · · Q.· · Okay.· And was that on your first
21· · · · · · · · ·So if you look at the -- if you look         21· request to stop talking to him?
22· at the paragraph right there, it says, "1800 hours,         22· · · · A.· · Yes.
23· 1/16/77."· I think that's a typo because we all             23· · · · Q.· · Okay.· And was his stopping the
24· know this occurred on January 26th.                         24· polygraph on your first request to stop the

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·1· · · · · · · · ·It says, "This officer, Officer              ·1· polygraph?
·2· Fiers, and Probation Officer Percy Baker                    ·2· · · · MR. TAYLOR:· Objection to form.· I don't
·3· transported the arrested to Dennis Jenkins'                 ·3· think he's ever said there was more than one
·4· polygraph office, and the arrested was administered ·4· request to stop the polygraph.
·5· a polygraph examination by Eddie Bowers," which     ·5· · · · THE WITNESS:· Yeah, there was only one.
·6· know that to be accurate from your testimony today. ·6· BY MS. SCHROEDER:
·7· · · · · · · · ·"At 1975 hours, Bowers exited the    ·7· · · · Q.· · Okay.· Very good.· So it's just one and
·8· polygraph room and informed this officer," who is           ·8· he stopped --
·9· Marcella, "that the arrested was requesting to talk         ·9· · · · A.· · Yes, ma'am.
10· about the two murders in this case and wanted to            10· · · · Q.· · -- is that right?
11· specifically to talk with this officer," who is             11· · · · A.· · Yes, ma'am.
12· Marcella.· And from what you just told us, that is          12· · · · Q.· · Okay.· Very good.
13· correct also.                                               13· · · · · · · · ·So the next line is, "Bowers also
14· · · · MR. TAYLOR:· No.                                      14· stated that the arrested had told him that he had
15· · · · THE WITNESS:· No.                                     15· killed the two victims in this case."· Is that
16· · · · MR. TAYLOR:· That's not true.· Objection.             16· accurate?
17· · · · THE WITNESS:· No.                                     17· · · · A.· · Completely wrong.
18· BY MS. SCHROEDER:                                           18· · · · Q.· · Okay.· Did you ever tell Mr. Bowers
19· · · · Q.· · You did not want to -- I thought you            19· that you killed James Robinson and Connie Cooper?
20· just --                                                     20· · · · A.· · No, ma'am.
21· · · · A.· · No.· You just --                                21· · · · Q.· · Okay.· "At 1935 hours this date, this
22· · · · Q.· · -- testified that you specifically              22· officer entered the polygraph examination room and
23· asked to speak with Marcella.                               23· asked the arrested what it was he wanted to tell
24· · · · A.· · No.· But you just asked me two                  24· this officer."· Is that correct?


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·1· · · · A.· · Say that again.                         ·1· her because I didn't know what she was -- I didn't
·2· · · · Q.· · Did Marcella walk into the room and ask ·2· know how the victims were killed.· I didn't know
·3· you what it was that you wanted to tell her?        ·3· where they were stabbed or nothing else.
·4· · · · A.· · I don't remember.· She could have.· She ·4· · · · · · · · ·And -- but what I -- but what I
·5· may have said that.                                 ·5· recollect that's not here, you don't have any of
·6· · · · Q.· · Okay.                                   ·6· her questions about -- that led me into making a
·7· · · · A.· · I'm not going to say she didn't.        ·7· statement to her.· So you don't get to see what
·8· · · · Q.· · Okay.· And she says, "The arrested      ·8· she said to me in order to derive at this.· But I
·9· stated the following:· We were practicing karate    ·9· do remember some of this and telling her some of
10· and Scopey turned the TV to the wall.· He was       10· this here based on how she questioned me and -- but
11· punching me with his finger, and he raised his      11· once again, it was -- it was -- I was just sitting
12· hands.· The arrested held his hands up with his     12· there guessing.· And she really -- she really
13· elbows bent in a position similar to the one victim 13· didn't -- she didn't really, I guess, appreciate me
14· James had assumed.· The arrested had the knife and 14· guessing or something.· You know what I mean?
15· stuck him.· He fell.· My mind went blank.· I tried  15· · · · · · · · ·So she would keep asking me these
16· to get him up.· She came in and looked and came at 16· questions.· And I -- I may have said some of these
17· me.· I lost control.· I cut her.· I don't know how  17· things.
18· I did it.· I ran home and I got drunk.· I stayed    18· · · · Q.· · Um-hmm.
19· drunk for four days and did not come home at all."  19· · · · A.· · I'm not going to deny it.· But what
20· · · · · · · · ·Did you say those words to Marcella  20· I'm saying is she gave me the answers to her own
21· Teplitz?                                            21· questions, and I may have given them back to her in
22· · · · MR. TAYLOR:· Excuse me.· Objection.           22· this form.· So I'm not gonna say I didn't say any
23· · · · · · · · ·There's -- this is a whole paragraph 23· of this here.· But she --
24· of different things that this report purports to    24· · · · Q.· · So this is --

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·1· Mr. Savory.· To ask him what -- to ask him one        ·1· · · · MR. TAYLOR:· He hasn't -- are you finished,
·2· broad question, I object to the form in terms of      ·2· Johnnie?
·3· asking him one broad question --                      ·3· · · · THE WITNESS:· Yeah, because I'm -- I'm done.
·4· · · · MS. SCHROEDER:· Okay.                           ·4· Go ahead.· Go ahead.
·5· · · · MR. TAYLOR:· -- as to all these different       ·5· BY MS. SCHROEDER:
·6· points that she's chosen to put in her report.        ·6· · · · Q.· · Okay.· So -- so do you believe at the
·7· BY MS. SCHROEDER:                                     ·7· polygraph office --
·8· · · · Q.· · Okay.· Did you tell Marcella that you     ·8· · · · A.· · Um-hmm.
·9· were practicing karate and Scopey turned the TV to    ·9· · · · Q.· · -- when she walked in --
10· the wall?                                             10· · · · A.· · Yes.
11· · · · A.· · What I remember is that this is -- this   11· · · · Q.· · -- that that is the place that she said
12· is not how this conversation, remember, as I recall   12· to you about maybe it wasn't the living room, maybe
13· it.· We were sitting down, and she was asking me      13· it was the bedroom?
14· about the crime scene and asking me questions like,   14· · · · A.· · Yes.
15· Did you do it?· I said, Yes, I did it.· She went on   15· · · · Q.· · Okay.· And you believe that it's here
16· to say, Well, where did you do it?· I said, In the    16· at the polygraph office that she is suggesting
17· living room.· She say, No, it should have been --     17· to you other pieces of this crime that you're
18· you sure it wasn't another room?· She said, Where     18· confessing to that you're getting wrong, and she's
19· did you stab him?· I would point to some area on my   19· trying to give you information that would line up
20· body, and she'll say, No.· You sure it wasn't that?   20· to what you believe was the correct crime scene;
21· She would give me, You sure it wasn't this area of    21· is that right?
22· the body?· So point to me where you think -- so she   22· · · · A.· · What she believed -- yeah, 'cause I
23· was asking me these questions, and because I didn't   23· didn't know --
24· know the answer, I just made up something to give     24· · · · Q.· · Okay.


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·1· · · · A.· · -- what the crime scene was.              ·1· the correct place --
·2· · · · Q.· · Okay.· Okay.                              ·2· · · · A.· · You sure it couldn't have been her
·3· · · · MR. TAYLOR:· While you're pausing, what --      ·3· stomach?· You sure it couldn't have been this
·4· can we get a time read, please?                       ·4· or that?· I don't -- I remember some of this
·5· · · · THE VIDEOGRAPHER:· Seven hours and three        ·5· conversation.· I don't remember all of it.· But
·6· minutes.                                              ·6· I do remember some of it.· And I just don't -- it
·7· · · · MS. SCHROEDER:· Oh, okay.                       ·7· was never just voluntarily.· It was -- I was guided
·8· · · · MR. TAYLOR:· I'm sorry?                         ·8· along.· But I didn't understand.· All I wanted was
·9· · · · THE VIDEOGRAPHER:· Seven hours and three        ·9· to -- for it to end.· And no one respected when I
10· minutes.                                              10· invoked not to talk to you or -- I just wanted to
11· · · · MR. TAYLOR:· Oh, so you're in -- what do they   11· quit and just go home.
12· call it in soccer? -- extra time.· She's in extra     12· · · · · · · · ·I believed I was going home because
13· time.                                                 13· I knew I had did nothing wrong.· I had all --
14· BY MS. SCHROEDER:                                     14· everything in my mind to believe that day I don't
15· · · · Q.· · Okay.· So do you believe in the           15· even know why I'm here.· But I don't know how I
16· polygraph office then that -- it's your contention    16· became a suspect in such a short time.
17· that you did not offer a statement to Marcella        17· · · · Q.· · So is there any --
18· without any prompting from her?                       18· · · · MR. TAYLOR:· Were you finished, Johnnie?
19· · · · A.· · No.· I just didn't volunteer and make     19· BY MS. SCHROEDER:
20· no statements about the death of James and Connie     20· · · · Q.· · -- information that you told --
21· without Bowers' madness and what she's -- how she     21· · · · MR. TAYLOR:· You cut him off again, Sara.
22· phrased her questions and guided me along.· I --      22· BY MS. SCHROEDER:
23· everything I did that they asked me I got wrong.      23· · · · Q.· · Okay.· Is there any information --
24· · · · Q.· · Okay.                                     24· · · · MR. TAYLOR:· Can he -- can he finish?

                                             Page 379                                                  Page 381
·1· · · · A.· · So they gave me what they wanted me       ·1· · · · · · · · ·Were you finished?
·2· to say, and I gave them what they wanted to hear      ·2· · · · THE WITNESS:· No.· I -- go on.· Go ahead.
·3· because I wanted it to end and stop.                  ·3· BY MS. SCHROEDER:
·4· · · · Q.· · So she told you where to point on your    ·4· · · · Q.· · Okay.· Is there any information that
·5· body where you stabbed Connie?                        ·5· you told Marcella in the polygraph room that is
·6· · · · MR. TAYLOR:· Objection.                         ·6· truthful?
·7· · · · THE WITNESS:· She told me to --                 ·7· · · · A.· · No.
·8· · · · MR. TAYLOR:· Hold on, Johnnie.                  ·8· · · · Q.· · Okay.
·9· · · · · · · · ·Objection; form, foundation.           ·9· · · · A.· · Because I know I didn't kill my friend
10· BY MS. SCHROEDER:                                     10· or his sister.
11· · · · Q.· · Go ahead.                                 11· · · · Q.· · Okay.· And is this the only falsehoods
12· · · · A.· · When I answered her questions, I didn't   12· that you told a police officer during January 25th
13· get it right.· She prompt me and guided me to         13· and January 26th?
14· where, You may have forgot, you don't remember.       14· · · · A.· · To the best of my recollection.· That's
15· · · · Q.· · Are these the things she was saying to    15· a lot of recollection.· There was a lot of two-day
16· you?                                                  16· interrogation, no sleep, no food.
17· · · · A.· · Yes.                                      17· · · · Q.· · Um-hmm.
18· · · · Q.· · Okay.· And where did you point on your    18· · · · A.· · No nothing.· I had a candy bar and a
19· body that you stabbed Connie where she told you       19· pop and a hamburger.· And I ain't had no sleep.
20· that was not right?                                   20· · · · Q.· · At the Gift Home?
21· · · · A.· · I don't remember exactly, but maybe --    21· · · · A.· · I had very little.· Went to bed about
22· I don't know.· She has her arms -- something --       22· 1:30, come and got me at 8:00.· And the whole day
23· something.· I don't remember exactly.                 23· just bombardment, just -- I didn't even have time
24· · · · Q.· · And where did she tell you was            24· to think.


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                                             Page 382                                                     Page 384
·1· · · · Q.· · Um-hmm.· Can you remember any other       ·1· · · · · IN THE UNITED STATES DISTRICT COURT
                                                          · · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
·2· falsities that you told the police during             ·2· · · · · · · · · ·EASTERN DIVISION
                                                          ·3· ·JOHNNIE LEE SAVORY,· · · · ·)
·3· January 25th and 26th?                                · · · · · · · · · · · · · · · · ·)
·4· · · · A.· · I don't have no recollection of what      ·4· · · · · · · · ·Plaintiff,· · )
                                                          · · · · · · · · · · · · · · · · ·)
·5· that possibly could be at this moment or time.        ·5· · · · · · vs.· · · · · · · · )· ·No. 17-cv-00204
·6· You know, putting this report here brought back       · · · · · · · · · · · · · · · · ·)
                                                          ·6· ·WILLIAM CANNON, as· · · · · )
·7· some memory, but -- I mean, I'm doing the best        · · ·Administrator for the· · · ·)
                                                          ·7· ·Estate of CHARLES CANNON,· ·)
·8· I can to -- you know, to answer your questions        · · ·et al.,· · · · · · · · · · ·)
·9· truthfully.· And -- but my will was just destroyed.   ·8· · · · · · · · · · · · · · · ·)
                                                          · · · · · · · · · ·Defendants.· ·)
10· I just wanted to go home.· I didn't want to do        ·9
                                                          10· · · · · · This is to certify that I have read my
11· nothing else.· I just wanted to go back, be with my
                                                          · · deposition taken on Wednesday, June 15, 2022,
12· dad.· I didn't want to be here, didn't want to be     11· in the foregoing cause and that the foregoing
                                                          · · transcript accurately states the questions asked
13· there.· Didn't understand what was taking place       12· and the answers given by me, with the changes or
14· with me at that moment in time in my life.            · · corrections, if any, made on the Errata Sheet
                                                          13· attached hereto.
15· · · · · · · · ·But I know even to this day, and as    14
                                                          15
16· God as my witness, he know I've never taken a human   16· · · · · · · · · ______________________________
17· being life nowhere on this planet.· And anyone that   · · · · · · · · · · · · · JOHNNIE LEE SAVORY
                                                          17
18· know me, anyone I grew up with, I never -- except     18· No errata sheets submitted (Please initial)
19· for that with Mark Burks and fighting, but they       · · Number of errata sheets submitted _______ pages
                                                          19
20· knocked me out on the corner with a brick.· But he    · · Subscribed and sworn to
                                                          20· before me this _______ day
21· was never charged, though.· I find that odd.          · · of _________________ 2022.
22· · · · Q.· · What about the guy you beat up in         21
                                                          22· __________________________
23· prison and sent to the hospital?                      · · · · ·Notary Public
                                                          23
24· · · · MR. TAYLOR:· Objection; form.                   24


                                             Page 383                                                     Page 385
·1· · · · MR. BOWMAN:· Actually we're at the time         ·1· · · · · · · · REPORTER'S CERTIFICATE
                                                          ·2· · · · I, Nick D. Bowen, do hereby certify that
·2· limit.· So the deposition is over.                    · · JOHNNIE LEE SAVORY was duly sworn by me to testify
·3· · · · MS. SCHROEDER:· Okay.· Thank you, Mr. Savory.   ·3· the whole truth, that the foregoing deposition was
                                                          · · recorded stenographically by me and was reduced to
·4· · · · THE WITNESS:· Yes, ma'am.                       ·4· computerized transcript under my direction, and
·5· · · · MS. SCHROEDER:· Do you want to waive or         · · that said deposition constitutes a true record of
                                                          ·5· the testimony given by said witness.
·6· reserve?                                              ·6· · · · I further certify that the reading and
·7· · · · MR. BOWMAN:· No.· He'll read it.                · · signing of the deposition was not waived, and the
                                                          ·7· deposition was submitted to Mr. Locke E. Bowman,
·8· · · · MS. SCHROEDER:· Okay.                           · · III, plaintiff's counsel, for signature.· Pursuant
·9· · · · THE VIDEOGRAPHER:· This concludes today's       ·8· to Rule 30(e) of the Federal Rules of Civil
                                                          · · Procedure, if deponent does not appear or read and
10· deposition of Johnnie Lee Savory.                     ·9· sign the deposition within 30 days, the deposition
11· · · · · · · · ·We're off the record at 7:47 p.m.      · · may be used as fully as though signed, and this
                                                          10· certificate will then evidence such failure to
12· · · · · · · · · · · (The deposition concluded at      · · appear as the reason for signature not being
13· · · · · · · · · · · ·7:47 p.m.)                       11· obtained.
                                                          12· · · · I further certify that I am not a relative
14                                                        · · or employee or attorney or counsel of any of the
15                                                        13· parties, or a relative or employee of such attorney
                                                          · · or counsel, or financially interested directly or
16                                                        14· indirectly in this action.
17                                                        15· · · · IN WITNESS WHEREOF, I have hereunto set my
                                                          · · hand and affixed my seal of office at Chicago,
18                                                        16· Illinois, this 27th day of June 2022.
19                                                        17
                                                          18
20                                                        · · · · · · · · · ·______________________________
21                                                        19· · · · · · · · ·Illinois CSR No. 084-001661
                                                          20
22                                                        21
23                                                        22
                                                          23
24                                                        24



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·2
·3· ·NAME OF CASE: JOHNNIE LEE SAVORY vs WILLIAM CANNON, et al.
·4· ·DATE OF DEPOSITION: 06/15/2022
·5· ·NAME OF WITNESS: Johnnie Lee Savory
·6· ·Reason Codes:
·7· · · · 1. To clarify the record.
·8· · · · 2. To conform to the facts.
·9· · · · 3. To correct transcription errors.
10· ·Page _____ Line ______ Reason ______
11· ·From ____________________ to ____________________
12· ·Page _____ Line ______ Reason ______
13· ·From ____________________ to ____________________
14· ·Page _____ Line ______ Reason ______
15· ·From ____________________ to ____________________
16· ·Page _____ Line ______ Reason ______
17· ·From ____________________ to ____________________
18· ·Page _____ Line ______ Reason ______
19· ·From ____________________ to ____________________
20· ·Page _____ Line ______ Reason ______
21· ·From ____________________ to ____________________
22· ·Page _____ Line ______ Reason ______
23· ·From ____________________ to ____________________
24
25· · · · · · · · · · · · · · ·_______________________




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